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                           UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
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     OMAR VARGAS, ROBERT                      Case No.: CV12-08388 AB (FFMx)
12   BERTONE, MICHELLE HARRIS,
     and SHARON HEBERLING                     CLASS ACTION
13
     individually, and on behalf of a class   Hon. André Birotte Jr.
14   of similarly situated individuals,
                                              [PROPOSED] FINAL APPROVAL
15                Plaintiffs,                 ORDER AND ORDER TO ENTER
                                              JUDGMENT
16         v.
                                              Date:         February 28, 2020
17                                            Time:         10:00 am
                                              Place:        Courtroom 7B
18   FORD MOTOR COMPANY,
19                Defendant.
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                                     FINAL APPROVAL ORDER
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 1         On April 25, 2017, the Court entered a Preliminary Approval Order that
 2   preliminarily approved the proposed Settlement Agreement in this Litigation and
 3   specified the manner in which Ford Motor Company (“Ford”) was to provide
 4   Class Notice to the Class. (ECF No. 133.) All capitalized terms used herein shall
 5   have the same meaning as defined in the Settlement Agreement, which was filed
 6   with the Court on March 24, 2017 (Dkt. 121-1), and modified by the Amendment,
 7   which was filed with the Court on January 24, 2020, and is incorporated by
 8   reference. The Settlement Agreement and Amendment together shall be referred
 9   to as the “Amended Settlement” or “Amended Settlement Agreement.”
10         Following the dissemination of the Class Notice, all Class Members were
11   given an opportunity to request exclusion from the Class or object to the
12   Settlement Agreement (including Class Counsel’s request for attorneys’ fees and
13   expenses and the Class Representatives’ collective application for a Service
14   Award). Prospective Class Members who had a pending suit against Ford as of
15   the Notice Date were given an opportunity to opt-in.
16         An initial Fairness Hearing was held on October 2, 2017, at which time all
17   interested persons were given a full opportunity to state any objections to the
18   Settlement Agreement or to Class Counsel’s request for attorneys’ fees and
19   expenses and the Class Representatives’ collective application for Service
20   Awards. Class Members Brenda Lott, Suzanne Lutz, Carlie Olivant, Gail Slomine,
21   and Philip Woloszyn (the “Lott Group”) and James “Jason” DeBolt (collectively
22   with the Lott Group, “Assisting Class Members”) objected. The Fairness Hearing
23   was held more than 90 days after Ford provided notice of the proposed Settlement
24   to federal and state-level attorneys general as required by 28 U.S.C. § 1715(b),
25   thus complying with 28 U.S.C. § 1715(d).
26         Following an appeal by the Lott Group and DeBolt, the Ninth Circuit Court
27   of Appeal issued a memorandum opinion vacating the initial Final Order and
28
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 1   Judgment and instructed this Court to engage in “a more searching inquiry” into
 2   the fairness of the Settlement terms. On January 24, 2020, Plaintiffs filed a
 3   renewed motion for final approval of an Amended Settlement with additional
 4   benefits for the Class, along with a renewed motion for attorneys’ fees, costs, and
 5   service awards. Before the Fairness Hearing, the Lott Group and DeBolt each filed
 6   a motion seeking approval of payments and attorneys’ fees.
 7         A Fairness Hearing regarding the Amended Settlement was held on
 8   February 28, 2020, at which time the Court considered whether the proposed
 9   Amended Settlement Agreement is fair, reasonable and adequate, whether the
10   Amended Settlement was the product of collusion, whether Class Counsel’s
11   requested attorneys’ fees and expenses were reasonable, whether Class
12   Representatives’ service awards were reasonable, and whether Assisting Class
13   Members’ respective requested payments and attorneys’ fees were reasonable.
14         Having read and fully considered the Settlement Agreement and all
15   submissions made in connection with it, the Court finds that the Amended
16   Settlement Agreement is fair, reasonable and adequate and should be finally
17   approved and the Litigation dismissed with prejudice as to all Class Members who
18   have not excluded themselves from the Class, and without prejudice as to all
19   persons who timely and validly excluded themselves from the Class.
20         Accordingly, IT IS HEREBY ORDERED that:
21         1.     This Court has both subject matter jurisdiction and personal
22   jurisdiction as to this action and all Parties before it, including all Class Members.
23   The Court certifies the following Class for purposes of settlement only:
24                All current residents of the United States (including
25                territories of the United States) who, prior to the
                  Preliminary Approval Order, purchased or leased new
26                or used Class Vehicles that (1) were originally sold in
27                the United States (including territories of the United
                  States) and (2) were equipped with the PowerShift
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 1               Transmission.

 2   Excluded from the Class are:
 3
                 (1) except as to the Named Plaintiffs in this Litigation
 4               and the Anderson plaintiffs, all owners or lessees of
 5               Class Vehicles who have filed and served litigation
                 against Ford alleging problems with the PowerShift
 6               Transmission in Class Vehicles that was pending as of
 7               July 14, 2017 and who do not dismiss their actions
                 before final judgment and affirmatively elect to opt-in
 8               to the Settlement (Owners or lessees of Class Vehicles
 9               who dismiss such litigation and affirmatively opt-in to
                 the Settlement shall be members of the Class for all
10               purposes); (2) Ford’s officers, directors, employees,
11               affiliates and affiliates’ officers, directors and
                 employees; their distributors and distributors’ officers,
12               directors, and employees; and Ford Dealers and Ford
13               Dealers’ officers and directors; (3) judicial officers
                 assigned to the Actions and their immediate family
14               members, and any judicial officers who may hear an
15               appeal on this matter; (4) all entities and natural
                 persons who have previously executed and delivered to
16               Ford releases of their claims based on the PowerShift
17               Transmission; (5) all parties to litigation against Ford
                 alleging problems with the PowerShift Transmission in
18               Class Vehicles in which final judgment has been
19               entered, and (6) all those otherwise in the Class who
                 timely and properly exclude themselves from the Class
20               as provided in this Settlement.
21
           2.    The Class certified for the purposes of settlement satisfies all of the
22
     requirements of Federal Rules of Civil Procedure 23(a) and 23(b)(3).
23
                    a. The Court finds that: (i) the Class of over one million Class
24
                       Members is sufficiently numerous so that joinder would be
25
                       impracticable; (ii) that primary issues in this litigation,
26
                       whether the Transmission has a design defect, whether Ford
27
                       had pre-sale knowledge of the alleged defect, and whether
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 1                       Ford had the legal obligation to repair the Transmission, are
 2                       common to the Class; (iii) Plaintiffs’ claims are co-extensive
 3                       with that of Class Members and are thus typical; (iv) Plaintiffs
 4                       and Class Counsel have adequately represented the Class, as
 5                       that there is no conflict between Plaintiffs and Class Counsel
 6                       and other Class Members;
 7                   b. The Court also finds a common nucleus of facts regarding the
 8                       alleged omissions and warranty claims predominate over
 9                       individual issues, and that a class action is superior because
10                       the Settlement obviates the need for further litigation or trial.
11         3.     The Court appoints and finally approves Plaintiffs Omar Vargas,
12   Michelle Harris, Sharon Heberling, Robert Bertone, Kevin Klipfel, Andrea
13   Klipfel, Maureen Cusick, Eric Dufour, Abigail Fisher, Christie Groshong,
14   Virginia Otte, Tonya Patze, Lindsay Schmidt, Patricia Schwennker, Patricia
15   Soltesiz, Joshua Bruno, Jason Porterfield, and Jamie Porterfield as
16   representatives of the above-described Class. The Court finds that none of the
17   Class Representatives have an actual conflict with the Class Members and have
18   diligently represented the Class’s interests throughout the litigation.
19         4.     The Court finds that Capstone Law APC, Berger & Montague, P.C.
20   and Zimmerman Law Group have demonstrable experience litigating consumer
21   and other class actions. The Court hereby appoints and finally approves said law
22   firms as Class Counsel and designates Capstone Law APC as Lead Class
23   Counsel. The Court finds that Class Counsel does not have an actual conflict with
24   the Class Members and have diligently represented the Class’s interests
25   throughout the litigation.
26         5.     The Court finds that the mailing of the Short Form Class Notice to
27   the Class, publication of the Publication Notice, and posting of the Long Form
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 1   Class Notice to the Settlement Website has been completed on July 14, 2017 in
 2   conformity with the Settlement Agreement and the Preliminary Approval Order.
 3                  a.    These forms of notice, taken together, provided adequate
 4                       notice of the proceedings, including the proposed settlement
 5                       terms as set forth in the Settlement Agreement. The Class
 6                       Notice has fully satisfied due process requirements and the
 7                       requirements of Rule 23 of the Federal Rules of Civil
 8                       Procedure. As executed the Class Notice was the best notice
 9                       practicable under the circumstances.
10                  b. Because the amendments to the Settlement Agreement only
11                       increase the benefits available to the class, with no reduction in
12                       benefits, no new notice to the Class is required. In re Toyota
13                       Motor Corp. Unintended Acceleration Mktg., Sales Practices,
14                       & Prods. Liab. Litig., No. 8:10ML-02151-JVS (FMOx), 2013
15                       U.S. Dist. LEXIS 123298, at *244 n.15 (C.D. Cal. July 24,
16                       2013) (“Where the benefit to the class is increased by changes
17                       to proposed class action settlements, courts have held that
18                       supplemental direct notice to the class is not required. … This
19                       is so because an increase to a class member's recovery is not
20                       the type of change that would cause a class member to request
21                       exclusion from the class settlement.”); see also, e.g., Molina v.
22                       Pacer Cartage, Inc., No. 13-cv-2344-LAB (JMA), 2016 U.S.
23                       Dist. LEXIS 142142, at *2 (S.D. Cal. Oct. 12, 2016) (“Because
24                       the modification did not alter the amount each class member
25                       would receive, the Court concluded that a second notice to
26                       class members was not needed.”).
27                  c.    However, pursuant to the Amended Settlement, and for
28
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 1                       informational purposes only, Ford and Plaintiffs are hereby
 2                       ordered to jointly prepare an informational, single-page
 3                       postcard advising class members that improvements have been
 4                       made to the settlement and referring them to the settlement
 5                       website for details. Within 14 days of the Effective Date, the
 6                       Settlement Administrator shall mail the postcard, at Ford’s
 7                       expense, using the same mailing list used for the original class
 8                       notice (except to the extent that the original mailing list
 9                       included owners of vehicles not equipped with DPS6
10                       transmissions). Within 14 days of the Effective Date, Ford and
11                       Plaintiffs shall jointly develop a summary of the settlement,
12                       including the new provisions, for inclusion on the settlement
13                       website.
14            6.   The Court finds that appropriate notice was given by Defendant to all
15   “appropriate State and Federal Officials” pursuant to 28 U.S.C. §1715(a), and that
16   no objections were filed.
17            7.   The Court hereby finally approves the terms set forth in the
18   Amended Settlement Agreement and finds that the Amended Settlement is, in all
19   respects, fair, reasonable and adequate, and directs the Parties to effectuate all
20   remaining provisions of the Amended Settlement Agreement according to its
21   terms.
22                    a. Consistent with Rule 23(e)(2)(A)&(B), the Court finds that
23   the Amended Settlement Agreement has been reached as a result of informed and
24   non-collusive, arm’s-length negotiations conducted by a respected mediator. The
25   Court further finds that Plaintiffs and Defendant have conducted extensive
26   investigation and research into the factual and legal aspects of Plaintiffs’ claims,
27   and their attorneys were able to reasonably evaluate their respective positions.
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 1   The Court further finds that Assisting Class Members, who objected to certain
 2   terms of the original Settlement, participated in further non-collusive, arm’s-
 3   length negotiations with Plaintiffs and Ford and contributed to the additional
 4   benefits offered by the Amended Settlement.
 5                   b. The Court finds that the Amended Settlement Agreement is
 6   fair, reasonable, and adequate. The Court finds that Plaintiffs and Ford have
 7   provided ample information confirming that Class Members have already
 8   received $47.4 million in gross cash payment from claims for Repurchase. It is
 9   reasonable to expect that many additional Class Members will receive cash
10   payments from claims for Repurchase after final approval of the Amended
11   Settlement. The Court further finds the Amended Settlement can be valued by
12   Ford’s guarantee of a $30 million minimum payment for the cash payment (for
13   Service Visits for Transmission Hardware Replacements, Software Flashes, and
14   the $20 payment by sworn declaration) provided by the Amended Settlement.
15   The Court finds that, under the terms of the Settlement, Ford has already paid, or
16   is committed to pay, at least $77.4 million.
17         The Court finds that the Repurchase benefit provides strong relief to the
18   Class by modifying lemon laws to favor Class Members. This includes an
19   extension of the statute of limitations for Claimants and a Settlement-created
20   fallback standard authorizing a Repurchase if the Claimant had had four
21   transmission hardware repairs within 5 years/60,000 miles of delivery to the first
22   retail customer, and the vehicle continues to malfunction. The Amended
23   Settlement provides additional valuable Class relief by extending the statute of
24   limitations to seek Repurchase to former owners/lessees and by allowing former
25   owners/lessees to seek Repurchase under the Settlement-created fallback
26   standard. The Amended Settlement’s modifications to the Arbitration Program,
27   including eliminating the “final repair” option for Ford before Class Members
28
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 1   with fewer than four Transmission repairs can proceed to arbitration and
 2   permitting an award of civil penalties, under limited circumstances, to Class
 3   Members residing in states that have laws authorizing civil penalties for lemon
 4   law claims, is also valuable. It is also reasonable to expect that, as a result of the
 5   additional benefit of a one-time $20 payment to Class Members who submit a
 6   sworn declaration attesting to having a repair denied, the Amended Settlement
 7   will benefit more Class Members than would the original Settlement.
 8         The Court finds that the Amended Settlement is fair, reasonable and
 9   adequate when weighted against the risks of further litigation, including the risks
10   of losing on the merits of Plaintiffs’ consumer fraud and warranty claims, and
11   the risks of maintaining class status through trial, given the complexity of the
12   alleged Transmission defect. The Court also finds that counsel had sufficient
13   discovery to reach an informed view regarding the risks and rewards of further
14   litigation and settlement.
15                   c. The Court finds that the Amended Settlement does not bear
16   “subtle signs” of collusiveness under In re Bluetooth Headset Prods. Liab. Litig.,
17   654 F.3d 935, 938 (9th Cir. 2011). The Court finds that the relief is not
18   disproportionate to the attorneys’ fees, since Settlement delivers $77.4 million in
19   already-obligated payments to the Class while Class Counsel seeks $8.85 million
20   in fees and costs, which is 11.4% of those cash benefits, and 10.2% of the
21   ascertainable minimum (already-obliged payments + fees and costs) of $86.25
22   million. The Court further finds that the “clear-sailing clause,” as provided here,
23   does not evince collusiveness because the agreed-upon fees are reasonable and
24   was separately negotiated after the class relief was finalized. The Court also
25   finds that the Settlement does not have a reverter. The Court is satisfied, after
26   engaging in a searching inquiry, that the Amended Settlement is not the product
27   of collusion and is fair and reasonable.
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 1          8.     The Court also finds that the Parties, by settling now, will avoid
 2    additional and potentially substantial litigation costs, as well as delay and risks if
 3    the Parties were to continue to litigate the case. Additionally, after considering
 4    the prospective and monetary relief provided as part of the Amended Settlement
 5    in light of the challenges posed by continued litigation, the Court concludes that
 6    Class Counsel secured fair, reasonable and adequate relief for Class Members.
 7          9.     The Amended Settlement Agreement is not an admission of fault by
 8    Defendant or by any other Released Party, nor is the Final Approval Order and
 9    Final Judgment a finding on the validity of any allegations or of any wrongdoing
10    by Defendant or any other Released Party. Neither the Final Approval Order, the
11    Final Judgment, the Amended Settlement Agreement, nor any document referred
12    to herein, nor any action taken to carry out the Amended Settlement Agreement,
13    may be construed as, or may be used as, an admission of any fault, wrongdoing,
14    omission, concession, or liability whatsoever by or against Defendant or any of the
15    other Released Parties.
16          10.    The Amended Settlement Agreement shall be fully, finally, and
17    forever binding on Ford and all Plaintiffs, including all members of the Class
18    who did not opt out of this Settlement and have not been otherwise excluded
19    pursuant to the Settlement Agreement.
20          11.    Having granted final approval to this Amended Settlement, the
21    Court dismisses on the merits and with prejudice Vargas v. Ford Motor Co., No.
22    2:12-cv-08388-AB (FFMx) (C.D. Cal.) and each and every action transferred
23    and consolidated with it, including Klipfel v. Ford Motor Co., No. 2:14-cv-
24    02140-AB (FFMx) (C.D. Cal.), and Cusick v. Ford Motor Company, Case No.
25    2:15-cv-08831-AB (C.D. Cal.). In accordance with the Settlement, the plaintiffs
26    in Anderson v. Ford Motor Co., No. 1:16-cv-01632 (N.D. Ill.) are obligated to
27    dismiss that action with prejudice. In addition, the Court also dismisses all
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 1    claims which any Class Member alleged or could have alleged in any complaint,
 2    action, or litigation, based upon the Transmission defect in the Class Vehicles.
 3          12.    Opt-Outs. All Class Members were given a full and fair opportunity
 4    to participate in the Fairness Hearing, and all Class Members who asked to be
 5    heard were heard. Members of the Class also have had a full and fair
 6    opportunity to exclude themselves from the proposed Settlement and the Class.
 7    Attached hereto as Exhibit A is a list setting forth the name of each person of all
 8    persons who have validly opted out, which is the same exhibit entered by prior
 9    order on December 13, 2017. (ECF No. 240.)
10          13.    Having granted final approval to this Settlement, the Named
11    Plaintiffs and each Class Member hereby forever discharge the Released Parties
12    from all Released Claims.
13          14.    To effectuate the Settlement, the Court hereby orders that all Class
14    Members who did not timely exclude themselves from the Settlement are barred,
15    enjoined, and forever restrained from commencing, prosecuting or asserting any
16    Released Claims against any Released Parties as set forth in Paragraph 13 above,
17    except that Class Members may continue to pursue claims in the Arbitration
18    Program as set forth in the Settlement Agreement and the Arbitration Rules.
19          15.    Members who have not made their objections to the Settlement in
20    the manner provided in the Class Notice are deemed to have waived any
21    objections by appeal, collateral attack or otherwise.
22          16.    The Court has considered Plaintiffs’ Motion for Attorneys’ Fees,
23    Costs, and Service Awards separate from its consideration of the fairness,
24    reasonableness and adequacy of the Settlement Agreement. Any order or
25    proceedings relating to the Motion for Attorneys’ Fees, Costs, and Service
26    Awards, or any appeal from any order relating thereto or reversal or modification
27    thereof, shall not disturb or affect this Final Approval Order or the Final
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 1    Judgment thereon, or affect or delay their finality.
 2            17.   The Court awards $8,471,231.63 in attorneys’ fees to Class Counsel
 3    and costs in the amount of $385,268.37, for reasons set forth in greater detail in
 4    the Order Granting Plaintiffs’ Renewed Motion for Attorneys’ Fees, Costs, and
 5    Service Awards. Lead Class Counsel are to allocate the fees and cost
 6    reimbursement according to the fee allocation agreement among Class Counsel.
 7            18.   The Court also approves and awards $10,000 to Plaintiff Omar
 8    Vargas, $7,500 to Plaintiffs Michelle Harris, Sharon Heberling, Robert Bertone
 9    and $5,000 to Plaintiffs Kevin Klipfel, Andrea Klipfel, Maureen Cusick, Eric
10    Dufour, Abigail Fisher, Christie Groshong, Virginia Otte, Tonya Patze, Lindsay
11    Schmidt, Patricia Schwennker, Patricia Soltesiz, Joshua Bruno, Jason Porterfield,
12    Jamie Porterfield for their services on behalf of the Class and $1,000 for each of
13    the Plaintiffs in Anderson v. Ford Motor Co., No. 1:16-cv-01632 (N.D. Ill.) for
14    their dismissal of their action with prejudice, and accordingly orders Defendant
15    to pay those amounts to the Claims Administrator for distribution to those Class
16    Representatives.
17            19.   The Court finds that the Lott Group’s requested payments of $5000,
18    each, to Brenda Lott, Suzanne Lutz, Carlie Olivant, Gail Slomine, and Philip
19    Woloszyn and attorneys’ fees of $339,216.60 and costs of $8,787.12 to their
20    counsel, Public Citizen and David Gorberg & Associates, are reasonable and
21    reflect their positive contributions to the added benefits provided by the
22    Amended Settlement. The Court therefore approves the requested payment and
23    fees.
24            20.   The Court finds that DeBolt’s requested payment of $5000 to James
25    DeBolt and attorneys’ fees of __________ and costs of ______ to his counsel,
26    George Cochran, are reasonable and reflect their positive contributions to the
27    added benefits provided by the Amended Settlement. The Court therefore
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 1    approves the requested payment and fees.
 2          21.     If either (a) the Effective Date of the Settlement does not occur for
 3    any reason whatsoever, or (b) the Settlement Agreement becomes null and void
 4    pursuant to the terms of the Settlement Agreement, the Final Approval Order and
 5    Final Judgment thereon shall be deemed vacated and shall have no force or effect
 6    whatsoever.
 7          22.     Without affecting the finality of the Final Approval Order and Final
 8    Judgment thereon in any way, the Court retains continuing and exclusive
 9    jurisdiction over the Parties, including the Class Members, to enforce the terms
10    of the Final Approval Order and Final Judgment, and shall have continuing
11    jurisdiction over the construction, interpretation, implementation, and
12    enforcement of the Settlement Agreement.
13          23.     The Court finds that no just reason exists for delay in entering the
14    Final Judgment. Accordingly, the Clerk is hereby directed to enter Final
15    Judgment.
16          IT IS SO ORDERED.
17
      Dated:                    , 2020         ______________________________
18                                                  The Hon. André Birotte Jr
19                                                  United States District Judge

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                       Exhibit A
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ClaimID      FirstName       LastName           AdditionalName    City             State OptOut      VIN
FVSͲ112140351COLMANR        LALKA                                  MADISON          OH        7/10/20171FAHP3K25CL354006
FVSͲ113097760DAVIDD         MILLER                                 EASTPEORIA       IL        7/10/20171FAHP3M26CL465189
FVSͲ100874991JOHND          KING               PAULAKING          REVERE           MA        7/11/20171FADP3E24DL206313
FVSͲ104739126CRAIGS         SIGRIST                                BLACKLICK        OH        7/11/20171FADP3F28DL182628
FVSͲ104748109WILFREDO        MONTES                                 STUART           FL        7/11/20171FADP3F25DL369468
FVSͲ105419605ROBERTAJ       BATTERTON                              SAINTLOUIS       MO        7/11/20171FADP3F27EL184212
FVSͲ107487063RHONDAM        BRUNNER                                SALINA           KS        7/11/20171FADP3K28EL420338
FVSͲ110141270LORAINER       CLOER                                  LENOIR           NC        7/11/20171FAHP3F24CL443804
FVSͲ111742765GALE            DAKE                                   MCLOUD           OK        7/11/20171FAHP3K20CL449749
FVSͲ115229965DALEL          OBERHELMAN                              CORWITH          IA        7/11/20173FADP4BJ6BM125200
FVSͲ118706632KARLA           FREEMAN                                TRACY            CA        7/11/20171FADP3J21DL108183
FVSͲ119423901HONG            VENG                                   SANDIEGO        CA        7/11/20171FAHP3J29CL330485
FVSͲ120680335SUSANA         MCDERMIT                               LOCKHAVEN        PA        7/11/20171FADP3K21DL224773
FVSͲ120718197SUSANA         MCDERMIT                               LOCKHAVEN        PA        7/11/20171FADP3K20GL313173
FVSͲ120806932RICHARDF       WILSON                                 SMITHFIELD       PA        7/11/20171FADP3K27EL337841
FVSͲ101018142ADRIANEJ       MAGIDSON                               NYACK            NY        7/12/20171FADP3F29FL353177
FVSͲ101193157MARGARETM      DEROGATIS                              SOUTHAMBOY       NJ        7/12/20171FADP3F25DL258225
FVSͲ101973900LYDIAA         BECK                                   ALLIANCE         OH        7/12/20171FADP3F23DL332502
FVSͲ103122443CINDYJ         KEMMERLIN                               CLARKSVILLE       TN        7/12/20171FADP3E22DL122846
FVSͲ105283533ANNETTE         DITLOW                                 FOUNTAIN         CO        7/12/20171FADP3E23EL118015
FVSͲ106401300MARKC          FRANCISCO                              BUFFALO          NY        7/12/20171FADP3K23DL130376
FVSͲ108432882NICHOLASP      BIONDO                                 FLEMINGTON        NJ        7/12/20171FADP3L97DL141764
FVSͲ109426835MARIE           SCHMITT                                CROSSVILLE       TN        7/12/20171FAHP3F20CL125548
FVSͲ109824881ROBINL         PETROS                                 DEWEY            AZ        7/12/20171FAHP3F23CL392294
FVSͲ113553510JULIETC        RUSSELL                                ROSEDALE         MD        7/12/20173FADP4AJ1GM166813
FVSͲ117724599RICHARDJ       RINDNER                                OLATHE           KS        7/12/20173FADP4FJ8BM106416
FVSͲ119526530LYNNEANNE      CASANOVATRUST                          BURLINGAME        CA        7/12/20173FADP4AJ4BM168046
FVSͲ119966344AIMEEE         SCOTT                                  VALENCIA         CA        7/12/20173FADP4BJ8EM133240
FVSͲ120010399TOD             KIPHUTALEE                             OCEANSIDE        CA        7/12/20173FADP4BJXEM227801
FVSͲ100441068ROYG           MEEKS              CHARLENEMEEKS      TRACYCITY       TN        7/13/20171FADP3F25GL355882
FVSͲ104558377IRVINGW        CORN                                   FLAGLERBEACH     FL        7/13/20171FADP3E22GL356571
FVSͲ104759852DAWNR          MYERS                                  MARTINSBURG       WV        7/13/20171FADP3F28DL370131
FVSͲ105765732LISAA          GERMAN                                 SPRINGHILL      FL        7/13/20171FADP3J28FL277779
FVSͲ106433261BRUCE           SHERIDAN                               WILDWOOD         MO        7/13/20171FADP3K23DL115828
FVSͲ107100002ALBERT          GJONLLESHAJ                             STERLINGHTS      MI        7/13/20171FADP3F21DL371914
FVSͲ107183145PETERC         MCMAHAN                               MELBOURNE         FL        7/13/20171FADP3K27EL121715
FVSͲ107451026HOLLIS          CHAPMAN                                BEAVERDAM        KY        7/13/20171FADP3K28EL211682
FVSͲ109730321BARBARAJ       BARR                                   PFLUGERVILLE      TX        7/13/20171FAHP3F23CL139492
FVSͲ111104629CHRISTINEA     HARRISON                               KEARNEY          MO        7/13/20171FAHP3H23CL176037
FVSͲ112114105KEITHN         MENIG                                  PLEASANTVILLE     NY        7/13/20171FAHP3K25CL137877
FVSͲ112206581STEVENE        RUCKER                                 FLORISSANT       MO        7/13/20171FAHP3K26CL150329
FVSͲ112306616TODDJ          CIANFONI                               LOUISVILLE       KY        7/13/20171FAHP3K24CL397624
FVSͲ113100680BRETTA         MOORE                                  APOPKA           FL        7/13/20171FAHP3M2XCL151125
FVSͲ113123744MARK            LAND                                   MILFORD          OH        7/13/20171FAHP3M25CL409051
FVSͲ114600740JUDYA          DEANE                                  PORTLAND         OR        7/13/20173FADP4BJ3CM176932
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FVSͲ115351787KAYLAA         MEHALCIK                               GAINESVILLE      GA    7/13/20173FADP4BJ7CM152620
FVSͲ116307641TRACYL         BATTLES                                ALBERTVILLE       AL     7/13/20173FADP4EJ0GM150435
FVSͲ116793023ERICS          ZICK                                   KINGSTON         WA     7/13/20173FADP4EJ5CM115660
FVSͲ117205788BARBARAJ       BARR                                   PFLUGERVILLE      TX     7/13/20173FADP4EJ7FM171958
FVSͲ118560115MICHAELT       GENNAWEY                               LONGBEACH        CA     7/13/20171FADP3F29DL235157
FVSͲ119764873TERRYR         FERRARO                                LAQUINTA        CA     7/13/20173FADP4BJ7EM190917
FVSͲ120443163JOSEPHA        KUBICAR                                PITTSBURGH        PA     7/13/20171FADP3F2XDL150120
FVSͲ120468840ERICR          HENNINGER                              PHILADELPHIA      PA     7/13/20171FADP3F23GL354391
FVSͲ120521334ELLAJ          STRAKA                                 SOMERSET         PA     7/13/20171FADP3K23EL397566
FVSͲ121145808THOMASE        MANGUS                                 PITTSBURGH        PA     7/13/20173FADP4BJ6GM113054
FVSͲ101890389HORACIO         CANCHOLA                               EVANSTON         IL     7/14/20171FADP3F2XDL376450
FVSͲ101956797EDWARDA        GELTMAN                                WASHINGTON        DC     7/14/20171FADP3F2XFL270471
FVSͲ102537119CYNTHIAL       KISCH                                  SANANTONIO       TX     7/14/20171FADP3F24EL293548
FVSͲ102745439ROBERT          STICE                                  OKLAHOMACITY     OK     7/14/20171FADP3E21GL208704
FVSͲ102864764GREGORY         WOODS                                  CLIO             SC     7/14/20171FADP3F26DL142242
FVSͲ106376128ABRAHAMB       SCHANTZ                                MATTESON         IL     7/14/20171FADP3K23DL344932
FVSͲ107748754CHRISTOPHER     MEYER                                  LOUISVILLE       KY     7/14/20171FADP3K29EL302766
FVSͲ108546764DONNA           LIGHTFOOT                              TULSA            OK     7/14/20171FADP3N20EL183808
FVSͲ109077725BRANDIL        GOODMAN                                MONTEREY         CA     7/14/20171FADP3N29EL285639
FVSͲ109188845LUISJ          PINTO                                  CHAPELHILL       NC     7/14/20171FAHP3E28CL369997
FVSͲ109242971SANDRAL        MCMASTER                               GOODYEAR         AZ     7/14/20171FAHP3E25CL183656
FVSͲ109522710VERONICA        LEE                                    HOUSTON          TX     7/14/20171FAHP3F20CL361908
FVSͲ110839803RONALDF        PARSON                                 LAKEVILLE        MN     7/14/20171FAHP3F2XCL330360
FVSͲ112208304ANTHONYB       WESSEL                                 MONTGOMERYCY     MO     7/14/20171FAHP3K26CL154333
FVSͲ112500960JOES           VASILEͲCOZZO                            CUTCHOGUE         NY     7/14/20171FAHP3K29CL224049
FVSͲ113191960MARTINS        BROWN                                  KANNAPOLIS        NC     7/14/20171FAHP3M29CL393873
FVSͲ113821697RICHARDL       STALEY                                 ARLINGTON        TX     7/14/20173FADP4AJ7GM162460
FVSͲ116379758HALEYL         ORTEGA                                 MINNEOLA         FL     7/14/20173FADP4EJ1CM140037
FVSͲ116440252KARENA         PEDUZZI                                LASVEGAS        NV     7/14/20173FADP4EJ2BM157170
FVSͲ118729756TANJAL         ADAMS                                  APPLEVALLEY      CA     7/14/20171FADP3K22EL421985
FVSͲ120504774HEDIL          LOVE                                   EWATERFORD       PA     7/14/20171FADP3F23EL425120
FVSͲ120641836CYNTHIAD       HILLEN                                 CONNELLSVILLE     PA     7/14/20171FADP3N26FL379141
FVSͲ111945143JAMES           WILLIAMS                               LAPORTE         TX     7/15/20171FAHP3K21CL370896
FVSͲ115422749MICHAELK       JOINT                                  GROSSEPOINTE     MI     7/15/20173FADP4BJ8CM121117
FVSͲ116476621RAYMONDH       ROWE                                   LOUISVILLE       KY     7/15/20173FADP4EJ2EM182770
FVSͲ119312255FELIPEJ        VALDIVIA                               UNIONCITY       CA     7/15/20171FAHP3K21CL430000
FVSͲ120679590SUSANB         HEFFNER                                SELLERSVILLE      PA     7/15/20171FADP3K21DL174134
FVSͲ120973332GABRIELJ       CUTRUFELLO                              LANCASTER        PA     7/15/20173FADP4AJXDM198851
FVSͲ100623778THEDANH       COURSEYTRUST                           KINGMAN          AZ     7/17/20171FADP3F2XEL123842
FVSͲ101888996ROBERTB        JOHNSON                                DENVER           CO     7/17/20171FADP3F2XDL373368
FVSͲ102279047RONALDW        BRYAN                                  MILFORD          MI     7/17/20171FADP3F29EL241171
FVSͲ103043802CHRISTINEA     STAFFORD                               SUNCITY         AZ     7/17/20171FADP3F2XEL382380
FVSͲ103556877JERRYE         KEY                                    BOOMER           NC     7/17/20171FADP3F29GL318107
FVSͲ103828230CHUCKR         SERBUS                                 SIOUXFALLS       SD     7/17/20171FADP3F21GL234265
FVSͲ104126167CATHERINEE     RYAN                                   NEWBURYPORT       MA     7/17/20171FADP3F22EL261908
FVSͲ104373660ELEANORE       CEAN                                   REDCREEK        NY     7/17/20171FADP3F24GL201955
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                                              
FVSͲ105936413LINDSEYS        HELTON                                HEWITT           TX    7/17/20171FADP3K21EL175009
FVSͲ106737570CAROLJ          TIMMERMON                              NECEDAH          WI     7/17/20171FADP3K25DL321359
FVSͲ107144972MATTHEWA        WHITE                                 WILMINGTON        NC     7/17/20171FADP3K26EL251517
FVSͲ108021882LINDAF          JENSEN                                ARLINGTON        SD     7/17/20171FADP3K2XEL399301
FVSͲ108624447BERND            PAWIG                                 BUFFALO          NY     7/17/20171FADP3N22EL449362
FVSͲ111721431LESLIE           DESVARIEUX                             NORTHBALDWIN     NY     7/17/20171FAHP3J28CL306744
FVSͲ112179290BETHM           BIERTZER                              WESTBEND        WI     7/17/20171FAHP3K24CL233029
FVSͲ113264143MELINDAJ        MORRELL                               BILOXI           MS     7/17/20171FAHP3M29CL320647
FVSͲ113301820RONALDW         BRYAN                                 MILFORD          MI     7/17/20171FAHP3M29CL249403
FVSͲ114312303JEANETTEO       GRANTHAM                              ELLISVILLE       MS     7/17/20173FADP4BJ0FM160644
FVSͲ114370583MONICA           KLATKA                                LINDENHURST       IL     7/17/20173FADP4BJ1DM162030
FVSͲ117896748JUDITHI         SATTERFIELD                            WARWICK          RI     7/17/20173FADP4FJXBM141605
FVSͲ118442848CATRINA          WILKES                                OAKLAND          CA     7/17/20171FADP3F28EL169976
FVSͲ118578863ROBERTL         EARNEST           ALLAYNEEARNEST     ELCAJON         CA     7/17/20171FADP3F27EL357582
FVSͲ119230518MARY             ARCHER                                LAQUINTA        CA     7/17/20171FAHP3F24CL108655
FVSͲ119445948ELIZABETHA      EASTIN                                IRVINE           CA     7/17/20171FAHP3K29CL451984
FVSͲ119752034CAMILAT         GUZMAN                                RIVERSIDE        CA     7/17/20173FADP4BJ0DM220502
FVSͲ119803780FRANCISCA        SANCHEZ                               LONGBEACH        CA     7/17/20173FADP4BJXCM115500
FVSͲ120012707MARY             ARCHER                                LAQUINTA        CA     7/17/20173FADP4BJXFM167360
FVSͲ120361418MICHELLEA       COPPENS                               LEVITTOWN        PA     7/17/20171FADP3F26EL424964
FVSͲ121047660DONNAA          SACKS                                 PHILADELPHIA      PA     7/17/20171FAHP3N29CL254809
FVSͲ800000021SHARAREH         SHIRAZI                               CHULAVISTA       CA     7/17/20173FADP4BJ9BM219426
FVSͲ800000030SHAHNAR          AGAHI                                 CHULAVISTA       CA     7/17/20173FADP4BJ9BM219426
FVSͲ800000048JONATHAN         RICAFRENTE        JANETRICAFRENTE    STOCKTON         CA     7/17/20173RADP4FJ8BM132823
FVSͲ800000064AQUETTA          GARDNER                               OAK              CA     7/17/20171FADP3F29DL374513
FVSͲ800000072JOHNJAMES       ISITT                                 NEWBURYPARK      CA     7/17/20171FADP3N26DL374471
FVSͲ800000080CALVINHARDING   WINCHELL                              YUCAIPA          CA     7/17/20173FADP4EJ4CM221372
FVSͲ100073018THOMASP         CANELLO                               ORLANDO          FL     7/18/20171FADP3F21EL121655
FVSͲ100155820BILLY            MALICOTE                              WINCHESTER        KY     7/18/20171FADP3F25DL236841
FVSͲ100312713LISAS           HUDSON                                WASHINGTON        MO     7/18/20171FADP3F28DL210217
FVSͲ100393985MARC             PARKER                                GRANGER          IN     7/18/20171FADP3E2XFL254711
FVSͲ101084307LINDAK          HORRAS                                CHICAGO          IL     7/18/20171FADP3F28EL127713
FVSͲ101247915JULIAZ          WATKINS                               PHOENIX          AZ     7/18/20171FADP3E24EL132084
FVSͲ101250282CRYSTALD        PREJEAN                               HOUSTON          TX     7/18/20171FADP3E24EL183438
FVSͲ101807465PEGGYB          DIAZ                                  BALCHSPRINGS     TX     7/18/20171FADP3J21EL218202
FVSͲ102361630DOROTHEA         HIGGINS                               PARKFOREST       IL     7/18/20171FADP3F22EL181105
FVSͲ102455805LOISA           CARRAWAY                              RUSH             KY     7/18/20171FADP3F28EL148500
FVSͲ102727317TIMOTHYM        PENNINGTON                             FRANKFORT        KY     7/18/20171FADP3J24DL219522
FVSͲ102923299JENNIFER         ROBERTS                               MARSHALL         IN     7/18/20171FADP3F21DL266175
FVSͲ102970815BRYANW          BETHEL                                MADISONVILLE      KY     7/18/20171FADP3E25EL160864
FVSͲ103368426MYRA             HOPSON                                PAINTSVILLE       KY     7/18/20171FADP3F21DL285454
FVSͲ103381538STEPHANIE        ARDIZONE                              NEWIBERIA       LA     7/18/20171FADP3F22EL233493
FVSͲ103780483DUSTINB         BITTER                                WESTPALMBCH     FL     7/18/20171FADP3F25DL163230
FVSͲ104364548TERRY            CALDWELL                              RICHMOND         IN     7/18/20171FADP3F24FL378245
FVSͲ104415827PAULB           MAKOWSKI                              FAIRFAX          VA     7/18/20171FADP3F25DL349866
FVSͲ104451190GREG             MCADORY                               GARLAND          TX     7/18/20171FADP3F20EL305372
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FVSͲ104498471RICHARDD           NEELEY                              DEXTER           MO    7/18/20171FADP3F29DL213630
FVSͲ104764864JENNIFERM          BEICHLER                            TAYLORSVILLE      KY     7/18/20171FADP3F28DL379623
FVSͲ105469386KURTA              LEIDECKER                           WESTHAVEN        CT     7/18/20171FADP3E23EL251101
FVSͲ105529290JENNIFERL          THIEDE                              WHEATON          IL     7/18/20171FADP3F29EL351086
FVSͲ105783366WD                 BACKER                              OVERLANDPARK     KS     7/18/20171FADP3K20GL235736
FVSͲ106318730DAVIDR             OLIVER                              FLORENCE         KY     7/18/20171FADP3K23EL116432
FVSͲ106331604RONALDD            PRUNTY                              BRIGHTON         IL     7/18/20171FADP3K23DL183823
FVSͲ106808460BRADLEY             HEILMAN                             TINLEYPARK       IL     7/18/20171FADP3K24EL292633
FVSͲ107217821AMELIOA            WHITEJR                            GULFBREEZE       FL     7/18/20171FADP3K26EL186488
FVSͲ107271656RICHARDG           WALLACE                             ATLANTA          GA     7/18/20171FADP3K26FL344880
FVSͲ107835169SHEILAE            BAINBRIDGE                           SUMMERFIELD       FL     7/18/20171FADP3K29EL244304
FVSͲ108592359TIMOTHYC           DUNCAN                              MONTVERDE         FL     7/18/20171FADP3L9XFL286249
FVSͲ108777146JAMESE&BECKYL   BERGMANN          REVOCABL          HIGHRIDGE       MO     7/18/20171FADP3N26EL286229
FVSͲ110471091TANUELR            HOWELL                              PILGRIM          KY     7/18/20171FAHP3F27CL455610
FVSͲ110864280CATHY               BELCHER                             ELKHORNCITY      KY     7/18/20171FAHP3F2XCL449137
FVSͲ112691250KENNETH             MILLER                              FORTWAYNE        IN     7/18/20171FAHP3M20CL414545
FVSͲ112708102BILLIE              SILKWOOD                            OWENSBORO         KY     7/18/20171FAHP3M21CL478867
FVSͲ112720463MICHAELJ           HALL                                MTWASHINGTON     KY     7/18/20171FAHP3K2XCL408903
FVSͲ112851584GREGORYL           ALDERETE                            STEILACOOM        WA     7/18/20171FAHP3M23CL302614
FVSͲ113258917SHIRLEYV           SOLIS                               SANANTONIO       TX     7/18/20171FAHP3N24CL323955
FVSͲ115082654LILISW             WILLIAMS                            IRMO             SC     7/18/20173FADP4BJ4FM157309
FVSͲ115196005GAILL              ADAMS                               ROMEOVILLE        IL     7/18/20173FADP4BJ6FM126286
FVSͲ116007796CAITLIN             BRADY                               CROWNPOINT       IN     7/18/20173FADP4BJXEM174307
FVSͲ116172380DAVIDA             LONG                                WOODRIDGE         IL     7/18/20173FADP4CJXCM112210
FVSͲ116618493ZIPPORIA            SHERROD                             WESTLAND         MI     7/18/20173FADP4EJ3EM199948
FVSͲ116675896WHITNEYA           ARETZ                               STAUGUSTINE      FL     7/18/20173FADP4EJ4EM106225
FVSͲ117914622NICK                NILL                                OWASSO           OK     7/18/20173FADP4GX7GM164639
FVSͲ119552558ANNAM              FRIAS                               LAPALMA         CA     7/18/20171FAHP3M23CL366703
FVSͲ119595109LIGAYAA            BARCINAS                            SANDIEGO        CA     7/18/20173FADP4AJ8FM107742
FVSͲ120363046WAYNEG             NESTER                              MERTZTOWN         PA     7/18/20171FADP3F24EL202469
FVSͲ800000102FREE                KARMA                               SPRINGFIELD       IL     7/18/20171FADP3F2XDL244191
FVSͲ800000110ASHLEY              MAHANKE                             JACKSONVILLE      FL     7/18/20171FADP3F21EL233694
FVSͲ800000129TERESA              ALMEIDA                             NORTHPORT        FL     7/18/20171FADP3N29EL417248
FVSͲ100225233KRISTAL            ADKINS                              CINCINNATI       OH     7/19/20171FADP3F27EL193928
FVSͲ100367054REEFORD             JUSTICEJR                          INDEPENDENCE      KY     7/19/20171FADP3E20DL371372
FVSͲ101184360RAYMONDJ           WALTERS                             MANITOWOC         WI     7/19/20171FADP3F20DL108474
FVSͲ102644080EVELYNC            GONZALEZ                            SANANTONIO       TX     7/19/20171FADP3F25DL297283
FVSͲ102736049KATIEJ             ECKARDT                             TROY             MI     7/19/20171FADP3F29DL194934
FVSͲ105762148MIRANDAM           SWANSON                             PANAMACITY       FL     7/19/20171FADP3K20EL392986
FVSͲ105844810TRACYL             TATMAN                              TUCSON           AZ     7/19/20171FADP3K21DL146611
FVSͲ106346849ROBERTL            MAYDEN                              INDEPENDENCE      MO     7/19/20171FADP3K22EL208759
FVSͲ108710211ROBERTE            LORAN                               KANSASCITY       MO     7/19/20171FADP3N23EL362683
FVSͲ109029305JUAN                SENDON                              MIAMI            FL     7/19/20171FAHP3E21CL323170
FVSͲ110152735LINDAL             GAUB                                LAKEWORTH        FL     7/19/20171FAHP3F25CL188032
FVSͲ110872886ROBERTD            MUNN                                SPRINGFIELD       MI     7/19/20171FAHP3F2XCL421600
FVSͲ113345933EMILYA             RADMER                              MUKWONAGO         WI     7/19/20171FAHP3N29CL474130
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FVSͲ113993790 HEATHERA       ALFORD                                 ROCHESTER        NY      7/19/20173FADP4AJXDM207337
FVSͲ115699295JAMESB          BOREN                                  JUSTICEBURG       TX       7/19/20173FADP4BJ9CM161545
FVSͲ118490214 MOSESJ         CORTINAS                               MILPITAS         CA       7/19/20171FADP3F28DL255724
FVSͲ119847493 CRAIGA         GILL                                   MONTEREYPARK     CA       7/19/20173FADP4BJ4EM216888
FVSͲ120480573 DONNAL         REIMOLD                                HAZLETOWNSHP     PA       7/19/20171FADP3J2XEL232745
FVSͲ120995956 MELISSAA       PALMERE                                MORRISVILLE       PA       7/19/20171FAHP3K21CL240892
FVSͲ100236308 LINDAF         MCKEY                                  ORLANDO          FL       7/20/20171FADP3F27EL203843
FVSͲ100635768VICTORM         GREEN                                  DAYTONABEACH     FL       7/20/20171FADP3F25FL259782
FVSͲ102405328AMYL            HESTER                                 SOUTHGATE         MI       7/20/20171FADP3F24DL182884
FVSͲ102557535MATTHEW          JARBOE                                 SALTLAKECTY     UT       7/20/20171FADP3F2XDL209344
FVSͲ103430032JACQUELYNL      ADKINS                                 VERMILION        OH       7/20/20171FADP3F25GL202144
FVSͲ105797170 DIANEK         WRIGHT                                 TRINITY          FL       7/20/20171FADP3K20EL191637
FVSͲ108337464 BRIANS         MURPHY                                 LAWRENCE         KS       7/20/20171FADP3L91EL398887
FVSͲ109407849 LINDAF         LAYNE                                  AURORA           MO       7/20/20171FAHP3F20CL462611
FVSͲ110268091AHAMMAD          TAJE                                   METUCHEN         NJ       7/20/20171FAHP3F26CL389499
FVSͲ111276250 RICHARDW       POOLE                                  HUDSON           FL       7/20/20171FAHP3H24CL378045
FVSͲ111447909 KATRINAR       STOKES                                 TROY             NY       7/20/20171FAHP3H29CL388117
FVSͲ114523428 BRICEA         MILLIGAN                               SEAFORD          DE       7/20/20173FADP4BJ2EM220020
FVSͲ115093460OMARS           MOYE                                   CLEARWATER        FL       7/20/20173FADP4BJ5DM183818
FVSͲ116553049SUZANNAL        GILBERT                                SALISBURY        MD       7/20/20173FADP4EJ3CM172889
FVSͲ116843624KEVONSHAYC      AUTRY                                  OCALA            FL       7/20/20173FADP4EJ5EM180463
FVSͲ117270490 NOELLEG        LEPORE                                 OXNARD           CA       7/20/20173FADP4EJ9DM191058
FVSͲ118283847VICKI            PALMER                                 LOSBANOS        CA       7/20/20171FADP3F22DL264645
FVSͲ118349945 KEITHL         PARKER                                 LONGBEACH        CA       7/20/20171FADP3F26DL237044
FVSͲ118523767 MICHAELE       MERAZ                                  SANDIEGO        CA       7/20/20171FADP3F2XFL269529
FVSͲ118662252 LAURAK         JENSEN                                 ELKGROVE        CA       7/20/20171FADP3K23EL300513
FVSͲ118867784 DENISE          SUMMEY                                 TEMECULA         CA       7/20/20171FADP3K25DL251782
FVSͲ119518643 MICHAELE       MERAZ                                  SANDIEGO        CA       7/20/20173FADP4AJ4EM133558
FVSͲ119624850ROBERTM         ROSSI                                  SALIDA           CA       7/20/20173FADP4BJ1EM133743
FVSͲ119632632 ELIZABETH       MCGRATH                                MURRIETA         CA       7/20/20173FADP4BJ1FM221564
FVSͲ120046822JUNELLK         MURCHIE                                GEORGETOWN        CA       7/20/20173FADP4EJXEM154246
FVSͲ120654474JEFFREYE        DEARDORFF                              DOVER            PA       7/20/20171FADP3K25EL291541
FVSͲ121003531 MARKZ          HAMILTON                               BEAVERFALLS      PA       7/20/20171FAHP3K29CL400954
FVSͲ121110729 EDWARDJ        OLSENIII                              COLLEGEVILLE      PA       7/20/20173FADP4BJ7EM120561
FVSͲ121170128 CHRISTOPHERS   MIMNAUGH                                HATBORO          PA       7/20/20173FADP4BJ0EM147696
FVSͲ800000013JEREL           GUNZENHAUSER                            DOUGLASSVILLE     PA       7/20/20171FMCU9J93GUB51089
FVSͲ800000099 LUCIA           OLIVAS                                 SANDIEGO        CA       7/20/20173FADP4AJ2DM194986
FVSͲ800000137 DANNYR         CHAPPELL                               MANTECA          CA       7/20/20171FADP3F28EL211160
FVSͲ800000145JOHN             MCDONALD                               SANLUISOBISPO   CA       7/20/20171FADP3F25EL162144
FVSͲ800000153 PAUL            NELSON                                 GUELPH,ONTARIO   CANADA   7/20/20171FAHP3N23CL210479
FVSͲ100279201 BONNIE          BRACEY                                 KENNETT          MO       7/21/20171FADP3F25EL296393
FVSͲ100333311 CLARENCES      JONES                                  YOUNGSTOWN        OH       7/21/20171FADP3J25EL128535
FVSͲ100503551JUAN             SOTO                                   BLOOMFIELD        NJ       7/21/20171FADP3F25DL246446
FVSͲ100526128 DILLON          SCROGHAM                               GOSHEN           IN       7/21/20171FADP3F26EL107007
FVSͲ101380968 KIMBERLY        BURKE                                  INDIANAPOLIS      IN       7/21/20171FADP3F2XFL383708
FVSͲ101719280CYNDALL         JENNINGS                               BELLS            TX       7/21/20171FADP3F24FL242908
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FVSͲ103327312TARAR          BUCCIERI                               LANCASTER        OH    7/21/20171FADP3F2XEL107107
FVSͲ106111906 MALISSAA      SIMPSON                                FORTMYERS        FL     7/21/20171FADP3K22EL180526
FVSͲ106968840JASON           LEMAIRE                                NASHVILLE        IN     7/21/20171FADP3K25EL258779
FVSͲ108867668GERALD          CROOKS                                 LIBERTY          MO     7/21/20171FADP3N27EL208994
FVSͲ115491830 MERCEDESV     GARCIAROSARIO                          FTWALTONBCH     FL     7/21/20173FADP4BJ8DM183926
FVSͲ117574449VINCENT         MOLINOJR                              BROOKLYN         NY     7/21/20173FADP4FJ2CM106008
FVSͲ119442078ELEANORA       SNYDER                                 VALLEYSPGS       CA     7/21/20171FAHP3M27CL468554
FVSͲ120387972WADEEA          BASSETT                                PHILADELPHIA      PA     7/21/20171FADP3F22EL134544
FVSͲ120432943 DENISEP       CHAPMAN                                LEVITTOWN        PA     7/21/20171FADP3F24DL258765
FVSͲ120475359 HOLLYA        PEREZ                                  WYNNEWOOD         PA     7/21/20171FADP3F25FL237877
FVSͲ121150208AMYE           TAYLOR                                 PHILADELPHIA      PA     7/21/20173FADP4EJ7EM194767
FVSͲ101870841 RUSSELLG      SCHUHART                               WEBSTER          NY     7/22/20171FADP3F22EL166832
FVSͲ104895985 ROBINL        SCHROM                                 WESTLAND         MI     7/22/20171FADP3F25EL270067
FVSͲ106679252 CHESTERG      ZABINSKI                               STAUGUSTINE      FL     7/22/20171FADP3K24GL219667
FVSͲ110575660SANDRAL        MAYLE                                  BELLEVILLE       MI     7/22/20171FAHP3F28CL465305
FVSͲ113038143 HARROLL       NEWGENT                                HEBERSPRINGS     AR     7/22/20171FAHP3M28CL157280
FVSͲ116161230 BLAKE          JOHNSON                                MEMPHIS          TN     7/22/20173FADP4EE4GM194635
FVSͲ120789728STEVENG        FENSTERMACHER                           TOPTON           PA     7/22/20171FAHP3F20CL270122
FVSͲ103880798LEANNEM        SETTLEMIRES                             GROVELAND         FL     7/24/20171FADP3F22EL252187
FVSͲ104234245 KATHLEENL     GAPA                                   DEARBORN         MI     7/24/20171FADP3F28EL371328
FVSͲ107223465NATHANA        MORDICK                                SHELDON          IA     7/24/20171FADP3K27DL373852
FVSͲ107515970 MICHAELC      STEPHENS                               MUSKOGEE         OK     7/24/20171FADP3K28EL362568
FVSͲ110150600 BRENDA         ALLEN                                  ALLEN            OK     7/24/20171FAHP3F26CL129815
FVSͲ110170393 KEVINJ        ROCHEII                               EASTAMHERST      NY     7/24/20171FAHP3F26CL138854
FVSͲ111881846 RICHARDD      DEGHETTO                               ALPENA           MI     7/24/20171FAHP3J2XCL479472
FVSͲ112161685JOHNA          MISEK                                  BURLINGTON        WI     7/24/20171FAHP3K25CL329364
FVSͲ112629768JUANM          ROLDAN                                 RIVERVIEW        FL     7/24/20171FAHP3K29CL390393
FVSͲ112844669 CHESTERG      ZABINSKI                               STAUGUSTINE      FL     7/24/20171FAHP3M22CL287989
FVSͲ113129688EDWARDW        GAYLE                                  SPOTSYLVANIA      VA     7/24/20171FAHP3M26CL393636
FVSͲ113509979JOHNC          FREEMAN                                WESTEND         NC     7/24/20171FAHP3N25CL241300
FVSͲ114654271SHARONA        KNOX                                   SALINA           KS     7/24/20173FADP4BJ2FM190941
FVSͲ116802952 SALLYE        MADSEN                                 BETHESDA         MD     7/24/20173FADP4EJ4CM175655
FVSͲ116848650JOANNE          ROGERS                                 NTONAWANDA       NY     7/24/20173FADP4EJ4EM240183
FVSͲ118597418ANTHONY         ALEGRETE                               CANYONCNTRY      CA     7/24/20171FADP3K21GL227371
FVSͲ119335557 PAMELAK       DREW                                   CARDIFF          CA     7/24/20171FAHP3K21CL314201
FVSͲ119894831 MARIAG        MENDOZA                                MISSIONVIEJO     CA     7/24/20173FADP4EJ1GM120120
FVSͲ120005581HOWARDT        SCHWENKE                               POMONA           CA     7/24/20173FADP4EJ3CM173413
FVSͲ120737078CARLYLEA       LEEJR                                 ERIE             PA     7/24/20171FAHP3F26CL117258
FVSͲ100073077JANICEF        BURGAD                                 SANANTONIO       TX     7/25/20171FADP3E27DL163327
FVSͲ100109764THOMASF        ROCCO                                  MELBOURNE         FL     7/25/20171FADP3F29GL356758
FVSͲ100156185JENNIE          TOFIL                                  PEABODY          MA     7/25/20171FADP3F22EL343959
FVSͲ101792310 LISAA         ELLISON                                SHEPHERDSVLLE     KY     7/25/20171FADP3F20DL137215
FVSͲ102469156 BETTY          MCALLISTER                             CAMPBELLSVLLE     KY     7/25/20171FADP3E28EL206767
FVSͲ102536481 RODY           ZECK                                   NEWTONFALLS      OH     7/25/20171FADP3F24EL292755
FVSͲ102682496 ROYE          WEEKS                                  SHELBYVILLE       KY     7/25/20171FADP3F27EL389254
FVSͲ102706093CAROLEA        LOWRY                                  ELSBERRY         MO     7/25/20171FADP3F27DL170101
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                                                   
FVSͲ103428658SCHNICKWAJ      JONES                                             KATY             TX   7/25/20171FADP3F25FL384605
FVSͲ103680039OLGAM           VILLARREAL                                        PORTISABEL       TX    7/25/20171FADP3F26DL176794
FVSͲ104110988SUKY            WEIGAND                                           BUFFALO          NY    7/25/20171FADP3F23EL370040
FVSͲ104960302JAMESM          BRANT                                             STAMPINGGROUND   KY    7/25/20171FADP3F2XEL405379
FVSͲ105253006SARAHE          FRIEND                                            SCHARLESTON      WV    7/25/20171FADP3J25EL405085
FVSͲ105945315 JOSEL          DOSSANTOSAFONSO                                   ROCKAWAY         NJ    7/25/20171FADP3K21EL188813
FVSͲ106979035JUDITHM         GLYNN                                             EASTTAWAS        MI    7/25/20171FADP3K25FL210247
FVSͲ106980866CONRADC         WARREN                                            SAULTSMARIE     MI    7/25/20171FADP3K25FL218817
FVSͲ108542971 ROBERTJ        SPECHT                                            RICHMOND         KY    7/25/20171FADP3N20EL108736
FVSͲ108652181JOHNA           FOREMAN                                           LITTLEROCK       MS    7/25/20171FADP3N22GL298882
FVSͲ108721582 PEGGYJ         NORTON                                            INDEPENDENCE      MO    7/25/20171FADP3N20FL231048
FVSͲ108744272JAMESP          O'KEEFE                                           LOVELAND         OH    7/25/20171FADP3N23EL194222
FVSͲ108988139 WELLESC        HOUSH                                             JACKSONVILLE      FL    7/25/20171FADP3N28EL173088
FVSͲ109580613EDWARDA         YOUNG                                             SOUTHBOROUGH      MA    7/25/20171FAHP3F21CL240563
FVSͲ110643372ALBERTF         RINGIII                                          COCOA            FL    7/25/20171FAHP3F28CL427010
FVSͲ110767292 ELIZABETHL     LAWRENCE                                          LOUISVILLE       KY    7/25/20171FAHP3F2XCL188673
FVSͲ111304067TANYAD          YOUNG                                             MAPLEGROVE       MN    7/25/20171FAHP3H26CL479541
FVSͲ111570980NORMAN           WILLIAMS                                          HENDERSON         KY    7/25/20171FAHP3H29CL283917
FVSͲ111760119 RANDALLT       MAZZONE                                           ELKGROVEVLG     IL    7/25/20171FAHP3J28CL102154
FVSͲ113709382SHAWNA          COOPER                                            STOVER           MO    7/25/20173FADP4AJ4FM101114
FVSͲ114103232 PATSYS         NEALY                                             INDNHBRBCH      FL    7/25/20173FADP4AJXBM200238
FVSͲ115068740 ROBERTJ        FOOTE                                             WALPOLE          MA    7/25/20173FADP4BJ5DM206465
FVSͲ115492470CYNTHIAA        ALVEY                                             LOUISVILLE       KY    7/25/20173FADP4BJ8DM184705
FVSͲ115674365 RUTH            YEARY                                             MIDDLESBORO       KY    7/25/20173FADP4BJ8EM145114
FVSͲ115733400JUAN             MENDEZ                                            ELPASO          TX    7/25/20173FADP4BJ9CM135088
FVSͲ115833986RHONDA           MOORE                                             SOMERSET         KY    7/25/20173FADP4BJXDM193468
FVSͲ115861920RHONDA           MOORE                                             SOMERSET         KY    7/25/20173FADP4BJXDM184737
FVSͲ116654104SHAWNL          GRANT                                             ALLIANCE         NE    7/25/20173FADP4EJ4CM111891
FVSͲ117021717 RUTH            NUNAN                                             WINCHESTER        KY    7/25/20173FADP4EJ6CM125520
FVSͲ117289477 SKILESE        BLEWETT                                           BOWLINGGREEN     KY    7/25/20173FADP4EJ8EM111797
FVSͲ117368253 GEORGIAJ       MARCUM                                            LONGVIEW         TX    7/25/20173FADP4EJ8GM149548
FVSͲ117513822 JOHN            DOLL                                              PERU             IL    7/25/20173FADP4EJXDM207302
FVSͲ117786799 FRANKJ         LABEAU                                            GIBRALTAR        MI    7/25/20173FADP4FJ6BM113753
FVSͲ118717146 PAULR          WILLIAMS               MARCELLAJWILLIAMS        AUBURN           CA    7/25/20171FADP3K24EL322469
FVSͲ119133105TLALOCD         VILLARREAL             PETER&MARIAVILLARREAL   VENTURA          CA    7/25/20171FAHP3F25CL468338
FVSͲ119157977 ERICAL         ALLEN                                             LOSANGELES       CA    7/25/20171FAHP3F26CL301941
FVSͲ119225360MEHRNOOSH        TORKI                                             ANTELOPE         CA    7/25/20171FAHP3H23CL392857
FVSͲ119384310 BRITTANYM      MATT                                              LOSANGELES       CA    7/25/20171FAHP3H26CL342020
FVSͲ119446782ANTHONYR        KOVSCEK                                           SANCARLOS        CA    7/25/20171FAHP3K29CL477839
FVSͲ120501732 DANE           ARNDT                                             ERIE             PA    7/25/20171FADP3F23EL330752
FVSͲ120655837 SARAHJ         KECK                                              FLEETWOOD         PA    7/25/20171FADP3K25EL366822
FVSͲ120919974RONALDW         SMITH                                             BELLEFONTE        PA    7/25/20171FAHP3M24CL426522
FVSͲ120993279 DAVIDJ         YOUNG                                             FORDCITY        PA    7/25/20171FAHP3K20CL446365
FVSͲ800000161 PAMELA          PENBERTHY                                         MONTREAL         MO    7/25/20173FADP4EJ6DM109108
FVSͲ101038674THOMAS           BOURESSA                                          IRVING           TX    7/26/20171FADP3F25FL268806
FVSͲ101675542 DOUGLASH       MCMULLEN                                          NEWPRTRCHY      FL    7/26/20171FADP3F21EL204194
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                                                 
FVSͲ102525366ALYSIA         LARSEN                                               VALPARAISO       IN   7/26/20171FADP3F24DL379747
FVSͲ105471666 OLIVEJ       DIGENNARO                                             NORTHADAMS       MA    7/26/20171FADP3E23EL319798
FVSͲ106190830JOYCE          CLEMONS                                              NEWBURGH         IN    7/26/20171FADP3K22FL293118
FVSͲ106915428STEPHENG      HUNSUCKER                                             SPRING           TX    7/26/20171FADP3K25FL261019
FVSͲ107971526CARLAJ        TINEBRO                                              WOODDALE         IL    7/26/20171FADP3K2XDL318053
FVSͲ109271823 HARRYG       CROWCROFT                                             QUINCY           IL    7/26/20171FAHP3E22CL278871
FVSͲ109955269 JENNIFERS    HERNANDEZ                                             GLENDALE         AZ    7/26/20171FAHP3F23CL337120
FVSͲ113128959 CHRISTINAM   REDDICK                                              FORTLAUDERDALE   FL    7/26/20171FAHP3M26CL386976
FVSͲ114294305 LINDAL       PALMQUIST                                            MINNEAPOLIS       MN    7/26/20173FADP4BJ1CM102750
FVSͲ116134054MARY           PHARISSͲTRESSLER                                      STJOSEPH        MO    7/26/20173FADP4CJ3CM162835
FVSͲ116222867 HARRYG       CROWCROFT                                             QUINCY           IL    7/26/20173FADP4CJ7CM193442
FVSͲ116941910MARYA         CROSBY                                               PALATKA          FL    7/26/20173FADP4EJ5DM201262
FVSͲ117178195 COREYL       PADEGIMAS                                            LEWISVILLE       TX    7/26/20173FADP4EJ8CM212187
FVSͲ118124110EMMANUELLEL   GIRARD                                               LOSANGELES       CA    7/26/20171FADP3E24EL169555
FVSͲ118345613 BLADIMIROG   RODRIGUEZ                                            PLACENTIA        CA    7/26/20171FADP3F21GL203307
FVSͲ118763555 KARIMIP      BANI                                                 TARZANA          CA    7/26/20171FADP3K27EL399353
FVSͲ119066319 KARLA         SCHON                  MARIANORAVELO                HEMET            CA    7/26/20171FADP3KE3GL407431
FVSͲ119515148CHARLESD      BENNETT                SCOTTBENNETT                 LOSANGELES       CA    7/26/20171FAHP3K28CL415753
FVSͲ119732068ANTHONY        ALEGRETE                                             CANYONCNTRY      CA    7/26/20173FADP4BJ6CM162278
FVSͲ120396106 DANIELJ      VALENTINE                                            TAMAQUA          PA    7/26/20171FADP3F24DL368389
FVSͲ120605805 JENNIFERL    KYZER                                                MECHANICSBURG     PA    7/26/20171FADP3F2XGL226570
FVSͲ120757958 MONICAL      STOCKER                                              SCHUYKLHAVN      PA    7/26/20171FAHP3F25CL287319
FVSͲ120803372 DAVIDJ       DININNOJR                                           TURTLECREEK      PA    7/26/20171FADP3K27DL368313
FVSͲ120842629JUNEM         VALENTINE                                            TAMAQUA          PA    7/26/20171FAHP3H2XCL432853
FVSͲ121074927 RICHARDK     PRICE                                                PHILADELPHIA      PA    7/26/20171FAHP3J26CL140207
FVSͲ800000170JUAN           DELGADO                                              BELL             CA    7/26/20171FADP3N22DI196025
FVSͲ800000188ALFREDO        GARCIA                                               COMPTON          CA    7/26/20171FAHP3F24CL410270
FVSͲ800000196 CHRISTINA     VENGASͲSHAFER           C/OCONSUMERLEGALSERVICES   LONGBEACH        CA    7/26/20171FADP3K28EL110948
FVSͲ100775969 DUSTIR       MCCLEARY                                             LEBANON          MO    7/27/20171FADP3F27EL209254
FVSͲ101444516 DEBORAHJ     LEWIS                                                CHICAGO          IL    7/27/20171FADP3E24EL388192
FVSͲ103553037 REBEKAHA     KING                                                 DILLONVALE        OH    7/27/20171FADP3F28EL252937
FVSͲ104382031 GLENDA        ORSBURN                                              DECATURVILLE      TN    7/27/20171FADP3E22GL249729
FVSͲ104759976MAUREEN        GAMBONEY                                             CHICAGO          IL    7/27/20171FADP3F28DL370307
FVSͲ105548731AUDREY         SANMIGUEL                                            SPRING           TX    7/27/20171FADP3F21DL115272
FVSͲ107265214 KARENL       THOMAS                                               JOLIET           IL    7/27/20171FADP3K26EL369843
FVSͲ107711540 NICOLA        LINI                                                 OAKHURST         NJ    7/27/20171FADP3K29EL366385
FVSͲ111455782 ROBIN         STUPAY                                               FRANKFORT        IL    7/27/20171FAHP3H28CL445536
FVSͲ112221815 MARKA        PERICAK                                              LOCKPORT         IL    7/27/20171FAHP3K24CL225478
FVSͲ112959512 DAVIDM       MCKINNON                                             PINCKNEY         MI    7/27/20171FAHP3M23CL177081
FVSͲ113436882 CHRISTINEM   ANDERSON                                             BONAIRE          GA    7/27/20171FAHP3N28CL352181
FVSͲ116233630ANNER         HEILMAN                                              SAINTPAUL       MN    7/27/20173FADP4CJ9GM147116
FVSͲ117448575 DENNISJ      ANDERSON                                             BONAIRE          GA    7/27/20173FADP4FJ0BM156078
FVSͲ117847968JAMESE        WESTJR                                              RIVERSIDE        CA    7/27/20173FADP4FJ8FM121245
FVSͲ118604449 CLAUDIA       PARGAOSUNA                                           SANYSIDRO       CA    7/27/20171FADP3F2XEL138941
FVSͲ119696037ANN            MYERS                                                STOCKTON         CA    7/27/20173FADP4BJ3DM156231
FVSͲ119790483 MARIAE       GONZALEZ                                             LAMIRADA        CA    7/27/20173FADP4BJ7DM205172
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FVSͲ120261480JAMESH         HART                                    DANVILLE        PA    7/27/20171FADP3F20DL269441
FVSͲ120412195RONALDC        LEWIS                                   MECHANICSBURG    PA     7/27/20171FADP3F28DL207043
FVSͲ120792303GARYA          ZORTMAN               NANCYJZORTMAN   DOVER           PA     7/27/20171FAHP3F2XCL421290
FVSͲ120932920REIE           HORST                                   WESTCHESTER     PA     7/27/20171FAHP3F22CL360050
FVSͲ121048551BRUCEW         SHAFFER                                 MCSHERRYSTOWN    PA     7/27/20171FAHP3N2XCL219390
FVSͲ121242471SANDRAD        RODRIGUEZ                               PHILADELPHIA     PA     7/27/20173FADP4BJXDM191431
FVSͲ800000218TIFFANYMANE    WEST                                    RIVERSIDE       CA     7/27/20173FADP4FJ8FJ8FM121245
FVSͲ800001753BARBARA         GINTIS                                  DRESHER         PA     7/27/20171FADP3F22EL116089
FVSͲ100993958CASSANDRAE     LEISNER                                 PALMBAY        FL     7/28/20171FADP3F23FL228143
FVSͲ101645252WILLIAMC       NELSON                                  CHARLOTTE       NC     7/28/20171FADP3FE3FL338605
FVSͲ102885591ANGELAM        GAMEZ                                   HOUSTON         TX     7/28/20171FADP3F28DL333824
FVSͲ103032649LINDAM         JOHNSON                                 GARFIELD        OH     7/28/20171FADP3J29EL449848
FVSͲ103839747JOHNM          WALL                                    BLOOMINGDALE     NJ     7/28/20171FADP3E22EL257407
FVSͲ104529857GLENDAL        METZGER                                 SAINTLOUIS      MO     7/28/20171FADP3F26GL342834
FVSͲ106396749WILLIAML       BAXTER                                  COCOA           FL     7/28/20171FADP3K22FL354449
FVSͲ106662058ADAMD          TOWNSEND                                MERIDIAN        ID     7/28/20171FADP3K24FL360673
FVSͲ107365561CHRISTOPHERW   PALMER                ROBYNSPALMER    MANSFIELD       OH     7/28/20171FADP3K28DL146704
FVSͲ107659190BARBARAD       SACHS                                   TWPWASHINTON    NJ     7/28/20171FADP3K29EL172052
FVSͲ108266036NATALIEA       RYAN                                    MALVERNE        NY     7/28/20171FADP3K29DL323292
FVSͲ109351959EMILY           YOUNG                                   FORTBRANCH      IN     7/28/20171FAHP3F20CL310909
FVSͲ109767489VALARIEL       EMICH                                   ALSIP           IL     7/28/20171FAHP3F23CL283138
FVSͲ113465912JAMESA         ROACH                                   IMPERIAL        MO     7/28/20173FADP4AJ1BM207322
FVSͲ113624930MARJORIEL      WOODZELL                                DAYTON          OH     7/28/20173FADP4AJ0DM219691
FVSͲ114127417BARTIRAI       TIBURTIUS                               ARLINGTONHTS    IL     7/28/20173FADP4BJ0DM131934
FVSͲ114151695STEVEB         BLACKBURN                               WALTON          KY     7/28/20173FADP4BJ0CM215654
FVSͲ119735504MARTHAK        RINGER                                  ARROYOGRANDE    CA     7/28/20173FADP4AJ6BM122122
FVSͲ119881926MARTHA          RINGER                                  ARROYOGRANDE    CA     7/28/20173FADP4BJ4DM221068
FVSͲ120177234ANDREAP        CHEUK                                   SANFRANCISCO    CA     7/28/20173FADP4EJ9DM150137
FVSͲ800000226JOSEPH          FOOTE                                   DETROIT         MI     7/28/20171FADP3F20DL268452
FVSͲ100755909SUSANM         MILLER                                  PHOENIX         AZ     7/29/20171FADP3F21EL453806
FVSͲ103626239MASONS         LEWIS                                   WARREN          MI     7/29/20171FADP3F20GL211995
FVSͲ113552483EFRAIN          ZAMORACALDERON                          GLENCOVE       NY     7/29/20173FADP4AJ1GM153429
FVSͲ118790838LAURENK        DOWNES                                  MOORPARK        CA     7/29/20171FADP3K22DL382426
FVSͲ119020440JEREMYK        VANPATTEN                               SANTAANA       CA     7/29/20171FADP3N28EL422473
FVSͲ120725894JAREDM         SCHWARZ                                 PHILADELPHIA     PA     7/29/20171FADP3K24FL259018
FVSͲ100809391ODALYSL        MARTINEZ                                MIAMI           FL     7/31/20171FADP3F25GL381883
FVSͲ104441151RICHARDM       YANNELLI                                HILTONHEAD      SC     7/31/20171FADP3F27GL335164
FVSͲ104962062CHERYLA        BALDWIN                                 IRVINGTON       NJ     7/31/20171FADP3F2XEL409139
FVSͲ106283405DONALDS        SCHROEDER                               SEMINOLE        FL     7/31/20171FADP3K23DL230641
FVSͲ106930923PETERJ         GULICK                                  PHOENIX         AZ     7/31/20171FADP3K25DL353244
FVSͲ111966590NICHOLASJ      ZURAWSKYJ                               CAPECORAL       FL     7/31/20171FAHP3K22CL473339
FVSͲ113568401STEVEND        SANDERS                                 BUFFALO         NY     7/31/20171FAHP3N27CL480184
FVSͲ114654689JENNIFER        MIRANDA                                 ZEPHYRHILLS      FL     7/31/20173FADP4BJ2FM195525
FVSͲ116758970MICHAELA       SMITH                                   ELLINGTON       CT     7/31/20173FADP4EJ3GM164135
FVSͲ118841297JENNA           FONDARIO                                SNBERNRDNO      CA     7/31/20171FADP3K2XEL302646
FVSͲ118857622BRIAN           GREENWALD                                CONCORD         CA     7/31/20171FADP3K28EL330509
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FVSͲ119163020SILDA            HERNANDEZ                                SNBERNRDNO    CA    7/31/20171FADP3N23FL387293
FVSͲ119440350NANCY            LOWE                                     BAKERSFIELD     CA     7/31/20171FAHP3M27CL348754
FVSͲ120155494 BRIGITTE        SCHALKE                                  THOUSANDOAKS   CA     7/31/20173FADP4EJ9EM235447
FVSͲ120248484 MELISSAA       SMITH                                    PITTSBURGH      PA     7/31/20171FADP3F21EL438318
FVSͲ120306816 RUTHA          REBER                                    HAMBURG        PA     7/31/20171FADP3F21DL330456
FVSͲ120654091 DANIELK        GUILLENMENDOZA                           PITTSBURGH      PA     7/31/20171FADP3K25EL265649
FVSͲ120658992SHANEL          FURMAN                                   BANGOR         PA     7/31/20171FADP3N25EL422642
FVSͲ120787059 MICHAELP       HAGEL                                    SHREWSBURY      PA     7/31/20171FAHP3F20CL182462
FVSͲ120793172 KATHYM         FRIGM                                    YORK           PA     7/31/20171FAHP3F24CL427344
FVSͲ120966441 PATRICK         CARSON                                   IRWIN          PA     7/31/20171FAHP3K2XCL328680
FVSͲ121151743TAYLORL         FRIEZE                                   HAVERTOWN       PA     7/31/20173FADP4CJ6DM217960
FVSͲ121259986 KARENA         KORMUTH                                  CHARLEROI      PA     7/31/20173FADP4BJXBM132134
FVSͲ800000200JACKLYN          CHEN                                     PLACENCIA      CA     7/31/20173FADP4EJ6DM177764
FVSͲ800000250JAZZMIN          FARRELL                                  PHILADELPHIA    PA     7/31/20171FADP3F29FL335696
FVSͲ800000269CHRISTINE        GOHN                                     NORTHWALES     PA     7/31/20173FADP4CJ4BM227576
FVSͲ800000277AMANDA           PICKARSKI                                NORTHWALES     PA     7/31/20173FADP4CJ4BM227576
FVSͲ800002890STEPHENJ        PURCEL                                   PARMAHEIGHTS   OH     7/31/20171C3CCBBB7EN127616
FVSͲ800003462ANN              SATTERWHITE                               ANNHARBOR      MI     7/31/20171FADP3F27DL252426
FVSͲ100631436 MARIAE         GALL                                     CLINTON        NY     8/1/20171FADP3F24DL311433
FVSͲ100917330 MILDRED         ZORNES                                   HUNTINGTON      WV     8/1/20171FADP3F26EL428982
FVSͲ101607130CIRO             GAONA                                    GREENLEAF      ID     8/1/20171FADP3J25DL221585
FVSͲ103005706SHIRLEYC        KAGEY                                    WELLSTON       OH     8/1/20171FADP3E28GL251615
FVSͲ103513280RAMONO          MORENO                                   GIGHARBOR      WA     8/1/20171FADP3F29DL123006
FVSͲ104568216 LINDAA         ALDI                                     PALENVILLE     NY     8/1/20171FADP3F27EL291244
FVSͲ105642126MONIQUER        LEFEBVRE                                 PORTRICHEY     FL     8/1/20171FADP3F27GL385840
FVSͲ107919109 KARLD          TRIEBES                                  BELLEVUE       WA     8/1/20171FADP3K29EL399855
FVSͲ108783065CARMENI         MORENO                                   WESTMILFORD    NJ     8/1/20171FADP3N23EL125742
FVSͲ113874596DEBORAH          MATALIK                                  MOLINE         IL     8/1/20173FADP4AJ8FM223927
FVSͲ118482890 MIGUEL          ENRIQUEZ                                 OCEANSIDE      CA     8/1/20171FADP3F29EL305953
FVSͲ118533380JENNY            NGO                                      LOSANGELES     CA     8/1/20171FADP3FE5FL348732
FVSͲ118761676ALPER            OZPINAR                                  LOSANGELES     CA     8/1/20171FADP3K22EL277449
FVSͲ118878360MATTHEWJ        WALSH                                    LOSANGELES     CA     8/1/20171FADP3K26FL360500
FVSͲ119111039 RICHARDS       LEMMON                                   ONTARIO        CA     8/1/20171FAHP3F22CL468023
FVSͲ119262924 BLANCAE        SANCHEZ               AKABLANCABRITO   BAKERSFIELD     CA     8/1/20171FAHP3F23CL366861
FVSͲ119316161 BRIANY         WILLIS                                   MENLOPARK      CA     8/1/20171FAHP3K22CL228069
FVSͲ119321122GAILA           PICOU                                    CROCKETT       CA     8/1/20171FAHP3H28CL114844
FVSͲ119416107 MICHELE         DOUGLASS                                 APPLEVALLEY    CA     8/1/20171FAHP3K2XCL167747
FVSͲ119579634 DESIREEH       BASL                                     WOODLANDHLS    CA     8/1/20173FADP4AJ2FM203172
FVSͲ119708060GENTAO           TAN                                      SANFRANCISCO   CA     8/1/20173FADP4BJ6BM109143
FVSͲ119907208 DAVIDP         COUDERT                                  NEVADACITY     CA     8/1/20173FADP4EJ1EM236172
FVSͲ120153009 PATRICIAE      KNIGHT                                   SANPABLO      CA     8/1/20173FADP4EJ7CM173480
FVSͲ120320851 MICHAELB       KOSTYO                                   MTPLEASANT     PA     8/1/20171FADP3F24GL374214
FVSͲ120386640STEPHANIEL      SANNER                                   MTPLEASANT     PA     8/1/20171FADP3F22DL379536
FVSͲ120514680 FREDJ          HEALY                                    PHILADELPHIA    PA     8/1/20171FADP3J29DL141688
FVSͲ120596121 PAULJ          WELBY                                    SCRANTON       PA     8/1/20171FADP3F28GL393073
FVSͲ120622793 DENISEL        YOUNG                                    CANONSBURG      PA     8/1/20171FADP3K2XEL323822
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FVSͲ120684098LAURENM         ABEL                                   GLENOLDEN        PA     8/1/20171FADP3K21EL243485
FVSͲ120723727JOHN             MAIERON                                BLUEBELL        PA      8/1/20171FADP3K24EL319720
FVSͲ120882957 MICHAELF       VOUGHT                                 PROSPECT         PA      8/1/20171FAHP3H27CL145101
FVSͲ121037150GLORIAK         KNOELLER                               DOUGLASSVILLE     PA      8/1/20173FADP4BJ9BM231673
FVSͲ121071138 HILDAG         KERN                                   MANCHESTER        PA      8/1/20173FADP4BJ8BM121259
FVSͲ800000285 ELENAKARIN     GRILLIAS                               RSM              CA      8/1/20173FADP4BJ0DM208253
FVSͲ800000293 KYLEEJEANINE   BOLT                                   LONGBEACH        CA      8/1/20171FAHP3K26CL316008
FVSͲ800003101TIERRA           DENARD                                 YPSILANTI        MI      8/1/20171FADP3F26DL243345
FVSͲ100156312STEPHANIEM      REEHL                                  SHAPLEIGH        ME      8/2/20171FADP3F22EL344187
FVSͲ101255403 DAVIDG         TULLY                                  OSWEGO           IL      8/2/20171FADP3F2XDL194392
FVSͲ101503938ALICE            ROBBINS                                SHOALS           IN      8/2/20171FADP3F24DL133328
FVSͲ101556853 FRANK           ATCHISON                               ARLINGTONHTS     IL      8/2/20171FADP3F24EL258301
FVSͲ101741987CHRISTY          SCOTT              BRIANSCOTT         CINCINNATI       OH      8/2/20171FADP3F28DL119139
FVSͲ101783710GREGORYR        NEWSOME                                FLATROCK        MI      8/2/20171FADP3F26EL137186
FVSͲ102097631GREEN            TRIPLETT                               LONDON           KY      8/2/20171FADP3F24DL171271
FVSͲ102356955 EDDIEL         NELSON                                 SOMERSET         NJ      8/2/20171FADP3F21EL232464
FVSͲ103912240 REBECKA         WALTER                                 FINDLAY          OH      8/2/20171FADP3F2XDL219968
FVSͲ104168994ANNEM           MANGIONE                               LOUISVILLE       KY      8/2/20171FADP3F2XDL106022
FVSͲ104308923 PAUL            GILLUM                                 CATLETTSBURG      KY      8/2/20171FADP3F2XEL194345
FVSͲ104412348 MICHAEL         WEBB                                   HUMBLE           TX      8/2/20171FADP3F20DL280682
FVSͲ104786108 LORETTAJ       JOHNSON                                VILLAHILLS      KY      8/2/20171FADP3J27EL128827
FVSͲ105299634AMANDAJ         MAPLE                                  GARDNER          KS      8/2/20171FADP3F28DL285418
FVSͲ105350923ANTHONYJ        HELLENBRAND                             DEPERE          WI      8/2/20171FADP3F24EL192817
FVSͲ105386260DOROTHY          MOORE                                  SAINTLOUIS       MO      8/2/20171FADP3F26DL362321
FVSͲ105509019 KRYSTALR       RUSSELL                                BELLEVILLE       IL      8/2/20171FADP3F25DL226407
FVSͲ105587133 LISAA          DECHIARA                               SANDIEGO        CA      8/2/20171FADP3F28EL285940
FVSͲ106368834 KEVINC         MCVEY                                  CHICAGO          IL      8/2/20171FADP3K23DL157464
FVSͲ106698990WILLIAMJ        LANGENSTEIN                             FAIRVIEWHTS      IL      8/2/20171FADP3K24EL155871
FVSͲ106856529 DENNISE        HOMANT                                 ORTONVILLE        MI      8/2/20171FADP3K25DL209466
FVSͲ107196859ANTHONY          EMBREE                                 HOLT             MO      8/2/20171FADP3K26GL202899
FVSͲ107458470 NICOLEC        BARBERO                                BELLINGHAM        WA      8/2/20171FADP3K28DL108163
FVSͲ108097340 LOTTIER        ELSASSER                               SUSSEX           NJ      8/2/20171FADP3K2XEL338496
FVSͲ108612031 PEGGYJ         GRIGGS             RICHARDGRIGGS      CHARLESTON        MO      8/2/20171FADP3N21DL203370
FVSͲ109879201ASHLEY           SOTO                                   PFLUGERVILLE      TX      8/2/20171FAHP3F23CL355035
FVSͲ111116031 MICHELLEL      SOBECK                                 NAPERVILLE       IL      8/2/20171FAHP3H22CL479441
FVSͲ111710294 KARAL          CARSTENS                               EDGEWOOD          KY      8/2/20171FAHP3J23CL183130
FVSͲ112042155ASHLEY           WARREN                                 WOODSTOCK         IL      8/2/20171FAHP3K22CL409916
FVSͲ113095430 MICHELLE        MULDER                                 NORTHBROOK        IL      8/2/20171FAHP3M26CL445637
FVSͲ113527063THOMASE         PEIFER                                 HERCULANEUM       MO      8/2/20173FADP4AJ3CM111855
FVSͲ114964700HOWARDW         FUNK                                   WOODINVILLE       WA      8/2/20173FADP4BJ5DM116944
FVSͲ115296131ARLYNEG         FUNK                                   WOODINVILLE       WA      8/2/20173FADP4BJ7CM207857
FVSͲ115338764 BRENDA          ROHEN                                  JOPLIN           MO      8/2/20173FADP4BJ6GM119873
FVSͲ116106352 DAVIDL         OSBORNE                                NEWPORTRICHEY   FL      8/2/20173FADP4CJ8CM195068
FVSͲ117339687 NATHANS        CASTONIA                               WHITEHALL        MI      8/2/20173FADP4EJ9CM216409
FVSͲ117438480JAMES            SAVAGE                                 QUINCY           KY      8/2/20173FADP4EJXEM139889
FVSͲ117655511ALANDRAM        HARP                                   NIXA             MO      8/2/20173FADP4FJ8BM205057
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FVSͲ118441671ALEXANDRA        GONZALEZ                                 VISALIA        CA     8/2/20171FADP3F28EL139165
FVSͲ118535846 PENNY           CROW                                     MILLVALLEY     CA      8/2/20171FADP3J20DL116582
FVSͲ119477297 ROBERTA        FERRANTE                                 IRVINE         CA      8/2/20171FAHP3K29CL175287
FVSͲ120630800WILLIAMJ        PRAMIK                                   ALLENTOWN       PA      8/2/20171FADP3F28FL298088
FVSͲ120673290 MICHAELT       SMITH                                    HAVERTOWN       PA      8/2/20171FADP3F2XEL179036
FVSͲ800000307 BRIAN           CROW                                     WESTHILLS     CA      8/2/20171FADP3J20DL116582
FVSͲ800002717 DOUGLAS         HIVNER                                   HUBBARD        OH      8/2/20171FAHP3F24CL239293
FVSͲ100369030JOHNF           RIDGE                                    PORTSTLUCIE   FL      8/3/20171FADP3E20EL127349
FVSͲ102716242 DOROTHYE       BRAY                                     GLEN           MS      8/3/20171FADP3F27GL261423
FVSͲ103382933 MARKJ          KOERNER                                  SANCLEMENTE    CA      8/3/20171FADP3F27EL143336
FVSͲ104831235 DAVIDR         BENDER                                   TROY           NY      8/3/20171FADP3F22DL330160
FVSͲ105827541CANDIA          DIECKMAN              KARLDIECKMAN      LITTLEELM     TX      8/3/20171FADP3K21DL157673
FVSͲ108883884 LINDAS         PIERCEͲJASIOLEK                           CARLETON       MI      8/3/20171FADP3N25FL363268
FVSͲ109854632 DENEILR        SANCHEZ                                  CLYDE          OH      8/3/20171FAHP3F22CL463937
FVSͲ110833627SUSANM          COPPINGER             ROBERTVIGILANTE   MACCLENNY       FL      8/3/20171FAHP3F2XCL151252
FVSͲ114523592 DEBORAH         SWEET                                    BATTLECREEK    MI      8/3/20173FADP4BJ2EM220292
FVSͲ115581669CAROLEA         AUGSBURGER                                EASTLANSING    MI      8/3/20173FADP4BJ9BM171720
FVSͲ116040165 RITA            RUSSELL                                  KNOX           IN      8/3/20173FADP4BJXEM142876
FVSͲ118465953TANIA            GHOSH                                    REDONDOBEACH   CA      8/3/20171FADP3F25EL153850
FVSͲ118498932TRACYL          EMBLEM                                   ESCONDIDO      CA      8/3/20171FADP3F25EL111209
FVSͲ118612000 ROSALIED       SILVA                                    POWAY          CA      8/3/20171FADP3J28FL361651
FVSͲ118712977 FRANK           QUINTERO                                 MADERA         CA      8/3/20171FADP3K24EL170158
FVSͲ118854038 LOREEN          FERREIRA                                 MANTECA        CA      8/3/20171FADP3K2XEL230542
FVSͲ118861492 KIMBERLYA      PAGE                                     AUBURN         CA      8/3/20171FADP3K2XFL241672
FVSͲ119149702 HERMINIO        ROMAN                                    SNBERNRDNO     CA      8/3/20171FAHP3F20CL392236
FVSͲ119382954VANNIAM         BLANCHARD                                 SANLEANDRO     CA      8/3/20171FAHP3H26CL196024
FVSͲ119497409WILLIAMM        DOWDALL               OPALDOWDALL       PALMDESERT     CA      8/3/20173FADP4AJ0CM103048
FVSͲ119592371MAGDALENA        ROMAN                                    SNBERNRDNO     CA      8/3/20171FAHP3M22CL468090
FVSͲ121188655JENNIFER         SANTANNA                                 CARBONDALE      PA      8/3/20173FADP4CJ4CM103650
FVSͲ100607462 MELINDA         BLASINSKY                                WILLOUGHBY      OH      8/4/20171FADP3F22EL116755
FVSͲ103934944HUMBERTO         ULLOA                                    PALMETTOBAY    FL      8/4/20171FADP3F23GL224174
FVSͲ104768266 ERICJ          GEYER                                    WAXHAW         NC      8/4/20171FADP3F24EL395920
FVSͲ105281239 KENNETHE       SHARP                                    FLUSHING       MI      8/4/20171FADP3F26EL389715
FVSͲ107826003 MICHAELP       MILLER                                   AUBURNHILLS    MI      8/4/20171FADP3F22EL310797
FVSͲ111150400WILLIAMD        PERKINS                                  EGREENWICH     RI      8/4/20171FAHP3H21CL196030
FVSͲ115197559 DONNAL         KNAPP                                    VISALIA        CA      8/4/20173FADP4BJ6FM133710
FVSͲ121190420JOSEPHW         KENNEDY                                  KENNETTSQ      PA      8/4/20173FADP4FJ9BM169993
FVSͲ100608272TIMOTHYW        SCOTT                                    COLUMBUS       OH      8/5/20171FADP3F28EL405378
FVSͲ101897502COREYE          MUYLAERT                                 TROY           MI      8/5/20171FADP3F28GL406775
FVSͲ103073051ALEXANDRA        MCCARTHY                                 LIVONIA        MI      8/5/20171FADP3F2XDL157214
FVSͲ104574844GARY             TRUDELL                                  TRENTON        MI      8/5/20171FADP3F25GL267298
FVSͲ113125151 MICHAELD       LESNIAK                                  WIXOM          MI      8/5/20171FAHP3M29CL478891
FVSͲ117452904SEANM           BESEMER                                  CLEVELAND      OH      8/5/20173FADP4FJ1CM106159
FVSͲ119420031ANDRES           ALBERTOJR                               SSANFRAN     CA      8/5/20171FAHP3K2XCL330607
FVSͲ119774569JOSEV           CRUZ                                     CHULAVISTA     CA      8/5/20173FADP4BJ5CM159162
FVSͲ100646271STEPHENJ        WOLNIK                                   WORCESTER       MA      8/7/20171FADP3F25EL308638
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FVSͲ100820069 REDELLA        BURNETT                                CHICAGO          IL     8/7/20171FADP3F26EL258932
FVSͲ100936660CLARAG         GUIDRY                                 MAMOU            LA      8/7/20171FADP3F26EL119724
FVSͲ101496842 KAREN          ULISSE                                 TRENTON          NJ      8/7/20171FADP3F29EL309047
FVSͲ101561393 KIMBERLYS     BATTIG                                 SAINTLOUIS       MO      8/7/20171FADP3F28DL226644
FVSͲ101739338WILLIAME       SCHACHT                                CANTON           MI      8/7/20171FADP3F26EL280865
FVSͲ101764812YOLANDA         RIVERA                                 CHICAGO          IL      8/7/20171FADP3F28EL136010
FVSͲ102105111JESSICAK       STURGEON                               PORTSTLUCIE     FL      8/7/20171FADP3F27EL368646
FVSͲ102141258 EDITHM        BOWLES                                 LESTERVILLE       MO      8/7/20171FADP3F29EL175673
FVSͲ102194920 RUTHY         YARBOROUGH                              CHICAGO          IL      8/7/20171FADP3F27DL149815
FVSͲ102339759 DENNISL       WELLS                                  FLOWERYBR        GA      8/7/20171FADP3F20FL285836
FVSͲ102770387 RODGERT       OZNOFF                                 HUNTLEY          IL      8/7/20171FADP3F25DL136707
FVSͲ102970203ROWANW         COOK                                   PAWTUCKET         RI      8/7/20171FADP3E25EL145457
FVSͲ103021620RODGERT        OZNOFF                                 HUNTLEY          IL      8/7/20171FADP3F20DL208462
FVSͲ103110259 KENNETH        ADAMS                                  PIKEVILLE        KY      8/7/20171FADP3F26EL167515
FVSͲ103356193GEORGE          STENGER                                BROOKVILLE        IN      8/7/20171FADP3F23DL168863
FVSͲ104302305WILLIAML       BRAY                                   CYPRESS          TX      8/7/20171FADP3F29DL345559
FVSͲ104338490TERESAM        BAUER                                  LOUISVILLE       KY      8/7/20171FADP3J21DL312742
FVSͲ104733098 BELINDAM      WILLIAMS                               SAINTLOUIS       MO      8/7/20171FADP3K20EL109776
FVSͲ104799501 RAY            BERTHIAUME                              FTLAUDERDALE     FL      8/7/20171FADP3F22FL365977
FVSͲ105693502 BHARTAND      AMIN                                   SHELBYTWP        MI      8/7/20171FADP3J22DL123131
FVSͲ106276166AMY             MITCHELL                               LANSING          IL      8/7/20171FADP3K23DL223284
FVSͲ106365991 FLONNIEL      HIGHͲALLAN                              FLORISSANT       MO      8/7/20171FADP3K23EL293840
FVSͲ107061376CARLP          GRALA                                  BORDENTOWN        NJ      8/7/20171FADP3K26DL175277
FVSͲ107935309 RAHUL          HARISH                                 FARMINGTNHLS     MI      8/7/20171FADP3K2XDL157400
FVSͲ108103234DAWN            NORMAN                                 CRESTHILL       IL      8/7/20171FAHP3H25CL404149
FVSͲ108828344 DAVID          NAPIER                                 LEXINGTON        KY      8/7/20171FADP3N27FL217955
FVSͲ109173740 ESPERANZAS    LEAL                                   SANANTONIO       TX      8/7/20171FAHP3E25CL409615
FVSͲ110092880JOSEL          ALLENDE                                CHICAGO          IL      8/7/20171FAHP3F24CL309357
FVSͲ110452666JILLS          JERABEK                                SAINTPAUL       MN      8/7/20171FAHP3F27CL304735
FVSͲ110477928 LINDA          GONZALES                               HOUSTON          TX      8/7/20171FAHP3F27CL161138
FVSͲ110497457ANTOINETTEM    MALONEY                                EVANSTON         IL      8/7/20171FAHP3F27CL427662
FVSͲ110552458VALERIE         WOODS                                  BELLWOOD         IL      8/7/20171FAHP3F28CL353412
FVSͲ110989236CARMELAR       GRECO                                  BLACKWOOD         NJ      8/7/20171FAHP3F2XCL230453
FVSͲ111406714MALCOM          HOWARD                                 SALYERSVILLE      KY      8/7/20171FAHP3H29CL141373
FVSͲ111432987ANTHONYR       JOHNSON                                CHICAGO          IL      8/7/20171FAHP3H26CL349856
FVSͲ111498384MURRAYS        LEVIN                                  PRAIRIEVLG      KS      8/7/20171FAHP3H29CL336826
FVSͲ112067255 NORMAJ        HABBEN                                 THOMSON          IL      8/7/20171FAHP3K24CL309641
FVSͲ112681603 RACHELJ       SOWERS                                 OREGONCITY       OR      8/7/20171FAHP3K2XCL423563
FVSͲ112715370 KELSEYJ       ZANCHA                                 LOVINGTON        IL      8/7/20171FAHP3M21CL420970
FVSͲ112743900 ROBINC        ROLLINS                                LAPORTE         TX      8/7/20171FAHP3M21CL409662
FVSͲ112858546DARRAND        KELINSKE                               AUSTIN           TX      8/7/20171FAHP3M24CL402950
FVSͲ113733585JOHNH          KINART                                 BOLIVAR          MO      8/7/20173FADP4AJ2DM177170
FVSͲ113839405ALLENC         CHRISTIAN                              GLENVIEW         IL      8/7/20173FADP4AJ4DM118279
FVSͲ114813949ARMANDO         AVALOS                                 ORLANDHILLS      IL      8/7/20173FADP4BJ4BM145915
FVSͲ114826021ANTHONYW       JOHNSON                                WHITESVILLE       KY      8/7/20173FADP4BJ3DM129790
FVSͲ115833994SHARON          BAKER                                  COVINGTON         KY      8/7/20173FADP4BJXDM193471
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                                              
FVSͲ116416459RAMESHA        NAVARATNAM                              DUBLIN            OH   8/7/20173FADP4EJ2BM176186
FVSͲ116706740BRADLEYJ       GIESEL                                  VERONA            WI    8/7/20173FADP4EJ4DM153043
FVSͲ116830751CELESTEL       DEJESUS                                 ELGIN             IL    8/7/20173FADP4EJ5FM161025
FVSͲ117135739GREGORY         ATKINS                                  CHICAGO           IL    8/7/20173FADP4EJ8EM226349
FVSͲ117396389LISAA          BERTSCHINGER                             DUPO              IL    8/7/20173FADP4FJ0CM103754
FVSͲ118216201ALARAK         HARPELL                                 SANDIEGO         CA    8/7/20171FADP3E29GL362545
FVSͲ118240188MICHELLED      CAMIRE                                  APPLEVALLEY       CA    8/7/20171FADP3E29DL277345
FVSͲ118871110KIETH           GRIJALVA                                ALPINE            CA    8/7/20171FADP3K2XDL264172
FVSͲ118927671SCOTTA         FORST                                   PALMDESERT        CA    8/7/20171FADP3K28DL319847
FVSͲ118993917STACYS         MIDDLEBROOK                              ENCINITAS         CA    8/7/20171FADP3N29EL341305
FVSͲ119012600EDWINJ         MILLER             ERLINDAMILLER       RIVERSIDE         CA    8/7/20171FADP3K29EL230337
FVSͲ119263777DAVID           ZOOK               SARAHZOOK           TRACY             CA    8/7/20171FAHP3F23CL392571
FVSͲ120041626RUTH            GONZALEZ           ANTHONYGONZALEZ     SANFERNANDO       CA    8/7/20173FADP4FJ0CM176817
FVSͲ120322285SHANNAL        MILLIGAN                                PERKIOMENVLLE      PA    8/7/20171FADP3F20FL381224
FVSͲ120338580KEVINS         RICKABAUGH                               ALTOONA           PA    8/7/20171FADP3F24EL428446
FVSͲ120409810WILLIAMH       MCCLINTON                               PERKASIE          PA    8/7/20171FADP3F28DL120677
FVSͲ120479958DANIELE        COCCO                                   SARVER            PA    8/7/20171FADP3J2XDL198482
FVSͲ120498987EDWARDA        TALMADGE                                APOLLO            PA    8/7/20171FADP3J25EL449734
FVSͲ120544458JOHNATHANP     IRVIN                                   SLATINGTON         PA    8/7/20171FADP3J24DL166837
FVSͲ120633663BARBARAA       CLARK                                   BOLIVAR           PA    8/7/20171FADP3K29FL201857
FVSͲ120640899DAVIDH         BORLAND                                 PITTSBURGH         PA    8/7/20171FADP3N26EL122124
FVSͲ120769190DOLORES         MARTELLA                                LANSDALE          PA    8/7/20171FADP3K27GL232381
FVSͲ121194507MICHELLED      ECKMAN                                  LITITZ            PA    8/7/20173FADP4EJ5EM105973
FVSͲ800000234BRANDI          SCHUETRUM                                SCHUYLKILLHAVEN   PA    8/7/20171FAHP3F25CL287319
FVSͲ800000242AMANDA          HOPRICH                                 SHAVERTOWN         PA    8/7/2017WF0DP3TH5H4119552
FVSͲ800000315BILLY           COOMER                                  LOUISVILLE        KY    8/7/20171FADP3F9DL130666
FVSͲ100089607KRISTYL        WALL                                    TABERG            NY    8/8/20171FADP3F21EL418814
FVSͲ100928064JEACOJ         HILL                                    HAZELPARK        MI    8/8/20171FADP3F20EL116754
FVSͲ101420404MARYM          WILLIAMS                                BERRIENCTR        MI    8/8/20171FADP3E27GL252464
FVSͲ102824266BRAE            RINER                                   TAMPA             FL    8/8/20171FADP3F28GL261477
FVSͲ102996636ADELINAF       HOLUB                                   HOUSTON           TX    8/8/20171FADP3F2XEL430119
FVSͲ103090002MICHAELS       DASAPPAN                                SUCCASUNNA         NJ    8/8/20171FADP3F23EL102346
FVSͲ104152958TAMMY           CAUDILL            JOHNSALTIS          LORAIN            OH    8/8/20171FADP3F24EL370595
FVSͲ105054739MEGANK         ZONTEK                                  COLUMBIA          MD    8/8/20171FADP3F27EL301853
FVSͲ105486540MELODYM        LOVE               AKAMELODYDUPREE    GRANITECITY       IL    8/8/20171FADP3F20EL373347
FVSͲ106892967VINCENT         NASELLI                                 SOMERSET          NJ    8/8/20171FADP3K26DL103513
FVSͲ107423464APRILD         PATTERSON                               BRANDON           FL    8/8/20171FADP3K28DL121611
FVSͲ107841754RICHARDH       LOCKE                                   BELLEVILLE        MI    8/8/20171FADP3K29EL429713
FVSͲ108929710CATHERINEA     PADILLA                                 BLOOMFLDHLS       MI    8/8/20171FADP3N2XEL107612
FVSͲ109917375DAVIDW         EMPSON                                  SCIO              NY    8/8/20171FAHP3F23CL346464
FVSͲ110531116MIAF           STONE                                   OREM              UT    8/8/20171FAHP3F28CL343074
FVSͲ111480213GARYM          PATTISON                                CHITTENANGO        NY    8/8/20171FAHP3H2XCL310221
FVSͲ111563569LAURAF         STUDEBAKER          GREGORYSTUDEBAKER   CAPECORAL         FL    8/8/20171FAHP3J25CL427098
FVSͲ111619653NORMANH        ALEXANDER                               NEWARK            NJ    8/8/20171FAHP3J2XCL103970
FVSͲ112669409SANDRAA        MURDZA                                  WESTLAND          MI    8/8/20171FAHP3M20CL448856
FVSͲ112702813DONNA           DEWINNE            WAYNEDEWINNE        SANANTONIO        TX    8/8/20171FAHP3K29CL320523
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FVSͲ115488979 LINDA          HAMILTON                                     BAYMINETTE    AL   8/8/20173FADP4BJ7FM144862
FVSͲ116837187 DARRYLK       LAWLER             ASHLEYLAWLERAKAIRWIN   LINDENHURST     IL    8/8/20173FADP4EJ4CM150156
FVSͲ117230057 PEGGYM        ALLEN              RONALDALLEN              YPSILANTI      MI    8/8/20173FADP4EJ9DM207565
FVSͲ118456067CARLB          WHITE                                        SYLMAR         CA    8/8/20171FADP3F24DL200963
FVSͲ118480790ANDREWW        WRIGHT                                       APTOS          CA    8/8/20171FADP3F26GL209488
FVSͲ118495453 LORIA         HUTCHINSON                                    ONTARIO        CA    8/8/20171FADP3F25DL313658
FVSͲ118599941 DANIEL         GRANO                                        COACHELLA      CA    8/8/20171FADP3F2XDL325076
FVSͲ118866540RAMONJ         RANGEL                                       HUNTINGTNBCH   CA    8/8/20171FADP3K25DL222203
FVSͲ118890182NESHAWN         STELLMACHER                                   SANDIEGO      CA    8/8/20171FADP3K28EL185388
FVSͲ119310414GABINA          SERON                                        STOCKTON       CA    8/8/20171FAHP3H21CL183875
FVSͲ119348373 DOROTHYK      ANGELES                                      UPLAND         CA    8/8/20171FAHP3K27CL244185
FVSͲ119434571 RICHARDS      MCCORMICK                                     WILTON         CA    8/8/20171FAHP3K24CL429925
FVSͲ119510561CAREYR         WELSH                                        BURLINGAME      CA    8/8/20171FAHP3N27CL237314
FVSͲ119863537TAMMYM         HUNTELMAN                                     LOMITA         CA    8/8/20173FADP4CJ7CM221272
FVSͲ119959739THERESAJ       STUART                                       ALAMEDA        CA    8/8/20173FADP4EJ8GM165264
FVSͲ120074389AMY             ALDERSON                                     ENCINITAS      CA    8/8/20173FADP4EJ7EM206111
FVSͲ120339900 LESTERL       EVANS                                        DILLSBURG      PA    8/8/20171FADP3F24FL214073
FVSͲ120344920 DEBRA          FUNK                                         UPLAND         PA    8/8/20171FADP3F26FL297747
FVSͲ120524155 ELIASJ        VALENTINE                                    TAMAQUA        PA    8/8/20171FADP3F27EL165059
FVSͲ120973219 LESLIEM       SCHWARTZ                                     LANDENBERG      PA    8/8/20173FADP4AJXDM157782
FVSͲ121024385 RONALDD       CLARK                                        UNIONTOWN       PA    8/8/20171FAHP3H21CL328736
FVSͲ800000331ANDREA          WILSON                                       OAKLAND        CA    8/8/20173FADP4EJ0DM182815
FVSͲ800001974JOHN            JASICA                                       CLEVELAND      OH    8/8/20171FADP3F2XEL449334
FVSͲ800002911 KATHLEENA     PASTER             MICHAELPASTER            SALEM          OH    8/8/20173FADP4EJ6EM199832
FVSͲ100078699JAMESL         CORSEY                                       MALDENBRIDGE   NY    8/9/20171FADP3F2XEL201830
FVSͲ100207669JULIEC         STEWART                                      BRUNSWICK      MD    8/9/20171FADP3F28DL291333
FVSͲ100268080JACQUELINEM    SUTTON                                       LUMPKIN        GA    8/9/20171FADP3F21DL135909
FVSͲ100298567SHAMBHU         PUJARI                                       MCKINNEY       TX    8/9/20171FADP3F21EL130615
FVSͲ100369464JOSEPHINEA     REIDINGER                                    MARGATE        FL    8/9/20171FADP3E20EL135435
FVSͲ100419119 BRITTANYL     PARK                                         NATICK         MA    8/9/20171FADP3F26EL242956
FVSͲ100419909 EDNAM         KNIGHT                                       APOPKA         FL    8/9/20171FADP3F26EL244223
FVSͲ100472265KATAYOUN        AHMADVAZIR                                   MIAMIBEACH     FL    8/9/20171FADP3F22DL136244
FVSͲ100524010 KNAKIAV       NELSON                                       DISTRICTHTS    MD    8/9/20171FADP3F20EL104605
FVSͲ100581544TIFFINEYY      SMITH                                        DELTONA        FL    8/9/20171FADP3F24EL233852
FVSͲ100638260 DESTINYL      DUDLEY                                       AGAWAM         MA    8/9/20171FADP3E27EL172188
FVSͲ100697160TINAA          STROUB                                       SWARTZCREEK    MI    8/9/20171FADP3J20DL250962
FVSͲ100706592 LAURAC        TYBOR                                        LAKELAND       FL    8/9/20171FADP3F2XDL241257
FVSͲ100769730WILBERTA       PANTALEON                                    CAPECORAL      FL    8/9/20171FADP3J24EL111094
FVSͲ100789153APRILJ         POLLOCK                                      ORANGEPARK     FL    8/9/20171FADP3F26DL247329
FVSͲ100816509STEPHENL       TRUSSELL                                     BEAUFORT       NC    8/9/20171FADP3F26EL251723
FVSͲ100828280 ELAINEM       WASHINGTON                                    STUART         FL    8/9/20171FADP3F20EL447933
FVSͲ100890610SHAWNM         COOPER                                       POMPANOBEACH   FL    8/9/20171FADP3F27DL253057
FVSͲ100923798EDWARDJ        STRAUB                                       JESSUP         MD    8/9/20171FADP3F21DL168019
FVSͲ100958796CRAIG           KINDEL                                       LEVITTOWN      NY    8/9/20171FADP3F24DL317183
FVSͲ101115822SUZANNEP       GUILLET                                      SEFFNER        FL    8/9/20171FADP3F2XEL417189
FVSͲ101186223STEVENS        YORK                                         EVANSTON       IL    8/9/20171FADP3F20DL113383
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FVSͲ101200749 SHARONL       HANSEN                                   DUBUQUE        IA    8/9/20171FADP3F21EL173772
FVSͲ101206798 DONALDL       GIRAUDJR                                DEXTER         MI     8/9/20171FADP3F2XEL451004
FVSͲ101296673 HALEYR        WELLS                JONATHANWELLS      CRESTVIEW      FL     8/9/20171FADP3F27EL104505
FVSͲ101304625ADAMP          RUSSIN                                   DOBBSFERRY     NY     8/9/20171FADP3F26EL274337
FVSͲ101324308JOSEPHM        KUKAVICA                                 DAYTONABEACH   FL     8/9/20171FADP3F2XEL378751
FVSͲ101352875 KYLEEE        FORBESROBERTS        GARYROBERTS        PTCHARLOTTE    FL     8/9/20171FADP3F26EL127287
FVSͲ101352883 SHARONE       CUNNINGHAM                                DAYTONABEACH   FL     8/9/20171FADP3F26EL127290
FVSͲ101363869TERRYL         LOWERY               MIKELOWERY         SEBRING        FL     8/9/20171FADP3F21DL196497
FVSͲ101436351MATTHEWL       LAVOIE                                   NORTHREADING   MA     8/9/20171FADP3F21EL188028
FVSͲ101444931 NORMAJ        BARCLAY                                  RISINGSUN     MD     8/9/20171FADP3E24EL396888
FVSͲ101448376 KENDALLP      MAURO                                    JACKSONVILLE    FL     8/9/20171FADP3F22DL182754
FVSͲ101448678 LISAJ         WARNER                                   DUNDEE         MI     8/9/20171FADP3F22DL183158
FVSͲ101449224BARBARAS       CROOM                                    SULLIVAN       MO     8/9/20171FADP3F22DL183886
FVSͲ101588313 KURTM         WILLIAMSON                                GRANDHAVEN     MI     8/9/20171FADP3F24DL344867
FVSͲ101596510 MICHAEL        SANTISTEVAN                               LAKEWOOD       CO     8/9/20171FADP3F25EL161849
FVSͲ101600275 WILLIAM        MORGAN                                   MONTGOMERY      IL     8/9/20171FADP3F25EL169000
FVSͲ101684070DONNAM         GUIOU                                    SOUTHBRIDGE     MA     8/9/20171FADP3F27DL141455
FVSͲ101724470WILLIAM         CENSABELLA            ANGELACENSABELLA   WINTERSPGS     FL     8/9/20171FADP3F22EL436528
FVSͲ101724926 KELLIR        RYAN                                     BOWIE          MD     8/9/2017 1FADP3F22EL437064
FVSͲ101744129 JERRYL        BRACKNEY                                 ATTICA         MI     8/9/20171FADP3F28DL123143
FVSͲ101768664 EVAT          GOSSMAN                                  ROYALPLMBCH   FL     8/9/20171FADP3J2XDL349482
FVSͲ101817916JONATHANG      LI                                       GAINESVILLE     FL     8/9/20171FADP3E28DL181349
FVSͲ101834586CHERIEM        MOORE                                    WESTLAND       MI     8/9/20171FADP3F2XDL144009
FVSͲ101858850SHARRENY       BISHOP                                   BRANFORD       FL     8/9/20171FADP3F26EL448066
FVSͲ101922647JACQUELYNM     OAKLEY                                   KERHONKSON      NY     8/9/20171FADP3F27DL274569
FVSͲ101928700 DAVIDF        POSTOLL                                  ACWORTH        GA     8/9/20171FADP3F25DL282542
FVSͲ101990928 KEVINK        BINKLEY              REBECCABINKLEY     GRANDJCT      CO     8/9/20171FADP3J28DL144937
FVSͲ102133484SHANNONJ       NIEMIEC                                  JACKSONVILLE    FL     8/9/20171FADP3F21EL219875
FVSͲ102138079 DAUPHINED     ARNOLD               COURTNEYBUTLER     JACKSONVILLE    FL     8/9/20171FADP3F28EL233854
FVSͲ102302260 MARINELA       ZIALCITA                                 HETTINGER      ND     8/9/20171FADP3F29EL110760
FVSͲ102303410 DAVID          KING                                     MEMPHIS        TN     8/9/20171FADP3F29EL115103
FVSͲ102303533 KATHRYNL      COUCH                                    FAIRMOUNT       GA     8/9/20171FADP3F29EL115361
FVSͲ102321396 PAULF         GIBB                                     LITCHFIELD     CT     8/9/20171FADP3F25EL188971
FVSͲ102345694SUSANP         BISSET                                   PALMBAY       FL     8/9/20171FADP3F28DL129752
FVSͲ102400024ASHLEY          COUGHLIN                                 ATHENS         AL     8/9/20171FADP3E25DL129502
FVSͲ102481989 KIMBERLYJ     LARIMORE                                 RIDGELY        MD     8/9/20171FADP3F26DL288902
FVSͲ102517509 DENISR        PELLETIER                                GRANBY         MA     8/9/20171FADP3F29DL329944
FVSͲ102538905 RICHARDK      REMBERT                                  GAINESVILLE     FL     8/9/20171FADP3F24EL298216
FVSͲ102646481JOHNG          REDDERSON                                 LARGO          FL     8/9/20171FADP3F25DL302465
FVSͲ102676020VALERIE         ROBINSON                                 BLOOMFIELD      CT     8/9/20171FADP3F22DL236182
FVSͲ102704988 PATRICIAA     GRAHAM                                   BRADENTON       FL     8/9/20171FADP3F27DL167926
FVSͲ102849277JUANETTA        GARCIA                                   HGHLNDSRANCH   CO     8/9/20171FADP3F27EL131087
FVSͲ102851050 DIANAL        MAUSHARDT                                 DUNDALK        MD     8/9/20171FADP3F27EL135799
FVSͲ102857652 SHERRID       SLOVER               BARTSLOVER         PORTORANGE     FL     8/9/20171FADP3F28EL448098
FVSͲ102939551 OSCAR          AGUIRRE                                  POMPANOBEACH   FL     8/9/20171FADP3F29EL393516
FVSͲ102949921 MICHAELG      COHEN                                    FORTMYERS      FL     8/9/20171FADP3F25EL403507
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FVSͲ102952213 ABIGAIL         LOPEZ                                  LITTLETON          CO   8/9/20171FADP3F27EL254405
FVSͲ102976252TERRANCED       MURNANE                                OMAHA              NE     8/9/20171FADP3J26EL149314
FVSͲ103024301 DARIUST        ARTHUR                                 POMPANOBEACH        FL   8/9/20171FADP3F20DL211894
FVSͲ103098097 JAYNEL         MILLMAN                                BOCARATON           FL   8/9/20171FADP3F23DL161587
FVSͲ103109323ROSANNAM        GAGLIARDO                              NORTHPORT           FL   8/9/20171FADP3F26EL166073
FVSͲ103124624TAMMIEL         KINSEY                                 JACKSONVILLE         FL   8/9/20171FADP3F22EL216225
FVSͲ103124764 JULIAC         GOMES                                  LAKELAND            FL   8/9/20171FADP3F22EL216340
FVSͲ103224777 LOTHAR          KRAUS                                  GWYNNOAK           MD    8/9/20171FADP3F20DL224614
FVSͲ103232761TAKITAN         THOMAS                                 MAITLAND            FL   8/9/20171FADP3F20EL239115
FVSͲ103262911 DANIELR        LAJOIE                                 LAKEWALES           FL   8/9/20171FADP3F2XDL305460
FVSͲ103296565JOHNS           MARTIN                                 CASSELBERRY          FL   8/9/20171FADP3E22DL181430
FVSͲ103407464 JESSICAL       HOPKINS                                ELLENTON            FL   8/9/20171FADP3F22DL265410
FVSͲ103438998 NELSOND        FINES               MICHELLEFINES     MIMS                FL   8/9/20171FADP3K20DL167949
FVSͲ103467149AMANDAK         PHILLIPS                               NORTHMIAMIBEACH    FL   8/9/20171FADP3F25DL161672
FVSͲ103572643DANAA           SHEARER             MICHAELSHEARER    APOLLOBEACH         FL   8/9/20171FADP3J26DL259987
FVSͲ103576754 ROBERTE        PONDERSR                              ELLIJAY            GA    8/9/20171FADP3K20EL103153
FVSͲ103581642 JAMIEL         SPRING                                 CARBONDALE          CO    8/9/20171FADP3E29DL189069
FVSͲ103680357 RONALDD        FERGUSON                               CORTEZ             CO    8/9/20171FADP3F26DL177380
FVSͲ103691812TOMASH          SUXSTORF                               SMILWAUKEE         WI    8/9/20171FADP3F26FL247401
FVSͲ103701575 PAULA          ULRICH                                 SYLVA              NC    8/9/20171FADP3F25EL426690
FVSͲ103737561 KARLF          KOVACSJR                              HUNTINGTNSTA       NY    8/9/20171FADP3J20DL293990
FVSͲ103893164 DIANEM         THIBAULT                               ROCHESTER          NY    8/9/20171FADP3F29DL275903
FVSͲ103909290MEGANE          GAILEY                                 STPETERSBURG        FL   8/9/20171FADP3F23DL198963
FVSͲ104088222DAMONA          MITCHELLJR                             SOUTHFIELD          MI    8/9/20171FADP3F28DL270644
FVSͲ104097434TERESAL         WILES                                  MIDDLEBURG           FL   8/9/20171FADP3F24EL153130
FVSͲ104121939ALANR           CLELAND                                BONITASPGS          FL   8/9/20171FADP3F29EL260772
FVSͲ104256338JOYCEE          WILLIAMS                               STPETERSBURG        FL   8/9/20171FADP3F28EL257930
FVSͲ104271345SCOTTW          BURR                                   SANTANVLY         AZ    8/9/20171FADP3J24DL111062
FVSͲ104345756ANDREWT         MUSEN                                  GLENALLEN         VA    8/9/20171FADP3F27EL159472
FVSͲ104398167MARYA           WILLETTEͲDADY                           DENVER             CO    8/9/20171FADP3F26EL349439
FVSͲ104503718 PATRICIAM      RITNER                                 VENICE              FL   8/9/20171FADP3K20DL142534
FVSͲ104542381 LINDAM         BIVENS                                 TAMPA               FL   8/9/20171FADP3F25EL255813
FVSͲ104550392 MICHAELD       SIMONYI                                PHOENIX            AZ    8/9/20171FADP3F26DL335460
FVSͲ104702044CHRISTOPHERL    HACKER                                 LAKELAND            FL   8/9/20171FADP3F24EL173197
FVSͲ104737492SANDRAL         BROWN                                  MIAMIGARDENS        FL   8/9/20171FADP3F28DL178417
FVSͲ104756330 WILLIAMJ       THURLOW             DAWNTHURLOW       PUNTAGORDA          FL   8/9/20171FADP3F2XDL265400
FVSͲ104756365ANNAL           DODSON                                 ORLANDO             FL   8/9/20171FADP3F2XDL265431
FVSͲ104757973ALTONP          ANDERSON                               AURORA             CO    8/9/20171FADP3F2XDL267406
FVSͲ104773901 KELLY           LEWIS                                  LOVELAND           CO    8/9/20171FADP3F26EL209438
FVSͲ104784563 MARIA          LENEAIR                                INKSTER            MI    8/9/20171FADP3J27DL383766
FVSͲ104863951 VICTORIAK      MARTINEZ                               MONTROSE           CO     8/9/20171FADP3J21EL299878
FVSͲ104904267CORRYA          BROADBENT                               JEFFERSON          MD    8/9/20171FADP3F27EL180919
FVSͲ104971134 ILENED         ZALEWSKI                               FORTMYERS           FL   8/9/20171FADP3F29EL216349
FVSͲ105129712DONNAM          COBB                                   HOLDEN             MA    8/9/20171FADP3F21DL367846
FVSͲ105147494MARY             DENSON                                 GULFBREEZE          FL   8/9/20171FADP3F28EL186440
FVSͲ105155098 KIMBERLYA      MORRIS                                 BALTIMORE          MD    8/9/20171FADP3J29DL254315
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FVSͲ105155128CHADD            NIESWENDER                             JACKSON          MI    8/9/20171FADP3J29DL254430
FVSͲ105244031 CRUCITAG        DAVIS                                  PONTEVEDRA       FL     8/9/20171FADP3F29DL223171
FVSͲ105279803 BRITTANYM       COBB                                   GAINESVILLE       FL     8/9/20171FADP3F26EL387706
FVSͲ105377848CHASTITYN        SANCHEZ                                JACKSONVILLE      FL     8/9/20171FADP3F26DL355093
FVSͲ105447005WALTERO          WEBER                                  CRAIGSVILLE       VA     8/9/20171FADP3F27FL346079
FVSͲ105486710CHADW            SLATER                                 ENGLEWOOD         CO     8/9/20171FADP3F20EL373607
FVSͲ105531367VERAP            KILDUFF                                WARWICK          RI     8/9/20171FADP3F29EL358636
FVSͲ105615722 SHERRIY         MATTHEWS                               JACKSONVILLE      FL     8/9/20171FADP3F20DL349287
FVSͲ105643670SHANNONL         REBOLT                                 DOVER            OH     8/9/20171FADP3F27GL390519
FVSͲ105692107 RUSSELLL        THIELMANN                              VEROBEACH        FL     8/9/20171FADP3J22DL104532
FVSͲ105701459THADDEUSL        EDWARDS                                ORANGEPARK       FL     8/9/20171FADP3F22DL104720
FVSͲ105957860HAROLDG          MIDDLETON                              MASTICBEACH      NY     8/9/20171FADP3K21EL366414
FVSͲ106007670 ROBERTI         WALKER                                 CLEARWATER        FL     8/9/20171FADP3K21EL324437
FVSͲ106030787 ELIZABETHA      STOCKTON                               TAMPA            FL     8/9/20171FADP3K21EL121631
FVSͲ106071971 HURTZ            DOLCE                                  SUNRISE          FL     8/9/20171FADP3K22DL278115
FVSͲ106098691 DAVIDG          ROE                                    LAMAR            MO     8/9/20171FADP3K21DL352172
FVSͲ106102494TIFFANY           DAVIS                                  OMAHA            NE     8/9/20171FADP3K22DL248192
FVSͲ106125761 SALLIEW         ANDERSON                               STARKE           FL     8/9/20171FADP3K22DL217654
FVSͲ106157604MATTHEWE         HARRIS                                 ALTAMONTESPG     FL     8/9/20171FADP3K22EL324429
FVSͲ106276352 RICHARDT        HALLBERG                               OCOEE            FL     8/9/20171FADP3K23DL224046
FVSͲ106297538LOWELLD          OLSON                                  HOMESTEAD         FL     8/9/20171FADP3K22DL305863
FVSͲ106304992 IVYA            FINKENSTADT          DANFINKENSTADT    HYATTSVILLE       MD     8/9/20171FADP3K22EL227814
FVSͲ106337726 PATRICIAA       MILLS                                  TITUSVILLE       FL     8/9/20171FADP3K23DL369765
FVSͲ106395459 DONALD           CARVALHO            SANDRACARVALHO    ORMONDBEACH      FL     8/9/20171FADP3K22FL345721
FVSͲ106505289 STEPHENM        GOFF                                   PRNCFREDERCK     MD     8/9/20171FADP3K24DL199142
FVSͲ106508512 KATELYNA        PATTERSON                              WESTMINSTER       MD     8/9/20171FADP3K24DL146585
FVSͲ106509608JUANITAG         KIMBLE                                 THREERIVERS      MI     8/9/20171FADP3K24DL150832
FVSͲ106512382 HEATHERA        RHINE               JASONRHINE        GRANDJCT        CO     8/9/20171FADP3K23DL267964
FVSͲ106528360 RUBYSN          TORRESROSADO                           ORLANDO          FL     8/9/20171FADP3K23EL353633
FVSͲ106531026 MIRIELAC        GIOVANNI                               TAMPA            FL     8/9/20171FADP3K23EL368391
FVSͲ106626191THOMASM          SEVERINO                               MONROE           CT     8/9/20171FADP3K24EL415833
FVSͲ106657119SCOTTM           KINGSLEY                               BONAIRE          GA     8/9/20171FADP3K24DL254866
FVSͲ106749676 LISAA           WEANT                                  SABILLASVILLE     MD     8/9/20171FADP3K25DL306019
FVSͲ106794019 BIANCAD         PREVALUS                               WESTPALMBCH     FL     8/9/20171FADP3K25DL250910
FVSͲ106849999 DANIELL         GORDON                                 LONACONING        MD     8/9/20171FADP3K25EL335621
FVSͲ106897209 PAMELAS         BAKER                                  TAMPA            FL     8/9/20171FADP3K25EL104055
FVSͲ106926616 SHEILAL         PARHAM                                 ALBANY           GA     8/9/20171FADP3K25DL175044
FVSͲ107037513 SHELLEYA        SNELL                                  STUART           FL     8/9/20171FADP3K26EL119258
FVSͲ107177706ADAMK            RISHER                                 STERLING         VA     8/9/20171FADP3K26EL202592
FVSͲ107249707 LAURIE           SWEETING                               DUNCAN           OK     8/9/20171FADP3K27DL334260
FVSͲ107331934WINGF            LAM                                    IRVING           TX     8/9/20171FADP3K27GL244823
FVSͲ107332825VICTORIAM        SMITH                                  BRADENTON         FL     8/9/20171FADP3K27EL397361
FVSͲ107384043 GINA             ROSENBAUM                               ORLEANS          IN     8/9/20171FADP3K28DL182795
FVSͲ107398931 BART             RANGER                                 CASTLEROCK       CO     8/9/20171FADP3K27EL161826
FVSͲ107516730 CHRIS            SCAGLIOTTI                             GALIVANTSFRY     SC     8/9/20171FADP3K28EL367320
FVSͲ107560550GARYM            CUMMINGS                               GRANDISLAND      FL     8/9/20171FADP3K28DL217545
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FVSͲ107583232JEANNEM         ROBINSON                                      FERNANDINA     FL   8/9/20171FADP3K29DL121553
FVSͲ107596318 BRIAN           KEHE                                          EVERGREEN      CO    8/9/20171FADP3K28DL200714
FVSͲ107611279 RICHARDD       SKLEPKO                                       TAMPA          FL    8/9/20171FADP3K29DL302927
FVSͲ107617226 DANIELL        PHILLIPS             LEILAPHILLIPS           LAWTEY         FL    8/9/20171FADP3K29DL275244
FVSͲ107634864 IRISL          UMANA                                         JESSUP         MD    8/9/20171FADP3K29DL258265
FVSͲ107668866MARKR           MODZELEWSKI                                    DIXHILLS      NY    8/9/20171FADP3K29DL240073
FVSͲ107673916 PATRICIAJ      RUBIN                                         FORESTHILL     MD    8/9/20171FADP3K29EL201663
FVSͲ107697009 NICOLEJ        FORBERG                                       OAKFOREST      IL    8/9/20171FADP3K29EL332480
FVSͲ107704269 DANIEL          MARTINEZ                                      TAMPA          FL    8/9/20171FADP3K29EL337405
FVSͲ107705850SAMETTA          ADAMS                                         HOMESTEAD       FL    8/9/20171FADP3K29EL135440
FVSͲ107722453SONYAA          CAMERON                                       STPETERSBURG   FL    8/9/20171FADP3K29EL325612
FVSͲ107741881ARLENED         HARMAN                                        FLORENCE       AZ    8/9/20171FADP3K29EL118623
FVSͲ107745127SHAWNF          NEEDHAM                                       BUNNELL        FL    8/9/20171FADP3K29FL292208
FVSͲ107764520 CHRISTENSEN    NEWTONPATRICK        PATRICKANDANNNEWTON   LONGMONT       CO    8/9/20171FADP3K29DL176309
FVSͲ107871408ANDREA           MUJICA                                        ORLANDO        FL    8/9/20171FADP3K29EL203915
FVSͲ107933276 DANIELJ        OBOYLE                                        PANAMACITY     FL    8/9/20171FADP3K2XDL149538
FVSͲ107942259 SHAEL           BUCHEN                                        PARKER         CO    8/9/20171FADP3K2XDL344202
FVSͲ107980592SAMANTHAA       BALLS                                         SARASOTA       FL    8/9/20171FADP3K2XEL244229
FVSͲ108086020 JESSICAP       RENO                                          STPETERSBURG   FL    8/9/20171FAHP3H24CL473348
FVSͲ108596125 GEORGE          ROSATI                                        TRINITY        FL    8/9/20171FADP3N21EL342125
FVSͲ108846164 CECILE         WONDRASHJR                                    EASTBERNARD    TX    8/9/20171FADP3N27EL422237
FVSͲ108846563MONICAM         GREGERSON                                      LITTLETON      CO    8/9/20171FADP3N27EL423114
FVSͲ108947920JOHNS           CANNON                                        PLYMOUTH       MI    8/9/20171FADP3N28EL258934
FVSͲ109115074SAMUELC         ARNOLD                                        DENVER         CO    8/9/20171FADP3N29EL156042
FVSͲ109226330 ELIZABETHA     KINN                                          TUCSON         AZ    8/9/20171FAHP3E28CL130997
FVSͲ109229908 JESSICAN       CHURCHVILLE                                    PTCHARLOTTE    FL    8/9/20171FAHP3E22CL308645
FVSͲ109248546 JENNIEP        FITZGERALD                                    BALTIMORE      MD    8/9/20171FAHP3E2XCL285583
FVSͲ109491297 CAROLINEV      GRUENHAGEN                                     CHANDLER       AZ    8/9/20171FAHP3F21CL285213
FVSͲ109531396ANNIEF          JONES                                         LAKECITY      FL    8/9/20171FAHP3F21CL444540
FVSͲ109594215 TRICIAL        ALBRIGHT                                      HAGERSTOWN      MD    8/9/20171FAHP3F21CL384503
FVSͲ109630793AMBER            KLEIN                                         DENVER         CO    8/9/20171FAHP3F21CL370326
FVSͲ109639243MYRONA          TURNBULLJR                                    MIDDLEBORO      MA    8/9/20171FAHP3F22CL281381
FVSͲ109677196 PAULL          BONANNO                                       ORMONDBEACH    FL    8/9/20171FAHP3F22CL115247
FVSͲ109746244TINAM           MCDERMOTT                                      SPRINGHILL    FL    8/9/20171FAHP3F21CL462682
FVSͲ109750152 ELIZABETHA     HANCOCK              TROYHANCOCK             PUNTAGORDA     FL    8/9/20171FAHP3F21CL470961
FVSͲ109813910 JUDITHL        LAWRENCE                                      HIGHLAND       IL    8/9/20171FAHP3F23CL412821
FVSͲ109820223LAMONTC         JONES                                         DETROIT        MI    8/9/20171FAHP3F23CL104709
FVSͲ109858670WILLIAMM        HALLIV                                       APOPKA         FL    8/9/20171FAHP3F22CL473366
FVSͲ109889088 CARRIEL        RICHNO                                        PARIS          IL    8/9/20171FAHP3F24CL173649
FVSͲ109894839 ELAINEM        MOSES                RANDYMOSES              SUMTERVILLE     FL    8/9/20171FAHP3F22CL460536
FVSͲ109984552 KAMIS          REINECKE                                      GREENCVSPGS   FL    8/9/20171FAHP3F24CL420295
FVSͲ110025032 DAVIDC         HORNE                TERRYLHORNE            MARSHALL       MI    8/9/20171FAHP3F24CL347168
FVSͲ110169972 FRANKLINC      BELARMINO                                     MIDDLEBURG      FL    8/9/20171FAHP3F26CL138370
FVSͲ110173830MANUEL           PRIETO                                        KINGWOOD       TX    8/9/20171FAHP3F26CL148476
FVSͲ110306589 OTILIO          MILLANIII                                    AMSTERDAM       NY    8/9/20171FAHP3F26CL317864
FVSͲ110328639 ROBERTG        WEILER                                        PARMA          MI    8/9/20171FAHP3F26CL475797
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                                              
FVSͲ110331109 MARTHAI        GRAGG                                  GRANDBLANC      MI    8/9/20171FAHP3F26CL168422
FVSͲ110385551 MANDIL         DETTMERING                              CAPECORAL        FL     8/9/20171FAHP3F27CL346340
FVSͲ110430662 ELDAL          FUENTES                                DENVER           CO     8/9/20171FAHP3F26CL422694
FVSͲ110450108 KEVING         BINZEN                                 PLAINFIELD       IL     8/9/20171FAHP3F27CL299293
FVSͲ110539427WENDYC          ODHAM                                  CALLAHAN         FL     8/9/20171FAHP3F28CL318742
FVSͲ110668049 PETERJ         CORSINO                                WAPPINGERSFL     NY     8/9/20171FAHP3F28CL269932
FVSͲ110732030TYLERR          DOIN               KERRIDOIN          INLETBEACH       FL     8/9/20171FAHP3F29CL444947
FVSͲ110750101 DALE            GLASS                                  CHICKASHA        OK     8/9/20171FAHP3F28CL371022
FVSͲ110821165 LINDAM         ABBOTT                                 OFALLON         IL     8/9/20171FAHP3F29CL391828
FVSͲ110840151MARYANN          CAMARILLO                              PUEBLO           CO     8/9/20171FAHP3F2XCL332559
FVSͲ110892836GLORIAA         MARKIEWICZ                              VENICE           FL     8/9/20171FAHP3F29CL353015
FVSͲ110903854GARYW           HARPERJR                              STAFFORDSPGS     CT     8/9/20171FAHP3F2XCL116825
FVSͲ110932463 SHILOH          BELTRAN                                DURANGO          CO     8/9/20171FAHP3H20CL262857
FVSͲ111041023JOHNA           KRECEK                                 OMAHA            NE     8/9/20171FAHP3H20CL141827
FVSͲ111052785ANNETTEL        JOHNSON                                DAYTONABEACH     FL     8/9/20171FAHP3H20CL424227
FVSͲ111070201 PAULAM         HARPER                                 MARQUETTEHTS     IL     8/9/20171FAHP3F2XCL474121
FVSͲ111097339 FELIXL         FIGUERUELO                              CALIFORNIA       MD     8/9/20171FAHP3H23CL135343
FVSͲ111145201 CHRISTINAM     BERTRAND                               ORANGECITY       FL     8/9/20171FAHP3H23CL430362
FVSͲ111212421 CHESTERJ       NOPLIS                                 JACKSONVILLE      FL     8/9/20171FAHP3H23CL293097
FVSͲ111242576 JEFFREYL       MULLINS            LISAMULLINS        MOUNTAIRY        MD     8/9/20171FAHP3H23CL232641
FVSͲ111244684DIANAM          MOLES                                  HUNTLEY          IL     8/9/20171FAHP3H23CL248421
FVSͲ111245044AMANDAL         FORD                                   SANFORD          FL     8/9/20171FAHP3H23CL251576
FVSͲ111300940 MICHAEL         STAGGS                                 HENRYVILLE       IN     8/9/20171FAHP3H27CL172430
FVSͲ111338085 EVELYNC        POWELL                                 GAITHERSBURG      MD     8/9/20171FAHP3H26CL444966
FVSͲ111359902TAYLORJ         HANSEN             WAYNEHANSEN        PENDER           NE     8/9/20171FAHP3H28CL313389
FVSͲ111419948ANTHONYJ        LAPINSKY                               PLEASANTVLY      NY     8/9/20171FAHP3H29CL171795
FVSͲ111435684 LINDAN         NEDER                                  HOMESTEAD         FL     8/9/20171FAHP3H26CL367080
FVSͲ111449987 ROBINM         HORN                                   DESTIN           FL     8/9/20171FAHP3H28CL161954
FVSͲ111458781 WILLIAMA       REYNOLDS                               LEESSUMMIT       MO     8/9/20171FAHP3H28CL466855
FVSͲ111467896DWAYNEL         JENKINS                                PUEBLOWEST       CO     8/9/20171FAHP3H26CL333771
FVSͲ111492211ZACHARYK        DESOURDY                               HUDSONFALLS      NY     8/9/20171FAHP3H28CL426078
FVSͲ111506115ADAMP           RUSSIN                                 DOBBSFERRY       NY     8/9/20171FAHP3H2XCL209485
FVSͲ111561116TANYAL          HARGROVE                               GRANDJCT        CO     8/9/20171FAHP3H28CL373432
FVSͲ111563860JEFFREYA        COLLIER                                JACKSONVILLE      FL      8/9/20171FAHP3J25CL433452
FVSͲ111618622VALARIEA        CHMIELORZ                              EASTFALMOUTH     MA      8/9/20171FAHP3J29CL460038
FVSͲ111662885SHANNONE        RASLEY                                 APOPKA           FL     8/9/20171FAHP3H2XCL397568
FVSͲ111673437 NEVA            LINDER                                 ALEXANDRIA        IN      8/9/2017 1FAHP3J23CL475019
FVSͲ111682975 RAFAEL          CORREA                                 CLERMONT         FL      8/9/20171FAHP3J29CL182757
FVSͲ111753597 AIDAN          WALKER                                 PORTSTLUCIE     FL     8/9/20171FAHP3K21CL298484
FVSͲ111759927 KELLYE         BROWN                                  RAWLINGS         MD      8/9/20171FAHP3J27CL480191
FVSͲ111852480 ROBERT          VIGIL                                  PUEBLO           CO     8/9/20171FAHP3K20CL343799
FVSͲ111876532JAMESE          WALLEN                                 DALLAS           GA     8/9/20171FAHP3K22CL327619
FVSͲ111898137 STEPHEN         LIMA                                   ORLANDO          FL     8/9/20171FAHP3K23CL151342
FVSͲ111944813JEREMYR         GILLESPIE                              DALLAS           GA     8/9/20171FAHP3K21CL369733
FVSͲ111964199 RUSSELLE       BEASLEYJR                             LADYLAKE        FL     8/9/20171FAHP3K22CL462695
FVSͲ111999766SHANNONL        REBOLT                                 DOVER            OH     8/9/20171FAHP3K24CL139247
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FVSͲ112044239 FREDRICKA      DANIELL                                   VILLARICA     GA    8/9/20171FAHP3K22CL419927
FVSͲ112098150 MARKI          HOLZWORDT                                  SANANTONIO     FL     8/9/20171FAHP3K23CL461796
FVSͲ112139248TAJ              YELTONERIKIO                              ERIE           CO     8/9/20171FAHP3K25CL347606
FVSͲ112223290ANTHONYJ        BASS                                      STOCKBRIDGE     GA     8/9/20171FAHP3K24CL230745
FVSͲ112242960 LISAM          LUTZ                                      DEBARY         FL     8/9/20171FAHP3K26CL395311
FVSͲ112321011JERRYL          BELTZ                                     GRANDRAPIDS    MI     8/9/20171FAHP3K27CL436691
FVSͲ112323383 LEONR          WILLS                C/OPATRICIAWILLS   HINESVILLE     GA     8/9/20171FAHP3K25CL472881
FVSͲ112323588 MOIRAS         OLSON                LUKEOLSON           CLEARWATER      FL     8/9/20171FAHP3K25CL473514
FVSͲ112324681 FRANKC         CAPOLUPO                                  TOMKINSCOVE    NY     8/9/20171FAHP3K26CL101518
FVSͲ112331173THEODORE         KILDAL                                    HUDSON         CO     8/9/20171FAHP3K26CL294849
FVSͲ112385370PAMELAG         WILSON                                    WINDSORMILL    MD     8/9/20171FAHP3K27CL145902
FVSͲ112638201MATTHEWA        TOBEY                                     CANTON         MI     8/9/20171FAHP3K2XCL233276
FVSͲ112742815 EDWARDJ        FERENZIII                                TRUMBULL       CT    8/9/20171FAHP3M21CL401013
FVSͲ112750389 MONICAJ        ROMAN                                     JACKSONVILLE    FL    8/9/20171FAHP3M22CL436949
FVSͲ112772200LAVONNEM        BUSH                                      GIBSONTON      FL    8/9/20171FAHP3M21CL365825
FVSͲ112777198 KARINA          CARBONI                                   ORLANDO        FL    8/9/20171FAHP3M22CL360620
FVSͲ112803407 EDWINK         BRIDGES                                   CALHOUN        GA    8/9/20171FAHP3M21CL318245
FVSͲ112828434 MICHAELP       MONROE                                    SILVERSPGS     FL    8/9/20171FAHP3M20CL249516
FVSͲ112867570 MARILYNE       CAMPBELLBAKAN                             TALLAHASSEE     FL    8/9/20171FAHP3M24CL331698
FVSͲ112891780ANDREWD         RATHBUN                                   HASLETT        MI    8/9/20171FAHP3M23CL300488
FVSͲ112918530 ROBBIEJ        STEPHAN                                   MIDDLETOWN      MD    8/9/20171FAHP3M26CL328172
FVSͲ112970621JESSICAM        BENAK                                     OMAHA          NE    8/9/20171FAHP3M27CL221891
FVSͲ112971610 DANIELE        MACKIN                                    HOBESOUND      FL    8/9/20171FAHP3M27CL232096
FVSͲ113003226WILLIAMA        HUBBARD                                   HOLIDAY        FL    8/9/20171FAHP3M28CL232009
FVSͲ113005571 ROCHELLEK      GREEN                                     WASHINGTON      DC    8/9/20171FAHP3M28CL251546
FVSͲ113082053NANCYM          TRACEY                                    PUEBLO         CO    8/9/20171FAHP3M24CL454174
FVSͲ113110138GERRYS          RODRIGUEZ                                 MALDEN         MA    8/9/20171FAHP3M28CL453531
FVSͲ113115300 LINDAK         CHAVOUS                                   ORANGECITY     FL    8/9/20171FAHP3M2XCL201019
FVSͲ113121261SINDYE          ALLEN                                     TAMPA          FL    8/9/20171FAHP3M25CL384894
FVSͲ113243014OLIVIAA         WILLIAMS                                  FREDERICK      MD    8/9/20171FAHP3N21CL433734
FVSͲ113292457JOHNM           TAYLOR                                    LONGWOOD        FL    8/9/20171FAHP3N24CL231891
FVSͲ113295766 KENNETHJ       KULZAK                                    PTCHARLOTTE    FL    8/9/20171FAHP3N27CL341995
FVSͲ113319096 MELISSA         KIPP                                      MORRISON       CO    8/9/20171FAHP3N29CL467176
FVSͲ113346310 LOUISJ         POLETTI                                   AURORA         CO    8/9/20171FAHP3N29CL476816
FVSͲ113349580ANDREWH         WHITE                                     NORWICH        CT    8/9/20171FAHP3N29CL187273
FVSͲ113383762JAREDM          OSSWALD                                   TITUSVILLE     FL    8/9/20171FAHP3N26CL218883
FVSͲ113439156 BRUCEE         DUTTON               CHRISTYDUTTON       DOUGLASVILLE    GA    8/9/20171FAHP3N28CL389859
FVSͲ113575750MARGARET         REISTER                                   VALPARAISO      IN    8/9/20171FAHP3N2XCL315522
FVSͲ113733135 BARBARAJ       FUGATE                                    PALMBAY       FL    8/9/20173FADP4AJ2DM175077
FVSͲ113860153 DAVIDA         LAZUN                                     SILVERSPRING   MD    8/9/20173FADP4AJ6DM175129
FVSͲ113991096TRACYL          CARTER                                    HARTFORD       CT    8/9/20173FADP4AJ6CM113972
FVSͲ114257957JAMESN          MCGINNIS                                  WINDER         GA    8/9/20173FADP4BJ1CM156145
FVSͲ114358451JOSEPHF         KILDUFFIII                               WARWICK        RI    8/9/20173FADP4BJ1BM169542
FVSͲ114485917WALTERJ         KOSEBUTZKI                                CHESTNUTHILL   MA    8/9/20173FADP4BJ2CM217793
FVSͲ114657742JOHNM           FERRECCHIA                                CLERMONT       FL    8/9/20173FADP4BJ3DM213866
FVSͲ114967873TEISHAR         MUCHISON                                  WAYCROSS       GA    8/9/20173FADP4BJ5DM131816
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FVSͲ115042407GERALDM        SCHWARTZ                                        MILWAUKEE       WI   8/9/20173FADP4BJ4DM214041
FVSͲ115178406 IVORYD        GOODE                                           PETERSBURG       VA    8/9/20173FADP4BJ5EM219959
FVSͲ115274391 STEVEN         STERNBERGER                                      FORTWAYNE       IN    8/9/20173FADP4BJ6CM176326
FVSͲ115674128THERESAR       RUSSO                                           NEWWINDSOR      NY    8/9/20173FADP4BJ8EM144786
FVSͲ115696539ALCIRAJ        HERNANDEZCAMPOS                                 PEMBROKEPNES    FL    8/9/20173FADP4BJ9CM156457
FVSͲ116332123VERONICA        WASILEWSKI                                       WINTERPARK      FL    8/9/20173FADP4EJ1DM107329
FVSͲ116431318 SHELLYK       WRIGHT                                          ROOPVILLE       GA    8/9/20173FADP4EJ2CM131461
FVSͲ117325163JESUSR         PUENTE                                          BOCARATON       FL    8/9/20173FADP4EJ8DM213762
FVSͲ117656046COURTNEYE      ROHMAN                                          EASTPEORIA      IL    8/9/20173FADP4FJ3CM126543
FVSͲ117705705 ROSETTA        ALEXANDER                                       SUMMERVILLE      SC    8/9/20173FADP4FJ5BM101500
FVSͲ118219111JASONF         GILLUM                                          SANGER          CA    8/9/20171FADP3E2XEL321709
FVSͲ118647210 DAVID          PERRY                                           DISCOVERYBAY    CA    8/9/20171FADP3J27DL353487
FVSͲ118704630TIMOTHYC       FINCH                                           CHATSWORTH       CA    8/9/20171FADP3K25DL190319
FVSͲ118852604 KELLY          RIGG                                            TUCSON          AZ    8/9/20171FADP3K2XEL176269
FVSͲ118931423JOSEPH          GIBBS                                           APTOS           CA    8/9/20171FADP3N21DL374734
FVSͲ119052334 STELLAS       HONG                                            GARDENA         CA    8/9/20171FADP3N27DL335565
FVSͲ119147491 SCOTT          WANKE                                           PHOENIX         AZ    8/9/20171FAHP3F25CL356204
FVSͲ119193426 HOLLY          RAMIREZ                                         SANTACLARITA    CA    8/9/20171FAHP3F29CL262701
FVSͲ119214008JOYK           BLUSTIN                                         NORTHRIDGE       CA    8/9/20171FAHP3F28CL371375
FVSͲ119229455 BOBBYL        LAWSON                                          BAKERSFIELD      CA    8/9/20171FAHP3F23CL452512
FVSͲ119239400 DAVIDL        ARCHIBALD              BERNADETTERARCHIBALD   RIVERSIDE       CA    8/9/20171FAHP3F28CL155168
FVSͲ119425971JOVANNAM       SOLIS                                           CANOGAPARK      CA    8/9/20171FAHP3K20CL130710
FVSͲ119455323 QUYEN          NGUYEN                                          SUNNYVALE       CA    8/9/20171FAHP3J22CL356555
FVSͲ119676486SHALAL         OKEEFE                                          SANCLEMENTE     CA    8/9/20173FADP4BJ1BM102505
FVSͲ119827662JAMES           GARCIA                                          VICTORVILLE      CA    8/9/20173FADP4BJXDM200631
FVSͲ120087570 BONNIES       WEIRICH                                         SANDIEGO       CA    8/9/20173FADP4FJ9BM177043
FVSͲ120327473 RICHARDD      TROXLER                                         WILLIAMSPORT     PA    8/9/20171FADP3F25DL105344
FVSͲ120328690JOHNM          LYNCH                                           PITTSTON        PA    8/9/20171FADP3F25DL141812
FVSͲ120415046MARYA          STRANGE                                         CARLISLE        PA    8/9/20171FADP3F20DL368406
FVSͲ120524350CLAYTONC       BASINGER                                        PUEBLO          CO    8/9/20171FADP3F27EL173923
FVSͲ120758962ARNOLDG        NEEDHAM                MARTHANEEDHAM           LENHARTSVILLE    PA    8/9/20171FAHP3F25CL317998
FVSͲ120829843 RICHARD        KOTOUCH                CHLOEKOTOUCH            BURGETTSTOWN     PA    8/9/20171FAHP3F24CL242355
FVSͲ120851369 LISAM         MACSISAK                                        BOYERTOWN        PA    8/9/20171FAHP3H28CL102127
FVSͲ120995832 LARRYE        BANGERT                                         CARLISLE        PA    8/9/20171FAHP3K21CL230380
FVSͲ121075621 RICARDOD      PENA                                            SINKINGSPRING   PA    8/9/20171FAHP3J27CL276376
FVSͲ121093387ASHLEYL        FLEAR                                           PHILADELPHIA     PA    8/9/20171FAHP3N26CL224358
FVSͲ121146839 LAURENC       NISER                                           ASTON           PA    8/9/20173FADP4BJ7BM131488
FVSͲ800000358 NEKESHIA       BOWIE                                           ORLANDO         FL    8/9/20171FADP3F21EL133191
FVSͲ800000366 CLIFFORD       ROACH                                           TAMPA           FL    8/9/20171FADP3J20EL463119
FVSͲ800000382VICTORIA        HEIN                                            SEATTLE         WA    8/9/20173FADP4EJ3CM123613
FVSͲ800000390SUSAN           WILSON                                          ROME            GA    8/9/20171FADP3129DL103927
FVSͲ800000404 FRED           WEBSTER                                         PORTRICHEY      FL    8/9/20171FADP3K23EL248608
FVSͲ800000447TIFFANY         YOUNG                                           PUEBLO          CO    8/9/20171FAHP3K25CL263298
FVSͲ800000455 DOMINIQUE      FITZGERALD                                      BALTIMORE       MD    8/9/20171FAHP3E2XCL285583
FVSͲ800000463 MICHAEL        OLSON                  LOWELLOLSON             FREEPORT        FL    8/9/20171FADP3K22DL305863
FVSͲ800000498JOE             PRIETO                                          DENVER          CO    8/9/20171FAHP3F26CL148476
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FVSͲ100602380 BONNIEL       GODDIN             CARLTONDGODDINJR   BOWLINGGREEN   OH   8/10/20171FADP3F22EL107411
FVSͲ101149581 RACHELI       STULL                                     FAIRBORN        OH    8/10/20171FADP3F29EL235368
FVSͲ103722769 PATRICIAL     BUNCH                                     MANSFIELD       OH    8/10/20171FADP3F24FL339753
FVSͲ104587784HALEYM         LAPCEVICH                                 BROOKFIELD       OH    8/10/20171FADP3F2XGL261979
FVSͲ105263931 KIRKA         SATTERFIELD         SANDRASATTERFIELD     WESTUNITY       OH    8/10/20171FADP3F23EL186491
FVSͲ105308404 MARIAL        DIMAGUILA                                 LASVEGAS       NV    8/10/20171FADP3J24EL237732
FVSͲ106242261 PATRICIAL     BUNCH                                     MANSFIELD       OH    8/10/20171FADP3K22EL272316
FVSͲ107415593ALETA           PILUTTI                                   SPARTA          TN    8/10/20171FADP3K27FL319728
FVSͲ107852691 ORAE          IHRIG                                     KINGSTON        OH    8/10/20171FADP3K29GL243897
FVSͲ108832708 DOREEN         BELLINI                                   VISTA           CA    8/10/20171FADP3N27FL379214
FVSͲ110091957 BETTYM        SHELL                                     WHITEPOST       VA    8/10/20171FAHP3F24CL307494
FVSͲ110244249JASONS         JACKSON                                   BELLMAWR        NJ    8/10/20171FAHP3F26CL371651
FVSͲ112384927 KENNETH        BASSETT                                   MOUNTVERNON     IL    8/10/20171FAHP3K27CL141770
FVSͲ112760759 ELAINER       KOEHLER                                   MILFORD         MI    8/10/20171FAHP3M20CL332721
FVSͲ115793429JAMESL         GULLEY                                    DEKALB          IL    8/10/20173FADP4BJ9FM199507
FVSͲ115883827 LIESELOTTE     LIGUORI                                   LASVEGAS       NV    8/10/20173FADP4BJXFM126971
FVSͲ116883553 GILDA          AMARANTE                                  INDIANAPOLIS     IN    8/10/20173FADP4EJ4EM190059
FVSͲ117744743MONINAM        DIMAGUILA                                 LASVEGAS       NV    8/10/20173FADP4FJ4EM207456
FVSͲ117908223 ROBERTE       MCELFRESHJR                               CEDARGROVE      NJ    8/10/20173FADP4GX2GM126512
FVSͲ117973378 BRIANA        JONES                                     PLYMOUTH        MI    8/10/20173FADP4FJ9EM148291
FVSͲ118197258JORGEA         RAMIREZ                                   WATSONVILLE      CA    8/10/20171FADP3E2XFL306788
FVSͲ118199862ANTONIETTAM    MCFARLAND           HARVEYMCFARLANDJR    STOCKTON        CA    8/10/20171FADP3F20DL117157
FVSͲ118388487ANNA           TREVORROWKELSEY                           VACAVILLE       CA    8/10/20171FADP3F23DL248082
FVSͲ118708724LAURAM         BATEMAN                                   SACRAMENTO       CA    8/10/20171FADP3J21FL232490
FVSͲ119464829 RUBEN          ESTUDILLO                                 NATIONALCITY    CA    8/10/20171FAHP3K24CL176587
FVSͲ119698072JOHNC          MURPHY             MEGANMARIEMURPHY     ANAHEIM         CA    8/10/20173FADP4BJ3DM195031
FVSͲ119911124LAURAM         BATEMAN                                   SACRAMENTO       CA    8/10/20173FADP4CJ3CM135120
FVSͲ120899620 JILLIANC      WIRTH                                     ORWIGSBURG       PA    8/10/20171FAHP3F23CL233467
FVSͲ121126838ANNM           KOCHENOUR           WILLIAMKOCHENOUR      DOVER           PA    8/10/20171FAHP3M2XCL172055
FVSͲ121156451 APRILA        NOWACKI                                   PHILADELPHIA     PA    8/10/20173FADP4EJ8DM108686
FVSͲ800002563GARYL          GOSSMAN            JUDITHGOSSMAN         COLUMBUSGROVE   OH    8/10/20171FADP3K26EL129756
FVSͲ800005929 LINDA          HINKLEY                                   GRAYLAND        WA    8/10/20171FADP3F28EL43305
FVSͲ100075134 BARBARAJ      VANVALKENBURG       ALBERTGPOMERICOJR   WARREN          MI    8/11/20171FADP3F28EL195008
FVSͲ100128840CLARENCEL      MUMMA                                     KANSASCITY      KS    8/11/20171FADP3F23EL209123
FVSͲ100417469 JUDITHK       WITHERS                                   NILES           MI    8/11/20171FADP3F26EL239250
FVSͲ100433758ODESSA          HENNINGS                                  MATTESON        IL    8/11/20171FADP3F29DL232047
FVSͲ100519555SUSANM         HENRY                                     WARREN          OH    8/11/20171FADP3F20DL379955
FVSͲ101305478 KEITH          GERMER                                    SAINTLOUIS      MO    8/11/20171FADP3F2XEL454825
FVSͲ101710674 NICOLEM       WARFORD                                   FENTON          MI    8/11/20171FADP3F21FL254546
FVSͲ101949715 STEVENC       SPEAR              ERINSPEAR             WHITEWATER       WI    8/11/20171FADP3J2XDL231982
FVSͲ102643300RHONDAL        VOTAW                                     MILWAUKEE        WI    8/11/20171FADP3F26GL243124
FVSͲ102964149 EVA            AGUIRRE                                   SANANTONIO      TX    8/11/20171FADP3F28DL151234
FVSͲ105138460GERALDJ        GOERTZ                                    MEDICALLAKE     WA    8/11/20171FADP3F24DL267935
FVSͲ106114581 CHRISTINED    FOWLER                                    WATERFORD        MI    8/11/20171FADP3K21FL221701
FVSͲ106207270 ROSA           MILAZZO            FRANCESCOMILAZZO      KANSASCITY      MO    8/11/20171FADP3K22EL109844
FVSͲ106359690 RANDALLR      RACINE                                    BLUEROCK       OH    8/11/20171FADP3K22FL373793
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                                                
FVSͲ106685791JOHNL            MABSON                                     CASAGRANDE    AZ   8/11/20171FADP3K23GL337077
FVSͲ106918214GLEN              GIBELLINA                                  ADDISON        IL    8/11/20171FADP3K26DL113460
FVSͲ107065142CHRISTOPHERD     VARUOLA            DAWNVARUOLA            SANDUSKY       OH    8/11/20171FADP3K26FL253799
FVSͲ107202727 KEVINW          CHWALA                                     MILWAUKEE       WI    8/11/20171FADP3K27DL156446
FVSͲ108072088WILLIAMS         WYATT                                      BEDFORD        VA    8/11/20171FADP3K2XFL366445
FVSͲ108721132JAMESJ           LASALVIA                                   ORLANDPARK     IL    8/11/20171FADP3N20FL216369
FVSͲ108743411 MICHAELR        GENGLER            MARLENEGENGLER         MADISON        WI    8/11/20171FADP3N25DL194415
FVSͲ109126165 ROBERTT         FRISCIA                                    REDBANK       NJ    8/11/20171FADP3N2XFL272884
FVSͲ110425448 LUIS             ARRAMBIDE                                  LINCOLNPARK    MI    8/11/20171FAHP3F27CL326685
FVSͲ111673445 RANDALL          BLANKENSHIP                                 INDIANAPOLIS    IN    8/11/20171FAHP3J23CL475067
FVSͲ115545379 BARBARAA        HERMAN                                     SANDUSKY       OH    8/11/20173FADP4BJ8DM144026
FVSͲ115727604 MABELL          BARRILLEAUX                                 THIBODAUX      LA    8/11/20173FADP4BJ9GM148607
FVSͲ116391863STEFANIER        SMITH                                      HOUSTON        TX    8/11/20173FADP4EJ1EM205911
FVSͲ116436794ANGELAS          SORENSON                                   KANSASCITY     MO    8/11/20173FADP4EJ0FM105509
FVSͲ116651903 PAULA            KALABSA            JOHNKALABSA            BERWYN         IL    8/11/20173FADP4EJ4CM102060
FVSͲ118129236 DAVIDE          NEWMAN                                     CHULAVISTA     CA    8/11/20171FADP3E25DL190591
FVSͲ118709674JOAN              MARLOWE                                    STUDIOCITY     CA    8/11/20171FADP3J22DL244791
FVSͲ119160005ANNM             CANRIGHT                                   CAMERONPARK    CA    8/11/20171FADP3N23DL363489
FVSͲ119227061 RYANA           NORLING                                    IRVINE         CA    8/11/20171FAHP3H23CL479545
FVSͲ119387107 ROGERJ          MCENTEE            KYMMCENTEE             RIDGECREST      CA    8/11/20171FAHP3M20CL477743
FVSͲ119396068MALLORYL         HARLIB             AKAMALLORYPURVIANCE   OCEANSIDE      CA    8/11/20171FAHP3K2XCL400624
FVSͲ119607204STEPHEN           ROSSA                                      MOUNTSHASTA    CA    8/11/20171FAHP3N21CL305042
FVSͲ119729865STEPHANIEL       CARRIOLA                                   ANTELOPE       CA    8/11/20173FADP4BJ6BM238788
FVSͲ120060477 DIANE            CASTIGNETTI                                 HUNTINGTNBCH   CA    8/11/20173FADP4EJ5BM125247
FVSͲ120536030 MICHELEJ        STANLEY                                    RIDLEYPARK     PA    8/11/20171FADP3F29EL189122
FVSͲ120609169 REYNIEL         LUPOLD                                     NEWCUMBERLND   PA    8/11/20171FADP3K29GL375929
FVSͲ120852802 REBECCAL        PINARCHICK                                 HANOVER        PA    8/11/20171FAHP3H28CL251637
FVSͲ800000374JAMES             JOYNER                                     LAMESA        CA    8/11/20171FADP3K25EL111202
FVSͲ800000412ANTHONYMICHAEL   ROSSA                                      MTSHASTA      CA    8/11/20171FAHP3N21CL305042
FVSͲ800000420TYLERANDREW      EKSTEIN                                    BUENAPARK      CA    8/11/20173FADP4EJ3CM184752
FVSͲ800000439 DIANE            SORENSON                                   BUENAPARK      CA    8/11/20173FADP4EJ3CM184752
FVSͲ800000560 ELIZABETH        BUENTE             ROBERTBUENTE           THEWOODLANDS   TX    8/11/20171FADP3K25DL273071
FVSͲ800003160STEVE             SAMARTEGEDES        ALICESAMARTGEDES       MUNROEFALLS    OH    8/11/20171FADP3F21DL113702
FVSͲ100737765 RALPHB          STEARNS                                    KINGMAN        AZ    8/12/20171FADP3F26FL342072
FVSͲ103703357 DAVIDH          SAJOR                                      WARREN         MI    8/12/20171FADP3F25EL429430
FVSͲ105397288NANCY             HARRIS                                     ALBUQUERQUE     NM    8/12/20171FADP3E26GL245960
FVSͲ107918196 MARIEE          CLARK                                      BALLWIN        MO    8/12/20171FADP3K29EL392999
FVSͲ109798520CAROLYN           SANDERS                                    COLUMBUS       MS    8/12/20171FAHP3F22CL204851
FVSͲ109932145SEAND            PORTER             THOMASPORTER           YPSILANTI      MI    8/12/20171FAHP3F24CL278353
FVSͲ112278620 NATALIEL        BARNES                                     ASHLAND        OH    8/12/20171FAHP3K25CL266525
FVSͲ118603892 MAX              AGHAZADEH           RACHELAGHAZADEH        CAMPBELL       CA    8/12/20171FADP3F2XEL123890
FVSͲ119343762CHRISTOPHER       BETTS                                      SUNNYVALE      CA    8/12/20171FAHP3K26CL452669
FVSͲ119831376 EDITHAE         LONG               JOHNFRANCISLONG       MILPITAS       CA    8/12/20173FADP4BJ2BM234284
FVSͲ120139065VERONICA          SALAZAR                                    LOSANGELES     CA    8/12/20173FADP4EJ4DM187161
FVSͲ120201550 LYNNEA          WYATT              JAMESWYATT             LINCOLN        CA    8/12/20173FADP4FJ2CM103321
FVSͲ800002628 REBECCA          HENDERSON                                   SOMERSET       OH    8/12/20171FAHP3M23CL405046
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                                                        
FVSͲ101081960CAROLYNM             BROWN                                          BROWNSTWNTWP   MI    8/14/20171FADP3E20GL227003
FVSͲ101273347 PAULAA              OBRYAN                                         LOUISVILLE      KY     8/14/20171FADP3F23EL245488
FVSͲ101605528PAMELAS              PRICE                                          LIBERTY         MO     8/14/20171FADP3F22EL155765
FVSͲ102279179 SUGEYN              CARRION                                        MESQUITE        TX     8/14/20171FADP3F29EL241283
FVSͲ102745145THECDEBACA         FAMILYLVGTRUST        ARTHURACDEBACASR   WADDELL         AZ     8/14/20171FADP3E21GL203440
FVSͲ102838445THOMASM              OROURKEJR                                      BETHLEHEM       GA     8/14/20171FADP3F23DL142151
FVSͲ103658530SANDRAD              WEST                                           ALTON           IL     8/14/20171FADP3E22EL177069
FVSͲ104731869 DIANEM              FORNEK                                         NAPERVILLE      IL     8/14/20171FADP3K20EL105307
FVSͲ104965762 LINDAJ              SEMEL                                          BURLINGTON       WI     8/14/20171FADP3F29EL427650
FVSͲ105297488 DORINDAE            LECH                                           PENSACOLA       FL     8/14/20171FADP3F28DL282650
FVSͲ105367877 LOUISE               BURKLOW                                        BRADLEY         IL     8/14/20171FADP3F28DL194438
FVSͲ105599921 WILLIAMS            JENKS                                          MUIR            MI     8/14/20171FADP3F25FL230329
FVSͲ105969575 BENITAJ             GONZALES                                       HOUSTON         TX     8/14/20171FADP3K21EL161420
FVSͲ106294946ALBERTA               VIAPANDO                                       GARLAND         TX     8/14/20171FADP3K23DL209997
FVSͲ106398091 ELAINEP             DEVLIN                                         ARLINGTON       TX     8/14/20171FADP3K22FL363684
FVSͲ107042959 CARLAJ              BYRNE                                          IMPERIAL        MO     8/14/20171FADP3K25EL405585
FVSͲ108466809 LEONELJ             FLORES                                         MISSOURICITY    TX     8/14/20171FADP3L99GL360035
FVSͲ108518523 MARGARETS           WILSON                 GERALDWILSON           MCHENRY         IL    8/14/20171FADP3N20DL260949
FVSͲ108693112 ROBINL              BAXTER                 RICHARDBAXTER          BALLWIN         MO    8/14/20171FADP3N22DL301145
FVSͲ108768716 LINDA                MALIA                                          NEWLONDON       MO    8/14/20171FADP3N21GL234316
FVSͲ108845486RHONDAL              WINTERS                                        HOPEMILLS      NC     8/14/20171FADP3N27EL409813
FVSͲ109327632SHANNONE             UNRUH                                          WICHITA         KS     8/14/20171FAHP3E27CL129761
FVSͲ109366123 MIKAYLAL            HUFF                                           OKEANA          OH     8/14/20171FAHP3E26CL427959
FVSͲ109490460JESSICAL             PETRAS                                         CANTON          MI     8/14/20171FAHP3F21CL283882
FVSͲ109604458 CHRISTINENICOLEE   BROCKMANN                                       MANITOWOC        WI     8/14/20171FAHP3F20CL477061
FVSͲ111156602 BROOKE               COOK                   MATTHEWCOOK            LOUISVILLE      KY    8/14/20171FAHP3H23CL361320
FVSͲ111460247 PAUL                 NOVAK                                          ELMWOODPARK     IL    8/14/20171FAHP3H28CL474115
FVSͲ112053920ALAN                  DUNAJ                                          CHICAGO         IL     8/14/20171FAHP3K23CL260982
FVSͲ112252419 DONALD               FRENCH                                         LOUISVILLE      KY     8/14/20171FAHP3K26CL428307
FVSͲ112277144JEANETTE              BIRDSALL               DONALDBIRDSALL         ROLLA           MO     8/14/20171FAHP3K25CL261180
FVSͲ112643086JENNIFERJ            REDLICH                BRYANREDLICH           GALESBURG       IL     8/14/20171FAHP3K2XCL450634
FVSͲ113379536LADONNA               WOLF                                           SHELBYVILLE      IN    8/14/20173FADP4AJ0CM128628
FVSͲ113682441 BARBARAJ            FLAGEL                                         FENNVILLE       MI    8/14/20173FADP4AJ1EM106219
FVSͲ115205268 ELIZABETHR          LONITRO                                        CLEVELAND       OH    8/14/20173FADP4BJ6EM234003
FVSͲ115360620 KAYL                LECLAIR                                        LAKEVILLE       MN    8/14/20173FADP4BJ6DM219371
FVSͲ115461710JUDITHA              STEWART                                        CHILLICOTHE      OH    8/14/20173FADP4BJ7BM206769
FVSͲ115850465 NANCY                FRIEDERICKS             TIFFANYSPROUSE         STEGER          IL    8/14/20173FADP4BJXEM117122
FVSͲ116033606DARSHAN               KARIAPPA                                       HACKENSACK       NJ    8/14/20173FADP4CJ5BM144027
FVSͲ116437316 KAREN                VISOKY                                         FOXLAKE        IL    8/14/20173FADP4EJ0FM107972
FVSͲ116988940 KENNETH              ROR                    KAITLYNNKLOSTERMAN     CRESTWOOD        KY    8/14/20173FADP4EJ6CM157674
FVSͲ117297550 DESIREEL            SCOTT                                          PENNSAUKEN       NJ    8/14/20173FADP4EJ9BM115448
FVSͲ117644439 KATHLEENA           CROSS                                          LAKEZURICH      IL    8/14/20173FADP4FJ6DM204332
FVSͲ118392603JUAN                  BAEZA                                          BRAWLEY         CA     8/14/20171FADP3F27EL156751
FVSͲ118568167 ROSAE               LOYOLA                                         OAKHILLS       CA     8/14/20171FADP3F2XEL149888
FVSͲ118620096 DIANA                FLORES                                         FULLERTON       CA     8/14/20171FADP3K22DL196031
FVSͲ118646737JOHNS                WENDT                                          MISSIONVIEJO    CA     8/14/20171FADP3J27DL151958
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FVSͲ119194066 LAURIEQ        CROFT                   CHARLESMCROFT          ALAMO         CA   8/14/20171FAHP3F29CL285363
FVSͲ119203316 RUBENE         LOYOLAMAY                                          OAKHILLS     CA    8/14/20171FAHP3F2XCL195333
FVSͲ119427028 RICHARDJ       CRAWFORD                                          MERIDIAN      ID    8/14/20171FAHP3K20CL174979
FVSͲ119433702VIRGINIAJ       CRAWFORD                                          WINCHESTER     CA    8/14/20171FAHP3K24CL410159
FVSͲ119508184MARKL           WATKINS                                           LAQUINTA     CA    8/14/20171FAHP3N26CL302038
FVSͲ119884020GELPIZ           MARTINEZ                JESSICAMARTINEZ          LOSANGELES    CA    8/14/20173FADP4CJ5BM172572
FVSͲ119945797SEANP           KEENAN                  NICOLEKEENAN             MONROVIA      CA    8/14/20173FADP4CJ2BM172500
FVSͲ120160250ANTHONYW        LEYBA                   ALEXISMERNESTEELE       SANMATEO     CA    8/14/20173FADP4FJ4DM165448
FVSͲ120230992TROY             ASHER                                             PALMDALE      CA    8/14/20173FADP4FJ9GM114371
FVSͲ120538830DEANNAL         FIRESTONE                                         MTPLEASANT    PA    8/14/20171FADP3K23EL280523
FVSͲ120763087SAMANTHAL       BAYS                                              WRIGHTSVILLE   PA    8/14/20171FADP3K24EL102393
FVSͲ121249182 DANIELR        BETTEN                  PAMELABETTEN             PITTSBURGH     PA    8/14/20173FADP4EJ4CM157804
FVSͲ800000587 PAMELA          BEEKER                                            ELCAJON      CA    8/14/20171FADP3F25FL316546
FVSͲ800003373 EVELYN          SAMPLES                                           AKRON         OH    8/14/20173FADP4BJ8CM111350
FVSͲ100773311 KELCYL         BROWN                   EDWARDEBROWN            CORTLAND      OH    8/15/20171FADP3F27EL205799
FVSͲ101149140SARAE           LANG                                              WAUKEGAN      IL    8/15/20171FADP3F29EL234687
FVSͲ101696698 LORETTAS       COOK                                              ROBINSON      TX    8/15/20171FADP3F20FL240590
FVSͲ102059543TINA             THOMAS                                            KNOXVILLE     TN    8/15/20171FADP3F24FL246828
FVSͲ102230331 LEONARDJ       KRZYSIKJR                                        HASTINGS      MI    8/15/20171FADP3F24EL286423
FVSͲ102696730JOYF            STEVENSON                                         AURORA        CO    8/15/20171FADP3F23EL311425
FVSͲ103006214ABIGAIL          FONSECA                                           CROSBY        TX    8/15/20171FADP3F25FL356576
FVSͲ103346899 LORETTAS       COOK                                              ROBINSON      TX    8/15/20171FADP3E25FL219641
FVSͲ104111496 MICHELED       JOHNSON                                           SOUTHPOINT    OH    8/15/20171FADP3F23EL371012
FVSͲ104310685CURTISJ         DOWNS                   CONNIERICHARDS           WEATHERFORD    TX    8/15/20171FADP3F2XEL196452
FVSͲ104671106 NICHOLASB      RUSSELL                 TAMMYRUSSELL             SANDWICH      IL    8/15/20171FADP3F21DL350352
FVSͲ105405370JASONC          BENISCH                                           LAKEMILLS    WI    8/15/20171FADP3K20EL252629
FVSͲ105568295 KATHLEENJ      EKAITIS                                           DELAWARE      OH    8/15/20171FADP3F21EL116505
FVSͲ105813354SIJIE            XIA                                               BELLEVUE      WA    8/15/20171FADP3J2XEL219686
FVSͲ106137085AMYM            WATSON                  MICHAELWATSON            BUDA          TX    8/15/20171FADP3K22EL145775
FVSͲ106305018 BEVERLYA       SKARDA                                            BALTIMORE     MD    8/15/20171FADP3K22EL227845
FVSͲ106401653ANTHONYG        SCIULLO                                           TROY          MI    8/15/20171FADP3K23DL130944
FVSͲ106638947 ROBERTS        CASE                                              CARROLLTON     TX    8/15/20171FADP3K24EL372837
FVSͲ106785354 MICHELEJ       MITCHELL                                          SPRING        TX    8/15/20171FADP3K25EL186675
FVSͲ106844997SANDRAJ         POWERS                                            SYRACUSE      NY    8/15/20171FADP3K24EL463526
FVSͲ107192217 MICHAELP       BAILEY                                            BATAVIA       OH    8/15/20171FADP3K27DL378291
FVSͲ108088111WILLIAMJ        GIFFORD                                           GRENOLA       KS    8/15/20171FADP3K2XEL161738
FVSͲ108875555CARLOSJ         CANDO                   VIVIANAASTRIDPOMPOZZI   SPRING        TX    8/15/20171FADP3N24EL246828
FVSͲ109372840SUZANNEN        FIRMSTONE               EDWARDFIRMSTONE          ENDICOTT      NY    8/15/20171FAHP3F20CL287079
FVSͲ109453387JOELT           ADAMS                                             MURFREESBORO   TN    8/15/20171FAHP3F20CL407981
FVSͲ111395925 BLANCA          VEGA                                              MISSION       TX    8/15/20171FAHP3H25CL476405
FVSͲ114110239ANDREST         PASTRANO                REBECCAPECINA            SANANTONIO    TX    8/15/20173FADP4BJ0DM142027
FVSͲ114656134CAROLH          HINKLE                                            WOODWAY       TX    8/15/20173FADP4BJ2FM203302
FVSͲ115021485ANGELICA         RIOS                                              EAGLEPASS    TX    8/15/20173FADP4BJ5DM225534
FVSͲ115341242SYDNEYA         GREATHOUSE                                         INDEPENDENCE   MO    8/15/20173FADP4BJ7EM117529
FVSͲ116288450 RACHELLEL      SCHANK                  MICHAELSCHANK            LINCOLNCITY   OR    8/15/20173FADP4EJ0DM186637
FVSͲ116485388                  COMPLETEOFCSOLUTIONS                             KANSASCITY    MO    8/15/20173FADP4EJ2DM185490
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FVSͲ116967510 MICHELLEP      DELEON                                         OAKLAWN        IL   8/15/20173FADP4EJ5DM150586
FVSͲ116979399JOHANNAR        GIBSON                                         FORTWORTH       TX    8/15/20173FADP4EJ5GM107502
FVSͲ117069051 NATALIEK       BAILEY                                         ENGLEWOOD        OH    8/15/20173FADP4EJ6EM179838
FVSͲ117145319JAMES            WADE                        TERRIWADE         MILLINGTON       TN    8/15/20173FADP4EJ9BM170434
FVSͲ117365726WILMA            BRIGHT                                         GALIPOLISFRY    WV    8/15/20173FADP4EJ8GM119529
FVSͲ117393274 PATTY           HILLMAN                                        CHESTERTON       IN    8/15/20173FADP4EJXCM111541
FVSͲ117434973 KELLYS         PRICE                                          WAVERLY         TN    8/15/20173FADP4FJ1DM116465
FVSͲ118142054GERHARDJ        PHILIPP                     SUSANEMANUEL      SANTACRUZ       CA    8/15/20171FADP3E26DL307904
FVSͲ118213415ALBERTP         RAMIREZ                                        DINUBA          CA    8/15/20171FADP3E29EL363904
FVSͲ118410695 KENYAM         ROBERSON                                       ORANGE          CA    8/15/20171FADP3F27EL237894
FVSͲ118456946NAORS           KARKAYSELEA                                    OAKPARK        CA    8/15/20171FADP3F24DL213289
FVSͲ118556657 HIRAM           DELAPENA                                       SYLMAR          CA    8/15/20171FADP3K20EL264344
FVSͲ118639390 GINA            MARSHALL                    JAMESBMARSHALL   SANDIEGO       CA    8/15/20171FADP3K23EL131738
FVSͲ119088266 PHILLIPG       ALLIANO                                        SANTAMARIA      CA    8/15/20171FADP3N25GL221388
FVSͲ119281368ALANAA          EMHARDT                                        SANTAMONICA     CA    8/15/20171FAHP3H21CL451887
FVSͲ119346460 NICHOLAS        SALDANA                                        CARSON          CA    8/15/20171FAHP3K27CL174901
FVSͲ119670712 REBECCA         RADCLIFF                                       PASADENA        CA    8/15/20173FADP4BJ3EM136580
FVSͲ120088312 DENISER        HICKS                       REBECCAHICKS      LANCASTER       CA    8/15/20173FADP4FJ9BM223907
FVSͲ120113333JAMESS          DEAN                                           LINCOLN         CA    8/15/20173FADP4EJ7EM111399
FVSͲ120126443DAWNS           WILLIAMS                                       SANTAROSA       CA    8/15/20173FADP4FJ5CM106956
FVSͲ120219182 BRANDON         WALTON                      WYATTWALTON       HUNTINGTNBCH    CA    8/15/2017 3FADP4FJXDM177765
FVSͲ120769107 LORETTAJ       NOSKO                                          ERIE            PA    8/15/20171FADP3K27GL224684
FVSͲ800000609ASHLEY           MAY                                            LAWRENCE        KS    8/15/20171FAHP3E27CL284701
FVSͲ800002431 DANIELLE        AGRISUIA                                       ROHERTPARK      GA    8/15/20171FAHP3E23GL452897
FVSͲ800002822 KIM             MILTON                                         MABASK          TX    8/15/20171FADP3F2ODL195471
FVSͲ800003608QUEEN            BOOKER                                         FORTHWORTH      TX    8/15/20171FADP3F26OL325981
FVSͲ100091822 CANDIER        CLARK                                          HENDERSON        TN    8/16/20171FADP3F2XGL219537
FVSͲ100548407 LESLIEA        GAUSIN                                         WEBSTER         TX    8/16/20171FADP3E20EL208707
FVSͲ101384831VANESSAR        SIMMONS                                        FARMINGTON       IL    8/16/20171FADP3F26EL437892
FVSͲ101738412 WILLIAMD       SPROWELL                    ROYANNESPROWELL   FORESTPORT       NY    8/16/20171FADP3F26EL279294
FVSͲ102430411 NICOLEL        JORISSEN                                       MERRIFIELD      MN    8/16/20171FADP3F25DL116344
FVSͲ103241167JANAM           BURKS                       GREGGFHENRY      MURFREESBORO     TN    8/16/20171FADP3F26FL227763
FVSͲ103249125 SCOTTH         ROLLINS                                        GLENELLYN      IL    8/16/20171FADP3F27EL404075
FVSͲ104506482 DENNISL        BENNETT                                        SANJOSE        CA    8/16/20171FADP3J22EL342415
FVSͲ105189081 CJ             DAMBROSIO                                       STATENISLAND    NY    8/16/20171FADP3F29DL358716
FVSͲ105711381 CORBITT         KENDALL                     PAMELAKENDALL     MOUNTSTERLING   KY    8/16/20171FADP3E2XEL223151
FVSͲ105729388RONALD           LYNCH                       TINALYNCH         SHEPHERDSVLLE    KY    8/16/20171FADP3J29DL168907
FVSͲ106064851VIRGINIAM       MCDONALD                                       SANDYVILLE      WV    8/16/20171FADP3K21DL371479
FVSͲ106217771AUGUSTJ         MEIER                                          ELPASO         TX    8/16/20171FADP3K22FL248292
FVSͲ106227874JOHN             YOUNG                       SUSANYOUNG        BARRINGTON       IL    8/16/20171FADP3K22DL156502
FVSͲ107015781 EARL            GROSS                       ANGIESCHNEIDER    RICHMOND        KY    8/16/20171FADP3K26EL326670
FVSͲ107449900                  ARDITHKHRABREVOCABLELIVINGTRUST             PORTAGE         MI    8/16/20171FADP3K28EL207499
FVSͲ109116100 ROBERTL        LILLY                                          LIBERTYTWP      OH    8/16/20171FADP3N29EL174184
FVSͲ110388720 KATHLEENP      TUMBLIN                                        CRYSTALLAKE     IL    8/16/20171FAHP3F27CL353630
FVSͲ110495829 MANUEL          BECERRAII                                     ELPASO         TX    8/16/20171FAHP3F28CL210251
FVSͲ110796330 LISAA          RENIERͲHICKS                                    DEPERE         WI    8/16/20171FAHP3F29CL118324
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                                                 
FVSͲ111547482JEREMYJ         ROSER                                          MAYVILLE       WI   8/16/20171FAHP3H2XCL475332
FVSͲ112620094VIRGINIAM       MCDONALD                                       SANDYVILLE     WV    8/16/20171FAHP3K29CL153189
FVSͲ112947174STEPHENE        ALLENSR              ELIZABETHA               BOWIE          MD    8/16/20171FAHP3M26CL232185
FVSͲ113170963BOBBIESUEE     BASKETTE             RAYMONDBASKETTE          BOWLINGGREEN    KY   8/16/20171FAHP3M2XCL472968
FVSͲ113216874DONNIE           BROWN                                          FRANKFORT       KY   8/16/20171FAHP3M28CL334457
FVSͲ113646682HAZELM          MONDAY                                         SPRINGCITY     TN    8/16/20173FADP4AJ2EM240351
FVSͲ114143854NANCY            CROUTCHER                                      BATAVIA        OH    8/16/20173FADP4AJ9GM203610
FVSͲ114689474DEB              MORRISON                                       BUFFALO        NY    8/16/20173FADP4BJ2FM144171
FVSͲ115241957PATRICKG        HARRISON                                       SPRINGFIELD     OR    8/16/20173FADP4BJ6DM119027
FVSͲ115822399KENDRA           ALLEN                                          WHARTON         TX   8/16/20173FADP4BJXDM215761
FVSͲ116784920CINDEL           REED                 DANEILREED               SEYMOUR        TN    8/16/20173FADP4EJ5DM117877
FVSͲ117613673PAMELAJ         VIDEEN                                         SAINTPAUL     MN    8/16/20173FADP4FJ6EM177067
FVSͲ118237802RET              SORN                                           LONGBEACH      CA    8/16/20171FADP3E28GL238475
FVSͲ118256904NOVENAD         POULAN                                         VICTORVILLE     CA    8/16/20171FADP3F22DL338016
FVSͲ118335600JIMR            CRUM                                           ROSEVILLE      CA    8/16/20171FADP3F20EL294731
FVSͲ118423037CYNTHIAA        JACKS                RUBENESPINOSA            CORONA         CA    8/16/20171FADP3F27DL235366
FVSͲ118429108SUSANA           RIVERA                                         SANTAFESPGS   CA    8/16/20171FADP3F24DL382146
FVSͲ118477226ISSAC            GUEVARA                                        SANDIEGO      CA    8/16/20171FADP3F26FL241310
FVSͲ118477412MIRANDAP        MCNEILL                                        HUNTINGTNBCH   CA    8/16/20171FADP3F26FL248807
FVSͲ118477870DOUGLASK        BROWN                                          LOSANGELES     CA    8/16/20171FADP3F26FL275294
FVSͲ118529633KELLYC          CALVEY               BRIANCALVEY              ELKGROVE      CA    8/16/20171FADP3F29DL374799
FVSͲ118622633EVELYN           CRUZ                 JUANCRUZ                 BAYPOINT      CA    8/16/20171FADP3F28FL300664
FVSͲ118640607JESSIEL         SANDERS                                        FRESNO         CA    8/16/20171FADP3K23EL162567
FVSͲ118648535IRENEM          SWEET                                          VENTURA        CA    8/16/20171FADP3J27EL407422
FVSͲ118687328JENNIFERD       COTONE                                         WESTHILLS     CA    8/16/20171FADP3K21DL226958
FVSͲ118747088JAIMEA          CEJA                                           SHERMANOAKS    CA    8/16/20171FADP3K26EL294366
FVSͲ118761765MARIAC          VAUGHAN                                        RIVERSIDE      CA    8/16/20171FADP3K22EL281825
FVSͲ118790781ASHLYN          GONZALEZ             ASHLYDORR                ORANGE         CA    8/16/20171FADP3K22DL382152
FVSͲ118797026RAMONAL         GUZMAN                                         RIVERSIDE      CA    8/16/20171FADP3K27EL185155
FVSͲ118818163KELLYA          HYDE                                           CASTROVALLEY   CA    8/16/20171FADP3K27DL251993
FVSͲ118824333RICKR           WHITEHURST            SUSANSHEWMAKE            MODESTO        CA    8/16/20171FADP3K29EL144624
FVSͲ118852116RANDAL           LEHR                                           ATASCADERO      CA    8/16/20171FADP3K2XEL162923
FVSͲ118854879CYNTHIAA        BILLETT              CINDYBILLETTHAFTERSON   LAKEALMANOR    CA    8/16/20171FADP3K2XEL260110
FVSͲ118888919KIERRAS         GORDONSMITH                                    FRESNO         CA    8/16/20171FADP3K28EL150480
FVSͲ118943766LAURIEA         MIGLIORE                                       VACAVILLE      CA    8/16/20171FADP3N20EL298358
FVSͲ119034360DANIELLEM       COLOMBO              DANIELLEAGRISULA         ROHNERTPARK    CA    8/16/20171FAHP3E23CL452897
FVSͲ119096110DAVIDC          BROWNII             SUSANABROWN              VISTA          CA    8/16/20171FAHP3F21CL410355
FVSͲ119165325JENNIFERA       OPRAY                                          PASOROBLES     CA    8/16/20171FADP3N24DL353358
FVSͲ119252309CLARESSAE       MARQUEZ                                        ATWATER        CA    8/16/20171FAHP3E28CL263310
FVSͲ119295776EDDY             VILLALOBOS                                     LAKEELSINORE   CA    8/16/20171FAHP3H28CL373415
FVSͲ119317001LAURAL          HARDY                JASONHARDY               HESPERIA       CA    8/16/20171FAHP3K22CL251044
FVSͲ119386291MARGARETI       CURTISCROCKETT                                  LAFAYETTE      CA    8/16/20171FAHP3M20CL424721
FVSͲ119515890WILLIAM          LOPEZ                                          SACRAMENTO      CA    8/16/20171FAHP3K28CL434030
FVSͲ119620090MEGHA            UNHELKAR                                       IRVINE         CA    8/16/20173FADP4BJ1DM172654
FVSͲ119622106RODNEYJ         MCNEILL                                        HUNTINGTNBCH   CA    8/16/20173FADP4BJ1DM205314
FVSͲ119676788BRANDONS        LIMPERT                                        TORRANCE       CA    8/16/20173FADP4BJ1BM119806
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FVSͲ119710544 EVELYNA         CRUZ             JUANCRUZ                BAYPOINT      CA   8/16/20173FADP4BJ0EM133684
FVSͲ119747944LANAM            ORDONEZ                                    SANDIEGO      CA    8/16/20173FADP4BJ0DM136969
FVSͲ119750210JESSICAN         BENWAY                                     LAFAYETTE      CA    8/16/20173FADP4BJ0DM186478
FVSͲ119756609CHRISTINEM       LONCZEWSKI                                  CHULAVISTA     CA    8/16/20173FADP4BJ8BM200687
FVSͲ119779137 ISSAC            GUEVARA                                    SANDIEGO      CA    8/16/20173FADP4BJ8DM111236
FVSͲ119890135GRACE             MASELLIS         NINOMASELLIS             HUGHSON        CA    8/16/20173FADP4BJ6FM129706
FVSͲ119985586 KELLYL          FLETCHER         SHYLOFLETCHER            LAKEELSINORE   CA    8/16/20173FADP4EJ4DM147193
FVSͲ120154552TIM               ARBUCKLEJR                                 BENICIA        CA    8/16/20173FADP4EJ9EM196312
FVSͲ120551594JENNIFERL        JACKOWSKI                                  GETTYSBURG      PA    8/16/20171FADP3F25EL105071
FVSͲ800000625 DENISESUZANNE   SALANKI                                    DEARBORN       MI    8/16/20173FADP4BJXDM14522
FVSͲ800001788RODOLFO           DIAZ             CHRISTINEDIAZ            MORENOVALLE    CA    8/16/20171FADP3F28EL453897
FVSͲ800001796JUSTIN            WELCH            JESSICAWELCH             UKIAH          UT    8/16/20171FADP3F23FL262440
FVSͲ100034772AESHAJ           ATKINS                                     TROY           OH    8/17/20171FADP3F21EL128234
FVSͲ100211640 BRITTANYD       BEDWELL                                    WESTLAND       MI    8/17/20171FADP3F27DL351294
FVSͲ100403018 DANIELL         CAMPBELL                                   ALBION         MI    8/17/20171FADP3F23EL218100
FVSͲ100446990ALEXANDERL       TAPPE                                      SUPERIOR       WI    8/17/20171FADP3F28EL110636
FVSͲ100466079DEBORAHA         FIELDS                                     TIPPECANOE      OH    8/17/20171FADP3F27EL325845
FVSͲ100513522 PATTIS          WALTON           WILLIAMHWALTON          LOCKBOURNE      OH    8/17/20171FADP3F29EL286224
FVSͲ100741576BERNARDM         MARUCCI                                    MASSILLON      OH    8/17/20171FADP3F26FL355646
FVSͲ100745695WANDAR           DEARMANHARRIS                              CLEVELAND      OH    8/17/20171FADP3F29DL308284
FVSͲ100774750WENDYA           SUDDETH          WENDYTANKERSLEY          GRAYLING       MI    8/17/20171FADP3F27EL207648
FVSͲ100883826PAULA            SIEMENS                                    DAYTON         OH    8/17/20171FADP3J22EL136740
FVSͲ101001827 LINDAM          TAYLOR                                     CINCINNATI     OH    8/17/20171FADP3F23FL239658
FVSͲ101028555AMANDAR          MOORE                                      CINCINNATI     OH    8/17/20171FADP3E27FL260448
FVSͲ101094302 PAMELAK         OWENS                                      FRANKLIN       OH    8/17/20171FADP3F22EL129098
FVSͲ101141734 KAITIE          VASBINDER        SCOTTDOUGLASVASBINDER   JACKSON        MI    8/17/20171FADP3J21DL114954
FVSͲ101258313CHARLOTTEY       FLEMING                                    HOMEWOOD        IL    8/17/20171FADP3F2XDL199446
FVSͲ101277008TAMMYA           SMITH                                      LIMA           OH    8/17/20171FADP3F23EL252764
FVSͲ101292538ANTHONYM         STROSS                                     ELYRIA         OH    8/17/20171FADP3F27DL380181
FVSͲ101505507THOMASB          COLESJR                                   GROSSEPTWDS   MI    8/17/20171FADP3F24DL137430
FVSͲ101578296 RICKIA          HAYWORTH                                   CLEVELAND      OH    8/17/20171FADP3F2XEL329887
FVSͲ101582935 RUTHA           QUEENAN                                    GROSSEPTFRM   MI    8/17/20171FADP3F21DL204162
FVSͲ101720270 ERICM           HARTMAN                                    MIAMISBURG      OH    8/17/20171FADP3F22EL428851
FVSͲ101728956JUANITAM         MOORE                                      ZANESVILLE     OH    8/17/20171FADP3F2XDL332478
FVSͲ101729154SHAWNA           KINGSMILL                                  NEWTONFALLS    OH    8/17/20171FADP3F2XDL332643
FVSͲ101753993CASSANDRAR       SUMNER                                     ELYRIA         OH    8/17/20171FADP3F20EL160849
FVSͲ101781369JUDYP            JACKSON                                    WYANDOTTE       MI    8/17/20171FADP3F26EL132800
FVSͲ101796730JACQUELINE        JOHNSON                                    WARREN         OH    8/17/20171FADP3F20DL145671
FVSͲ101807112 LABONNIEV       WOODARD                                    SOUTHFIELD      MI    8/17/20171FADP3J21EL207166
FVSͲ101867174TODD              SWINEHART                                  THORNVILLE      OH    8/17/20171FADP3F22EL160643
FVSͲ101883757JOANNR           VANSCYOC                                   BOLIVAR        OH    8/17/20171FADP3F24EL269587
FVSͲ101906404WESLEYA          SANDER                                     GRANDHAVEN     MI    8/17/20171FADP3F24DL351348
FVSͲ101989946 BENJAMINT       WEIER                                      WESTLAND       MI    8/17/20171FADP3F2XEL299306
FVSͲ102170240 HEATHERL        NEWMAN                                     OVID           MI    8/17/20171FADP3F29FL367824
FVSͲ102204861 MARY             WOJTANIK                                   FORTWAYNE      IN    8/17/20171FADP3F27DL157204
FVSͲ102220182TINAM            MARVIN                                     COLDWATER       MI    8/17/20171FADP3F28DL236008
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                                              
FVSͲ102326720JACQUELYNM      MANCUSO                                CLEVELAND        OH    8/17/20171FADP3F24EL428267
FVSͲ102379424JON             JONES                                  AKRON            OH     8/17/20171FADP3E21EL370314
FVSͲ102496722 HEATHERS       BRANDEBERRY                             ROCKCREEK        OH     8/17/20171FADP3F29EL310456
FVSͲ102654980 KELLYA         CANDEA                                 NORTHCANTON      OH     8/17/20171FADP3F2XEL181921
FVSͲ102754772GERTRUDEA       HUMPHRIES                              UTICA            OH     8/17/20171FADP3F22FL218154
FVSͲ102811946CORENAM         LEWIS                                  UNIONTOWN         OH     8/17/20171FADP3F20EL219009
FVSͲ102860653 CHARLESG       COLLINS                                GARDENCITY       MI     8/17/20171FADP3F24EL107846
FVSͲ102962529ANTHONY          MIRA                                   CLEVELAND        OH     8/17/20171FADP3F28DL146082
FVSͲ102968390SUSANM          CHAMBERS                               CANTON           MI      8/17/20171FADP3J26EL107970
FVSͲ102968403 CHARLESG       COLLINS                                GARDENCITY       MI      8/17/20171FADP3J26EL107984
FVSͲ103064940 JENNIFERL      JONES                                  CINCINNATI       OH     8/17/20171FADP3F23FL355877
FVSͲ103077090THERESAI        GREER                                  HOUGHTONLAKE     MI     8/17/20171FADP3F25EL207647
FVSͲ103157468SHALONDA         JACKSON                                LORAIN           OH     8/17/20171FADP3F28FL305217
FVSͲ103228780 DEREKR         FUCIARELLI                             WYANDOTTE         MI     8/17/20171FADP3F29EL253322
FVSͲ103230173TAMMYJ          WELKER             DAVIDSWELKER      BLKRIVERFLS     WI     8/17/20171FADP3F20EL235100
FVSͲ103290354DONNAS          ROBBINS                                SHREREPORT        LA     8/17/20171FADP3F26DL305603
FVSͲ103421815ALANM           ARSLANIAN                              AURORA           OH     8/17/20171FADP3F20DL233085
FVSͲ103502971VETTYM          SOSA                                   ORANGEPARK        FL    8/17/20171FADP3F24EL329609
FVSͲ103616136MARYC           RAINEY             RONALDRAINEY       CUYAHOGAFLS      OH     8/17/20171FADP3F20DL242286
FVSͲ103692002ANDREW           MINEO                                  GIRARD           OH     8/17/20171FADP3F26FL247947
FVSͲ103703810XYLINA           VELA                                   SANANTONIO       TX     8/17/20171FADP3F25EL430206
FVSͲ104086840 EILEENM        BENNETT                                YOUNGSTOWN        OH     8/17/20171FADP3F28DL267274
FVSͲ104105240ZACHARY          ADKINS                                 PROCTORVILLE      OH      8/17/20171FADP3J23EL122362
FVSͲ104109289 JANEP          DILLINGER                              NEWBAVARIA       OH      8/17/20171FADP3J29EL195171
FVSͲ104241497 KARENM         HIGGINS                                FLUSHING         MI     8/17/20171FADP3F23EL143429
FVSͲ104299991 DEBORAHL       PARR                                   ELIVERPOOL       OH     8/17/20171FADP3F27FL312725
FVSͲ104376007 CORRINE         CLAYTON                                LORAIN           OH     8/17/20171FADP3F26EL361297
FVSͲ104397411 SLAVICA         KOLOSKI                                SOUTHLYON        MI     8/17/20171FADP3F26EL348291
FVSͲ104421606DONALDJ         RICHARDS                               KALAMAZOO         MI     8/17/20171FADP3F27DL324497
FVSͲ104456370 KAYLAE         YODER                                  WILMOT           OH     8/17/20171FADP3F21DL333065
FVSͲ104682310MARSHAL         KING               TIMOTHYCKING      MONROE           MI     8/17/20171FADP3F23DL219648
FVSͲ104744723ANTONIOS        GUERRA                                 SEABROOK         TX     8/17/20171FADP3K20DL342085
FVSͲ104817011 KATIEL         KETCHUM                                WELLSVILLE       OH     8/17/20171FADP3F25DL208750
FVSͲ104849681 DIANEL         SMITH                                  FLINT            MI     8/17/20171FADP3F27FL330173
FVSͲ105080306 KIMR           SZAJNA                                 STERLINGHTS      MI     8/17/20171FADP3F23EL389509
FVSͲ105174130 ROGERS          WORTHY                                 SOUTHFIELD        MI      8/17/20171FADP3J25EL241028
FVSͲ105177202 HEATHERR       CHANEY                                 LANCASTER        OH      8/17/20171FADP3J25EL354249
FVSͲ105527521SHAWN            SCHULZ                                 JEFFERSONVLLE      IN    8/17/20171FADP3F29EL347944
FVSͲ105587524 BONNIER        ARMSTRONG                               FTWORTH         TX     8/17/20171FADP3F28EL286506
FVSͲ105670529 KENNETHE       SHARP                                  FLINT            MI     8/17/20171FADP3F26DL226142
FVSͲ105689050JIMMYL          LINDSEY            ROBIN LINDSEY       GEORGETOWN        OH     8/17/20171FADP3F2XDL188544
FVSͲ105699144JOYCEA          STANSELL                               DEARBORN         MI     8/17/20171FADP3F20EL397986
FVSͲ105707007 JAMIEL         HANNULA                                HOWELL           MI     8/17/20171FADP3F22DL115040
FVSͲ105718955 ESTHERL        VARELA             MIRIAMVARELA       ELPASO          TX     8/17/20171FADP3J27DL220647
FVSͲ105831638STACEYL         VANDENBERG                              MUSKEGON         MI     8/17/20171FADP3K20EL161196
FVSͲ105868736 GABRIELLEL     SHIVES                                 YOUNGSTOWN        OH     8/17/20171FADP3K20EL154815
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                                             
FVSͲ105908339ANGELA          STEWART                                MINGOJCT        OH    8/17/20171FADP3K20EL319438
FVSͲ106345885 MELINDAC      JACKSON                                CANTON           OH     8/17/20171FADP3K22EL206039
FVSͲ106493477 ROCHELLE       JONES                                  ASHTABULA        OH     8/17/20171FADP3K23EL400983
FVSͲ106495704 LEOR          BLANDJR                               AKRON            OH     8/17/20171FADP3K23EL411479
FVSͲ106697846ALYSSA          SMITH                                  LAKEVILLE         IN    8/17/20171FADP3K24EL151271
FVSͲ106723626SAHIRAHA       PURYEAR                                EASTPOINTE        MI     8/17/20171FADP3K24DL219728
FVSͲ106783637 MICHAELM      ANDERSON                               MERIDIAN         MS     8/17/20171FADP3K25EL181704
FVSͲ106936352 LEZLIED       HOWARD                                 CLEVELAND        OH     8/17/20171FADP3K26DL267988
FVSͲ106983326CAROLA         RIEVES                                 EDWARDSBURG       MI      8/17/20171FADP3K26EL151191
FVSͲ106996436EVAM           BUMBUL                                 ALLENPARK       MI     8/17/20171FADP3K26EL174647
FVSͲ107230275 BESSIE         WATKINS                                DETROIT          MI     8/17/20171FADP3K27EL293159
FVSͲ107244047VENDETTA        ANDERSON                               DETROIT          MI     8/17/20171FADP3K27DL145706
FVSͲ107547589 STEPHANIEM    JACKSON                                MILFORD          MI     8/17/20171FADP3K28EL333667
FVSͲ107565382 CHERYLEA      SHAFFER                                SPRINGFIELD       OH     8/17/20171FADP3K28DL232739
FVSͲ107565536ALLISONE       BRUNER                                 DETROIT          MI     8/17/20171FADP3K28DL233101
FVSͲ107910071 PATRICIAA     ROBERTS                                CLEVELAND        OH     8/17/20171FADP3K2XEL320631
FVSͲ108004708PAMALAK        ECHOLS                                 PAULDING         OH     8/17/20171FADP3K2XDL297625
FVSͲ108675912 CHRISTINEB    NOWAK                                  SYLVANIA         OH     8/17/20171FADP3N24DL106342
FVSͲ108784266JOANNM         HARK                                   TIFFIN           OH     8/17/20171FADP3N23EL148874
FVSͲ108790576JULIANM        LAMBERT                                ROMULUS          MI     8/17/20171FADP3N26EL148786
FVSͲ108846423 JEFFERY        THOMAS                                 EVANSVILLE        IN    8/17/20171FADP3N27EL422948
FVSͲ108872009 ALICIA         PEREYRA                                AUBURNHILLS      MI     8/17/20171FADP3N24EL167918
FVSͲ108960072 DEBORAHJ      ADAMS                                  CINCINNATI       OH     8/17/20171FADP3N2XEL320642
FVSͲ109061667 GERALDINEE    BROW                                   SAINTIGNACE      MI     8/17/20171FADP3N28DL106330
FVSͲ109070160 MICHELLEL     CAMIOLA                                LAKEWOOD         OH     8/17/20171FAHP3E21CL173500
FVSͲ109169565 CAMILOA       ARDILA                                 JACKSON          OH     8/17/20171FADP3N2XFL209106
FVSͲ109402650SUSANL         MAZZAGATTI                              BARBERTON         OH      8/17/20171FAHP3F20CL271755
FVSͲ109518551 DALES         BIONDI                                 DEARBORN         MI      8/17/20171FAHP3F21CL278374
FVSͲ109700597 KEITHW        BUDD                                   ROCHESTER        MI      8/17/20171FAHP3F22CL448225
FVSͲ109748158JOSEPHS        REPKA                                  EDMOND           OK      8/17/20171FAHP3F21CL466053
FVSͲ109823508TIMOTHY         BAKER                                  GROVECITY       OH      8/17/20171FAHP3F23CL114057
FVSͲ109925890 KATHLEENH     DUDANSKY                               DEARBORNHTS      MI      8/17/20171FAHP3F24CL261908
FVSͲ109954025 MINDYE        HEITKAMP           TRAVISJHEITKAMP   UNION            OH     8/17/20171FAHP3F23CL334363
FVSͲ109960831 LUISE         PRIMO                                  BROOKPARK         OH      8/17/20171FAHP3F23CL470928
FVSͲ109965388DAWNM          DINOTO                                 EASTCHINA       MI     8/17/2017 1FAHP3F24CL105416
FVSͲ110149246 MICHAEL        BILSZA                                 COSHOCTON         OH      8/17/20171FAHP3F26CL127773
FVSͲ110197496GWENDOLYNG     YAZELL                                 CINCINNATI       OH      8/17/20171FAHP3F25CL310582
FVSͲ110318960 PATTIJ        SMITH                                  ONTARIO          OH      8/17/20171FAHP3F25CL414974
FVSͲ110444876JOHNW          GRABIEC                                CLEVELAND        OH     8/17/20171FAHP3F27CL464081
FVSͲ110607260CHERYLL        GEFRERER                               SHELBYTWP        MI      8/17/20171FAHP3F27CL386658
FVSͲ110611292RAYMONDK       GIFFORDII         EMILYJOYGIFFORD   DAVISON          MI      8/17/20171FAHP3F28CL434734
FVSͲ110680502 ALISARN       TUSTAN                                 BRECKSVILLE       OH     8/17/20171FAHP3F28CL414919
FVSͲ110863712 DARYLG        LAVIGNE                                TAYLOR           MI     8/17/20171FAHP3F2XCL448201
FVSͲ110932846 RODNEYJ       NEWELL             PENNYNEWELL        GRANDHAVEN       MI     8/17/20171FAHP3H20CL268786
FVSͲ111030145 LUCRETIAE     HOLLOWAY                               SPRINGFIELD       OH     8/17/20171FAHP3F2XCL346901
FVSͲ111053331 LESLIE         PAYNE                                  WESTCHESTER      OH     8/17/20171FAHP3H22CL214812
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                                                   
FVSͲ111130263SHAWNM          MCGOWAN                                       GARDENCITY    MI   8/17/20171FAHP3H22CL153199
FVSͲ111138540FAWNER          PETERSON                                      CANTON         MI    8/17/20171FAHP3H22CL421796
FVSͲ111203430 KIMBERLYJ      THORNWELL                                      TOLEDO         OH    8/17/20171FAHP3H22CL391313
FVSͲ111225191 DELORESA       NELSON                                        PETERSBURG      MI    8/17/20171FAHP3H26CL221374
FVSͲ111240379JACQUELINEC     BANKS                                         WAYNE          MI    8/17/20171FAHP3H23CL214897
FVSͲ111250170ALYSSA           HESS                                          COCOABEACH     FL    8/17/20171FAHP3H26CL266296
FVSͲ111433363 MICHELLEL      HART                                          ATHENS         OH    8/17/20171FAHP3H26CL354281
FVSͲ111482976 EARNESTINE      TUNIS                                         YPSILANTI      MI    8/17/20171FAHP3H28CL135354
FVSͲ111512514CONSTANCEH      HANSEN                                        DEARBORN       MI    8/17/20171FAHP3H2XCL226447
FVSͲ111660408GREGORY          KUETEMEYER                                     COLUMBUS       OH    8/17/20171FAHP3H2XCL386876
FVSͲ111794951SHARONE         TUMMINELLO                                     CHESTERFIELD    MI    8/17/20171FAHP3J27CL100332
FVSͲ111834180DONALD           BOLLING                                       CINCINNATI     OH    8/17/20171FAHP3J26CL299888
FVSͲ111848121 MARTYL         MORARITY                                      RACINE         OH    8/17/20171FAHP3K22CL312165
FVSͲ111863309TONIAL          STURDY                                        GRANDRAPIDS    MI    8/17/20171FAHP3K21CL205589
FVSͲ112043097JOSIAHL         WILLIAMS               WHITNEYWILLIAMS       GRASSLAKE     MI    8/17/20171FAHP3K22CL414369
FVSͲ112228283JOHN             RAKOWSKIJR                                    TAYLOR         MI    8/17/20171FAHP3K24CL448460
FVSͲ112307710 DIANNEM        COWELL                 CHELSEACOWELL         GRANDRAPIDS    MI    8/17/20171FAHP3K24CL404782
FVSͲ112394884 DENNISD        WHITE                                         GRANDRAPIDS    MI    8/17/20171FAHP3K28CL249816
FVSͲ112408761TIMOTHYJ        KEEFE                                         PARMA          MI    8/17/20171FAHP3K25CL421736
FVSͲ112463002JOHND           GIBBINS                                       LOVELAND       OH    8/17/20171FAHP3K26CL464501
FVSͲ112510329WILLIAMT        REGAN                                         NEWRICHMOND    OH    8/17/20171FAHP3K29CL233818
FVSͲ112531199TIMOTHYS        SHELTON                                       GROVEPORT       OH    8/17/20171FAHP3K28CL337698
FVSͲ112608159GARYK           ODONOVAN                                      SANFRANCISCO   CA    8/17/20171FAHP3K28CL286672
FVSͲ112642438JONE            CHILDS                                        ANNARBOR      MI    8/17/20171FAHP3K2XCL448852
FVSͲ112645046JULIAM          HARVEY                 ROBERTHARVEY          BELCAMP        MD    8/17/20171FAHP3K2XCL462511
FVSͲ112979173WARDJ           BRAZIER                                       DEARBORN       MI    8/17/20171FAHP3M27CL261713
FVSͲ113000464ANNA             DAVIES                                        BALTIMORE      OH    8/17/20171FAHP3M24CL135650
FVSͲ113034199DAWNM           BASS                                          COLUMBUS       OH    8/17/20171FAHP3M23CL469250
FVSͲ113454970 BARRYL         BEDWELL                                       WESTLAND       MI    8/17/20173FADP4AJ1BM156579
FVSͲ113462263 DENNISJ        TINI                                          FARMINGTNHLS   MI    8/17/20171FAHP3N23CL153314
FVSͲ113558228 ROBERT          BUCHANAN                                      HAMILTON       OH    8/17/20173FADP4AJ3CM153250
FVSͲ113674120 PHILIPG        LUCIER                                        TAYLOR         MI    8/17/20173FADP4AJ0DM207587
FVSͲ113911890 KEVINB         FRANKENBERG             LAURALFRANKENBERG    COLUMBUS       OH    8/17/20173FADP4AJ7DM149574
FVSͲ114151709 LINDAA         WOODFORD                RUSSELLLEEWOODFORD   WHITELAKE     MI    8/17/20173FADP4BJ0CM215721
FVSͲ114326517CATHARINA        WALTERͲWECKSELER                               CLARE          MI    8/17/20173FADP4BJ1BM223566
FVSͲ114497435JOE              HUBBARD                                       CANTON         MI    8/17/20173FADP4BJ1EM182490
FVSͲ114648964 DELORESC       FIELDS                                        DETROIT        MI    8/17/20173FADP4BJ3EM106429
FVSͲ114682569GREGORYJ        INGRASSIA                                     SPRINGFIELD     IL    8/17/20173FADP4BJ3DM192856
FVSͲ114751641JERRYL          CARSON                                        BOWLINGGREEN   OH    8/17/20173FADP4BJ3DM172008
FVSͲ114764824WESLEYJ         TAGAMI                                        LIVONIA        MI    8/17/20173FADP4BJ4BM233203
FVSͲ114933243VICKIEL         BELL                                          STURGIS        MI    8/17/20173FADP4BJ4CM150131
FVSͲ114968667 MARYELLEN       HOLOWEIKO                                      EASTLANSING    MI    8/17/20173FADP4BJ5DM136739
FVSͲ115101276WILLIAMM        WILLIAMSON                                     HENDERSON       NV    8/17/20173FADP4BJ6BM233185
FVSͲ115226230KEYONNA          WILSON                                        INDIANAPOLIS    IN    8/17/20173FADP4BJ6BM106016
FVSͲ115286284HOWARDE         LAMONTJR                                      LORAIN         OH    8/17/20173FADP4BJ7DM136676
FVSͲ115388753 BETTYA         ROBINSON                                      CINCINNATI     OH    8/17/20173FADP4BJ7CM128558
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FVSͲ116337230ANGELA          CURTIS             ROBERTFRANTOM     DAYTON           OH    8/17/20173FADP4EJ1DM153307
FVSͲ116619767 KAITLYN        FOX                                    LAWRENCEBURG      IN     8/17/20173FADP4EJ3EM205635
FVSͲ116681802TERESAJ        FUGATE                                 MILFORD          OH     8/17/20173FADP4EJ3EM120892
FVSͲ116684950 DAVIDA        WERNER                                 TIFFIN           OH     8/17/20173FADP4EJ4DM201978
FVSͲ117005886DEBORAHS       ALDRIDGE                               CANALWNCHSTR     OH     8/17/20173FADP4EJ7CM176380
FVSͲ117099821 DARLENEK      BATES                                  BIDWELL          OH     8/17/20173FADP4EJ8BM171638
FVSͲ117229440BRANDEN         VAUGHN             AMANDAVAUGHN       MARSHALL         TX     8/17/20173FADP4EJ9DM204665
FVSͲ117329649 CHERYLD       CROWLEY            MICHAELCROWLEY     FAIRBORN         OH     8/17/20173FADP4EJXCM180973
FVSͲ117355836 MICHAELD      OLIVE                                  WHITEFISHBAY     WI     8/17/20173FADP4EJXCM140120
FVSͲ118045105JOHANNESH      WORTMANN                                ANNARBOR        MI     8/17/20173FADP4TJ5EM199968
FVSͲ118142534 ISMAEL         LOERA                                  POMONA           CA     8/17/20171FADP3E26EL144401
FVSͲ118610724 CECILIA        DALISAY                                WILDOMAR         CA     8/17/20171FADP3J28EL162405
FVSͲ118671979JOSELYN         ESQUERBUSTAMANTE                       SANDIEGO        CA     8/17/20171FADP3K23DL116655
FVSͲ118779397 ERIN           VAUGHAN                                RIVERSIDE        CA     8/17/20171FADP3K25EL453586
FVSͲ118857533 CARRIER       KIRKSEY                                PORTERVILLE       CA     8/17/20171FADP3K28EL327416
FVSͲ118904914SEAN            JEANS              JESSICAJEANS       SANMARCOS        CA     8/17/20171FADP3K2XDL226988
FVSͲ118992694 FRANKLINJ     SOARES                                 SANJOSE         CA     8/17/20171FADP3N29EL118794
FVSͲ119357267 DOREN          PETERSON                               RANCHOMIRAGE     CA     8/17/20171FAHP3K26CL392330
FVSͲ119412446JEFFREYW       TAYLOR                                 ROCKLIN          CA     8/17/20171FAHP3H25CL175262
FVSͲ119602512 SHAUNA         SEELY                                  GRANITEBAY       CA     8/17/20171FAHP3N20CL120383
FVSͲ119992876MARY            LYDON                                  SACRAMENTO        CA     8/17/20173FADP4EJ3EM180333
FVSͲ120012472MOHAMMADM      MOLAEI                                 POMONA           CA     8/17/20173FADP4BJXFM161882
FVSͲ121072185JESSICAL       HEPNER             BENEDICTHEPNER     DALLASTOWN        PA     8/17/20171FAHP3J21CL472488
FVSͲ800000706CHELSEY         GREEN                                  CIMDALL          MI     8/17/20171FAHP3F23CL458438
FVSͲ800000714BRANDON         CARLSON                                MACOMB           MI     8/17/20171FADP3F22DL300737
FVSͲ800000722 DIANE          DROEGE                                 TOWNSHIP         MI     8/17/20173FADP4BJ9CM113432
FVSͲ800002571 ROBERT         HARVEY                                 BELCAMP          MD     8/17/20171GCVKRECXHZ331991
FVSͲ100341675 STANLEYB      ROBINSONII                             MARICOPA         AZ     8/18/20171FADP3F24DL301517
FVSͲ100373321 RICHARDC      WILMOT                                 ZELLWOOD         FL     8/18/20171FADP3F2XDL326745
FVSͲ100645038 MICHAELD      SMITH              ANDREWWILSON       DENVER           CO     8/18/20171FADP3F2XEL131102
FVSͲ100648487TIMOTHYW       GREEN                                  EMMETT           ID     8/18/20171FADP3F25EL312379
FVSͲ100932908JENNIFERN      KLOCKMAN           THOMASSTUEBER      ATHENS           GA     8/18/20171FADP3F20EL126491
FVSͲ101204027 DIANAM        ORTIZ                                  KISSIMMEE        FL     8/18/20171FADP3F21EL180432
FVSͲ101428413 LISAP         OVERBECK                               NEWPRTRCHY      FL     8/18/20171FADP3F25FL292300
FVSͲ101466854 DAVIDI        LIGHTBODY                              ROSHARON         TX     8/18/20171FADP3F22EL419602
FVSͲ101899491 DEBORAHS      RECORD                                 SHELBYTWP        MI     8/18/20171FADP3F21EL207208
FVSͲ102050082ANGELAM        WNUK                                   EASTBERLIN       CT     8/18/20171FADP3F21DL227568
FVSͲ102120110 PILART        MINO                                   TAMARAC          FL     8/18/20171FADP3F23EL285537
FVSͲ102137838MARSHAE        SEOW                                   TAMARAC          FL     8/18/20171FADP3F28EL233594
FVSͲ102518645CONSTANTINEM   WONG               PETAGAIWONG        ROCKLEDGE        FL     8/18/20171FADP3F29DL331628
FVSͲ102771022ANGELINED      MOTZNY                                 DESPLAINES       IL     8/18/20171FADP3F25DL137503
FVSͲ102793743 SHELLIL       ROBICHAUD                              TOWNSEND         MA     8/18/20171FADP3J26EL231978
FVSͲ102819459 DANIELR       ROMO                                   THORNTON         CO     8/18/20171FADP3F20DL200703
FVSͲ102954526 KIMBERLY       CREEK                                  GRAYSVILLE       TN     8/18/20171FADP3F29EL402828
FVSͲ103049134ORIANAJ        OBREGON                                BELLEAIR         FL     8/18/20171FADP3F2XEL396523
FVSͲ103092412 LEMUELR       SUGGS                                  VERNON           FL     8/18/20171FADP3F26EL319051
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                                                
FVSͲ103263985 KARENM          RAY                                     THORNTON        CO    8/18/20171FADP3F23EL326541
FVSͲ103401059GERALDW          PORTILLOS                               PUEBLO          CO     8/18/20171FADP3F29DL336425
FVSͲ103558535 JESSICAA        NERSESIAN                               SEAFORD         NY     8/18/20171FADP3J26DL160702
FVSͲ103595821JACLYND          HENRY              JAMESHENRY          SANANTONIO      TX     8/18/20171FADP3F21GL212279
FVSͲ103952845 DAVIDW          MILLERJR                               PALATKA         FL     8/18/20171FADP3F29EL410475
FVSͲ104182482SHAWNAJ          MORGAN                                  DAYTONABEACH    FL     8/18/20171FADP3F21EL320155
FVSͲ104210303ROBERTW          STRONG                                  HALETHORPE       MD     8/18/20171FADP3F28DL168051
FVSͲ104491710 KRISTYR         PLUMMER                                 HENDERSONVLLE    TN     8/18/20171FADP3F25DL188662
FVSͲ104806770 JILLA           WILLIAMSON                               CAPECORAL       FL     8/18/20171FADP3F24DL259771
FVSͲ104834102SHARONA          PALMER                                  OMAHA           NE     8/18/20171FADP3F25EL460676
FVSͲ104897406JOANIEE          SHANHOLTZ                               BRYANSROAD      MD     8/18/20171FADP3F28EL387805
FVSͲ104921587 BRUCEJ          SCHUETZE                                MORRISTON        FL     8/18/20171FADP3F27DL330865
FVSͲ104970294 JELIAHS         MCNEIL                                  JACKSONVILLE     FL     8/18/20171FADP3F29EL215220
FVSͲ105092541JACKD            HAMLEY                                  POMPANOBEACH    FL      8/18/20171FADP3J27EL180278
FVSͲ105306282 MARIEA          WEARE                                   TITUSVILLE      FL     8/18/20171FADP3F21EL396622
FVSͲ105341835 STEPHENA        SHANKS             RAVENCHILDS         ROUNDROCK       TX     8/18/20171FADP3F21DL379611
FVSͲ106355171ANTONIOM         PEREZRIVERA                             CLEARWATER       FL     8/18/20171FADP3K22EL410310
FVSͲ106434608ANDREWH          RYAN                                    ZEPHYRHILLS      FL     8/18/20171FADP3K23DL119099
FVSͲ106570803 DENNISL         PIZZARELLA                              CLEARWATER       FL     8/18/20171FADP3K24EL262693
FVSͲ106700162 KARLS           PETERSEN                                BELAIR         MD     8/18/20171FADP3K24EL159094
FVSͲ106775901 LOURDES          RODRIGUEZ                               PEMBROKEPNES    FL     8/18/20171FADP3K25EL203734
FVSͲ107127601JOHNR            OLIVE                                   NFTMYERS      FL     8/18/20171FADP3K26DL129755
FVSͲ107353504ALANC            RICKER                                  KENANSVILLE      FL     8/18/20171FADP3K27DL273332
FVSͲ107542277 MARIAC          PAGAN              LUISPAGAN           ORLANDO         FL     8/18/20171FADP3K28EL163214
FVSͲ107633310VERONICA          LUNGU              VERONICAFORD        GROVES          TX     8/18/20171FADP3K29DL251266
FVSͲ107883465 ENRIQUEN        ESCOBARSR                              FRUITLAND       MD     8/18/20171FADP3K29EL417352
FVSͲ107915294TIMOTHYM         DOYLE                                   BRISTOW         VA     8/18/20171FADP3K29EL379119
FVSͲ107998246 DANIELA         SEVERINO           CHERYLSEVERINO      THORNTON        CO     8/18/20171FADP3K2XDL116202
FVSͲ108094022 CAROLJ          WILBUR                                  BROCKPORT       NY     8/18/20171FAHP3H24CL479389
FVSͲ108283330 MARIAS          ROBERTS            MATTHEWROBERTS      INDIANAPOLIS     IN      8/18/20171FADP3L94FL367392
FVSͲ109734491 JEFFREYL        PULS                                    BALTIMORE       MD     8/18/20171FAHP3F23CL151531
FVSͲ109743008 FREDERICKS      SABAUGH                                 WARREN          MI     8/18/20171FAHP3F23CL173996
FVSͲ109780434 KIM              STEVENSON          NICHOLASSTEVENSON   GRANGER         IN     8/18/20171FAHP3F23CL267098
FVSͲ109790014 BRENTA          KINGSEED                                GALION          OH     8/18/20171FAHP3F23CL294186
FVSͲ110081005 MICHAEL          PITCOCK                                 GREENFIELD       IN     8/18/20171FAHP3F24CL178978
FVSͲ110098412 JUDITH           ODOM                                    HANNIBAL        MO     8/18/20171FAHP3F25CL372936
FVSͲ110162170 ELIZABETHR      TARBUTTON                                THORNTON        CO     8/18/20171FAHP3F26CL119284
FVSͲ110177118 JOELC           GIBSON             JOHANNAGIBSON       FORTWORTH       TX     8/18/20171FAHP3F24CL428607
FVSͲ110734130 KELLIA          MCCORMACK                                NEWPORT         MI     8/18/20171FAHP3F29CL448464
FVSͲ110776372 BONNIEL         YOUNKER                                 HAGERSTOWN       MD     8/18/20171FAHP3F29CL270216
FVSͲ111347882 DENNISR         RIVERA             ANNARIVERA          PUEBLO          CO     8/18/20171FAHP3H24CL325264
FVSͲ111445825 LISAM           VARITEK                                 WYANDOTTE        MI     8/18/20171FAHP3H27CL278103
FVSͲ111505550 LISAA           TAORMINA                                STCLRSHORES    MI     8/18/20171FAHP3H2XCL205565
FVSͲ111623707 ROBERTA         MONEY                                   FORTMYERS       FL     8/18/20171FAHP3H2XCL420430
FVSͲ111891434 LUCINDAM        WHEELER                                 WHEATRIDGE      CO     8/18/20171FAHP3K20CL313542
FVSͲ111981620 KATHIER         GRIFFIN                                 MARIETTA        OH     8/18/20171FAHP3K23CL299975
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FVSͲ111992532 LORIF         MCNAB                                    TALLAHASSEE    FL    8/18/20171FAHP3K24CL166562
FVSͲ112161146 DANIELLEN     SOCKO                                    TAMPA          FL     8/18/20171FAHP3K25CL327873
FVSͲ112172814CASSIED        NESBIT                                   SEMINOLE       FL     8/18/20171FAHP3K23CL404997
FVSͲ112224580 MARTINH       QUIRE               KATHLEENQUINE       THEVILLAGES    FL     8/18/20171FAHP3K26CL408221
FVSͲ112383629 LYNDAB        PEARCE              JERRYPEARCE         LINCOLNPARK    MI     8/18/20171FAHP3K27CL136164
FVSͲ112610862JANNORYJ       REYES                                    MIAMI          FL     8/18/20171FAHP3K28CL298398
FVSͲ112760708ALIXE          SIMONETTE                                HALETHORPE      MD     8/18/20171FAHP3M20CL332640
FVSͲ113086342 KYANNR        MOODY               JULIASANVILLE       NORTHGLENN      CO     8/18/20171FAHP3M25CL436069
FVSͲ113099142BRADW          WESTHOFF                                 CENTENNIAL      CO     8/18/20171FAHP3M2XCL135023
FVSͲ113145560JENNIFERL      TOWLER              CHRISTOPHERTOWLER   WESTLAND       MI     8/18/20171FAHP3M28CL400120
FVSͲ113152248MEGANA         SLEDZ                                    NOVI           MI     8/18/20171FAHP3N20CL205627
FVSͲ113351186BARBARAA       BYE                                      REDMOND        WA     8/18/20171FAHP3N29CL216030
FVSͲ113996497THOMASE        PENROSE                                  PLANTCITY     FL     8/18/20173FADP4AJ7CM110935
FVSͲ114118302OCTAVIAH       THOMAS                                   JACKSONVILLE    FL     8/18/20173FADP4BJ0DM146420
FVSͲ114488010 ROBERTB       TUCKERSR                                DONIPHAN       MO     8/18/20173FADP4BJ2DM103505
FVSͲ114987548 MARIEE        CLARK                                    MARION         OH     8/18/20173FADP4BJ4EM102101
FVSͲ115285709 MICHELLE       WALLACE                                  TELLCITY      IN     8/18/20173FADP4BJ7DM132062
FVSͲ115596470 DANIELLE       FRITZJOHNSON                             JACKSONVILLE    FL     8/18/20173FADP4BJ8EM186049
FVSͲ115766456 MELINDAB      POWERS                                   JACKSONVILLE    FL     8/18/20173FADP4BJ9CM110871
FVSͲ115820213 HERMINIO       RODRIGUEZ                                CHICAGO        IL     8/18/20173FADP4BJXDM207238
FVSͲ116686383JANICE          CANNON                                   ROCHESTER      NY     8/18/20173FADP4EJ4DM207330
FVSͲ117233668JESSICA         RIVERA                                   VEROBEACH      FL     8/18/20173FADP4EJ9EM103272
FVSͲ117324361SHARRONE       MITCHELL                                 PONTEVEDRA     FL     8/18/20173FADP4EJ8DM205337
FVSͲ117635839 ELISAR        RINALDO                                  LEVITTOWN      NY     8/18/20173FADP4FJ6CM186140
FVSͲ117672254BARBARAA       BYE                                      REDMOND        WA     8/18/20173FADP4FJ8BM173081
FVSͲ118402579 DENISEA       ESTRELLA            LENAADAMS           STOCKTON       CA     8/18/20171FADP3F27DL290657
FVSͲ118407244 DARLENE        YOUNG                                    RESEDA         CA     8/18/20171FADP3F25FL241217
FVSͲ118440713MATTHEWD       STEPHENS                                 RIORANCHO      NM     8/18/20171FADP3F28EL113195
FVSͲ118456342 BRITTANYE     MEAVE                                    CORONA         CA     8/18/20171FADP3F24DL210831
FVSͲ118575228 NARCISOG      CRISOLOGO                                WESTMINSTER     CA     8/18/20171FADP3K20EL363438
FVSͲ118610368STEPHANIEK     HEHIR                                    SANTAMONICA    CA     8/18/20171FADP3J28DL381721
FVSͲ118723235 KRISTINC      LUCAS                                    ALDERPOINT      CA     8/18/20171FADP3K26DL319989
FVSͲ118786245 LAURAP        KESTER              KEITHKESTER         ROCKLIN        CA     8/18/20171FADP3K27GL289566
FVSͲ118993712STEWARTA       ROUGH                                    RIOLINDA      CA     8/18/20171FADP3N29EL282045
FVSͲ119277182 ERICHE        DIEFFENBACHER        JENNIFERHYDE        TEMECULA       CA     8/18/20171FAHP3H29CL206190
FVSͲ119516780JACOBB         SORENSON                                 BAKERSFIELD     CA     8/18/20171FAHP3K28CL469733
FVSͲ119519054STEVENP        THOMAS              TAMARATHOMAS        TEMECULA       CA     8/18/20173FADP4AJ4EM190777
FVSͲ119639610 PETERD        DESILVA                                  RCHOSANTAFE   CA     8/18/20171FAHP3M2XCL135118
FVSͲ119750074 DEANC         VANPATTEN                                CLOVIS         CA     8/18/20173FADP4BJ0DM186173
FVSͲ119911884 MICHAEL        WERT                CHAMBRAMILES        SANJACINTO     CA     8/18/20173FADP4CJ3CM219843
FVSͲ120109603CARIEL         MATNEY                                   FOLSOM         CA     8/18/20173FADP4EJ7CM221401
FVSͲ800000617 DAN            MOKAN                                    PHILADELPHIA    PA     8/18/20171FADP3F29EL114579
FVSͲ800000633 PAYAMBANI     KARIMI                                   TARZANA        CA     8/18/20171FAP3K27EL399353
FVSͲ800000650TROY            PADGETT                                  NEWNAN         GA     8/18/20171FADP3K2XDL224819
FVSͲ800000668 HELEN          RUSSELL             BARRYRUSSELL        NEWVILLE       PA     8/18/20173FADP4BJ4EM165666
FVSͲ800000676JEANETTE        WALKER                                   PALMCOAST      FL     8/18/20171FADP3K24EL191396
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FVSͲ800000684VANNESSA          STEEL                                 INKSTER                 MI   8/18/20173FADP4EJ9DM224916
FVSͲ800000692TIMOTHYMICHAEL   DOYLE                                 BRISTOW                 VA     8/18/20171FADP3K26EL346143
FVSͲ800001800 FRIDAMOLINA     ROJAS                                 LOSANGELES              CA     8/18/20171FADP3F28DL200223
FVSͲ800002652 ROBINS          HIHRETH                               BELLEFONTAINE            OH     8/18/20171FADP3F22DL242614
FVSͲ103261613 RUTH             BRISTOW          ANGELABARNESͲHEIM   BERTRAM                 TX     8/19/20171FADP3F2XDL301084
FVSͲ104421592 MAHESH           PANNURI                               TROY                    MI     8/19/20171FADP3F27DL324449
FVSͲ105102016TORIJ            FLEMING                               MEMPHIS                 TN     8/19/20171FADP3F27DL219829
FVSͲ107148870 FRANCISG        SMITH                                 GRANBURY                TX     8/19/20171FADP3K26EL430740
FVSͲ108082890 KEVINBRIAN      MANN                                  BRUNSWICK               OH    8/19/20171FAHP3H25CL162933
FVSͲ109889401 HEATHERA        HINES                                 ARLINGTON               TX     8/19/20171FAHP3F24CL174221
FVSͲ114447896DONNAG           PERRY                                 FAYETTEVILLE             GA    8/19/20173FADP4BJ1DM140576
FVSͲ118275526 DAVIDP          CRUM                                  SACRAMENTO               CA     8/19/20171FADP3F20GL246942
FVSͲ118317563ARIELD           WILCOXEN                              COLTON                  CA     8/19/20171FADP3F22DL212481
FVSͲ118336711 MICHELLE         SILVA                                 SANRAFAEL              CA     8/19/20171FADP3F20EL322902
FVSͲ118980807 IMELDAA         NUNZIATO                              RANCHOSANTAMARGARITA   CA     8/19/20171FADP3N2XFL241277
FVSͲ119878194JILLIANC         DAVENPORT                              CHATSWORTH               CA    8/19/20173FADP4BJ4DM141429
FVSͲ104375132CINDYA           HEBERT                                PRAIRIEVILLE             LA     8/20/20171FADP3F26EL359856
FVSͲ115168915SHARONL          CASTO            FRANCISCASTO        CHARLESTOWN             WV    8/20/20173FADP4BJ5DM158255
FVSͲ800001257JERRI             WADE             JAMESWADE           MILLINGTON               TN    8/20/20173FADP43J98M170434
FVSͲ100221777JASPER            GLENN                                 SAINTLOUIS              MO     8/21/20171FADP3F27DL107208
FVSͲ100251633 BRIANR          TELLING                               PAINESVILLE              OH     8/21/20171FADP3F24EL222933
FVSͲ100538932CAROLYNE         SAMS                                  SOUTHGATE                MI     8/21/20171FADP3F21EL148838
FVSͲ101060297 LAURENA         EISCHEN                               MINOOKA                  IL    8/21/20171FADP3F25FL273875
FVSͲ101499485 LOISL           FRANKLIN                              PLAQUEMINE               LA     8/21/20171FADP3F22GL376558
FVSͲ101604556JACOBYL          ADAMS                                 LOUISVILLE              KY     8/21/20171FADP3F22EL154471
FVSͲ101650116GEORGINAR        SMOTHERS                              HILLVIEW                KY     8/21/20171FADP3F26DL114179
FVSͲ101691300 BRETTA          HOFFMAN                               HOPKINS                 MN     8/21/20171FADP3F22DL195956
FVSͲ102109869 BERTHA           CHESSON                               BUFFALO                 NY     8/21/20171FADP3F2XEL136400
FVSͲ102535655 ERIKAP          BRIAGAS          JOSEBRIAGAS         HOUSTON                 TX     8/21/20171FADP3F29DL333850
FVSͲ102543569 LESLIED         ASBURY           CHRISCONLEY         LAKEWOOD                WA     8/21/20171FADP3J25DL152350
FVSͲ102574995 BRANDON          ROBINSON                              SHEPHERDSVLLE            KY     8/21/20171FADP3F25EL389026
FVSͲ102880301SIERRAN          JONES                                 STANBERRY               MO     8/21/20171FADP3F26DL151474
FVSͲ102893047 RONALDL         DOREMUS                               CARTHAGE                NY     8/21/20171FADP3F21FL344621
FVSͲ103392670 BRIDGETT         GRAY                                  NICHOLASVILLE            KY     8/21/20171FADP3E29DL105946
FVSͲ103622942 FELICIAM        RENDON           VALERIERENDON       SANANTONIO              TX     8/21/20171FADP3F22EL236345
FVSͲ103827013JOHND            MAGNESS                               MIDDLEVILLE              MI     8/21/20171FADP3F21GL229681
FVSͲ104248114 PAULD           CURTIS                                VERONA                  WI     8/21/20171FADP3F25GL235757
FVSͲ105103713TASHAD           TOWNSEND                              KANSASCITY              MO     8/21/20171FADP3E23DL307116
FVSͲ105151572 MICHAELJ        LAITINEN                              GERMANTOWN               WI     8/21/20171FADP3K20EL271035
FVSͲ105162183 ROBERT           TISCARENO        ELAINETISCARENO     AURORA                   IL    8/21/20171FADP3F29DL149833
FVSͲ105185574 KATHERYNE       HOFFMAN                               LYNCHBURG                VA     8/21/20171FADP3F2XDL231666
FVSͲ105269425SHELLEYC         WALSH                                 LAWRENCE                MA     8/21/20171FADP3F2XEL158767
FVSͲ105505706YVETTE            NGUYEN                                ELPASO                 TX     8/21/20171FADP3F25DL220655
FVSͲ105602949CHARLESB         TIDWELL                               SELMER                  TN     8/21/20171FADP3F22GL236719
FVSͲ105610704GARY              WILHELM                               GRANDPRAIRIE            TX     8/21/20171FADP3F27DL233679
FVSͲ106315013 BRADM           SMITH            CARRIESMITH         ELKRIVER               MN     8/21/20171FADP3K22EL432002
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FVSͲ106372360THOMASJ        MONDOR             HOLLYMONDOR           NEWRICHMOND   WI   8/21/20171FADP3K23DL170439
FVSͲ106516566JAMESR         JONES              SANDRALJONES          GLENBURNIE     MD    8/21/20171FADP3K24DL155996
FVSͲ106848020MARYA          KEPNER             LEWISKEPNER            TERRELL        TX    8/21/20171FADP3K24FL218856
FVSͲ106885766 BUFFIEL       STANFORDYOUNG                              BELAIR        MD    8/21/20171FADP3K25DL180521
FVSͲ107054779ALEXANDERW     MARCHENKOFF                                 ADAMSCENTER    NY    8/21/20171FADP3K25GL226546
FVSͲ107099721SHANER         HYLAND                                     BOISE          ID    8/21/20171FADP3F21DL371699
FVSͲ107335883STEPHEN         SENTOFF                                    MCLEAN        VA    8/21/20171FADP3K27EL411291
FVSͲ107600013STEPHENV       ADAMS                                      DEKALB         IL    8/21/20171FADP3K28GL397792
FVSͲ107745526JESSE           FARRENS                                    MOUNTVERNON    WA    8/21/20171FADP3K29FL294766
FVSͲ108960919JOAN            ANDERSON                                   FOXLAKE       IL    8/21/20171FADP3N25EL253366
FVSͲ110721810VALERIEJ       WORDEN                                     MERRITTIS     FL    8/21/20171FAHP3F29CL462686
FVSͲ111546885JAMES           NOVAK                                      PALATINE       IL    8/21/20171FAHP3H2XCL473984
FVSͲ111747066WARRENG        BENNETT                                    ALBANY         NY    8/21/20171FAHP3J22CL297197
FVSͲ111935040LYNNM          HILLEARY                                   ROSELAND       VA    8/21/20171FAHP3K23CL122200
FVSͲ112158072SEBASTIANN     WILSON             MARKUSAKRE             ROBBINSDALE     MN    8/21/20171FAHP3K25CL397101
FVSͲ112443630 RODNEYJ       CAMERON                                    PRESQUEISLE    ME    8/21/20171FAHP3K28CL171599
FVSͲ112504019SHARONM        STUREK             JOSEPHSTUREK           MASTICBEACH    NY    8/21/20171FAHP3K26CL442059
FVSͲ112645780STEPHENM       SENTOFF                                    MCLEAN        VA    8/21/20171FAHP3K28CL260847
FVSͲ112724230 MEGANJ        FRIEDMAN                                   HYDEPARK      NY    8/21/20171FAHP3M21CL452379
FVSͲ112912621 RONALDE       LANCASTER                                  MOUNTAINHOME   AR    8/21/20171FAHP3M25CL316384
FVSͲ113136056JONATHANW      BLOCK                                      ARCHBOLD       OH    8/21/20171FAHP3N20CL266945
FVSͲ113242115VALERIEJ       WORDEN                                     MERRITTIS     FL    8/21/20171FAHP3N21CL420479
FVSͲ113483082 RICKY          ALEXANDER          BRITTANYHEMNESS        DRUMMONDS       TN    8/21/20171FAHP3N28CL308200
FVSͲ113532342 MARYL         KIDDER                                     FRANKLINGRV    IL    8/21/20171FAHP3N2XCL434008
FVSͲ114129436SHIRLEYJ       BROWN                                      KANSASCITY     MO    8/21/20173FADP4BJ0DM162410
FVSͲ114387265CHRISTINAM     BATOR              MATTHEWBATOR           WASHINGTON      MI    8/21/20173FADP4BJ1EM240419
FVSͲ114538808THOMASA        CASOLO                                     MINERALRIDGE   OH    8/21/20173FADP4BJ2EM148154
FVSͲ114651213 EDGAR          DOMINGUESR                                 MONTCLAIR      CA    8/21/20173FADP4BJ3EM117592
FVSͲ115127763 NICHOLE        ALVAREZ                                    LAUGHLIN       NV    8/21/20173FADP4BJ5DM162693
FVSͲ115356509 DINOJ         PUNTILLO                                   BUFFALO        NY    8/21/20173FADP4BJ7EM189816
FVSͲ115359427SORAYITAE      CHIRINOSANCHEZ                             BOONSBORO       MD    8/21/20173FADP4BJ7EM202449
FVSͲ115713590 LYNNM         HILLEARY                                   ROSELAND       VA    8/21/20173FADP4BJ9EM110419
FVSͲ115917934 RONALDE       LANCASTER                                  MOUNTAINHOME   AR    8/21/20173FADP4CJ0CM219864
FVSͲ116273909JODIEL         SHAUDVITIS                                 FONDDULAC     WI    8/21/20173FADP4EJ1BM134415
FVSͲ117224235VALERIED       GATES                                      EGGHBRTWP     NJ    8/21/20173FADP4EJ8CM152489
FVSͲ117491250 DENNYF        BERRY              KARENSUEBERRY         GREENCASTLE     IN    8/21/20173FADP4FJ1BM200217
FVSͲ117540064SANDY           HENRY              TEDHENRY               HAZARD         KY    8/21/20173FADP4FJ2DM202223
FVSͲ117571245 ROCKIL        WILLIAMS                                   LOUISVILLE     KY    8/21/20173FADP4FJ5CM106424
FVSͲ117641855 BRENDANJ      PRICE                                      ASHBURN        VA    8/21/20173FADP4FJ0EM179588
FVSͲ117845850JEANIEC        MILLER                                     MINNEAPOLIS     MN    8/21/20173FADP4FJ8EM151442
FVSͲ118141651 PATRICIAM     BIRR               AKAPATRICIACASTILLO   GRANADAHILLS   CA    8/21/20171FADP3E26DL235179
FVSͲ118166875 PATRICIA       GUTIERREZ                                  SANDIEGO      CA    8/21/20173FADP4EJ5FM176172
FVSͲ118202154 DANIEL         DOGERT                                     REDDING        CA    8/21/20171FADP3F20DL190903
FVSͲ118212958 HECTORS       GUTIERREZ                                  INDIO          CA    8/21/20171FADP3F21EL144501
FVSͲ118221272 BENJAMIN       VARGAS                                     SANDIEGO      CA    8/21/20171FADP3F21EL349977
FVSͲ118330810SANDRAD        LAWRENCE           JEFFERSONLAWRENCE      MOORPARK       CA    8/21/20171FADP3F25DL245216
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                                                   
FVSͲ118343688SANTIAGO            CORTEZ                                 OXNARD           CA   8/21/20171FADP3F24FL256615
FVSͲ118354256CRAIGA             CARLSON                                OCEANSIDE        CA    8/21/20171FADP3F26DL325270
FVSͲ118368389MARIAH              LAWRENCE                               ATWATER          CA    8/21/20171FADP3F24EL341615
FVSͲ118388789JENNIFERC          GARCIAALONZO                           LOSANGELES       CA    8/21/20171FADP3F27DL352803
FVSͲ118443151DELILAH             REYES               MIKEMORALES       FRESNO           CA    8/21/20171FADP3F28EL185174
FVSͲ118462873RACHELPATRICIAR   DAVIES              FELIPESANDOVAL    ELMONTE         CA    8/21/20171FADP3F28DL331233
FVSͲ118473352SHERRY              SUAREZ              RAOULSUAREZ       CHATSWORTH        CA    8/21/20171FADP3F29FL210942
FVSͲ118521195ASHLEY              PEREZ               HOLLYPHILLIPS     PASOROBLES       CA    8/21/20171FADP3F2XEL442738
FVSͲ118613723CHRISTINAM         RERICH                                 REDDING          CA    8/21/20171FADP3J29EL199723
FVSͲ118616170KAHLILJ            PIPERSBURG                              SOLVANG          CA    8/21/20171FADP3J2XEL199178
FVSͲ118634712CHARLESR           SELVY                                  FULLERTON        CA    8/21/20171FADP3F2XDL272069
FVSͲ118732986DENISEJ            ARELLANO                               DOWNEY           CA    8/21/20171FADP3K26DL151951
FVSͲ118735985MELINDAC           WYATT                                  BAKERSFIELD       CA    8/21/20171FADP3K26DL237762
FVSͲ118839101AARON               LAPP                                   SANJOSE         CA    8/21/20171FADP3K25EL170041
FVSͲ118867202EVELYN              REINPRECHT                              ANTIOCH          CA    8/21/20171FADP3K25DL235761
FVSͲ118887912CORIEL             BARLOGGI                               MIDDLETOWN        CA    8/21/20171FADP3K28EL123862
FVSͲ118928074GENEW              HAMANN              VICKYHAMANN       SACRAMENTO        CA    8/21/20171FADP3K28DL335708
FVSͲ118997424RACHEL              BLUM                                   LOSANGELES       CA    8/21/20171FADP3N2XDL244810
FVSͲ119052296THAOT              VO                                     SANJOSE         CA    8/21/20171FADP3N27DL325134
FVSͲ119126800MARCELA             GAITHER                                WOODLANDHLS      CA    8/21/20171FADP3N25DL138541
FVSͲ119126931JOSHUAM            HERTAN                                 SANTACLARITA     CA    8/21/20171FADP3N25DL151936
FVSͲ119145804CHRISTOPHER         PHILLIPS                               PASOROBLES       CA    8/21/20171FAHP3F25CL290737
FVSͲ119184982JORDANA            BENSON                                 NEWHALL          CA    8/21/20171FAHP3F20CL202094
FVSͲ119186675KURTIS              EWING                                  WOODLANDHILLS    CA    8/21/20171FAHP3F20CL257726
FVSͲ119234696MELINDAJ           FRANK               ROBERTFRANK       MURRIETA         CA    8/21/20171FAHP3F24CL236894
FVSͲ119280485LINDSAYT           WHITE                                  SANTACRUZ        CA    8/21/20171FAHP3H21CL394221
FVSͲ119320487HERMINIA            BELTRAN             JOSEBELTRAN       SHAFTER          CA    8/21/20171FAHP3H27CL453420
FVSͲ119360713ERNESTINAE         RAMOS                                  SANPABLO        CA    8/21/20171FAHP3K21CL105251
FVSͲ119368331LUCASB             SANTILLANA                              WHITTIER         CA    8/21/20171FAHP3K27CL405375
FVSͲ119388197ROBERTW            BEGG                                   DIAMONDBAR       CA    8/21/20171FAHP3M21CL190816
FVSͲ119405989NORRIS              HAMBLY                                 SIMIVALLEY      CA    8/21/20171FAHP3K25CL382226
FVSͲ119484935TIMOTHYJ           HARRIS                                 SANLEANDRO       CA    8/21/20171FAHP3N28CL436176
FVSͲ119495899GLENNA             WALBRIDGE                              SHASTALAKE       CA    8/21/20173FADP4AJ0BM135710
FVSͲ119577356BRADLEYT           NEDERHOED            RACHELNEDERHOED   AUBURN           CA    8/21/20173FADP4AJ2EM151721
FVSͲ119668963MICHELLER          TOOMEY                                 SACRAMENTO        CA    8/21/20173FADP4BJ3DM221210
FVSͲ119670038SORAJ              CAETANO                                PASADENA         CA    8/21/20173FADP4BJ3EM117592
FVSͲ119751127RICHARD             LYONS                                  CASTROVALLEY     CA    8/21/20173FADP4BJ0DM201058
FVSͲ119926229CARLOS              SANCHEZ                                RESEDA           CA    8/21/20173FADP4EJ1CM132150
FVSͲ119929139ERINNE              ROEBEN              DEBBIEROEBEN      VISALIA          CA    8/21/20173FADP4EJ1DM131209
FVSͲ119999471APRIL               OLIVER                                 LOSANGELES       CA    8/21/20173FADP4FJ0BM135554
FVSͲ120101955LUISE              PORTILLO                               NORTHHOLLYWOOD   CA    8/21/20173FADP4EJ2EM142771
FVSͲ120226898KURTISN            FIRSICH                                SANTAANA        CA    8/21/2017WF0DP3TH5G4115869
FVSͲ120300346GEORGEE            PERCINSKYJR                            JOHNSTOWN         PA    8/21/20171FADP3E22DL156785
FVSͲ120327066CYNTHIAL           WILSON                                 MORRISVILLE       PA    8/21/20171FADP3F21DL160891
FVSͲ120339102ANGELAM            LONG                                   MILTON           PA    8/21/20171FADP3F24EL446705
FVSͲ120364069JOEYL              FAUTH                                  WRIGHTSVILLE      PA    8/21/20171FADP3F24EL232801
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FVSͲ120408759 PATTIA        MATTERN                                         JAMESCREEK    PA    8/21/20171FADP3F28EL354187
FVSͲ120437988 FRANKP        MILLEN                                          WAYMART        PA     8/21/20171FADP3F25GL349998
FVSͲ120444631ABBYM          LEWIS                                           KINGSTON       PA     8/21/20171FADP3F2XDL206914
FVSͲ120495244SHAWNL         ISENBERG                                        STRAUSSTOWN     PA     8/21/20171FADP3F29EL402358
FVSͲ120515806 EBERH         MORRIS                                          HARRISBURG      PA     8/21/20171FADP3F25EL249512
FVSͲ120645092 ELIZABETHA    ECKENRODE          ROBERTECKENRODE             QUAKERTOWN      PA     8/21/20171FADP3K21EL409441
FVSͲ120746239 MARILYNP      KESTER                                          KINGSTON       PA     8/21/20171FAHP3F26CL211401
FVSͲ120945126ANDREWJ        VITCHELL                                        FSTRVLTRVOSE   PA     8/21/20171FAHP3F28CL104074
FVSͲ121088448 RICK           SLIKER                                          SAYLORSBURG     PA    8/21/20173FADP4EJ1DM186999
FVSͲ121207269SHERIL         STYER                                           LANCASTER      PA    8/21/20173FADP4BJ0CM125680
FVSͲ121212068SANDRAW        PARNELL                                         APOLLO         PA    8/21/20173FADP4BJ5DM107578
FVSͲ121347087TAMMYJ         MERRILL                                         SOUTHEASTON    MA    8/21/20173FADP4EJ3CM114023
FVSͲ121408590PAMELAA        ROUSSEAU                                        NEWIPSWICH     NH     8/21/20171FADP3F24EL308680
FVSͲ121424464 MINDYS        FLOWERS            ALLENHOWE                   MANCHESTER      NH     8/21/20171FADP3F22EL257793
FVSͲ800000749CLARA           POWELL                                          WARREN         MI     8/21/20171FADP3F2XEL389698
FVSͲ800000757SEANMANUEL     FERNANDEZ                                       CORONA         CA     8/21/20171FADP3F26EL281823
FVSͲ800000773GREGORY         SCRIMAGER                                       JOHNSTOWN       PA     8/21/20171FADP3K23EL193673
FVSͲ800000790MARDINAH        SINTARIA                                        WILTON         CA     8/21/20171FADP3K27FL311922
FVSͲ800000803 KIRKWOBE     BROWN                                           WILTON         CA     8/21/20171FADP3K27FL311922
FVSͲ800000820JUNGMIN         LEE                                             NORWALK        CA     8/21/20171FAHP3K27CL405375
FVSͲ800000838CAROLANN       FELCYN                                          BALLGROUND     GA     8/21/20171FADP3E27EL271237
FVSͲ800000846BRYANSCOTT     RYERSONͲBISLG                                    MAKAWAO        HI     8/21/20171FADP3F27DL374770
FVSͲ800001265ANDREA          OJO                                             LOSANGELES     CA     8/21/20171FAHP3K29CL343705
FVSͲ800003217TREVORH        FEICHTMANN                                       GILROY         CA    8/21/20171FADP3N23DL245359
FVSͲ100308074JACKIEJ        CAMPBELL                                        LUFKIN         TX     8/22/20171FADP3F20DL372438
FVSͲ101905220 DIANAB        MEYERͲCOUNARD                                    MARLTON        NJ     8/22/20171FADP3F24DL349972
FVSͲ102277486ANDREWJ        SHARPLES                                        LASVEGAS      NV     8/22/20171FADP3F29EL237766
FVSͲ102798214 EVELIA         ALMADA                                          MONTEBELLO      CA     8/22/20171FADP3F28GL254027
FVSͲ103334858JOE            GALLO                                           AKRON          OH     8/22/20171FADP3F23FL373523
FVSͲ103537740MARYB          HEKMAN                                          WYOMING        MI     8/22/20171FADP3F22FL268519
FVSͲ103555528ROSEMARIEM     VANSTEENKISTE                                   STCLRSHORES   MI     8/22/20171FADP3F29GL309777
FVSͲ104116501 DEANNAL       SCHULTZ                                         MADISON        WI     8/22/20171FADP3F23EL381720
FVSͲ104372222 MICHAELC      CARTHAGE           CHRISTINMARIEHEKMANͲCARTHAGYPSILANTI      MI     8/22/20171FADP3F24FL384403
FVSͲ104894636 RUSSELLG      MITCHELL                                        CHARLTON       MA     8/22/20171FADP3F25EL267797
FVSͲ105363316CHASE           WRIGHT                                          BOURBON        IN     8/22/20171FADP3F28FL355275
FVSͲ105876976 FRANCISW      AYERS                                           BLAIRSVILLE    GA     8/22/20171FADP3K21DL305840
FVSͲ105932655 KENNETHI      RISVOLDSR         JUDITHRISVOLD               ELKRIVER      MN     8/22/20171FADP3K21DL277196
FVSͲ106224476 PIETRANGELO    SPERA              AKAPETERSPERA              EASTBOSTON     MA     8/22/20171FADP3K22FL258627
FVSͲ106817124JUDY            VRETENAR                                        SAINTFRANCIS   WI     8/22/20171FADP3K25EL379330
FVSͲ106961608DONALDD        MCPHAIL                                         ROSEVILLE      MN     8/22/20171FADP3K26DL234960
FVSͲ107454904TERRIL         KEABLES                                         GIBBSTOWN       NJ     8/22/20171FADP3K27GL396813
FVSͲ107727846MARGARETA      TIPPING                                         ROPER          NC     8/22/20171FADP3K29FL302686
FVSͲ107763842JACQUELINS     MASTERS                                         NTONAWANDA     NY     8/22/20171FADP3K29DL174074
FVSͲ107797291DONNAM         DENARDO            EVANDENARDO                 LONGBEACH      NY     8/22/20171FADP3K29DL154939
FVSͲ107904268 LINDAM        KNIGHT                                          GRAINVALLEY    MO     8/22/20171FADP3K2XDL352302
FVSͲ107979624CHRISTOPHER     HIBDON                                          BURBANK        CA     8/22/20171FADP3K2XEL237958
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                                                     
FVSͲ108863875JEANE               MARTIN                                        WHITELAKE     MI    8/22/20171FADP3N27EL154998
FVSͲ109604474MICHAELA            THOMPSON                                      HASTINGS       MN     8/22/20171FAHP3F20CL477190
FVSͲ110333527WENDYS              NELSON                                        GRANDVIEW      WI     8/22/20171FAHP3F26CL174821
FVSͲ110501845 MARYC              SHAUGHNEY                                      RALEIGH        NC     8/22/20171FAHP3F27CL443750
FVSͲ110737644 MICHAELG           CASE                                          SAGINAW        MI     8/22/20171FAHP3F29CL278414
FVSͲ110746104TREVORC             DAVIS                                         MEDFORD        MN     8/22/20171FAHP3F29CL477222
FVSͲ111169470 BEVERLYJ           NEPPLE                                        STORMLAKE      IA     8/22/20171FAHP3H22CL402648
FVSͲ111554748JEFFERYA            LANG                 TRACYLANG               KENNEDY        NY     8/22/20171FAHP3H27CL469049
FVSͲ112909949WILLIAMD            BJERKE                                        OSAKIS         MN    8/22/20171FAHP3M21CL200597
FVSͲ113349785 BARRYK             PILKINGTON                                    NORTHWOODS      IL    8/22/20171FAHP3N29CL188312
FVSͲ113782241 KATHLEENL          HAYNES                                        CLIFTONFORGE   VA    8/22/20173FADP4AJ6FM141386
FVSͲ113942702 DONNAJ             MONSONͲWALDRUP                                 BRITTON        MI    8/22/20173FADP4AJ6CM126009
FVSͲ113970005THECHALMERTKING   &WANDAMKING        REVLIVINGTRUST         TULSA          OK    8/22/20173FADP4AJXEM160084
FVSͲ114658404ASHLYL              VIKANDER             CASEYVIKANDER           MINNEAPOLIS     MN    8/22/20173FADP4BJ3DM214645
FVSͲ114871779 ELIZABETHC         WHEELER                                       TRAVERSECITY   MI    8/22/20173FADP4BJ3EM153427
FVSͲ115788646DAVIDM              PETERSON                                      DULUTH         MN    8/22/20173FADP4BJXCM126268
FVSͲ117054399ANNIEB              KUHL                                          MILTON         FL    8/22/20173FADP4EJ7FM111016
FVSͲ117285145MARTHAM             CAOUETTE                                      MINNEAPOLIS     MN    8/22/20173FADP4EJ8BM204900
FVSͲ117779660ALVIN                LEWIS                                         NEWORLEANS     LA    8/22/20173FADP4FJ4CM134215
FVSͲ117927848 KATHLEENL          HAYNES                                        CLIFTONFORGE   VA    8/22/20173FADP4FJ8CM112041
FVSͲ118202600 KERRIA             FERNANDEZ            SAULFERNANDEZ           MURRIETA       CA     8/22/20171FADP3F21EL162285
FVSͲ118237594 MARYI              QUINONEZ                                      MANTECA        CA     8/22/20171FADP3E28GL213141
FVSͲ118316672 KELLYA             AGILERA              ROBERTBARIDO            SPRINGVALLEY   CA     8/22/20171FADP3F22DL190952
FVSͲ118535978JOSHUAS             BENJAMIN                                      BAKERSFIELD     CA     8/22/20171FADP3J20DL183408
FVSͲ118666681ZIYADAHI            MUHAMMAD                                       SANDIEGO      CA     8/22/20171FADP3F2XDL145211
FVSͲ118831470JACKE               WOLCOTT                                       OAKLEY         CA     8/22/20171FADP3K28FL243081
FVSͲ118843907DONALDM             MENDONCA                                      NORTHRIDGE      CA     8/22/20171FADP3K2XEL407431
FVSͲ118927213JOSHUAL             BEAN                                          HUNTINGTNBCH   CA     8/22/20171FADP3K28DL307715
FVSͲ118933256 BENJAMINL          MIDDLETON                                     CITRUSHTS     CA     8/22/20171FADP3N21EL341766
FVSͲ118996967CHERIA              GEISER                                        EUREKA         CA    8/22/20171FADP3N2XDL164553
FVSͲ119161842 DANAL              MAYER                                         RCHCUCAMONGA   CA     8/22/20171FADP3N23EL391388
FVSͲ119276933 MANUELJ            ROSE                                          SANDIEGO      CA     8/22/20171FAHP3H29CL184093
FVSͲ119304015 BRUCEA             GLASSFORD                                     LOSBANOS      CA     8/22/20171FAHP3K22CL330682
FVSͲ119349582JOHNE               GLANCYJR            SUSANELIZABETHGLANCY   SANDIEGO      CA     8/22/20171FAHP3H26CL429464
FVSͲ119372762 HERBERTC           DYER                                          LONEPINE      CA     8/22/20171FAHP3F2XCL410483
FVSͲ119538156SASHAL              LORANCE                                       ROSEVILLE      CA    8/22/20173FADP4AJ5FM179577
FVSͲ119563819 ROBERTP            FEDERLE                                       LIVERMORE      CA    8/22/20171FAHP3N21CL452879
FVSͲ119567180GARYI               BORCHARDTJR           ROBERTABORCHARDT        SUNNYVALE      CA    8/22/20171FAHP3N23CL155435
FVSͲ119868296 DIANEM             MILLS                TIMOTHYMILLS            CORONA         CA    8/22/20173FADP4BJ9DM195079
FVSͲ120108658 MARIA               MONSALVO                                      HACIENDAHTS    CA    8/22/20173FADP4TJ3GM123524
FVSͲ120160080TRACYL              EMBLEM                                        ESCONDIDO      CA    8/22/20173FADP4FJ4DM119344
FVSͲ120394693JOHNR               ZICKEFOOSE                                    BEAVER         PA     8/22/20171FADP3F24DL318639
FVSͲ120418231 ERICJ              LILLY                                         BALTIMORE      MD     8/22/20171FADP3F28DL230404
FVSͲ120992639 KENNETHA           KIRBY                                         PITTSBURGH      PA    8/22/20173FADP4BJ4DM158392
FVSͲ121047865TYSONC              FRANTZ                                        NEWTRIPOLI     PA    8/22/20171FAHP3N29CL318010
FVSͲ121242536 BRIANC             HESSE                                         POTTSVILLE     PA    8/22/20173FADP4BJXDM191588
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                                               
FVSͲ121329011VINCENTR         SARAH                                CLAREMONT       NH    8/22/20171FAHP3K25CL365295
FVSͲ800000781ROBERTLAWRENCE   SIEGFRIED                            PIGEON          MI     8/22/20173FADP4BJXDM193700
FVSͲ800000811HERMAN            CASTANEDA                            GLENDALE        CA     8/22/20171FADP3K2XEL131753
FVSͲ800001311ANTONIO           REYNOLDS                             ORLANDO         FL     8/22/20171FAHP3M24CL241662
FVSͲ800001320ANA               CAMPOS                               LOSANGELES      CA     8/22/20171FADP3FE9HL237443
FVSͲ100266398 ELMERL          RICHARDSON                            TEXARKANA       AR     8/23/20171FADP3F21DL131410
FVSͲ100995446ALLENW           COLLIER                              BRIDGECITY      TX     8/23/20171FADP3F23FL230989
FVSͲ101093713CATHERINEA       BENEDICT          WILLIAMBENEDICT   FARMINGTON       NY     8/23/20171FADP3F22EL128355
FVSͲ101161700 KARISH          GREEN                                EDENPRAIRIE     MN     8/23/20171FADP3F24DL123804
FVSͲ101855338COLLEEN           FUJA              GREGGFUJA         WARRENVILLE      IL     8/23/20171FADP3F29EL388378
FVSͲ102014558 KENNETH          VINSON                               LAWRENCEBURG     IN     8/23/20171FADP3E21EL160666
FVSͲ102053405 ROBERTA         DEFURIO           SUSANDIEFURIO     MADISON         AL     8/23/20171FADP3F26DL275048
FVSͲ102090076JAMESM           BAKER                                WESTERVILLE      OH     8/23/20171FADP3F28EL438610
FVSͲ102394440DONNAJ           CARBONNEAU                            ALBANY          NY     8/23/20171FADP3F20EL200153
FVSͲ102637288 ISISD           REED                                 ROUNDROCK       TX     8/23/20171FADP3F26EL301696
FVSͲ103357289 LARRYJ          ODEGARD                              TREGO           WI     8/23/20171FADP3F23DL170340
FVSͲ103669248JAMESF           MACGREGOR                             OSWEGO          IL     8/23/20171FADP3F27DL186783
FVSͲ104524740ROBERTV          GREEN                                EDENPRAIRIE     MN     8/23/20171FADP3F21GL293686
FVSͲ105227250 LAURIEB         TAR                                  PLYMOUTH        MI     8/23/20171FADP3F21GL382853
FVSͲ106057170 KATHERINEE      JONES                                MINNEAPOLIS      MN     8/23/20171FADP3K21DL184243
FVSͲ107309769 KELLYD          BAUGHMAN                              CANTON          OH     8/23/20171FADP3K27DL105934
FVSͲ107625342JAMESJ           RAKOCZY                              PLYMOUTH        MN     8/23/20171FADP3K29DL290309
FVSͲ107924501CLIFFORDL        SACKS                                MEDFORD         OR     8/23/20171FADP3K29FL369949
FVSͲ108636836 ROBERTJ         MACRINO                              WOOSTER         OH     8/23/20171FADP3N22EL269508
FVSͲ108763323 KELLIA          ORBELL            RAYMONDORBELL     SAINTPAUL      MN     8/23/20171FADP3N20EL373964
FVSͲ108938336ANDREWR          REILLY            KRISTENREILLY     LARGO           FL     8/23/20171FADP3N27DL231268
FVSͲ109090640MARCOA           CAMACHO                              CHULAVISTA      CA     8/23/20171FADP3N2XGL387860
FVSͲ109287479 DOUGLASA        GRAYSR                              CANTON          OH     8/23/20171FAHP3F20CL197107
FVSͲ109410769 LEEA            DIGIACOMO                            PHOENIX         AZ     8/23/20171FAHP3F20CL468330
FVSͲ109572122 BRENDAJOYCE     LAFON                                HUDDLESTON       VA     8/23/20171FAHP3F21CL117670
FVSͲ109847725 DAVIDG          WALKER                               WAPPINGERSFL    NY     8/23/20171FAHP3F22CL327226
FVSͲ109989465MARSHAM          PETERSON                             BEECHER         IL     8/23/20171FAHP3F23CL319250
FVSͲ110643399 FERNANDO         FERNANDEZ                            SUMMRLNDKEY     FL     8/23/20171FAHP3F28CL427041
FVSͲ110760905 LORI             SOMMERFELD         TIMSOMMERFELD     CORRYTON        TN     8/23/20171FAHP3F29CL128027
FVSͲ111499623 LORIA           SKALBECK                             MINNEAPOLIS      MN     8/23/20171FAHP3H29CL343162
FVSͲ112566103 KRISTYL         FRISCH                               MIDDLETOWN       OH     8/23/20171FAHP3K2XCL287404
FVSͲ112699375 MICHAEL          FISH                                 GARY            IN     8/23/20171FAHP3M20CL437209
FVSͲ112720668 ELYSEC          CHEVALLIER                           DALLAS          TX     8/23/20171FAHP3K2XCL409520
FVSͲ113364601 ROBINR          TUCKER                               LEBANON         TN     8/23/20171FAHP3N20CL473030
FVSͲ113574428 RICHARD          LEVINE                               LONGBOATKEY     FL     8/23/20171FAHP3N2XCL298561
FVSͲ113721889ALESHIAS         BOOKER                               LOUISVILLE      KY     8/23/20173FADP4AJ1DM114027
FVSͲ114219613ROSEMARYM        PYLANT                               KIPLING         NC     8/23/20173FADP4BJ0GM121991
FVSͲ114926700JADAN            GRADY                                LOUISVILLE      KY     8/23/20173FADP4BJ3GM149770
FVSͲ115570900 PATRICKJ        DONNELLY          PAULADONNELLY     ELKRIVER       MN     8/23/20173FADP4BJ8BM119219
FVSͲ116042770CHARLESR         RICKE                                PHENIXCITY      AL     8/23/20173FADP4CJ4BM189413
FVSͲ116232480LAMYAH           ALDOURI                              RAYMORE         MO     8/23/20173FADP4CJ9EM241669
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                                               
FVSͲ116271051 ELINOR         HITE                                        CARROLLTON       TX   8/23/20173FADP4EJ1BM121714
FVSͲ116335319 JOHN           RAY                                         CLEARSPRING     MD     8/23/20173FADP4EJ0GM103793
FVSͲ117412309 KRYSTALB      ANDRADE                                     ELPASO          TX    8/23/20173FADP4EJ9CM153618
FVSͲ117828718 BYRONN        BARTOSH                                     PALMER          AK     8/23/20173FADP4FJ5FM144904
FVSͲ118081845 WILLIAM        RUSHTON                                     MORELAND        GA     8/23/20173FADP4GXXGM135331
FVSͲ118150774MEGANR         PRENDEVILLE                                  ATASCADERO       CA     8/23/20173FADP4EJ6EM111071
FVSͲ118182137JOSHUAM        ASTLEY              YESHUAASTLEY           SACRAMENTO       CA     8/23/20171FADP3F20DL320792
FVSͲ118341855 DONNAJ        BALISTRERI                                  SANJOSE        CA     8/23/20171FADP3F24EL454240
FVSͲ118524593 LINDAM        MEZA                KARESSAMEZA            ADELANTO        CA     8/23/20171FADP3F2XFL306403
FVSͲ118650173JAMESC         BRADLEY                                     SANDIEGO       CA     8/23/20171FADP3K23DL226931
FVSͲ118690159 TYLER          ROBERTSON                                   SANDIEGO       CA     8/23/20171FADP3K21DL291132
FVSͲ118698508 MACIEJ         KWIATKOWSKI                                  REDWOODCITY     CA     8/23/20171FADP3K22FL349171
FVSͲ118791290 JILLK         THORESON                                    SANJOSE        CA     8/23/20171FADP3K22EL112114
FVSͲ118927949 CAROLINA       IZQUIERDO                                   SANTAMONICA     CA     8/23/20171FADP3K28DL335109
FVSͲ118937855AUNDRIAA       MARTINEZ            JAYDONLMARTINEZ       LEMOORE         CA     8/23/20171FADP3K29GL205134
FVSͲ118976982 RAUL           RUIZ                                        SANDIEGO       CA     8/23/20171FADP3K29FL294248
FVSͲ118996193 JILLD         LOWE                ROBERTK                ATASCADERO       CA     8/23/20171FADP3N29GL344465
FVSͲ119200392 JESSICAL      BROWN               JESSICALGREEN         PINEVALLEY      CA     8/23/20171FAHP3F24CL410298
FVSͲ119232979 ERICJ         RODRIGUEZ                                   SANDIEGO       CA     8/23/20171FAHP3F24CL182867
FVSͲ119273799 JOSEI         TORRES              MARIAJOSEFINATORRES   GILROY          CA     8/23/20171FAHP3F28CL114555
FVSͲ119283166ARCIDA          SOLANOAGUILAR        ERICKAGUILAR           FAIRFIELD       CA     8/23/20171FAHP3H2XCL222625
FVSͲ119307464CAESAR          CASTRO                                      PERRIS          CA     8/23/20171FAHP3K22CL468108
FVSͲ119468085 ROBERTC       NOWACK                                      AUBURN          CA     8/23/20171FAHP3K24CL302415
FVSͲ120140349ALICEM         CARRIGAN                                    BARSTOW         CA     8/23/20173FADP4EJ4EM103132
FVSͲ120160374ANGELICAG      THOMPSON                                    SANDIEGO       CA     8/23/20173FADP4FJ4DM205575
FVSͲ120559196ANNEM          DRAKELEY            EDWARDDRAKELEY         CLIFTONHTS      PA     8/23/20171FADP3F27DL269338
FVSͲ120837803 CYNTHIAB      STEWART                                     BETHLEHEM       PA     8/23/20171FAHP3F29CL253884
FVSͲ120933306ANTHONYM       DEMART              CLIFFORDDEMART         SOUTHPARK       PA     8/23/20171FAHP3F22CL381772
FVSͲ120955407MATTHEW         GROSSER                                     ASHLAND         PA     8/23/20173FADP4AJ6DM149050
FVSͲ121017338 KIMBERLYL     WILBUR                                      THOMPSON        PA     8/23/20173FADP4BJ4EM107668
FVSͲ121041492 DANAL         SAPP                                        MALVERN         PA     8/23/20171FAHP3K29CL138417
FVSͲ121187349 ROBERTC       GETCHEY                                     COALTOWNSHIP    PA     8/23/20173FADP4CJ3BM238312
FVSͲ800001478 DEEPA          BADRINARAYANA                                ORANGE          CA     8/23/20171FAHP3R44CL388218
FVSͲ100043569ALEXANDRAN     LINDSAY                                     TROY            NY     8/24/20171FADP3F22DL367953
FVSͲ100095666RHONDAO        THRASH                                      HOUSTON          TX    8/24/20171FADP3F24EL430598
FVSͲ100721850THERESAA       FRANCIOSI                                   EAGAN           MN     8/24/20171FADP3F28EL209747
FVSͲ100803016CANDACEL       BASKIN                                      WASHINGTON       DC     8/24/20171FADP3F28FL253071
FVSͲ100999670 WILLIAMJ      COMBS                                       BATAVIA         OH     8/24/20171FADP3F21FL209896
FVSͲ101005288 DAVIDJ        SCHNEIDER                                   TECUMSEH        MI     8/24/20171FADP3FE6FL230303
FVSͲ101132441 MELISSAA      MUNOZ               AMANDAGARZA            CORPUSCHRISTI    TX    8/24/20171FADP3F23DL308555
FVSͲ101157924 JOSEL         MARTINEZ                                    ELYRIA          OH     8/24/20171FADP3F26FL373905
FVSͲ101812337SONDRAN        LESHER                                      BUCYRUS         OH     8/24/20171FADP3F21DL218675
FVSͲ102007217 JOHNS         STREET                                      COOSBAY        OR     8/24/20171FADP3F27FL241817
FVSͲ102046956STEVER         HOWLETT                                     SANDY           UT     8/24/20171FADP3F21DL221446
FVSͲ102103178REYNALDOA      ALIGADAJR                                   SAINTPAUL      MN     8/24/20171FADP3F27EL363141
FVSͲ102634130JOHNM          BRABAND                                     MEDFORD         NY     8/24/20171FADP3F22EL201479
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FVSͲ102817430KATHRYNS        PACELLI                                SKILLMAN         NJ    8/24/20171FADP3F20DL198211
FVSͲ103217843 RICHARDH       EDDY                                   NEWPORT          OH      8/24/20171FADP3F29EL129258
FVSͲ103298380 ELIZABETHA     RANKIN                                 SALISBURY        MD     8/24/20171FADP3E22DL208156
FVSͲ103442553 KENNETHE       TEDESCHI                               MIDDLEBORO        MA     8/24/20171FADP3F2XDL257846
FVSͲ103595074NANCY            DAME                                   WEBSTER          MA     8/24/20171FADP3F21GL210273
FVSͲ103862374 EUGENE          SBARBORI                               PLAINFIELD       IL     8/24/20171FADP3F2XDL113052
FVSͲ103880100 SHELBYL        TOWNSEND                               FTWASHINGTON     MD      8/24/20171FADP3F22EL251248
FVSͲ103908838 DANIAL          OBRIEN                                 HADDONHGTS       NJ     8/24/20171FADP3F23DL198235
FVSͲ104198591 MONIQUEA       ORTEGA                                 BURLINGTON        NJ      8/24/20171FADP3E22FL303819
FVSͲ104235446MARGARITA        BARBOSA                                LAREDO           TX      8/24/20171FADP3F28EL373130
FVSͲ104442867GREGORYB        EVANS                                  BIRMINGHAM        AL      8/24/20171FADP3F25EL446874
FVSͲ104444037 CHARLESE       KELLNER                                DUNDALK          MD      8/24/20171FADP3F25EL448396
FVSͲ104460350 KURT            STONE                                  BALLWIN          MO     8/24/20171FADP3E26DL319034
FVSͲ104499613 APRIL           DIXON                                  CROSSVILLE       TN     8/24/20171FADP3F29DL216639
FVSͲ104786710JEFFERYM        WASSERMAN                               ATLANTA          GA      8/24/20171FADP3J27EL141657
FVSͲ104881623 DAVID           HEYDINGER                              SHELBY           OH     8/24/20171FADP3F21DL353798
FVSͲ105083208JEREMY           KIRKENDOLL                              HIGBEE           MO      8/24/20171FADP3F23EL397108
FVSͲ105299952 JOHNF          NEGGIA                                 PENNINGTON        NJ     8/24/20171FADP3F28DL286116
FVSͲ105313076GREGORYB        EVANS                                  BIRMINGHAM        AL     8/24/20171FADP3E2XDL180722
FVSͲ105522619STEVENW         SPIKER                                 WETMORE          KS      8/24/20171FADP3F23EL441043
FVSͲ105706060TRAVISD         BLUETER            AMYBLUETER         MEDINA           OH     8/24/20171FADP3F22DL113658
FVSͲ105722804THOMASG         COY                                    KANSASCITY       MO      8/24/20171FADP3J27DL324703
FVSͲ105743330 ROSALITA        GORNEAULT                               THERESA          NY     8/24/20171FADP3K20EL424805
FVSͲ105773867 BRIANJ         DENTEJR                                MOUNTHOLLY       NJ      8/24/20171FADP3K20EL416025
FVSͲ106079565 LISAM          GLOVER                                 BEVERLY          MA     8/24/20171FADP3K22DL258107
FVSͲ106426630 ROBERT          VIRTUEJR                               WHITING          NJ     8/24/20171FADP3K23EL457054
FVSͲ106888200STEVENM         RADISH                                 MUSKEGO          WI     8/24/20171FADP3K25DL187985
FVSͲ106890697 KELLYA         KALLOP                                 SOMERSPOINT      NJ     8/24/20171FADP3K25DL198453
FVSͲ106944045 LEANNN         MARSHALL                               RICHMOND         KY     8/24/20171FADP3K26DL247823
FVSͲ107465558 GLORIAJ        REED                                   MILWAUKEE         WI     8/24/20171FADP3K28DL290821
FVSͲ107791820MARCG           CENTANNI                               HIGHBRIDGE       NJ     8/24/20171FADP3K29GL401123
FVSͲ107808927SUSANM          LINCOLN                                ABERPROVGRD     MD     8/24/20171FADP3K29EL258199
FVSͲ108676013 REBECCAM       ROSARIO                                PORTORCHARD      WA     8/24/20171FADP3N24DL108253
FVSͲ108730077 JOSEPHK        PAWLOWSKI           DIANEPAWLOWSKI     MAPLEGROVE       MN     8/24/20171FADP3N25DL381900
FVSͲ108883019BARBARAM        CORCORAN                               HAMBURG          NY     8/24/20171FADP3N29DL175785
FVSͲ109654021 CYNTHIAA       HOFFMAN                                TWORIVERS        WI      8/24/20171FAHP3F21CL214979
FVSͲ109716256 DOUGLASJ       KALISCH            JESSICAKALISCH     MINNEAPOLIS       MN      8/24/20171FAHP3F22CL109836
FVSͲ109936213ALFREDC         SEALY                                  BROCKPORT        NY      8/24/20171FAHP3F24CL287134
FVSͲ110042824AMANDAM         PLESCIA                                FARMINGDALE       NY      8/24/20171FAHP3F25CL115596
FVSͲ110124936 GINNIFER        WYATT                                  MONTGOMERY        AL      8/24/20171FAHP3F25CL399179
FVSͲ110960114SHARONA         JUNGBLUTH                              MADISON          WI     8/24/2017 1FAHP3H21CL151766
FVSͲ111056624ANGELINA         ESTEVES                                MONROETWP        NJ     8/24/20171FAHP3H22CL240780
FVSͲ111065046 MICHELLEL      GRAHAM                                 FERNDALE         MI     8/24/20171FAHP3H22CL320029
FVSͲ111099510JEFFERYM        WASSERMAN                               ATLANTA          GA     8/24/20171FAHP3H22CL172626
FVSͲ111307325 CHARIA         MAGARELLI                              HOBOKEN          NJ     8/24/20171FAHP3H24CL341190
FVSͲ111777704JOANNEL         EASTWOOD                               CHAFFEE          MO     8/24/20171FAHP3K20CL420123
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FVSͲ114111715CELESTINE         MCNEAL             RODNEYBMCNEAL    CLARKSVILLE      TN    8/24/20173FADP4BJ0DM146370
FVSͲ114279284JACQUELINEB      GARZA              NICOLLEMGARZA     HOUSTON          TX     8/24/20173FADP4BJ1CM170420
FVSͲ114416338TERESA            MOCK                                   CHICAGO          IL     8/24/20173FADP4BJ2BM176032
FVSͲ115143157 KARENM          MCKINNEY                               RIOGRANDE        NJ     8/24/20173FADP4BJ5FM113609
FVSͲ115431209 EDITHM          GOODENOW                                STANLEY          NY     8/24/20173FADP4BJ7DM199678
FVSͲ115514724SHIGANG           MAI                                    HOLMDEL          NJ     8/24/20173FADP4BJ8DM166897
FVSͲ115605398THOMASM          LAPOSKI                                FRANKLIN         WI     8/24/20173FADP4BJ9BM198318
FVSͲ116266759JOSEPHA          PACHECO                                MTLAUREL        NJ     8/24/20173FADP4CJ9DM115326
FVSͲ116331801CHARLES           SHEGONEE                               KESHENA          WI     8/24/20173FADP4EJ1DM103345
FVSͲ116353392 FRANKG          MUSTO                                  GREENPORT        NY     8/24/20173FADP4EJ1CM169733
FVSͲ116576812CHELSEAA         REEVE                                  LYNCHBURG         VA     8/24/20173FADP4EJ2CM182040
FVSͲ116578726SARAM            SORRENTINO          SARAWIEST          BURLINGTON        NJ     8/24/20173FADP4EJ2CM198108
FVSͲ116905646 ERICR           ROTH                                   WOODSTOCK         NY     8/24/20173FADP4EJ5DM222676
FVSͲ117157481 DONA                         TRUE                        OWENTON          KY     8/24/20173FADP4EJ8DM176230
FVSͲ117180041SONDRAJ          OGDEN                                  SAINTCLOUD       FL     8/24/20173FADP4EJ8CM220791
FVSͲ117460869CHRISTOPHER       MCCULLOUGH                              FORTWORTH        TX     8/24/20173FADP4FJ1CM145866
FVSͲ118141490SANDRA            MEEKER                                 OAKLEY           CA     8/24/20171FADP3E26DL184850
FVSͲ118170830VIRGINIA          SCHMIDT                                MAYWOOD          CA     8/24/20173FADP4EJ6BM129954
FVSͲ118200453 PAMELAJ         PARKER                                 CAMARILLO        CA     8/24/20171FADP3F20DL152152
FVSͲ118210971ALBERTA          REECE                                  ELCAJON         CA     8/24/20171FADP3F21DL382198
FVSͲ118220683 DEBBY            DAVILA                                 ELKGROVE        CA     8/24/20171FADP3F21EL327901
FVSͲ118231723 PATRICIA         ICENOGLE                               SONORA           CA     8/24/20171FADP3F22EL357621
FVSͲ118259466JAMESR           WRIGHT                                 OLIVEHURST        CA     8/24/20171FADP3F22EL111894
FVSͲ118319337 ERNESTO          DEARMAS            MARISADEARMAS      SANTACLARITA     CA     8/24/20171FADP3F24FL300631
FVSͲ118338170 FELIXS          RODRIGUEZ                              CHULAVISTA       CA     8/24/20171FADP3F20EL374448
FVSͲ118339532 EDITAP          MONTEROSARAMIREZ                       VISTA            CA     8/24/20171FADP3F24EL382262
FVSͲ118350404DIANAM           PRADO              EZEQUIELAGUILAR    REDWOODCITY      CA     8/24/20171FADP3F26DL246794
FVSͲ118458450 LIANG            LIU                                    BELLEVUE         WA     8/24/20171FADP3F24DL245272
FVSͲ118474715 BEATRICE         ESPINO                                 VICTORVILLE       CA     8/24/20171FADP3F29FL248770
FVSͲ118505050ROSAM            ORTEGA                                 HUNTINGTONPARK   CA     8/24/20171FADP3F29EL230199
FVSͲ118529501STEVE             LUTTRELL                               RIVERSIDE        CA     8/24/20171FADP3F29DL374219
FVSͲ118626809GERALDJ          ROCA               JERRYROCA          SANTEE           CA     8/24/20171FADP3K21EL210261
FVSͲ118628070 MITCHELL         EUSEBIO                                YORBALINDA       CA     8/24/20171FADP3K21EL255880
FVSͲ118663518ROSEMARYM        FITZSIMMONS                             EUREKA           CA     8/24/20171FADP3K23EL350635
FVSͲ118696491 DAVIDW          WALLACE                                SEBASTOPOL        CA     8/24/20171FADP3K22FL269756
FVSͲ118753959 LUISM           FLORES                                 YORBALINDA       CA     8/24/20171FADP3K25GL234324
FVSͲ118818961CAROLA           THOR               RYANALUTZ         THOUSANDOAKS     CA     8/24/20171FADP3K27DL271421
FVSͲ118930486MARKD            OHARA                                  FAIRFAX          CA     8/24/20171FADP3N21DL201294
FVSͲ118959026MARK              DOVER                                  GILROY           CA     8/24/20171FADP3N23DL245359
FVSͲ119061627TING              ZHANG                                  SANJOSE         CA     8/24/20171FAHP3E26CL410546
FVSͲ119185024ANAM             CENA                                   PALMDALE         CA     8/24/20171FAHP3F20CL206162
FVSͲ119196557JOSEH.EDDIE     GRAJEDA111                             SANTAANA        CA     8/24/20171FAHP3F24CL274948
FVSͲ119457547 LANA             SCHULZ             BELINDASCHULZ      BUENAPARK        CA     8/24/20171FAHP3J25CL161419
FVSͲ119474727AUGUSTG          MINKE                                  ORANGE           CA     8/24/20171FAHP3R44CL388218
FVSͲ119509989AB               MARKE              MARKBRIDGE         TUJUNGA          CA     8/24/20171FAHP3N27CL154952
FVSͲ119555581 DIANE            MILLS              TIMOTHYMILLS       CORONA           CA     8/24/20171FAHP3M24CL195816
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                                                   
FVSͲ119594501JODID            CRAWFORD                                     FALLBROOK      CA   8/24/20173FADP4AJ8EM196131
FVSͲ119638304JAMESC           FORD                                         ELCAJON       CA    8/24/20171FAHP3M29CL436026
FVSͲ119683407CAROLJ           DUHAMELL                                     BONITA         CA    8/24/20173FADP4BJ4CM115461
FVSͲ119917971JESSICAM         GARRISON              ROBERTGARRISON        ATASCADERO      CA    8/24/20173FADP4EJ2CM165285
FVSͲ119952246JOELA            FREY                                         ORANGEVALE      CA    8/24/20173FADP4EJ0FM225410
FVSͲ119996570MARIAT           TORRES                                       NORTHHILLS     CA    8/24/20173FADP4EJ8DM119249
FVSͲ120082241DEREKRAYMONDJ   THOMAS                LYNNETTEIRISH         MURPHYS        CA    8/24/20173FADP4EJXCM118683
FVSͲ120128420EBONYS           TAYLOR                                       BENICIA        CA    8/24/20173FADP4FJ5GM143625
FVSͲ120203030ROBERT            RETHFORD                                     SACRAMENTO      CA    8/24/20173FADP4FJ2DM225999
FVSͲ120227428JOSEPH            AIROSO                                       TULARE         CA    8/24/2017WF0DP3TH6G4116528
FVSͲ120331365PAMELAL          RITTER                                       LANDISVILLE     PA    8/24/20171FADP3F22FL252207
FVSͲ120360322ARNETTEL         SLOAN                                        PITTSBURGH      PA    8/24/20171FADP3F26EL392095
FVSͲ120538636MICHELLEJ        WHEELER                                      BOALSBURG      PA    8/24/20171FADP3K23EL268260
FVSͲ120701243JANEM            VANHORN                                      MAHANOYCITY    PA    8/24/20171FAHP3F21CL443078
FVSͲ121034399SKYLERE          PIERRE                                       CARLISLE       PA    8/24/20171FAHP3K20CL427489
FVSͲ121303594RICHARDL         HURCHANIK             SHERRYFROST           HAMILTON       OH    8/24/20173FADP4EJ6DM207491
FVSͲ800000854VINCENTE         LOCASTROJR                                   ELYRIA         OH    8/24/20171FADP3F23FL372520
FVSͲ800001095JENNY             GUARINO                                      TIPPCITY      OH    8/24/20171FADP3E28FL260569
FVSͲ800001125BURNELL           COOK                  SHARON                 ROCHTONPARK    IL    8/24/20171FADP3J25EL153659
FVSͲ800001176SANDRA            NUNNEMAKER                                    UKIAH          CA    8/24/20171FADP3K25EL421222
FVSͲ800003020NICOLLE           GARZA                                        HOUSTON        TX    8/24/20173FADP4BJICM170420
FVSͲ800003063DIAMOND           MCNEAL                                       ATLANTA        GA    8/24/20173FADP4BJODM146370
FVSͲ800003624ALYSSA            TSCHANTZ              TIMOTHYVIEIRAͲAVILA   TURLOCK        CA    8/24/20171FADP4EJ5CM196210
FVSͲ100177344DEBRAA           RICHARDS                                     ALLENPARK     MI    8/25/20171FADP3F29EL159862
FVSͲ100335802DARRENJ          STEFANI                                      IRA            MI    8/25/2017 1FADP3J25EL194566
FVSͲ100377823DONALDE          WELLS                                        PARKHILLS     MO    8/25/20171FADP3F24EL440838
FVSͲ100616151CATHERINEM       BOOKER                                       BLOOMINGTON     MN    8/25/20171FADP3F2XDL143152
FVSͲ100679609JUDYR            KILGORE                                      WINTERPARK     FL    8/25/20171FADP3E24DL146114
FVSͲ100848052PAULA            AUSTIN                                       CANTON         MI    8/25/20171FADP3J20EL235623
FVSͲ101256795DOUGLASR         MELBY                                        SHAFER         MN    8/25/20171FADP3F2XDL195901
FVSͲ101314272CHRISTOPHERR     VICKERS                                      NEWSTRAITSVL   OH    8/25/20171FADP3F2XEL370536
FVSͲ101327447EDWARDJ          BOYCE                                        CLAYTON        NC    8/25/20171FADP3F29EL102741
FVSͲ101354290ELVA              LEDESMA                                      DEARBORN       MI    8/25/20171FADP3F26EL129427
FVSͲ101471173TEMPIER          CLINE                                        GARLAND        TX    8/25/20171FADP3F27FL227710
FVSͲ101495676DOUGLASJ         WILSON                                       HOWELL         MI    8/25/20171FADP3F29EL305337
FVSͲ101846070PHILIPJ          MAJOR                                        PRTWASHINGTN   NY    8/25/20171FADP3F23EL274442
FVSͲ102049432ANNIEM           MEDLOCK                                      TYLER          TX    8/25/20171FADP3F21DL226470
FVSͲ102118205ERINL            WARD                                         SOUTHPOINT     OH    8/25/20171FADP3F23EL280712
FVSͲ102532443LAURAL           WEBB                                         CLEVELAND      TX    8/25/20171FADP3J26EL406228
FVSͲ102568650JESSICAO         VELEZ                                        CHICAGO        IL    8/25/20171FADP3F27FL253448
FVSͲ102629676LORENZOC         BOSQUEZ               ANNABOSQUEZ           OMRO           WI    8/25/20171FADP3F22EL192749
FVSͲ102692416MELISSAM         WAY                                          NORTHCANTON    OH    8/25/20171FADP3F25EL205851
FVSͲ102761540SHIRLEY           MARTIN                                       COLUMBIANA      OH    8/25/20171FADP3F25DL125142
FVSͲ102834962DAVIDA           MARGETSON                                     FLUSHING       MI    8/25/20171FADP3F28DL242861
FVSͲ102875103MICHELLEM        MARINIBUCHANAN                               LIVONIA        MI    8/25/20171FADP3F22EL207010
FVSͲ103218068MATTHEWT         BRONNER                                      BROWNSTWNTWP   MI    8/25/20171FADP3F29EL129552
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                                            
FVSͲ103250816SCOTTM        RINI                                   CANTON            OH    8/25/20171FADP3J22DL380094
FVSͲ103822976CHERYLM       BRIMMER                                TOLEDO            OH     8/25/20171FADP3F23EL361824
FVSͲ103953582 BRANDIL      SAUERWEIN                              HAMILTON          OH     8/25/20171FADP3F29EL411691
FVSͲ104123044ANDREA         HOCHSTETLER                             ANGOIA            IN     8/25/20171FADP3F29EL263610
FVSͲ104132531DAWNM         MAAS                                   CHESTERFIELDTWP   MI     8/25/20171FADP3F22EL263559
FVSͲ104216999 MARKS        DARBY                                  BROOKPARK          OH    8/25/20171FADP3F20DL275868
FVSͲ104343257 ROBERTJ      ZEGLIN                                 SAINTPAUL        MN    8/25/20171FADP3F2XDL177446
FVSͲ104590149AREKR         HAWKINS                                KALKASKA          MI    8/25/20171FADP3F22DL309793
FVSͲ104591056 PAULK        NORMILE                                ROCKYRIVER        OH    8/25/20171FADP3F22DL312581
FVSͲ104594772 LANCEP       BOOLE                                  MINNEAPOLIS        MN    8/25/20171FADP3F22DL319224
FVSͲ104614897 EDWARDJ      BOYCE                                  CLAYTON           NC    8/25/20171FADP3FE2GL210633
FVSͲ104636980CHRISTINAM    PARISI                                 NILES             OH     8/25/20171FADP3F28FL346642
FVSͲ104856165SHASTAM       PANZA                                  NEWPORT           MI     8/25/20171FADP3F22EL293399
FVSͲ105045110 LOIS          BAHR                                   CHICAGO           IL     8/25/20171FADP3F28FL228638
FVSͲ105069434REBECCADAWN   SMITH                                  WAKEMAN           OH     8/25/20171FADP3F21EL379674
FVSͲ105230464JOHNA         JAEGER                                 GERMANTOWN         WI     8/25/20171FADP3F26EL228216
FVSͲ105633267 GEORGEE      LAWVER             JANETLLAWVER      SCIO              OH     8/25/20171FADP3F25EL292862
FVSͲ105660329ADELER        PERKINS                                CANTON            OH     8/25/20171FADP3F24EL214086
FVSͲ105786080JASEN          HARMON                                 WESTSALEM         OH    8/25/20171FADP3K20DL267663
FVSͲ106007785ALANC         BERGMOOSER                              ROMULUS           MI     8/25/20171FADP3K21EL324616
FVSͲ106136356MARK           SUTOR                                  LOWELL            IN     8/25/20171FADP3K22EL143119
FVSͲ106475886 KERRAHL      CAIN               KERRYJAYCAIN      CARMINE           TX    8/25/20171FADP3K23DL295716
FVSͲ106482220WILLIAM        NEST                                   GALLOWAY          OH     8/25/20171FADP3K23EL194113
FVSͲ106531484 DAVIDL       TIMLER                                 CAMBRIDGE          WI     8/25/20171FADP3K23EL369783
FVSͲ106551787 KEITHD       RIX                                    BLOOMINGTON        MN    8/25/20171FADP3K24DL373534
FVSͲ106769596 FAISAL        ALKUSIRIA                              CHICAGO           IL    8/25/20171FADP3K25DL283082
FVSͲ106856871 PATRICIAI    MONSON                                 MINNEAPOLIS        MN    8/25/20171FADP3K25DL210603
FVSͲ106897985DAKOTA         CLICK                                  RIDGECREST         CA     8/25/20171FADP3K25EL107263
FVSͲ107123240 JEFFREYJ     ROSENTRATER                             SAINTCLAIR       MI    8/25/20171FADP3K26GL359588
FVSͲ107222590 JENNIFERD    GREEN                                  BRIGHTON          MI    8/25/20171FADP3K27DL371616
FVSͲ107290260SCOTT          LAKOMEK                                SAINTJOHN        IN     8/25/20171FADP3K27FL216504
FVSͲ107590506MARCIAA       HOFMEISTER                              BRIGHTON          MI    8/25/20171FADP3K29DL143889
FVSͲ107697513ANDREA         PATHKO                                 CLEVELAND         OH    8/25/20171FADP3K29DL213617
FVSͲ107733048 DENISEE      TARDIF                                 WESTLAND          MI    8/25/20171FADP3K29DL199962
FVSͲ108190650EDWARDJ       BOYCE                                  CLAYTON           NC    8/25/20171FADP3K2XGL355088
FVSͲ108481336SUSANM        GILBERT                                PRIORLAKE        MN     8/25/20171FADP3L98EL110573
FVSͲ108547604 HERBERTJ     BROWN              KATHERYNBROWN      HOWELL            MI    8/25/20171FADP3N20EL195263
FVSͲ108598926 BILLJ        RUETH              KATHLEENARUETH    JOHNSONCREEK      WI    8/25/20171FADP3N21EL397206
FVSͲ108643565BRENDAM       STERN                                  APPLETON          WI    8/25/20171FADP3N20GL331202
FVSͲ108730573JACQUELYNM    FRERICHS                               JANESVILLE        WI    8/25/20171FADP3N22DL122037
FVSͲ108809994 DENISEM      ODENKIRK                               GLOUCESTER         VA    8/25/20171FADP3N21FL312138
FVSͲ108955745 MICHAELS     GAMACHE                                BIGLAKE          MN    8/25/20171FADP3N2XEL209959
FVSͲ109026454 RORYL        INGRAM                                 MOYOCK            NC    8/25/20171FADP3N28DL329824
FVSͲ109484282 ELIZABETHA   OLSEN                                  EAUCLAIRE        WI     8/25/20171FAHP3F20CL378191
FVSͲ109484290 ELIZABETHA   TUBBS                                  EAUCLAIRE        WI     8/25/20171FAHP3F20CL378191
FVSͲ109525060ANGELA         BUSH                                   SAGINAW           MI     8/25/20171FAHP3F20CL370818
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                                                
FVSͲ109675762SHALENAC       DENIKE                                      JACKSON        MI    8/25/20171FAHP3F22CL428511
FVSͲ109956940SUSAN           WEAVER                                      PEMBERVILLE     OH     8/25/20171FAHP3F24CL391378
FVSͲ110001206 BARRYD        BRYANT                                      STERLINGHTS    MI     8/25/20171FAHP3F23CL465079
FVSͲ110253892 LOUANN         TAELMAN              GARYTAELMAN           WILLIAMSBURG    MI     8/25/20171FAHP3F26CL344692
FVSͲ110322029SHANNONA       SHEPARD                                     WESTLAND       MI     8/25/20171FAHP3F25CL421875
FVSͲ110675959ANTHONY         SMITHJR                                    KATY           TX     8/25/20171FAHP3F28CL403029
FVSͲ111486130CARLAJ         LEMON                                       COLUMBUS       OH    8/25/20171FAHP3H2XCL233544
FVSͲ111947391JAMESV         HANVELT                                     NEWRICHMOND    WI     8/25/20171FAHP3K21CL386564
FVSͲ112008003 KRISTAS       CRAFTON                                     HASLETT        MI     8/25/20171FAHP3K24CL147168
FVSͲ112116507SYLVIAM        TILLMAN                                     BELLEVILLE     MI     8/25/20171FAHP3K22CL337700
FVSͲ112193390WALTERM        KUBISIAK                                    CLYDE          MI     8/25/20171FAHP3K25CL114132
FVSͲ112246249 EVELYNJ       BELL                                        TROY           OH     8/25/20171FAHP3K26CL132302
FVSͲ112335217ADELER         PERKINS                                     CANTON         OH     8/25/20171FAHP3K26CL310323
FVSͲ112338739CONSTANCE       DANIELS              AKACONSTANCEBUTLER   SCHERERVILLE    IN     8/25/20171FAHP3K27CL420913
FVSͲ112735606SABRINAR       WOZNIAK                                     NRIDGEVILLE    OH     8/25/20171FAHP3K29CL283456
FVSͲ112775098 MICHAEL        PAYNE                                       CINCINNATI     OH    8/25/20171FAHP3M22CL478408
FVSͲ112828353 LAWRENCER     MACLEOD                                     CANTON         MI    8/25/20171FAHP3M20CL249239
FVSͲ112829732 BRENDAM       WAITE                                       LAKE           MI    8/25/20171FAHP3M20CL262010
FVSͲ113111193JENNIFER        LUECK                                       LAKEVILLA     IL    8/25/20171FAHP3M28CL463234
FVSͲ113410816 ERNESTLARRY   NORRIS                                      MINNEAPOLIS     MN    8/25/20171FAHP3N20CL410090
FVSͲ113908598 KRISTINA       BOYER                                       OWENSBORO       KY    8/25/20173FADP4AJ9EM179791
FVSͲ114267774STEPHENJ       GIRARD               PATRICIAMONSON        MINNEAPOLIS     MN    8/25/20173FADP4BJ1CM115367
FVSͲ114318085 DEANA         CHAPIN                                      ANOKA          MN    8/25/20173FADP4BJ1DM201229
FVSͲ114335060 BONNIE         SHIELDS                                     COLUMBUS       OH    8/25/20173FADP4BJ0DM176226
FVSͲ114447756MICHAELW       MYERS                                       POOLVILLE      TX    8/25/20173FADP4BJ1DM137175
FVSͲ114458456SHAEI          DOBRYNSKI                                   HAZELPARK     MI    8/25/20173FADP4BJ1EM202916
FVSͲ115429336GERALDA        TYRRELL                                     DENVER         CO    8/25/20173FADP4BJ7DM193668
FVSͲ115456651 EMILB         DIMITROV                                    CINCINNATI     OH    8/25/20173FADP4BJ8CM157616
FVSͲ115881506JEA             REECE                                       KANSASCITY     MO    8/25/20173FADP4BJXFM114755
FVSͲ116481021 ELIZABETHT    KLAUS                                       VOORHEESVILLE   NY    8/25/20173FADP4EJ1BM169715
FVSͲ116713291AARONP         SEXTON                                      ADDISON        MI    8/25/20173FADP4EJ3DM199995
FVSͲ116960841VICKIEANN      SMITLEY(VERA)                               LANCASTER      OH    8/25/20173FADP4EJ6DM109089
FVSͲ117665240ADAMJ          KOCI                                        EMPORIA        KS    8/25/20173FADP4FJ5BM114179
FVSͲ117826359SHAEI          DOBRYNSKI                                   HAZELPARK     MI    8/25/20173FADP4FJ5EM165914
FVSͲ117887587ANTHONYJ       CADEMARTI                                   MARYSVILLE      WA    8/25/20173FADP4FJ8CM185331
FVSͲ117919110 MICHELLE       HENDRICKS                                   ANDERSON       IN    8/25/20173FADP4TJ3DM207466
FVSͲ118201352 PANFILOJ      ESQUIVEL                                    SANDIEGO      CA     8/25/20171FADP3F20DL171882
FVSͲ118213970JUDIEE         KINCADE                                     VISTA          CA     8/25/20171FADP3E29FL231940
FVSͲ118225006SHEILAA        KREBS                                       FRESNO         CA     8/25/20171FADP3F21EL454213
FVSͲ118374958 ROBERTJ       GLASER                                      LOSALAMOS      CA     8/25/20171FADP3F21EL456009
FVSͲ118505408JIMMIE          MCKEE                SONIAVELA             VICTORVILLE     CA     8/25/20171FADP3F29EL237900
FVSͲ118509250JEREMIAHJ      MARBY                                       FRESNO         CA     8/25/20171FADP3F26EL399807
FVSͲ118613251JACK            WOLCOTT                                     OAKLEY         CA     8/25/20171FADP3J29DL353488
FVSͲ118770306 DENISEE       STEAD                DALEROBERTSTEAD      SANJOSE       CA     8/25/20171FADP3K24DL178002
FVSͲ118830910CHRISTOPHERC   LAGOS                                       BURBANK        CA     8/25/20171FADP3K28FL220979
FVSͲ118962485SINDHU          RUDIANTO                                    LAFAYETTE      CA     8/25/20171FADP3K28DL152177
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FVSͲ119160269DEVONNEL        GRAY               DELOYDGRAY           CORONA         CA   8/25/20171FADP3N23EL111470
FVSͲ119236036SUMERW          PYSE               SUMERWHITNEYCHENEY   YUBACITY      CA    8/25/20171FAHP3H23CL155396
FVSͲ119303671MARIAR          VEGA                                      MODESTO        CA    8/25/20171FAHP3K22CL314756
FVSͲ119350319NICOLEA         BURKE                                     SHERMANOAKS    CA    8/25/20171FAHP3H26CL475280
FVSͲ119460254MARC             DIETERLE                                  CARMEL         CA    8/25/20171FAHP3M26CL228086
FVSͲ119463741FERNANDO         PEREZ                                     FRESNO         CA    8/25/20171FAHP3M26CL477892
FVSͲ119510863ANNETTE          AZIZIAN                                   AZUSA          CA    8/25/20171FAHP3N27CL279210
FVSͲ119592983JOLENEN         ABLES              LORIABLES             REDBLUFF      CA    8/25/20171FAHP3M23CL154948
FVSͲ119800128ALLISONP        WOOD                                      GARDENA        CA    8/25/20173FADP4BJ2EM169103
FVSͲ119885948PATRICKL        HUNT                                      LONGBEACH      CA    8/25/20173FADP4CJ5CM221271
FVSͲ119988623JANICEE         MUSCIO                                    SANTABARBARA   CA    8/25/20173FADP4EJ0FM133617
FVSͲ120027771 JTERI          MULLIS                                    ANDERSON       CA    8/25/20173FADP4EJXGM120326
FVSͲ120221403MIKHAILA        IOFFE                                     CARMICHAEL      CA    8/25/20173FADP4GX0FM110906
FVSͲ120453592MARGHERITAA     GRAYSON                                   SOUTHAMPTON     PA    8/25/20171FADP3F29EL435084
FVSͲ120502216JAIMEG          GONZALEZ           ANNABELLEVALLEJO      MACUNGIE       PA    8/25/20171FADP3F23EL344716
FVSͲ120685540SARAA           GASSER                                    PITTSBURGH      PA    8/25/20171FAHP3F22CL152587
FVSͲ120847418MELISSAS        WEBBER                                    SOMERSET       PA    8/25/20171FADP3K2XFL283713
FVSͲ120912864DEVONJ          WEISEMAN                                  CUTESAUQUA      PA    8/25/20171FAHP3M23CL403880
FVSͲ800000935MARIA            CASTRO                                    ELCENTRO      CA    8/25/20173FA6P0HD4FR183821
FVSͲ800000951ADRIANA          FINAU                                     CHULAVISTA     CA    8/25/20173FA6P0G70GR329080
FVSͲ800001249AMANDA           KNAUL                                     CAMERONPARK    CA    8/25/20173FADP4EJXEM103023
FVSͲ800001281ELISA            SALDANA                                   BALDWINPARK    CA    8/25/20171FADP3F29EL374710
FVSͲ800005031AMANDA           MILLSͲWRIGHT                               KISSIMMEE      FL    8/25/20173FADP4BJ0DM22383
FVSͲ800005058JEFFREY          BAILEY                                    GREENSBORO      NC    8/25/20171FADP3K22DC213751
FVSͲ800005120PHILLIP          SALAZAR                                   MAXWELL        NM    8/25/20173FADP4AJ5EM131835
FVSͲ800007786LEONF           WRIGHT                                    VERMILION      OH    8/25/20171FADP3F20EL449794
FVSͲ100307884CARLF           KINGJR                                   BROOKLYN       MI    8/26/20171FADP3F20DL372195
FVSͲ102861072SARAHM          DEAL                                      SAINTJOSEPH    MI    8/26/20171FADP3F24EL108415
FVSͲ105058033WAYNEK          ENERSON                                   DOWNERSGROVE   IL    8/26/20171FADP3F20EL346424
FVSͲ105364428DONNAS          ALBER                                     IMPERIAL       MO    8/26/20171FADP3F28FL357236
FVSͲ109597281ERICAL          POSTER                                    STERLINGHTS    MI    8/26/20171FAHP3F21CL391273
FVSͲ115213619JOSHUAK         KOPPENHAFER                                ROCKVILLECTR   NY    8/26/20173FADP4BJ6EM201731
FVSͲ117599034DARLENE          GROVE                                     LOUISVILLE     KY    8/26/20173FADP4FJ0FM158158
FVSͲ118792741ADRIANNAM       FIORI                                     CALABASAS      CA    8/26/20171FADP3K27DL339250
FVSͲ118795767JEAN             STANTON                                   CATHEDRALCTY   CA    8/26/20171FADP3K27EL149966
FVSͲ118798910LIMMYG          CLAXTON                                   CONCORD        CA    8/26/20171FADP3K23GL238730
FVSͲ118957880LINDA            INGLECALLOWAY                             APPLEVALLEY    CA    8/26/20171FADP3N23DL124220
FVSͲ118973002ELIZABETHL      LYNN                                      NOVATO         CA    8/26/20171FADP3K29EL391691
FVSͲ119179377MARJORIEA       LULAY                                     TEHACHAPI      CA    8/26/20171FAHP3F29CL356013
FVSͲ119358158BILL             MORO                                      LAVERNE       CA    8/26/20171FAHP3K26CL415878
FVSͲ120082071FATIMA           GARCIA                                    ENCINO         CA    8/26/20173FADP4EJXCM115427
FVSͲ120473976MARIANL         ELLENBERGER         JAMESTELLENBERGER    CONNELLSVILLE   PA    8/26/20171FADP3F25EL438404
FVSͲ120901960BARBARAA        SUKNAIC                                   HARRISBURG      PA    8/26/20171FAHP3F23CL297556
FVSͲ114623562LISAA           KOZAK                                     LAKEWOOD       OH    8/27/20173FADP4BJ3CM207712
FVSͲ115712062MARIAJ          LUCAS                                     PLOVER         WI    8/27/20173FADP4BJ8EM120858
FVSͲ118349074CHRISTOPHERL    PORI                                      PETALUMA       CA    8/27/20171FADP3F21GL406066
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                                              
FVSͲ118853899ANIKAB          OMARK                                      SANDIEGO       CA   8/27/20171FADP3K2XEL225387
FVSͲ118991710 KYLEJ          BELKO              LAURENBELKO            OAKDALE         MN    8/27/20171FADP3N29DL251621
FVSͲ119132451 SABRINAM       ALFARO                                     SANJOSE        CA    8/27/20171FAHP3F25CL452706
FVSͲ119605732 FREDERICKC     SANDERS            AUSTINSANDERS          ELCAJON        CA    8/27/20171FAHP3N21CL155062
FVSͲ100022405FORTUNEM        SAADA                                      OAKHURST        NJ     8/28/20171FADP3F26EL395482
FVSͲ100098746 DANIELLEN      BRONGE                                     WOODRIDGE        IL    8/28/20171FADP3F23DL265965
FVSͲ100169872 JESSEL         VASCONCELOS                                 SWANSEA         MA     8/28/20171FADP3F29EL218005
FVSͲ100626041 MICAHA         ZEITLER                                    MERCER          WI     8/28/20171FADP3F2XEL127891
FVSͲ100648380 KURTS          RUSSELL            CHERYLRUSSELL          GLENDALE        AZ     8/28/20171FADP3F25EL311944
FVSͲ100905676DONALDB         LEWISII                                    POINTS          WV     8/28/20171FADP3E20FL228540
FVSͲ100917305 DOROTHYI       PENNINGTON                                  POCA            WV     8/28/20171FADP3F26EL428951
FVSͲ101035381AMBERR          MANSON                                     CARLISLE        OH    8/28/20171FADP3F24GL358983
FVSͲ101129807 RENE            PEREZ                                      CORPUSCHRISTI   TX     8/28/20171FADP3F20EL137734
FVSͲ101876041 LURETHAA       FALKNER            RODERICKMCDUFFEY       ALSIP           IL     8/28/20171FADP3F23FL273874
FVSͲ101998015 STEVEN          VINSON                                     REDFORD         MO    8/28/20171FADP3F20DL153589
FVSͲ102053936CAROLYND        MOTT                                       LOUISVILLE      KY    8/28/20171FADP3F26DL117938
FVSͲ102209740GRACEE          HOLIDAY                                    NOVI            MI    8/28/20171FADP3F20DL169470
FVSͲ102510105SHAWNS          PETERSON                                   POUGHKEEPSIE     NY     8/28/20171FADP3J23DL120738
FVSͲ102686181 DANNY           COCHRAN                                    MUENSTER        TX    8/28/20171FADP3F27DL163519
FVSͲ102700028 LARRYD         MORRISON           NANCYMORRISON          GRESHAM         OR    8/28/20171FADP3F21DL251952
FVSͲ102806063 MICHAELM       RICHARDS                                   SANTAFE        TX     8/28/20171FADP3E28FL323475
FVSͲ103032924 PAULINEK       KENNEDY            MATTHEWDAVIDKENNEDY   MACOMB          MI     8/28/20171FADP3F22FL230269
FVSͲ103325832 JULIE           VASQUEZ                                    CHICAGO         IL     8/28/20171FADP3F2XEL105230
FVSͲ103405534 LESLEEJ        SMITH                                      LONDON          OH    8/28/20171FADP3F22DL262233
FVSͲ103461213 GREGORYS       DODSON                                     RENO            NV     8/28/20171FADP3F28EL350740
FVSͲ103824650ALLISOND        SELVIG                                     BUDDLAKE       NJ     8/28/20171FADP3F23EL366912
FVSͲ104371307 MICHELLEL      OLSON                                      FORESTJCT      WI     8/28/20171FADP3F22EL278207
FVSͲ104711965ADAMH           KING               RENEKING               FOWLERVILLE      MI     8/28/20171FADP3F23EL161137
FVSͲ104838795 PAULINEK       KENNEDY                                    MACOMB          MI     8/28/20171FADP3F21EL361966
FVSͲ105038075 JERRYD         ROCKEFELLER                                 DEARING         GA     8/28/20171FADP3F2XEL444277
FVSͲ105069477 KENNETHA       MCKOY                                      MASURY          OH     8/28/20171FADP3F21EL379724
FVSͲ105138991 SHERIV         CHAUVIN                                    LUTCHER         LA    8/28/20171FADP3F24DL269636
FVSͲ105202886JACQUELYN        STACK                                      GOSHEN          IN     8/28/20171FADP3E26FL356314
FVSͲ105260126 HAILEEM        JOHNSON            BRADLEYJOHNSON         BLISS           NY    8/28/20171FADP3F26DL218736
FVSͲ105418951 MICHELLEM      WAYBRIGHT                                  NAPOLEON        MI     8/28/20171FADP3F27EL183173
FVSͲ105523909 DEBORAHA       SANDONATO                                   MARSHFIELD       MA     8/28/20171FADP3F23EL445691
FVSͲ105980838ASHLEYN         NEAL                                       WASHINGTON       DC     8/28/20171FADP3K20FL228364
FVSͲ106066080KATHRYNM        NICHOLAS                                   CALDWELL        NJ    8/28/20171FADP3K21DL378352
FVSͲ106395955 MAUREENS       BERTHOLD           FRANKA.BERTHOLD       EDENPRAIRIE     MN     8/28/20171FADP3K22FL348537
FVSͲ106648594 LORIA          CONNOLLY           MARCOSSALAZAR          NOKESVILLE      VA    8/28/20171FADP3K23GL343137
FVSͲ106731726JOANNEM         SIMONE                                     MATAWAN         NJ    8/28/20171FADP3K24EL134356
FVSͲ106835890 SHELLEY         SMITH                                      INDIANAPOLIS     IN    8/28/20171FADP3K25EL150081
FVSͲ106890603TONYAL          KERSHNER                                   MADISON         CT    8/28/20171FADP3K25DL198257
FVSͲ107179512 FRANKJ         MURIN                                      BYRONCENTER     MI    8/28/20171FADP3K26EL207663
FVSͲ107218976 MICHAELF       SILVESTRE          ELIZABETHSILVESTRE     JACKSONVILLE     FL    8/28/20171FADP3K26EL191223
FVSͲ107478048FRANKA          BERTHOLD           MAUREENBERTHOLD        EDENPRAIRIE     MN    8/28/20171FADP3K28EL197931
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                                                     
FVSͲ107540843SHIRLEYR        BOGART                                          HAMMOND        NY    8/28/20171FADP3K28EL159048
FVSͲ107645041 BRIAN           HUTCHENS                 KAYLAHUTCHENS         ETHRIDGE       TN     8/28/20171FADP3K28EL283255
FVSͲ107758253 NESTORF        GAUDIA                                          BLACKSVILLE     WV     8/28/20171FADP3K28GL229361
FVSͲ107983648AMYJ            FRAZIER                                         PORTARTHUR     TX     8/28/20171FADP3K2XGL281705
FVSͲ108256499SUNGH           SEO                                             FAIRFAX        VA     8/28/20171FADP3L91GL292765
FVSͲ108877329GEZAJ           KOGLER                                          GARDENCITY     MI    8/28/20171FADP3N28GL336292
FVSͲ108960579SERGEIV         BOBIK                                           COLUMBUS       OH     8/28/20171FADP3N25EL245798
FVSͲ108967590JUDITHK         HUFF                     EDDIEHUFF             MYRTLEBEACH    SC    8/28/20171FADP3N29GL312194
FVSͲ109485904CORNELIUSC      LEMIREIII                CORNELIUSLEMIRE       ROMULUS        MI     8/28/20171FAHP3F20CL381771
FVSͲ109575903 LORENE         ERICKSON                                        WINTERGARDEN   FL     8/28/20171FAHP3F22CL166585
FVSͲ109827163 RONALD          WELCH                                           WYANDOTTE       MI     8/28/20171FAHP3F23CL402919
FVSͲ110248015THERESAC        MAATMAN                  CHRISTOPHERBAUER      WAUWATOSA       WI     8/28/20171FAHP3F25CL445707
FVSͲ110396340DONNA            DICKEY                                          CANFIELD       OH     8/28/20171FAHP3F26CL446820
FVSͲ110942752 LORETTA         GIDEN                                           SOUTHBEND      IN     8/28/20171FAHP3H20CL342661
FVSͲ111004950 DIANEM         MCCRYSTAL                                       STATENISLAND   NY     8/28/20171FAHP3H21CL413043
FVSͲ111056756GRETCHENK       LEIBY                                           WARREN         OH     8/28/20171FAHP3H22CL242190
FVSͲ111070546CYNTHIA          MCCOY                                           CINCINNATI     OH     8/28/20171FAHP3F2XCL474913
FVSͲ111349923 KELSI           BLEDSOE                                         SELLERSBURG     IN     8/28/20171FAHP3H24CL338712
FVSͲ112116957 ELLAR          BREAUX                                          SULPHUR        LA     8/28/20171FAHP3K22CL341617
FVSͲ112846777 HELENAG        CAMPBELL                                        MADISON        WI    8/28/20171FAHP3M22CL309599
FVSͲ112940650 ROBERT          LATTANZIO                BARBARALATTANZIO      HAMPTONBAYS    NY    8/28/20171FAHP3M25CL229570
FVSͲ113043996CURTIS           BUCKHANAN                                        MINNEAPOLIS     MN    8/28/20171FAHP3M24CL479737
FVSͲ113144636JESSICAA        GONZALEZ                                        SANANTONIO     TX     8/28/20171FAHP3N20CL158096
FVSͲ113327650SANDRAJ         KIRVES                                          JASPER         GA     8/28/20171FAHP3N29CL307878
FVSͲ113328630 BRUCEA         WIERS                    MARYWIERS             GRANDRAPIDS    MI     8/28/20171FAHP3N29CL320212
FVSͲ113459726 PHYLLISR       MARTINO                                         PLYMOUTH       MI     8/28/20171FAHP3N22CL478889
FVSͲ113607113TERRIE           ADAMS                                           DEKALB         IL    8/28/20173FADP4AJ2GM123257
FVSͲ114193908 LUKER          SCHMITZ                                         ELPASO        TX    8/28/20173FADP4BJ0EM125181
FVSͲ114323771TERRIL          CLEMENTS                                        KAWKAWLIN       MI    8/28/20173FADP4BJ1BM206928
FVSͲ114597669 RANDY           TURNER                                          BAYTOWN        TX    8/28/20173FADP4BJ3CM161573
FVSͲ114643997MARYD           RUFFNER                                         HOBOKEN        NJ    8/28/20173FADP4BJ2DM213390
FVSͲ114658846ALANH           RODSTEIN                                        BRENTWOOD       NY    8/28/20173FADP4BJ3DM217822
FVSͲ114988471 DAVID           SMITH                                           NEWBURGH       IN    8/28/20173FADP4BJ4EM106388
FVSͲ114989826 KIMBERLY        SMITH                                           DANDRIDGE      TN    8/28/20173FADP4BJ5EM131199
FVSͲ115069828MARTHAC         SHANNON                                         MEQUON         WI    8/28/20173FADP4BJ5FM166780
FVSͲ115092579JOYCEE          ELLISON                  WILLIAMHILL           FTWASHINGTON   MD    8/28/20173FADP4BJ5DM182698
FVSͲ115406034CHERYLB         SOURS                                           DEMING         NM    8/28/20173FADP4BJ7GM180424
FVSͲ115503676 KAITLYNA       COCHRAN                                         COLUMBIA       MD    8/28/20173FADP4BJ8DM217797
FVSͲ115611533CYNTHIAN        SENN                                            HAGERSTOWN      MD    8/28/20173FADP4BJ8BM103683
FVSͲ115730990 PETRIT          SHURDHA                                         STERLINGHTS    MI    8/28/20173FADP4BJ9CM125970
FVSͲ115792813 LONNIEG        QUEEN                    JEANNIEBHORNBUCKLE   CALHOUN        GA    8/28/20173FADP4BJ9FM195439
FVSͲ116678070JERRYJ          WARNER                                          GREENVILLE     MI    8/28/20173FADP4EJ4EM114471
FVSͲ117290483 MICHELEA       BOCKELMANN                                       ROSENDALE      NY    8/28/20173FADP4EJ8EM117891
FVSͲ117368202 MICHAELW       LATIMER                                         WATERFORD       MI    8/28/20173FADP4EJ8GM149341
FVSͲ117636606MEGANA          BREEDLOVEMCCARTHY                               BARRINGTON      IL    8/28/20173FADP4FJ6CM218388
FVSͲ117973270JONATHANL       SHAW                                            MESA           AZ     8/28/20173FADP4FJ9EM142622
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FVSͲ118126440JULIA           ROBINSON                                    CHICO             CA   8/28/20171FADP3E24FL341889
FVSͲ118154974SHEILA          PHILLIPS                                    LOSANGELES        CA    8/28/20171FADP3E21GL209139
FVSͲ118189000GARYR          MEYERS                                      SANMARCOS         CA    8/28/20171FADP3F20DL255541
FVSͲ118204335 RODNEYA       BENAVIDEZ            JAMESE.NAROLISJR.   SACRAMENTO         CA    8/28/20171FADP3F21EL211064
FVSͲ118212320ANTONIO         GARCIA                                      CORONA            CA    8/28/20171FADP3F21EL131960
FVSͲ118230824 KRISTOPHER     FLORES                                      RCHCUCAMONGA      CA    8/28/20171FADP3F22EL341242
FVSͲ118245252 ROBERTAJ      LISCIANDRO                                  SANCLEMENTE       CA    8/28/20171FADP3F22EL271242
FVSͲ118305395 MEGAN          RODRIGUEZ                                   ALAMEDA           CA    8/28/20171FADP3F20EL456003
FVSͲ118363891 PHILLIP        MORENO               PHILA.MORENO         APPLEVALLEY       CA    8/28/20171FADP3F26DL213455
FVSͲ118510479 KIMBERLY       RHOADES                                     LIVEOAK          CA    8/28/20171FADP3F26EL442901
FVSͲ118560794 KIRSTENA      ROBERTS                                     SANDIEGO         CA    8/28/20171FADP3F29DL245364
FVSͲ118582593CARMEN          RODRIGUEZ                                   BARSTOW           CA    8/28/20171FADP3F27FL210941
FVSͲ118582887 BERTA          HUESIAS              ANGELHUESIAS          VISTA             CA    8/28/20171FADP3F27FL221230
FVSͲ118584910 MICHAELB      KENDIG                                      RIPON             CA    8/28/20171FADP3J2XEL357647
FVSͲ118613499STEVEN          PRICE                JENNIFERPRICE         WHOLLYWOOD        CA    8/28/20171FADP3J29EL138775
FVSͲ118639838JAMES           PENATZER             ERIKAPENATZER         MTNRANCH          CA    8/28/20171FADP3K23EL139631
FVSͲ118650912SAGEM          RAKESTRAW                                    MOUNTAINCENTER    CA    8/28/20171FADP3K23DL244944
FVSͲ118697765 RYANA         YOUNGS                                      SANDIEGO         CA    8/28/20171FADP3K22FL319104
FVSͲ118743589ARTUROX        MARTINEZ                                    INDIO             CA    8/28/20171FADP3K26EL176379
FVSͲ118757539 LAURIEJ       HULL                 CHELSEAHULL           CAMINO            CA    8/28/20171FADP3K22EL132430
FVSͲ118758691 BLAKEC        DIEDA                                       SANJOSE          CA    8/28/20171FADP3K22EL170045
FVSͲ118799452JAYG           MILNERJR            TERRYMILNER           SEALBEACH        CA    8/28/20171FADP3K23GL258413
FVSͲ118876988 MELANIEA      GRANGER              NICHOLASL.GRANGER    MIDLAND           MI    8/28/20171FADP3K26FL314875
FVSͲ118914359 KURTISL       CAMPBELL                                    POWAY             CA    8/28/20171FADP3K26EL382415
FVSͲ118940597JAMESA         KIRK                                        FALLBROOK         CA    8/28/20171FADP3N20DL145218
FVSͲ118960130SHARLENEA      TURNER                                      LOCKEFORD         CA    8/28/20171FADP3K27GL363276
FVSͲ118997670 ERIND         LENNOX                                      LOSANGELES        CA    8/28/20171FADP3N2XDL255435
FVSͲ119130742 EDWARDL       CARRINGTONIII        CRYSTALCARRINGTON     OAKLAND           CA    8/28/20171FAHP3F25CL403635
FVSͲ119308460 FLAVIO         BORQUEZ                                     CHULAVISTA        CA    8/28/20171FAHP3H20CL429525
FVSͲ119328615JOREL           QUIMBY               VANESSAMARIEQUIMBY   ANAHEIM           CA    8/28/20171FAHP3F26CL415874
FVSͲ119402823CHANTELLE       FOURIE                                      NAPA              CA    8/28/20171FAHP3K25CL257890
FVSͲ119500183 KERRYM        SANDER                                      CASTAIC           CA    8/28/20171FAHP3K23CL316029
FVSͲ119536862 NADIA          DAOUD                SAMEERDAOUD           SACRAMENTO         CA    8/28/20173FADP4AJ5EM196331
FVSͲ119621568ALEJANDRA       OROPEZA                                     ONTARIO           CA    8/28/20173FADP4BJ1DM200355
FVSͲ119636590 LYDIA          HERNANDEZ                                    COSTAMESA         CA    8/28/20173FADP4BJ2BM167783
FVSͲ119716305 RUPASHNAR     SINGH                                       SACRAMENTO         CA    8/28/20173FADP4BJ5EM117822
FVSͲ119776537 DEANAM        LATHROP                                     EASTVALE          CA    8/28/20173FADP4BJ8CM153890
FVSͲ119805464 BRIANR        CAIN                 TIFFANYROWE           MODESTO           CA    8/28/20173FADP4BJXCM171131
FVSͲ119879654 EVELYN         NICHOLS                                     ELCAJON          CA    8/28/20173FADP4BJ4DM177704
FVSͲ120054132GENESISB       NACUA                JANENACUA             FREMONT           CA    8/28/20173FADP4EJ0BM145664
FVSͲ120065150DONNAM         VINCLER              AUBREYSWANDER         BRENTWOOD          TN    8/28/20173FADP4FJ7CM159075
FVSͲ120138743VIVIAN          REGUEIRO                                    HUNTINGTONPK      CA    8/28/20173FADP4EJ4DM177830
FVSͲ120177099 FREDERICKM    REA                                         RANCHOCUCAMONGA   CA    8/28/20173FADP4EJ9DM142734
FVSͲ120203022YOLANDAL       LEMUS                                       TULELAKE          CA    8/28/20173FADP4FJ2DM221080
FVSͲ120252520CONSTANCEM     HAMMERLY                                    CATASAUQUA         PA    8/28/20171FADP3F20DL186429
FVSͲ120310490 KELLYL        MCELFRESH            ROBERTMCELFRESH       JEANNETTE         PA    8/28/20171FADP3F22GL377810
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FVSͲ120312239 LINDAC         PRYOR                                  HONEYBROOK     PA    8/28/20171FADP3F23DL141811
FVSͲ120345315 KELLYM         SWARTWOOD                               READING         PA     8/28/20171FADP3F26FL321383
FVSͲ120351005 DANNIKAL       WHITLOW           DESIREEL.WHITLOW   VESTABURG       PA     8/28/20171FADP3F20FL322450
FVSͲ120379899GEORGE           RYMARCZUK                               PHILADELPHIA     PA     8/28/20171FADP3F20EL268145
FVSͲ120496151 ROBINJ         MYERS                                  ROSLYN          PA     8/28/20171FADP3K20EL265400
FVSͲ120509946WOODY            DEMAYO                                 LOSALTOS       CA     8/28/20171FAHP3N24CL356485
FVSͲ120541750 RONALDS        BARLOW                                 HUNLOCKCREEK    PA     8/28/20171FADP3J22EL179104
FVSͲ120666499SCOTTG          STASH                                  VANDERBILT       PA     8/28/20171FADP3N28GL394306
FVSͲ120713349SHARLENEP       MYRICK                                 PHILADELPHIA     PA     8/28/20171FAHP3F21CL157750
FVSͲ120916916JENNIFERM       FRANCIS                                GREENSBURG       PA     8/28/20171FAHP3H25CL190246
FVSͲ120919176 KENNETH         KOZAK                                  JEROME          PA     8/28/20171FAHP3M24CL303092
FVSͲ121110087JIMMYD          PAGEJR           LARISHAPAGE         BERWICK         PA     8/28/20173FADP4BJ7DM203065
FVSͲ121145999ANGELAJ         LONGBECK                              MCKEESPORT       PA     8/28/20173FADP4BJ6GM138388
FVSͲ800000943CAROLINA         VALDEZ                                 FULLERTON       CA     8/28/20171FAHP3H20CL395585
FVSͲ800001028 KEVIN           STEELE            STACYHUBBARD        LYNCO           WV     8/28/20173FADP4CJ1CM196837
FVSͲ800001052GERI             SCHERER           LAURASCHERER        WAYZATA         MN     8/28/20171FAHP3F28CL421062
FVSͲ800001290 MIKE            O'DONNELL                              VENICE          FL     8/28/20171FADP3K21EL373735
FVSͲ800001338QUINTON          RIDGELL                                CALIFORNIA      MD     8/28/20171FADP3F28EL446366
FVSͲ800001354CHRISTOPHER      SICKLES                                ACCORD          NY     8/28/20171FADP3F27DL224741
FVSͲ800001362CONNIEM.        HENTZ                                  HEGINS          PA     8/28/20171FAHP3K2XCL328176
FVSͲ800001389 RICHARD         NELSON            GRISALDANELSON      VISTA           CA     8/28/20171FAHP3K27CL392210
FVSͲ800001397 MICHAELTERRY   CREDLESR                              SUFFOLK         VA     8/28/20171FADP3K26EL136495
FVSͲ800001400CHARLES          HUBERT                                 BELLEVIEW       FL     8/28/20171FADP3K22GL284209
FVSͲ800001419 KELSI           ANDERSON          DANDERSON           APPLEVALLEY     CA     8/28/20171FADP3E25EL374964
FVSͲ800001435JUSTIN           ROSATI                                 UNKNOWN         PA     8/28/20171FADP3F29EL280407
FVSͲ800001443 BROOKE          SUMEY                                  CLARKSVILLE      TN     8/28/20173FADP4BJ4DM162099
FVSͲ800001451AMY              FRAZIER                                PORTARTHUR      TX     8/28/20171FADP3F2XEL373095
FVSͲ800001559 DAVID           BELL                                   WELLSVILLE      PA     8/28/20171FAHP3N24CL295848
FVSͲ800001656THEODORE         MAURER                                 SANRAMON        CA     8/28/20173FA6POLUIDR379980
FVSͲ800001818ALEXANI          RUCOBO                                 ELPASO         TX     8/28/20171FADP3F24FL384826
FVSͲ800002075 LENAE           WILLIAMS          LATISHARUSHING      LAKEELSINORE    CA     8/28/20171FAHP3F20CL423128
FVSͲ800002385 DIANE           BARBOUR                                CHESTERFIELD     MI     8/28/20171FADP3F23DL383787
FVSͲ800002547 BRITTANY        HEMNESS                                DRUMMONDS        TN     8/28/20171FAHP3N28LL308200
FVSͲ800003411 RICKY           BAILEY                                 CINCINNATI      OH     8/28/20173FADP4BJ4DM153242
FVSͲ800003659 LATOYA          WILKERSON                              RICHMOND        VA     8/28/20171FADT3F29GL292804
FVSͲ800004639COLLEN           YOUNG                                  SNOHOMISH        WA     8/28/20171FADP3K21EL301319
FVSͲ800007808MARKUS           HACKETT           BAILEYSANDERS       SACRAMENTO       CA     8/28/20171FADP3F25DL235771
FVSͲ800007840JAMES            GEACH                                  SUSSEX          WI     8/28/20171FAHP3H2XCL206635
FVSͲ800007883 DAPHNE          WELLS                                  SANANTONIO      TX     8/28/20171FADP3F26DL325981
FVSͲ100071392 BRENDA          WOLF                                   AUSTIN          TX     8/29/20171FADP3F21EL117640
FVSͲ100195520JESUSAM         COSTELLO                               SANANTONIO      TX     8/29/20171FADP3E2XEL362292
FVSͲ100254284 EUGENE          STAFFORD                               DETROIT         MI     8/29/20171FADP3F28GL359344
FVSͲ100302610 PAULJ          ONEILL                                 KANSASCITY      MO     8/29/20171FADP3F21EL138049
FVSͲ100381251 MICHELLEM      KIEFER            DAKOTAKIEFER        PEWAUKEE        WI     8/29/20171FADP3F24EL449118
FVSͲ100502016JAMES            ALLEN             ANDREAALLEN         HALLSVILLE      TX     8/29/20171FADP3F25DL243918
FVSͲ100704620TOMMYB          BOLES                                  ORLANDO         FL     8/29/2017 1FADP3F2XDL236141
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FVSͲ100758363 DANIELL        BROWNING                                     ALLEN          TX   8/29/20171FADP3F21EL460111
FVSͲ100883680JOSEPHS         FONTANELLI               ASHLEYMHOOVER      ORMONDBEACH    FL     8/29/20171FADP3J22EL134986
FVSͲ101239726SARAH            RIZZO                                        JUSTICE        IL    8/29/20171FADP3F28GL215485
FVSͲ101608349 MICHELEM       MASSA                                        BALTIMORE      MD    8/29/20171FADP3J25DL250052
FVSͲ101856792 MICHELLEA      GONZALEZ                GONZALOGONZALEZ     WACO           TX    8/29/20171FADP3F29EL390292
FVSͲ101906889 KEVINR         BULLON                                       FORTWORTH      TX    8/29/20171FADP3F24DL351981
FVSͲ101964544BRENDAM         CANADY                                       BIGSPRING     TX    8/29/20171FADP3F25EL183964
FVSͲ102095558TERRYL          JARRETT                                      DANVILLE       VA    8/29/20171FADP3F24DL168175
FVSͲ102110778TODD            STODDARD                                     MANCHESTER      MI    8/29/20171FADP3F2XEL137479
FVSͲ102169810THOMAS           JERNAS                  NORENE EJERNAS      UNIONMILLS     IN    8/29/20171FADP3F29FL366866
FVSͲ102301441 MICHELLE        MUNDEL                                       DESMOINES      IA    8/29/20171FADP3F29EL109740
FVSͲ102369151 DAVIDA         BRYAN                                        NCHESTERFLD    VA    8/29/20171FADP3F28FL292484
FVSͲ102528373 EVELYNC        HERRIN                                       BRYSONCITY     NC    8/29/20171FADP3F24EL103294
FVSͲ102729840SCOTTD          KOO                                          BASKINGRIDGE   NJ    8/29/20171FADP3J24DL282183
FVSͲ102767211 SHEILAB        TRAHAN                  WILTONTRAHAN        WEBSTER        TX    8/29/20171FADP3F20FL323551
FVSͲ102809470ANNC            KALLIGHAN                                    MIDLOTHIAN      VA    8/29/20171FADP3F20EL216580
FVSͲ103204776GENET           HULON                   DARLINETEAGUE       LIBERTYHILL    TX    8/29/20171FADP3F20FL356775
FVSͲ103418695MEGAN            HICKMAN                 ROBERTHICKMAN       FLORISSANT     MO    8/29/20171FADP3F20DL226590
FVSͲ103450823 MARIEJ         BOREN                                        LOCKHART       TX    8/29/20171FADP3F25EL218356
FVSͲ103522794GREGORYJ        BROYHILL                OLIVIAJPAULSON     BILLINGS       MT    8/29/20171FADP3F28DL344404
FVSͲ103575880 PETERJ         KINCZEL                                      ROCHESTER      MN    8/29/20171FADP3K20DL381968
FVSͲ103652906 EVELYNJ        YAHNEY                                       MANSFIELD      OH    8/29/20171FADP3F23EL117171
FVSͲ103660321 JAYNEE         ERICKSON                                     HOPKINS        MN    8/29/20171FADP3E22EL219031
FVSͲ103688994WESLEYA         GABLE                   TODDGABLE           SALEM          WI    8/29/20171FADP3F26FL239279
FVSͲ103900748 KEVINA         MEEK                                         ALEXANDRIA      VA    8/29/20171FADP3F23DL194539
FVSͲ104043008PAMELAL         HOLT                    JAMESHOLT           GREENEVILLE     TN    8/29/20171FADP3F24FL367472
FVSͲ104132205 RANDYD         GRANT                                        AMARILLO       TX    8/29/20171FADP3F22DL297094
FVSͲ104141514 PATRICIAA      SPENCE                                       SANANTONIO     TX    8/29/20171FADP3F25DL176785
FVSͲ104144874GUADALUPE        MENDEZ                                       WAXAHACHIE      TX    8/29/20171FADP3F25DL183607
FVSͲ104223545 RICKYL         COLLINGS                                     BADAXE        MI    8/29/20171FADP3F24DL242274
FVSͲ104444304JANETM          EVERITT                                      LOMBARD        IL    8/29/20171FADP3F25EL448849
FVSͲ104562366JOANM           EBERT                   RUSSELLEBERT        NISSWA         MN    8/29/20171FADP3F22FL348483
FVSͲ104570954ANTOINETTEC     GERGES                                       LIVONIA        MI    8/29/20171FADP3F25GL252042
FVSͲ104600705 KIMM           LAMBERT                                      MOMENCE        IL    8/29/20171FADP3F20DL289057
FVSͲ104616130 RICHARDA       SHEPPARD                LISASHEPPARD        TARPONSPGS     FL    8/29/20171FADP3F21EL345668
FVSͲ104711957 CHRISTOPHERJ   WHEELER                                      HOLLY          MI    8/29/20171FADP3F23EL161090
FVSͲ104868430 JENNIFERR      PALING                  THOMASPALING        CHESTERFIELD    MI    8/29/20171FADP3F26DL209342
FVSͲ104898887 MONICAE        RAMIREZ                 ROBERTRAMIREZ       SANANTONIO     TX    8/29/20171FADP3F28EL390025
FVSͲ105066168 ERIN            WESLEY                                       TOLEDO         OH    8/29/20171FADP3F21EL371669
FVSͲ105187607TONIAW          STAMPLEYBOYER                                SINGER         LA    8/29/20171FADP3F2XDL233962
FVSͲ105255734SUSANH          RADER                                        VIDOR          TX    8/29/20171FADP3F26DL211799
FVSͲ105371602 JENNIFER        KERN                                         JACKSONVILLE    TX    8/29/20171FADP3F28DL200495
FVSͲ105380806WAYNET          ALBERTS                                      REHOBOTHBCH    DE    8/29/20171FADP3F24GL250539
FVSͲ105417599 KORRINEM       HELLEN                  CHRISTOPHERHELLEN   PRINCETON      MN    8/29/20171FADP3F27FL341304
FVSͲ105512249 CHERYLA        PRATT                                        PORTLAND       OR    8/29/20171FADP3E2XDL353607
FVSͲ105543152 DANIELA         BORGATTISTARLING                             DAVIE          FL    8/29/20171FADP3F21DL104434
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FVSͲ105620270 IDAJET          AGO                                         BURLINGTON     NJ    8/29/20171FADP3F27EL308978
FVSͲ105634069JAMIA           JONES                                       MINNEAPOLIS     MN     8/29/20171FADP3F25EL294028
FVSͲ105671274RONALDR         BRADSHAW                                    RICHMOND       TX    8/29/20171FADP3F26DL227663
FVSͲ105676349 ROGERA         KAHL                BUFFYKAHL              FOWLERVILLE     MI    8/29/20171FADP3F29GL237687
FVSͲ105774073 ERNESTK        DAVISJR                                    BEVERLYHILLS   FL     8/29/20171FADP3K20EL417255
FVSͲ105853291 BHARAT          PARAMESWARAN                                 FRISCO         TX    8/29/20171FADP3K21DL178099
FVSͲ105902764MATTHEW          SINGLETON                                   MTWASHINGTON   KY     8/29/20171FADP3K20EL139652
FVSͲ105997781 KELISHAD       ROSS                                        MARRERO        LA    8/29/20171FADP3K21DL240939
FVSͲ106074644CATHERINEA      HAGENS                                      ANNA           OH     8/29/20171FADP3K21EL293027
FVSͲ106304070ANDREW           PINSONNEAULT                                 ANNAPOLIS      MD     8/29/20171FADP3K22EL221401
FVSͲ106333984JAMESR          JOHNSON                                     BLAINE         MN    8/29/20171FADP3K23DL191050
FVSͲ106380605 CARLE          HUFFORD                                     CORNING        NY     8/29/20171FADP3K23EL314220
FVSͲ106521853 BRIANNEM       STEIG               AKABRIANNEAITCHISON   SARASOTA       FL     8/29/20171FADP3K23EL180616
FVSͲ106657496 MICHAELJ       VEACH                                       PAMPA          TX    8/29/20171FADP3K24DL255810
FVSͲ106783475ANNEC           HEYNIGER                                    VIRGINIABCH    VA     8/29/20171FADP3K24FL280077
FVSͲ106965859 FRANCISCOJ     HERNANDEZ                                    REVERE         MA    8/29/20171FADP3K25DL345192
FVSͲ107137011 SUSANL         FORD                                        WESTTOWN       NY    8/29/20171FADP3K27DL224518
FVSͲ107242486DOROTHY          BONDS                                       BYHALIA        MS    8/29/20171FADP3K27DL139811
FVSͲ107314347 DEBRA           KOPELIC                                     CLERMONT       FL    8/29/20171FADP3K27GL249374
FVSͲ107437600ALICIAG         HAYES                                       DECATUR        TX    8/29/20171FADP3K28DL313224
FVSͲ107554364 BLAINE          ROBERTS                                     NEWORLEANS     LA     8/29/20171FADP3K28FL307085
FVSͲ107608480 ERVINAB        BARMORE             KRISTYBARMORE          HITCHCOCK      TX     8/29/20171FADP3K28EL130374
FVSͲ107703726 JUSTINR        CRAGG                                       GEORGETOWN      TX     8/29/20171FADP3K29EL335489
FVSͲ107731622 RACHELA        QUISTͲERISMAN        KENNETHERISMAN         MANDEVILLE      LA    8/29/20171FADP3K29DL193837
FVSͲ107880288CHRISTOPHERW    HORNE                                       TALLAHASSEE     FL     8/29/20171FADP3K29EL403564
FVSͲ108623017AMBERB          COURVILLE                                   CLARKSBURG      MD    8/29/20171FADP3N22EL417298
FVSͲ108643786STEVENA         FABER                                       HOLTSVILLE     NY    8/29/20171FADP3N20GL354253
FVSͲ108844226CHERYLW         MOORE               ROGERMOORE             LEWISVILLE     TX    8/29/20171FADP3N27EL383990
FVSͲ108912906STEVEA          FABER                                       HOLTSVILLE     NY    8/29/20171FADP3N24EL134384
FVSͲ108934365WENDYK          STUDER                                      ANOKA          MN    8/29/20171FADP3N27DL163974
FVSͲ109132912 RONALDD        GIBSON                                      LOUISVILLE     KY    8/29/20171FAHP3E26CL234193
FVSͲ109135601AVAL            ORR                                         ARLINGTON      TX    8/29/20171FAHP3E26CL267145
FVSͲ109454502 SHELLYM        WICKEN                                      WOODBURY        MN     8/29/20171FAHP3F20CL410122
FVSͲ110056647 DOUGLASB       MEAKER              PAULAMEAKER            SOUTHELGIN     IL     8/29/20171FAHP3F24CL323470
FVSͲ110325524JOHNR           ABDO                                        LONGVIEW       TX     8/29/20171FAHP3F26CL466419
FVSͲ110411412 ROBERT          NORRIS                                      MILAN          IN     8/29/20171FAHP3F27CL370623
FVSͲ110489152 FRANCISM       PUGLIESE                                    BURLINGTON      MA     8/29/20171FAHP3F27CL292280
FVSͲ110671317 RANDALLK       BROSSETT                                    PINEVILLE      LA     8/29/20171FAHP3F29CL324064
FVSͲ110941497 KENNETH         WORKMAN                                     SPRINGVILLE     IN    8/29/20171FAHP3H20CL337542
FVSͲ111207258MARKG           JULIANO                                     WHIPPANY       NJ    8/29/20171FAHP3H24CL306889
FVSͲ111733154 CHRISTOPHERR   CRAWFORD            CARMENCRAWFORD         AUSTIN         TX    8/29/20171FAHP3K2XCL409632
FVSͲ111979447 HANNAH          WESLEY              ERINWESLEY             TOLEDO         OH    8/29/20171FAHP3K21CL135981
FVSͲ111987431 DAVIDL         BRINSON                                     CHESTERFIELD    VA    8/29/20171FAHP3K21CL353211
FVSͲ112363903 MARYA          LAMPINEN                                    GILBERT        MN    8/29/20171FAHP3K25CL451514
FVSͲ112499007 EVAN            BROWN               DEANBROWN              ALTALOMA      CA    8/29/20171FAHP3K29CL215805
FVSͲ113242905ALWIND          ALQUIROS                                    NORTHBERGEN    NJ    8/29/20171FAHP3N21CL432549
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FVSͲ113286856SARAHA          NEWMAN                                       ORLANDO        FL   8/29/20171FAHP3N27CL254663
FVSͲ113332130 EVELYNM        BURROUGHS                                     HARRISON       TN    8/29/20171FAHP3N23CL457095
FVSͲ113431937AMANDAJ         KOESTER                                      KILLEEN        TX    8/29/20173FADP4AJ1BM233404
FVSͲ113612362CLIFFORDR       FOLK                 SHERALYNFOLK           KINGSLAND      GA    8/29/20173FADP4AJ3GM118813
FVSͲ113631901 IVANJ          KELLEY                                       COLUMBUS       OH    8/29/20173FADP4AJ5BM160036
FVSͲ113672047SHARON           PICKENS                                      DALLAS         TX    8/29/20173FADP4AJ0DM185087
FVSͲ113674481JAXINEK         WADSWORTH                                     ROWLETT        TX    8/29/20173FADP4AJ0DM214328
FVSͲ113888155CHRISTINAF      MILES                                        WESTOVER       MD    8/29/20173FADP4AJ8EM165669
FVSͲ113935234WILLIAME        PRICEIII                                    HAGERSTOWN      MD    8/29/20173FADP4AJ5CM117835
FVSͲ113950780 MICHELLEL      MCLEAN                                       BRANDON        FL    8/29/20173FADP4AJXEM243319
FVSͲ114143730 DUSTYL         LOOMIS                                       EASTPOINTE      MI    8/29/20173FADP4BJ0CM198824
FVSͲ114258120ANNEB           HAFKESBRING           STEVENJ.HAFKESBRING   SAINTROSE     LA    8/29/20173FADP4BJ1CM156307
FVSͲ114263167JESSICAL        BRENTON              CAMERONBRENTON         LIBERTY        MO    8/29/20173FADP4BJ0DM214554
FVSͲ114266158 LEANNEC        JENKINS                                      EVERETT        WA    8/29/20173FADP4BJ0DM221228
FVSͲ114631271 LORIA          BRADLEY                                      EDISON         NJ    8/29/20173FADP4BJ2CM117158
FVSͲ114836370MILAGROSG       VAZQUEZ                                      STPETERSBURG   FL    8/29/20173FADP4BJ3EM189389
FVSͲ115142363 LOUISD         TIELLI                                       BURLESON       TX    8/29/20173FADP4BJ5FM104831
FVSͲ115401032CESAR            CARRASCO             SUSANACARRASCO         ELPASO        TX    8/29/20173FADP4BJ7DM220027
FVSͲ115468544 RANDIJ         NEWMAN               DAVIDNEWMAN            THIENSVILLE     WI    8/29/20173FADP4BJ8BM225542
FVSͲ115806547 MARIAR         LOPEZͲLUGO                                    SANJUAN       PR    8/29/20173FADP4BJXBM223002
FVSͲ115814248TRINA            FRIERSON                                     NASHVILLE      TN    8/29/20173FADP4BJ9DM191954
FVSͲ116187085 LORIR          KLETTER              THOMASRUFF             STATENISLAND   NY    8/29/20173FADP4CJ7EM113673
FVSͲ116242060MARYL           MORGAN                                       EDGEWATER       FL    8/29/20173FADP4EJ0EM139061
FVSͲ116657219 ERIKA           BITAR                                        AUSTIN         TX    8/29/20173FADP4EJ2EM203178
FVSͲ116710942JOSEPHC         OVERBY                                       RALEIGH        NC    8/29/20173FADP4EJ4DM178797
FVSͲ116712074 ELIOTA         RICCIARDELLI                                  MINNEAPOLIS     MN    8/29/20173FADP4EJ4DM185829
FVSͲ116803126BARBARA          CHIN                                         KILLEEN        TX    8/29/20173FADP4EJ4CM176398
FVSͲ117227641 NICKIR         BILLMAN                                      WEATHERFORD     TX    8/29/20173FADP4EJ9EM163133
FVSͲ117264776 ERNESTL        HUDSON                                       NICHOLASVILLE   KY    8/29/20173FADP4EJ9GM206565
FVSͲ117343030COURTNEYJ       DEKEYSER                                     NEWFRANKEN     WI    8/29/20173FADP4EJ9DM116988
FVSͲ117620386JERRYD          PRICE                                        TUCSON         AZ    8/29/20173FADP4FJ3EM151607
FVSͲ117666491 LISA            TIDWELL                                      RICHMOND       TX    8/29/20173FADP4FJ5BM121777
FVSͲ117789496DAVIDW          FOULKROD             NANCYFOULKROD          TUCSON         AZ    8/29/20173FADP4FJ6BM127605
FVSͲ117826758DEBORAHA        SCHOLLARD                                    BUFFALO        NY    8/29/20173FADP4FJ5EM182728
FVSͲ117844837 ROBYNEE        KELLY                                        FORTWORTH      TX    8/29/2017 3FADP4FJ8EM100541
FVSͲ118190997 DONNAJ         MCNARY                                       BAKERSFIELD     CA    8/29/20171FADP3F20EL118679
FVSͲ118209434JACE             CLARK                ASHLEYPAGE             OAKHILLS      CA    8/29/20171FADP3F21DL341957
FVSͲ118218743 BULMAROR       LEDESMA              LIZETHGAXIOLAGOMEZ    VANNUYS       CA    8/29/20171FADP3E2XEL247594
FVSͲ118223070 DESTINIA       WILSONͲJOHNSON                                SREDDING       CA    8/29/20171FADP3F21EL391825
FVSͲ118259016JANICEM         PERKINS                                      SANTACLARA     CA    8/29/20171FADP3F22DL382517
FVSͲ118262254SIRRAH           LANKFORD                                     FALLBROOK      CA    8/29/20171FADP3E27EL271237
FVSͲ118277570 DANELLEM       DEINEMA                                      RIVERSIDE      CA    8/29/20171FADP3F23EL363427
FVSͲ118320866 PAUL            SHINN                                        PINOLE         CA    8/29/20171FADP3F24FL358383
FVSͲ118426150 BELEN           LOPEZMENDEZ                                  SACRAMENTO      CA    8/29/20171FADP3F24DL315143
FVSͲ118431013 PHILIPR        HOPE                                         SANTAMONICA    CA    8/29/20171FADP3F28EL276705
FVSͲ118452525CINDY            GLENNA                                       LAKEFOREST     CA    8/29/20171FADP3F28EL453382
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                                              
FVSͲ118467603STEPHENC        CARPENTER                                   PLEASANTHILL   CA   8/29/20171FADP3F25EL199324
FVSͲ118469320STEVENL         SWINFORD                                    ORINDA          CA    8/29/20171FADP3F25EL238039
FVSͲ118471350AURORA           HARO                                        INGLEWOOD        CA    8/29/20171FADP3F29EL413893
FVSͲ118487833LISA             BOOK                                        CLOVIS          CA    8/29/20171FADP3F28DL214431
FVSͲ118518151JOY              IVERSON                                     BENICIA         CA    8/29/20171FADP3F28DL117150
FVSͲ118527657MICHELLE         DUKE                                        TULARE          CA    8/29/20171FADP3F29DL335601
FVSͲ118550080JOSEL           VASQUEZ                                     SANDIEGO       CA    8/29/20171FADP3F27FL369393
FVSͲ118559451CARLA            CORRAL                                      LONGBEACH       CA    8/29/20171FADP3F29DL222067
FVSͲ118584618ANGIEL          FORD               JEREMYGFORD            IONE            CA    8/29/20171FADP3J2XEL294744
FVSͲ118602233RAMON            GARAY                                       PARAMOUNT        CA    8/29/20171FADP3F2XDL374214
FVSͲ118621661SHANNONL        BEESON                                      RCHOSTAMARG    CA    8/29/20171FADP3K22DL235202
FVSͲ118642880MARIA            FRAUSTO            FRANCISCOFRAUSTO        LYNWOOD         CA    8/29/20171FADP3J25EL311725
FVSͲ118644963JOEZ            DUENAS             MICHELLEDUENAS          LAGUNANIGUEL    CA    8/29/20171FADP3J26EL169448
FVSͲ118647601BRITTANY         PYTKO              MARKPYTKO               LONGBEACH       CA    8/29/20171FADP3J27EL230161
FVSͲ118667424ERICS           GALLOWAY                                    OAKLAND         CA    8/29/20171FADP3F2XDL165135
FVSͲ118738470AMY              WIXTED                                      APPLEVALLEY     CA    8/29/20171FADP3K24DL292050
FVSͲ118817728JOSEA           SANTIAGOLAO                                  KERMAN          CA    8/29/20171FADP3K27DL238094
FVSͲ118827995KARAF           FRANKLIN           MORGANFRANKLIN          SANTACLARITA    CA    8/29/20171FADP3K23FL220985
FVSͲ118876589BRIANNA          BARNES                                      SANJOSE        CA    8/29/20171FADP3K26FL294594
FVSͲ118893122SANDRAI         FERNANDEZ                                   SANJACINTO      CA    8/29/20171FADP3K28EL284681
FVSͲ118903250JAMESM          MYERS              RUTHMYERS               ELCAJON        CA    8/29/20171FADP3K2XDL184483
FVSͲ118930290NHANN           HO                                          HARBORCITY      CA    8/29/20171FADP3N21DL190135
FVSͲ118956345GREGORY          MAYER                                       NORTHRIDGE       CA    8/29/20171FADP3N22EL453329
FVSͲ118962060DENNISE         CHAMBERS                                    CHULAVISTA      CA    8/29/20171FADP3K28DL132611
FVSͲ119051176CAROLYNF        DORSCH             DAVIDDORSCH             FAIRFAX         CA    8/29/20171FADP3N27DL182122
FVSͲ119089475CHRISTOPHERJ    FRELLY                                      LINCOLN         CA    8/29/20171FADP3N26DL190650
FVSͲ119094711ROCIO            VIRRUETA                                    AZUSA           CA    8/29/20171FAHP3F21CL362517
FVSͲ119095688STACIL          HOLMESGRAY                                  INGLEWOOD        CA    8/29/20171FAHP3F21CKL394271
FVSͲ119126044CAROLEJ         SPRINGER                                    CITRUSHTS      CA    8/29/20171FADP3N24GL213069
FVSͲ119130076FRANCINE         GUILLEN                                     SYLMAR          CA    8/29/20171FADP3N25EL363320
FVSͲ119143666CATHERINE        MURIITHI                                    ANAHEIM         CA    8/29/20171FAHP3F25CL236502
FVSͲ119183277CAROLYNS        CALLAHAN                                    MODESTO         CA    8/29/20171FAHP3F29CL471047
FVSͲ119215578KRISTAL         URY                                         MISSIONVIEJO    CA    8/29/20171FAHP3F28CL415780
FVSͲ119328666DONNAL          DEARBORN                                    THOUSANDOAKS    CA    8/29/20171FAHP3F26CL416099
FVSͲ119360365BRITTANYR       MARTIN                                      SANJOSE        CA    8/29/20171FAHP3K20CL468463
FVSͲ119386771SHERRYL         MARTIN             ALANMARTIN              NEWBURYPARK     CA    8/29/20171FAHP3M20CL463566
FVSͲ119404893RACHEL           SAXTON                                      OCEANSIDE       CA    8/29/20171FAHP3K25CL337206
FVSͲ119422522LEE              HAYDEN             ROSANNA                  SANTAROSA       CA    8/29/20171FAHP3J28CL195418
FVSͲ119430975VICKIL          MILLER                                      CLOVIS          CA    8/29/20171FAHP3M28CL371802
FVSͲ119523205SHIRLEYM        BISEL                                       SACRAMENTO       CA    8/29/20173FADP4AJ5BM162594
FVSͲ119647389MERRITT          TUTTHILL                                    MURPHYS         CA    8/29/20173FADP4BJ1DM108033
FVSͲ119672251DUANEL          O'DONNELL          LADYMARGARETODONNELL   OROVILLE        CA    8/29/20173FADP4BJ3EM191062
FVSͲ119678853VICKIM          VANN                                        APPLEVALLEY     CA    8/29/20173FADP4BJ1BM189743
FVSͲ119737833VERONICA         GRILLO             PAOLAGRILLO             GRANADAHILLS    CA    8/29/20173FADP4AJ6CM140671
FVSͲ119750015THOMASR         DICKINSON                                   SANDIEGO       CA    8/29/20173FADP4BJ0DM186111
FVSͲ119756854DORINE           THOMAS                                      ONTARIO         CA    8/29/20173FADP4BJ8BM204917
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FVSͲ119829940ERICK             HERNANDEZ         JOSEMHERNANDEZ       VICTORVILLE       CA   8/29/20173FADP4BJXEM107769
FVSͲ119835517MARK              INDIVERI                                  SANJOSE          CA    8/29/20173FADP4BJ2DM141283
FVSͲ119910217STEVEM           SELLE                                     ARROYOGRANDE      CA    8/29/20173FADP4CJ3BM145483
FVSͲ119923289HELENI           MILLER                                    ELKGROVE         CA    8/29/20173FADP4BJ6DM214963
FVSͲ119987350AMANDAC          LEAR                                      HEMET             CA    8/29/20173FADP4EJ0EM235563
FVSͲ120005700EDUARDO           CASAS                                     NORWALK           CA    8/29/20173FADP4EJ3CM180734
FVSͲ120046180MERRITT           CLARK                                     WINTERS           CA    8/29/20173FADP4EJXEM123370
FVSͲ120085283AARONK           DUERKSEN                                  SANCLEMENTE       CA    8/29/20173FADP4EJXDM129975
FVSͲ120204029JOCELYN           DIAZ                                      LOSANGELES        CA    8/29/20173FADP4FJ3BM102726
FVSͲ120213338DAVIDJ           MIRBACK           ESTRELLITAM.MIRBACK   LOMPOC            CA    8/29/20173FADP4FJ1BM154503
FVSͲ120260980JASMINEI         PIRL                                      WESTMIFFLIN       PA    8/29/20171FADP3F20DL253711
FVSͲ120298767MARTHAE          ELDRIDGE          ROBERTELDRIDGE         JIMTHORPE        PA    8/29/20171FADP3E21EL202446
FVSͲ120334860EILEENC          WAGENER                                   LANCASTER         PA    8/29/20171FADP3F22GL279375
FVSͲ120525364TODDL            ALBERTSON                                 SHICKSHINNY        PA    8/29/20171FADP3F27EL202319
FVSͲ120696061JENNIFERN        SHUMAN                                    CHAMBERSBURG       PA    8/29/20171FADP3K28EL334639
FVSͲ120700964SANJAYG          BHATIA                                    MCDONALD          PA    8/29/20171FAHP3F21CL434591
FVSͲ120797127KIMBERLYA        STEELE                                    PITTSBURGH         PA    8/29/20171FAHP3F25CL191206
FVSͲ120979322SARAE            HEFFERNAN                                 LEVITTOWN         PA    8/29/20171FAHP3F27CL160281
FVSͲ121038688MICHAELR         CORBETT                                   MONROEVILLE        PA    8/29/20171FAHP3K28CL309979
FVSͲ121040224STEVENR          ILLIG                                     PITTSBURGH         PA    8/29/20171FAHP3K28CL442242
FVSͲ121073807JENNIFERR        HOOK                                      PATTON            PA    8/29/20171FAHP3J24CL152615
FVSͲ121170985JEFFREYJ         SMITH                                     LEVITTOWN         PA    8/29/20173FADP4BJ0EM215740
FVSͲ121272729MELISSAF         FRANKLIN                                  PITTSBURG         PA    8/29/20173FADP4EJ2BM176141
FVSͲ121289117SUSANL           MOSKAL            JOHNMOSKAL             BROWNSVILLE        PA    8/29/20173FADP4TJ8EM189855
FVSͲ800000340JAMES             HENEHAN           TOBYHENEHAN            JACKSONVILLE       FL    8/29/20171FADP3F25DL121608
FVSͲ800000510HALEYRAE         CARLSTON                                  DANVILLE          CA    8/29/20173FADP4BJ4DM195393
FVSͲ800000978DOROTHEA          CRITES                                    BRONX             NY    8/29/20173FADP4AJODM173764
FVSͲ800001079KRISTY            BARMORE                                   HATCHCOCK          TX    8/29/20171FADP3K28EL130374
FVSͲ800001087BILL              GRANT                                     AMARILLO          TX    8/29/20171FADP3F22DL297094
FVSͲ800001117DANNY             CAVANAUGH                                  SULPHURSPRINGS    TX    8/29/20171FADP3F27EL109347
FVSͲ800001150ROGER             MOORE                                     HIGHLANDVILLAGE   TX    8/29/20171FADP3N27EL383990
FVSͲ800001192JEANNE            MCKINZIE                                  WICHITA           KS    8/29/20171FAHP3F22CL470239
FVSͲ800001230JACOB             BULLON                                    FORTWORTH         TX    8/29/20171FADP3F24DL351981
FVSͲ800001273YESENIACRISTAL   VARGASͲORAN                                MORENOVALLEY      CA    8/29/20173FADP4EJ4BM223833
FVSͲ800001494KELLY             DUNN              PATRICE                 LAMIRADA         CA    8/29/20171FADP3F24DL221960
FVSͲ800001567KATHY             LYNN              MCKENZIESPARKS         DUQUOIN           IL    8/29/20173FADP4BJDM194352
FVSͲ800001575RACHELA          HOMER                                     CHESTERFIELD       MO    8/29/20173FADP4BJ9BM162046
FVSͲ800001591ANDREA            OSOJNIK                                   LOSANGELES        CA    8/29/20173FADP4EJXDM141172
FVSͲ800001915KYLE              LARIMER                                   BENTONVILLE        AR    8/29/20171FAHP3F25CL256975
FVSͲ100068723MARY              MITCHELL                                  CINCINNATI        OH    8/30/20171FADP3F2XEL206185
FVSͲ100079636MICKEYG          LOUDERMILK                                 TURTLETOWN         TN    8/30/20171FADP3F2XEL203531
FVSͲ100089577STEPHENP         MCCONNELL                                  DAYTON            OH    8/30/20171FADP3F21EL418750
FVSͲ100111653BRENDAL          MORGAN                                    FAIRFIELD         OH    8/30/20171FADP3F22DL371128
FVSͲ100149456GEORGE            DRABIK                                    BRUNSWICK         OH    8/30/20171FADP3J23GL201999
FVSͲ100161391MICHELLEL        CADE                                      TWINSBURG          OH    8/30/20171FADP3F22EL354234
FVSͲ100183417MARIANNE          QUINTRELL                                 TALLMADGE          OH    8/30/20171FADP3E20DL312449
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FVSͲ100194761 MARYK         BRAMLETTE                                     PIQUA          OH   8/30/20171FADP3E2XEL340129
FVSͲ100197124ASHLEYD        DAVIS                                         BENTONHARBOR   MI    8/30/20171FADP3E2XEL398273
FVSͲ100216226 DONELLEL      CUMMINS                                       LONDON         OH    8/30/20171FADP3F27DL361369
FVSͲ100220444JUDYS          LEGEZA                                        ELYRIA         OH    8/30/20171FADP3F27DL105605
FVSͲ100245773JOANN           MCLAURY                                       JACKSON        MI    8/30/20171FADP3F25FL244585
FVSͲ100248810TODDM          LOVE                    JANETLOVE            BLACKLICK      OH    8/30/20171FADP3F24EL218073
FVSͲ100286852JOHNT          MAREK                                         INDEPENDENCE    OH    8/30/20171FADP3F21EL428565
FVSͲ100297030DONNA           CAMPBELL                                      DAYTON         OH    8/30/20171FADP3F21EL129108
FVSͲ100297773 LAURENM       HOFMANN                                       BROOKPARK       OH    8/30/20171FADP3F21EL129772
FVSͲ100323570 KAYLAC        WILLIS                  SHARONSMITH          IRONTON        OH    8/30/20171FADP3F27FL367532
FVSͲ100355560KENNETHW       ASLAKSON                                      CLAY           MI    8/30/20171FADP3F29EL439586
FVSͲ100411185JOHNC          RIEDL                                         ANNARBOR      MI    8/30/20171FADP3F20EL419324
FVSͲ100466931EMMAL          MAY                                           BEDFORD        OH    8/30/20171FADP3F27EL329846
FVSͲ100484000SALVADORI      MAGANA                                        FREMONT        OH    8/30/20171FADP3F21DL143301
FVSͲ100490174 ELIZABETHM    YOUNG                   JAMESYOUNG           GRANDRAPIDS    MI    8/30/20171FADP3F25EL129919
FVSͲ100501478 MICHAELJ      TINSKEY                                       HOWELL         MI    8/30/20171FADP3F25DL243370
FVSͲ100505600 RANDYL        WOODSON                                       SCOTTSVILLE     VA    8/30/20171FADP3E23GL328231
FVSͲ100528350MARVIND        TAYLOR                                        CHESAPEAKE      VA    8/30/20171FADP3F29EL292301
FVSͲ100597483 TERRID        MALONE                                        DETROIT        MI    8/30/20171FADP3F28EL305300
FVSͲ100608094SATOYA          HOUSTON                 LATOYAHOUSTON        CLEVELAND      OH    8/30/20171FADP3F28EL404960
FVSͲ100626378CHRISTOPHERT   LUMAN                   TIFFINIMALEYͲLUMAN   CLEVELAND      OH    8/30/20171FADP3F2XEL128460
FVSͲ100682464RUTHA          GUTHRIE                                       SALEM          OH    8/30/20171FADP3F23EL230974
FVSͲ100707971 KIMBERLYE     SORRELL                                       SOUTHFIELD      MI    8/30/20171FADP3F20EL107472
FVSͲ100725147 STEVEJ        BARTO                                         HUBBARD        OH    8/30/20171FADP3F24EL459180
FVSͲ100739113 LORRAINE       SAFRANEK                                      AURORA         OH    8/30/20171FADP3F26FL346588
FVSͲ100747140CAHRISTAM      GILLILAN                DENNISGILLIAN        CANTON         OH    8/30/20171FADP3F21EL152324
FVSͲ100779565SANDRAD        MCCAW                   LARRYALLEN           SCHARLESTON    OH    8/30/20171FADP3F26DL242678
FVSͲ100798500CHESTERG       TIPPIN                                        SWANTON        OH    8/30/20171FADP3F29EL371662
FVSͲ100821030ASHLEYN        WILLIAMS                                      RICHMOND       VA    8/30/20171FADP3F26EL260793
FVSͲ100830021 KENNETHR      EADS                    PAULAEADS            NEWBOSTON      MI    8/30/20171FADP3F20EL450783
FVSͲ100844030KATHRYNE       MITCHELL                JANICEMITCHELL       MAYSVILLE      KY    8/30/20171FADP3F25EL148325
FVSͲ100850987ALAN            FEATHERSTONEHAUGH                              PORTLAND       OR     8/30/20171FADP3J20EL342378
FVSͲ100859623 LINDAK        SPANGLER                                      MADISON        OH    8/30/20171FADP3F23DL289263
FVSͲ100864520 LENIP         WASHINGTON                                     OBERLIN        OH    8/30/20171FADP3F23DL297427
FVSͲ100934870 DAVIDE        FRISK                                         DEARBORN       MI    8/30/20171FADP3F26EL116838
FVSͲ100967914JACOBC         EVANS                                         HUDSON         OH    8/30/20171FADP3F28DL218639
FVSͲ100969992 CAITLINE      HERNANDEZ                                      SANANTONIO     TX    8/30/20171FADP3F2XEL248727
FVSͲ100979556SHERRY          JONES                                         HAMILTON       OH    8/30/20171FADP3F21EL167213
FVSͲ101038496JOHNATHON       PURTEE                                        LEWISTOWN       OH    8/30/20171FADP3F25FL268465
FVSͲ101049455JOHND          HAFER                                         VERMILION      OH    8/30/20171FADP3F25EL320403
FVSͲ101085257 DARLENEA      HAMMOND                                       DAYTON         OH    8/30/20171FADP3F28EL129087
FVSͲ101141351 DONALDD       HAHN                    BARBARAA             WLAFAYETTE     OH    8/30/20171FADP3F21DL188139
FVSͲ101145047 MICHAEL        TEDESCO                                       HAMILTON       OH    8/30/20171FADP3F29EL228551
FVSͲ101149310 EUGENEM       RUSCELLO                                      YOUNGSTOWN      OH    8/30/20171FADP3F29EL234916
FVSͲ101150300JOSEPH          JENKINS                                       FLINT          MI    8/30/20171FADP3F29EL236021
FVSͲ101164343JASONE         TURACHAK                                      STCLAIRSVLE    OH    8/30/20171FADP3F24DL130557
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FVSͲ101187122 DAVIDH          BANKS                                    TRENTON        OH    8/30/20171FADP3F20DL114436
FVSͲ101215592 LUCAST          PRESTON                                  GRANDRAPIDS    MI     8/30/20171FADP3F25EL155212
FVSͲ101228309 DANAG           BEYAZIAN                                 DUBLIN         OH     8/30/20171FADP3F21FL217755
FVSͲ101255926 CYNTHIAJ        PHELPS              GEORGEPHELPS        HOWELL         MI     8/30/20171FADP3F2XDL194991
FVSͲ101273754ANGELOT          SCRIBELLITOJR                             TOLEDO         OH     8/30/20171FADP3F23EL246110
FVSͲ101273770 DEANNAL         MASON                                    GRANDRAPIDS    MI     8/30/20171FADP3F23EL246138
FVSͲ101277180ROBERTW          FREEMANJR                                COLUMBUS       OH     8/30/20171FADP3F23EL253087
FVSͲ101294190 ROBERTA          PEACH               WELLSEPEACH        PORTSMOUTH      OH     8/30/20171FADP3F27DL383727
FVSͲ101308973 KEIYANA          BERISHA             SIMONBERISHA        STERLINGHTS    MI     8/30/20171FADP3F28EL310724
FVSͲ101311320BERTHAM          HAWLEY                                   POMEROY        OH     8/30/20171FADP3F28EL316488
FVSͲ101321040ASHLYNNC         IGEL                                     CINCINNATI     OH     8/30/20171FADP3F27EL223056
FVSͲ101325010VINCENTK         STCLAIR                                  AVON           OH     8/30/20171FADP3F2XEL380001
FVSͲ101329865JONATHONJ        WISE                MALCOLMWISE         KENT           OH     8/30/20171FADP3F28EL418468
FVSͲ101337841 PAUL             HARSHBARGER                               HILLIARD       OH     8/30/20171FADP3F20EL142710
FVSͲ101375522 GLADYSJ         TAYLOR                                   CLEVELAND      OH     8/30/20171FADP3F24FL229043
FVSͲ101392958THOMASN          JAYROE                                   WHITELAKE     MI     8/30/20171FADP3F20DL123170
FVSͲ101418817 DEVINE          WHITFIELD                                ELYRIA         OH     8/30/20171FADP3E27GL233400
FVSͲ101420820BARBARAK         JARMAN                                   WESTUNION      OH     8/30/20171FADP3E27GL257647
FVSͲ101434006 ELIZABETHB      FREITAS                                  CHESTERFIELD    MI     8/30/20171FADP3F21EL182679
FVSͲ101546505 MICHAELA        GOODREAU                                 WESTBRANCH     MI     8/30/20171FADP3F23EL258970
FVSͲ101554141THOMASJ          HUGHEY                                   CARLETON       MI     8/30/20171FADP3F20EL155134
FVSͲ101582820 ESTHERE         EVANS                                    WARREN         MI     8/30/20171FADP3F21DL204064
FVSͲ101594089JOHN              HERRMANN                                 NORTHCANTON    OH     8/30/20171FADP3F20DL137005
FVSͲ101638698 DANIELB         BOES                                     HUDSON         OH     8/30/20171FADP3E21DL162433
FVSͲ101655118 KIARAC          MCCARROLL                                 MAPLEHEIGHTS   OH     8/30/20171FADP3F29DL314294
FVSͲ101666799 LEANNA           CLEMONS                                  CLEVELAND      OH     8/30/20171FADP3F26FL383091
FVSͲ101687052 MICHAELD        MCMAHONSR            DELIAMCMAHON        BROOKPARK       OH     8/30/20171FADP3F22DL188425
FVSͲ101687540LEANDRA           EDWARDS             DENISEEDWARDS       NOVI           MI     8/30/20171FADP3F22DL188988
FVSͲ101710275 RANDALL          SCOTT                                    FOWLER         OH     8/30/20171FADP3F21FL253929
FVSͲ101765460WILLIAMV         KELLER              ELIZABETHEKELLER   DAYTON         OH     8/30/20171FADP3F28EL136878
FVSͲ101807090 CHRISTINA        VILLARREAL                               TOLEDO         OH      8/30/20171FADP3J21EL206826
FVSͲ101821298 KARENA          WING                                     MCARTHUR       OH     8/30/20171FADP3F2XDL289213
FVSͲ101834101 CHERYLA         DOUGLAS                                  DAYTON         OH     8/30/20171FADP3E24GL202282
FVSͲ101839979 JOSEPHA         STEFANEK                                 CLEVELAND      OH     8/30/20171FADP3F25FL305210
FVSͲ101850484 ROBERT           TILLISON                                 SHELBYVILLE      IN    8/30/20171FADP3F2XDL156905
FVSͲ101867301 SAUNDRAL        HOWARD                                   COLUMBUS       OH     8/30/20171FADP3F22EL160755
FVSͲ101867611 PEGGYA          GEROU                                    PLYMOUTH       MI     8/30/20171FADP3F22EL161176
FVSͲ101871716 JENNIFERM       HAHN                                     NEWBALTIMORE   MI     8/30/20171FADP3F22EL168032
FVSͲ101888163 PATRICKJ        COMBEN                                   HOLLY          MI     8/30/20171FADP3F2XDL372169
FVSͲ101971257 KENNETHM        WITT                                     KEARNY         NJ     8/30/20171FADP3F2XFL279302
FVSͲ101996101 VIRGINIAD       MILLER                                   BELLEFONTAINE   OH     8/30/20171FADP3F20DL150613
FVSͲ102009171 SHIRLEYL        HAYES                                    ARCHBOLD       OH     8/30/20171FADP3E21DL350871
FVSͲ102033595 CHERYL           LAMBERT                                  SIDNEY         OH     8/30/20171FADP3F23DL105004
FVSͲ102034524 ERICD           TOWNSON                                  ATLANTA        GA     8/30/20171FADP3F23DL106296
FVSͲ102037957 LAURENE         BURKHART                                 CINCINNATI     OH     8/30/20171FADP3F23DL114219
FVSͲ102072221 VINCENTE        BEASLEY                                  CLEVELAND      OH     8/30/20171FADP3J29GL305154
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FVSͲ102095809 CHRISTINA      GROZIK                                       VERMILION        OH   8/30/20171FADP3F24DL168595
FVSͲ102106142 MARILYNA      DIAR                                         LORAIN           OH    8/30/20171FADP3F27EL370607
FVSͲ102191824 JULIEF        PIKE               NICOLEGORDON             AKRON            OH    8/30/20171FADP3F25EL370296
FVSͲ102222770 ROBYNR        MULLINS                                      AKRON            OH    8/30/20171FADP3E28DL380109
FVSͲ102230358 DEBRAG        DECOST                                       SHEFFIELDLK      OH    8/30/20171FADP3F24EL286454
FVSͲ102258562 GLORIA         VALLINGER                                    POLAND           OH    8/30/20171FADP3F26EL148236
FVSͲ102273804WILLIAM         LITVAK                                       CLEVELAND        OH    8/30/20171FADP3F28DL332396
FVSͲ102282048MARGARETV      COATES             DENNISCOATES             RIVERROUGE       MI    8/30/20171FADP3F29EL245897
FVSͲ102312338 LINDA          FARINA                                       YOUNGSTOWN        OH    8/30/20171FADP3F26EL459181
FVSͲ102329664MARYA          ERVINE                                       COLUMBUS         OH    8/30/20171FADP3F24EL439429
FVSͲ102332878 MARIAP        FAHRNER                                      OLMSTEDFALLS     OH     8/30/20171FADP3J23EL299087
FVSͲ102355231JOHNA          LINNERSON                                    TRAVERSECITY     MI    8/30/20171FADP3F21EL229127
FVSͲ102367876JOHNA          MOSIER                                       WAPAKONETA        OH    8/30/20171FADP3F28FL286815
FVSͲ102380651ALICEM         COOPER                                       STONECREEK       OH    8/30/20171FADP3E21EL393544
FVSͲ102387273 MONICAA       RAPITIS                                      AVON             OH    8/30/20171FADP3F27EL122325
FVSͲ102390053 MONTRELT      MOSS                                         FINDLAY          OH    8/30/20171FADP3F24DL175773
FVSͲ102429545 STEPHENB      GAIETTO                                      TIFFIN           OH    8/30/20171FADP3F25DL115145
FVSͲ102453250SALLYA         HULL                                         WATERFORD         MI    8/30/20171FADP3F28EL143331
FVSͲ102476535 VINCENTJ      DINELLA                                      EAGAN            MN    8/30/20171FADP3F20DL184325
FVSͲ102496820 CYNTHIAJ      DURHAM                                       WESTMILTON       OH    8/30/20171FADP3F29EL310537
FVSͲ102519978 PAULA         RENO                                         WESTDESMOINES   IA     8/30/20171FADP3J22FL323851
FVSͲ102575428MARYT          KIRBY                                        TOLEDO           OH    8/30/20171FADP3F25EL389561
FVSͲ102578370ASHLEYB        MCVAY              JUSTINMCVAY              SALEM            OH    8/30/20171FADP3F2XFL333729
FVSͲ102594619 MARIONH       HAIRFIELDJR         LINDAJENKINSHAIRFIELD   CHESTER          VA    8/30/20171FADP3F20EL204557
FVSͲ102596280 JALILJ        FOTY                                         NOVI             MI    8/30/20171FADP3F25EL390130
FVSͲ102606773CAROLYND       HOLCOMB                                      ANNARBOR        MI    8/30/20171FADP3F20EL207183
FVSͲ102623015ANTHONYR       DONATELLI                                    HARTVILLE        OH    8/30/20171FADP3F2XEL263132
FVSͲ102629951 SHIRLEYA      RICHARDS                                     NEWALBANY        OH    8/30/20171FADP3F22EL193156
FVSͲ102646457ASHLEY          GRIFFITH                                     BEAVER           OH    8/30/20171FADP3F25DL302403
FVSͲ102670242CANDACED       HEFNER                                       WILININGTON       OH    8/30/20171FADP3F26EL160760
FVSͲ102712395 CRAIG          WILLIAMSON                                    BLUEASH         OH    8/30/20171FADP3F24DL188619
FVSͲ102726973 DANNYR        BUBP                                         SARDINIA         OH    8/30/20171FADP3J24DL209119
FVSͲ102727309 RYANT         MORRIS                                       BEAVERCREEK       OH    8/30/20171FADP3J24DL219343
FVSͲ102745099 DONALDJ       BENEDICT                                     CLEVELAND        OH    8/30/20171FADP3E21GL203129
FVSͲ102843422 QUITAL        ALLEN                                        CLEVELAND        OH    8/30/20171FADP3F23DL151710
FVSͲ102865566 MICHAELX      EHRET                                        CANTON           OH    8/30/20171FADP3F26DL143312
FVSͲ102882673 ROBINP        BETHKE                                       JENISON          MI    8/30/20171FADP3F28EL450854
FVSͲ102955832 DENNISD       BROWN                                        BELMONT          OH    8/30/20171FADP3F29EL404966
FVSͲ102971420HAROLDG        VARNEY                                       MILFORD          OH    8/30/20171FADP3E25EL174179
FVSͲ102985618 PATRICIAL     MORGAN                                       DETROIT          MI    8/30/20171FADP3F2XEL429200
FVSͲ103065229SHONNAL        CANTERBURY                                    OBERLIN          OH    8/30/20171FADP3F23FL356348
FVSͲ103098577JAMESE         NEWMAN                                       BROADVIEWHTS     OH    8/30/20171FADP3F23DL162545
FVSͲ103129570JEFFREYW       PERRY                                        YPSILANTI        MI    8/30/20171FADP3F22EL223353
FVSͲ103154353 ROBERTL       BACHMANJR                                     KENT             OH    8/30/20171FADP3F2XDL168763
FVSͲ103161937 LINDON         KELLEY                                       CINCINNATI       OH    8/30/20171FADP3E25EL293074
FVSͲ103176780SHANER         HANERSR.          ELIZABETHA.HANNER       COLUMBUS         OH    8/30/20171FADP3F24EL116563
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FVSͲ103201106JOSEPH          HARRIS             DEBORAHM.HARRIS       CLEVELAND             OH   8/30/20171FADP3F27DL182216
FVSͲ103217452 BARBARAA      LEAL                                        HURON                 OH    8/30/20171FADP3F29EL128739
FVSͲ103217525 RODNEYD       HALL               ALTHEAHALL              BETHEL                OH    8/30/20171FADP3F29EL128840
FVSͲ103221271 PANTELIS       PANAGIOTIDIS                                 CINCINNATI            OH    8/30/20171FADP3F20DL219056
FVSͲ103225331 GEORGEJ       DRABIK                                      BRUNSWICK             OH    8/30/20171FADP3F20DL225732
FVSͲ103241965 DAVIDC        KLUTER                                      NRIDGEVILLE           OH    8/30/20171FADP3F26FL229433
FVSͲ103269991 DANIELN       BERGHOFF                                    SANDUSKY              OH    8/30/20171FADP3K20DL219547
FVSͲ103294120 NICOLE         KNEPPER                                     WARREN                OH    8/30/20171FADP3E22DL156642
FVSͲ103294724WENDY           SCHON                                       YOUNGSTOWN             OH    8/30/20171FADP3E22DL161937
FVSͲ103313249 JUANITAL      FULLER                                      CLEVELAND             OH    8/30/20171FADP3F25EL411266
FVSͲ103352635GRANTT         NICHOLLS           SUSANPFAHLERͲNICHOLLS   BRYAN                 OH    8/30/20171FADP3F23EL107904
FVSͲ103373705 WILLIAMA      TOSH               LOUANNTOSH              TAYLOR                MI    8/30/20171FADP3F27EL137262
FVSͲ103392483 ROBERTA       CLIMER                                      MESA                  AZ    8/30/20171FADP3E28GL405871
FVSͲ103395555 CHRIS          WICKERT                                     GENEVA                OH    8/30/20171FADP3F2XEL228378
FVSͲ103408215 LAWRENCEE     WRIGHTJR                                    BASTROP               TX    8/30/20171FADP3F22DL266301
FVSͲ103469150AMYS           BARNETT                                     PIGEONFORGE           TN    8/30/20171FADP3F28EL357087
FVSͲ103484450JOANALK        KNAPP                                       APPLEVALLEY           MN    8/30/20171FADP3E22DL352595
FVSͲ103488359TANAM          MATZBROWN                                   CINCINNATI            OH    8/30/20171FADP3F24EL136781
FVSͲ103516832TERRYR         POWELL                                      GRAFTON               OH    8/30/20171FADP3F29GL305308
FVSͲ103522255 DAVID          MATHIAS                                     LANCASTER             OH    8/30/20171FADP3F28DL343432
FVSͲ103597476GALAP          GATES                                       WARRENSVILLEHEIGHTS   OH    8/30/20171FADP3F21GL220334
FVSͲ103606602 ELAINE         KUCIA                                       CLEVELAND             OH    8/30/20171FADP3F24DL218010
FVSͲ103611355 DOROTHY        KIRKSEY                                     HOTSPRINGS            AR    8/30/20171FADP3F24DL225135
FVSͲ103622802 NORAJ         SPANGLER                                    GRANDRAPIDS           MI    8/30/20171FADP3F22EL236104
FVSͲ103652388JANETE         MACKIN                                      STCLRSHORES          MI    8/30/20171FADP3F23EL116733
FVSͲ103664491 MARYL         SZYMANSKI                                   CLEVELAND             OH    8/30/20171FADP3F23GL201994
FVSͲ103665595 GIOVANNI       SORINO                                      BRUNSWICK             OH    8/30/20171FADP3F23GL207892
FVSͲ103702903TERESAL        BUSSELL                                     RIVERSIDE             OH    8/30/20171FADP3F25EL428861
FVSͲ103723153 WILLIEL       GATES                                       CLEVELAND             OH    8/30/20171FADP3F24FL340434
FVSͲ103726837 MARSHA         PAYNE              ROGERPAYNE              SPRINGFIELD            OH    8/30/20171FADP3F21EL292972
FVSͲ103731814JUANR          DULAYJR                                     CLARKSTON             MI    8/30/20171FADP3F21EL305302
FVSͲ103761322 RONALDB       FARRINGTONJR        TAMIFARRINGTON          TOLEDO                OH    8/30/20171FADP3F27EL406960
FVSͲ103774998 DARLENE        RAWLS                                       OAKWOODVILLAGE        OH    8/30/20171FADP3E29DL361181
FVSͲ103780173 MELISAR       CRABTREE                                    TROY                  OH    8/30/20171FADP3F25DL162739
FVSͲ103785990 PAUL           MEADOWS                                     AMELIA                OH    8/30/20171FADP3F22FL286762
FVSͲ103796029JAMES           STEFFEY                                     HARRISON              OH    8/30/20171FADP3F25EL235450
FVSͲ103802339 MICHAELW      BLATT                                       OLDBRIDGE            NJ    8/30/20171FADP3F21DL311342
FVSͲ103816518SUSANL         VILLILO            NICHOLASVILLILO         GAHANNA               OH    8/30/20171FADP3F20DL255703
FVSͲ103838554ALMA            MILAZZO                                     CINCINNATI            OH    8/30/20171FADP3E22EL235472
FVSͲ103840583JOYCEM         PERCHINSKY                                   LORAIN                OH    8/30/20171FADP3E22EL280525
FVSͲ103847790JOANN           DEMCHAK                                     NRIDGEVILLE           OH    8/30/20171FADP3F20EL275449
FVSͲ103856625 EDWIN          WINTER                                      COLUMBUS              OH    8/30/20171FADP3F2XEL310627
FVSͲ103877100 MICHAELP      BEETLER                                     OBERLIN               OH    8/30/20171FADP3F22EL245224
FVSͲ103883681 ELLEN          VENTIMIGLIA                                  SAINTCLAIR           MI    8/30/20171FADP3F27EL155101
FVSͲ103911650 RICKIL        WELCH                                       HEATH                 OH    8/30/20171FADP3F28FL333809
FVSͲ103918930ANTHONY         GAMMIERE           DARLENEGAMMIERE         SAGAMOREHILLS         OH    8/30/20171FADP3F23EL128512
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                                                 
FVSͲ103932240 DENISEL       POWELL                                     CANTON         OH   8/30/20171FADP3F2XGL314423
FVSͲ103953981 DOUGLASD      STIRIZ                                     WAUSEON        OH    8/30/20171FADP3F29EL412307
FVSͲ103974474BRENDA          CALDWELL                                   CLEVELAND      OH    8/30/20171FADP3F29EL418088
FVSͲ103974610 NEVENKA        ROJNIC                                     CLEVELAND      OH    8/30/20171FADP3F29EL418480
FVSͲ104025972 SAMIR          PATEL                                      BATAVIA        OH    8/30/20171FADP3F21DL312619
FVSͲ104067950KANDYL         FOUT                                       LONDON         OH    8/30/20171FADP3F29EL137005
FVSͲ104074051SUSANA         FLOYD                 RANDALLFLOYD        STERLINGHTS    MI    8/30/20171FADP3F29EL137439
FVSͲ104104929 JULIEA        BROZE                                      PARMA          OH     8/30/20171FADP3J23EL116366
FVSͲ104106026 DAVIDL        BRYANT                                     WATERFORD       MI     8/30/20171FADP3J23EL143339
FVSͲ104117680 LLOYDS        WILSONSR              SHERRYLKELLEY      WINTERSVILLE    OH    8/30/20171FADP3FE3GL403504
FVSͲ104122811 MIKER         DUDAS                 JUDYDUDAS           CLEVELAND      OH    8/30/20171FADP3F29EL263221
FVSͲ104154853 JENNIFER       KIRKBRIDE                                  STRASBURG      OH    8/30/20171FADP3F29EL269584
FVSͲ104157968BARBARAL       FLUELLEN                                   CLEVELAND      OH    8/30/20171FADP3F26FL253697
FVSͲ104182725 DEBRAA        REYNOLDS                                   AVONLAKE      OH    8/30/20171FADP3F21EL320561
FVSͲ104193425 RUTHE         WOODS                                      OREGONIA       OH    8/30/20171FADP3F25EL241006
FVSͲ104193484MEGANL         DANIEL                JEFFDANIEL          CINCINNATI     OH    8/30/20171FADP3F25EL241099
FVSͲ104233672 PATRICIAA     KINGͲLITCHOWSKI                             LORAIN         OH    8/30/20171FADP3F28EL370602
FVSͲ104300124PAULA          MENDA                                      SOUTHVIENNA    OH    8/30/20171FADP3F27FL313020
FVSͲ104308249 LISA           CARTER                                     CLEVELAND      OH    8/30/20171FADP3F2XEL193079
FVSͲ104312610MATTHEWW       DUSBIBER                                   WHITMORELAKE   MI    8/30/20171FADP3F20EL293126
FVSͲ104321610 JOEJ          LEWIS                                      GOSHEN         OH    8/30/20171FADP3F27EL428666
FVSͲ104366770CAROLA         BRUNO                                      DAYTON         OH    8/30/20171FADP3F24FL383767
FVSͲ104372397 EDELMIRAB     RUCOBO                ALEXANIRUCOBO       ELPASO        TX    8/30/20171FADP3F24FL384806
FVSͲ104377780 MELVINIAS     BAKER                                      TOLEDO         OH    8/30/20171FADP3E22FL384157
FVSͲ104445386KARENA         WHITAKER              JEFFREYDWHITAKER   FARMINGTON      MI    8/30/20171FADP3F25EL450519
FVSͲ104448873 NICHOLASL     WYCUFF                                     COLDWATER       OH    8/30/20171FADP3F23EL148811
FVSͲ104500336 MICHAELT      SCHAFER                                    BAYCITY       MI    8/30/20171FADP3F29DL217483
FVSͲ104546026SHAWNAL        BEZEAU                                     MONROE         MI    8/30/20171FADP3F29EL340394
FVSͲ104566779 CONNIEL       SIFFORD                                    LANCASTER      OH    8/30/20171FADP3F27EL286075
FVSͲ104592826 DAVID          LUCK                                       STOUTSVILLE     OH    8/30/20171FADP3F22DL315464
FVSͲ104616733 KELLYJ        MACKEY                                     THREEOAKS      MI    8/30/20171FADP3F21EL346710
FVSͲ104668059 FLOYDD        DANFORD                                    BARBERTON       OH    8/30/20171FADP3F21DL343014
FVSͲ104692049ARTHURP        RICHARDS                                   MARIETTA       OH    8/30/20171FADP3F29DL286495
FVSͲ104698411 VIKKIJ        REGAL                 MARTYREGAL          MONTPELIER      OH    8/30/20171FADP3F24GL224992
FVSͲ104716681TRENTA         WELSH                                      CIRCLEVILLE    OH    8/30/20171FADP3E29GL244012
FVSͲ104769246TODDA          LENTZ                                      MASSILLON      OH    8/30/20171FADP3F24EL397456
FVSͲ104778040 PATRICIAA     LEONARD                                    TEMPERANCE      MI    8/30/20171FADP3F26EL217913
FVSͲ104820446BRANDONR       JACKSON                                    CINCINNATI     OH    8/30/20171FADP3F26EL370677
FVSͲ104842814 ELAINEM       KREJCI                STEPHENKREJCI       MAPLEHEIGHTS   OH    8/30/20171FADP3F21EL370618
FVSͲ104843276JOHNF          SHIMKO                                     HOWELL         MI    8/30/20171FADP3F21EL371347
FVSͲ104898712 ERINE         RAMIREZ                                    FREMONT        MI    8/30/20171FADP3F28EL389764
FVSͲ104907924 CHRISTINA      HRONEK                                     CLEVELAND      OH     8/30/20171FADP3J21EL428024
FVSͲ104983728CLAYTONJ       MORGAN                                     WESTLAND       MI    8/30/20171FADP3F29EL429334
FVSͲ105016802JASONM         STROUD                                     TOLEDO         OH    8/30/20171FADP3F24EL182966
FVSͲ105031798JOSEPH          JENKINS                                    FLINT          MI    8/30/20171FADP3F26FL280673
FVSͲ105053490SEANM          MCDONALD                                   LOUISVILLE     OH    8/30/20171FADP3F22GL202022
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                                              
FVSͲ105059293JASON            ROHDE                                     MONROE         MI   8/30/20171FADP3F20EL348254
FVSͲ105084824SEANP           BARKER                                    TALLMADGE       OH    8/30/20171FADP3F22DL333432
FVSͲ105145262 JEFFREYI       NARRAWAY                                  CHIPPEWALAKE   OH    8/30/20171FADP3F28EL181934
FVSͲ105151378 KATHLEEN        THORNTON                                  ROYALOAK      MI    8/30/20171FADP3K20EL270158
FVSͲ105176117 MANUEL          TRIGO                                     SANANTONIO     TX     8/30/20171FADP3J25EL311031
FVSͲ105232670TIFFANY          MILLER                                    MIDDLEFIELD     OH    8/30/20171FADP3F2XEL361447
FVSͲ105236470 BARRYL         SCHWARTZ                                  SALEM          OH    8/30/20171FADP3F23EL428454
FVSͲ105247502RAYMONDZ        LISZEWSKI                                 SHELBYTWP      MI    8/30/20171FADP3F25EL270201
FVSͲ105260061 MAGGIET        CARKHUFF           TERESACARKHUFF        KINSMAN        OH    8/30/20171FADP3F26DL218672
FVSͲ105260428JERRY            PERRY                                     CINCINNATI     OH    8/30/20171FADP3F26DL219076
FVSͲ105302759 STEVENA        HATHAWAY                                  VERMILION      OH    8/30/20171FADP3F21EL388603
FVSͲ105302805JAMESV          SAGER                                     SHREVE         OH    8/30/20171FADP3F21EL388651
FVSͲ105365742 SANDRAL        THOMASON                                  WARREN         OH    8/30/20171FADP3F28FL363330
FVSͲ105374180 BRENDA          MONTONEY                                  GLOUSTER       OH    8/30/20171FADP3F22EL320617
FVSͲ105414905JAMESW          EVEN                                      CINCINNATI     OH    8/30/20171FADP3K20DL123112
FVSͲ105444146CHERYLD         BESTER                                    YPSILANTI      MI    8/30/20171FADP3F27EL450988
FVSͲ105467316 DEBRAL         HOBBS                                     LAPEER         MI    8/30/20171FADP3F25EL107838
FVSͲ105478806 DAVIDE         WHITE              MIRIAMBRUNSLETTER     WARREN         OH    8/30/20171FADP3F2XEL316203
FVSͲ105478903 CARRIEI        PASCARELLA                                 KENT           OH    8/30/20171FADP3F2XEL316380
FVSͲ105489115 LORIA          KNICK                                     SANDUSKY       OH    8/30/20171FADP3F20EL380007
FVSͲ105520624 ROBERTT        MCCUE                                     PARMA          OH    8/30/20171FADP3F23EL437980
FVSͲ105527017 KATIEM         LACOURSE                                  LORAIN         OH    8/30/20171FADP3F29EL347314
FVSͲ105532037 MELANIET       MALABANAN           CARLOMALABANA         NASHVILLE      TN    8/30/20171FADP3F29EL359804
FVSͲ105536520 KARENA         KLEMENT                                   MENTOR         OH    8/30/20171FADP3F21EL402306
FVSͲ105540102 DARLINAJ       SPICOCCHI                                 MASSILLON      OH    8/30/20171FADP3F21EL409319
FVSͲ105543780 JENNIFERS      WHALEY                                    CAMBRIDGE       OH    8/30/20171FADP3F21DL105387
FVSͲ105550353 NICOLEM        ROBERTS            EDWARDROBERTS         SHELBY         OH    8/30/20171FADP3K20DL320412
FVSͲ105555819 STEVENA        HATHAWAY                                  VERMILION      OH    8/30/20171FADP3F23EL193750
FVSͲ105556858 RONALDJ        CREEK                                     WHITELAKE     MI    8/30/20171FADP3F23EL194980
FVSͲ105568325 SANDRAL        ELDER                                     VINCENT        OH    8/30/20171FADP3F21EL116522
FVSͲ105570010 DEBBIE          PETTRY                                    INDIANAPOLIS     IN   8/30/20171FADP3K20EL283413
FVSͲ105599549JOSHUAA         ROUSH                                     COLUMBUS       OH    8/30/20171FADP3F25FL229665
FVSͲ105652750 LEEE           SAFFOLDSR                                 ZANESVILLE     OH    8/30/20171FADP3E23EL427242
FVSͲ105654736 DAVIDH         LAWRENCE           NORMAJMCNUTTͲDUPRE   BEAVERCREEK     OH    8/30/20171FADP3E23FL217936
FVSͲ105672815 BARBARAA       RUST                                      PICKERINGTON    OH    8/30/20171FADP3F2XDL182629
FVSͲ105706272 JULIE           CERANA                                    NORTHCANTON    OH    8/30/20171FADP3F22DL114003
FVSͲ105723665JACOB            DANIELS                                   DRESDEN        OH    8/30/20171FADP3K20EL238648
FVSͲ105727946ALLENF          MEYERS                                    CLEVELAND      OH    8/30/20171FADP3J29DL143196
FVSͲ105742031 PAULC          DEC                                       TEMPERANCE      MI    8/30/20171FADP3K20EL419197
FVSͲ105798193 ANITAL         HOWARD                                    CANFIELD       OH    8/30/20171FADP3K20GL208035
FVSͲ105868450AMANDA           KENNEDY                                   LAKEWOOD       OH    8/30/20171FADP3K20EL153972
FVSͲ105875163 LAURIEA        WILSON                                    LORAIN         OH    8/30/20171FADP3K20EL327751
FVSͲ105884464MARYA           GALLAGHER                                 AURORA         OH    8/30/20171FADP3K21DL321195
FVSͲ105947440RONALDL         EMMERT                                    LANCASTER      OH    8/30/20171FADP3K20FL245018
FVSͲ105959154 CHRISTOPHERJ   WININGER                                  STERLINGHTS    MI    8/30/20171FADP3K21EL371211
FVSͲ105973670JANETS          WILLIAMS                                  MARION         OH    8/30/20171FADP3K21EL174314
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FVSͲ105975923 JEFFERYL       KEETON                                     COLUMBUS           OH   8/30/20171FADP3K21EL411805
FVSͲ105990892 CRISTYA        ANDERSON                                   MASSILLON          OH    8/30/20171FADP3K21FL346651
FVSͲ106002490TONIR           ALLEN                                      WAYNE              MI    8/30/20171FADP3K21EL148604
FVSͲ106057804 JESSICAC       TOPF                                       CHERRYHILL         NJ    8/30/20171FADP3K21DL186395
FVSͲ106085808EDWINW          FINKEL                                     BRUNSWICK          OH    8/30/20171FADP3K21FL260434
FVSͲ106130706JOSEPHA         YOURKVITCH                                  CLEVELAND          OH    8/30/20171FADP3K22DL232736
FVSͲ106140817EDWARDV         CORCORAN                                   HIRAM              OH    8/30/20171FADP3K21EL263204
FVSͲ106148290MARYA           ROBINSON                                   DETROIT            MI    8/30/20171FADP3K21EL459658
FVSͲ106174274BARBARAL        PHILLIPS                                   AMHERST            OH    8/30/20171FADP3K22EL354224
FVSͲ106226177 DAVIDV         CARROLL                                    WAUSEON            OH    8/30/20171FADP3K22DL150943
FVSͲ106237004JOHNT           STRABLE                                    MANISTIQUE          MI    8/30/20171FADP3K22DL351077
FVSͲ106292463DONALDM         CORDELL                                    NROYALTON          OH    8/30/20171FADP3K23DL199486
FVSͲ106312162JOHNM           PRICE                                      SOMERSET           OH    8/30/20171FADP3K22EL418665
FVSͲ106334409 NESTORF        GAUDIA                                     MORGANTOWN          WV    8/30/20171FADP3K23DL194675
FVSͲ106372009 BETTYL         RAMSEY                                     HANOVERTON          OH    8/30/20171FADP3K23DL169484
FVSͲ106398660LAURAA          BRINK                                      CARROLLTON          OH    8/30/20171FADP3K22FL367105
FVSͲ106401459 SOURIVONS      RAMOS              MANUELAPERNASͲRAMOS   LOUISVILLE         KY    8/30/20171FADP3K23DL130653
FVSͲ106492896 DEEA           SENS                                       MEADOWLAKES         TX    8/30/20171FADP3K23EL398491
FVSͲ106522485 BRADLEYM       BIRCHFIELD                                 SAINTPARIS        OH    8/30/20171FADP3K23EL182477
FVSͲ106533614 GAILL          KOBAL                                      TROY               MI    8/30/20171FADP3K23EL380511
FVSͲ106547372 JESSICAC       TOPF                                       CHERRYHILL         NJ    8/30/20171FADP3K24DL135571
FVSͲ106618385 SHEREEL        FERRATO                                    OBERLIN            OH    8/30/20171FADP3K24EL404833
FVSͲ106647636TERESA           SANTI                                      SANDUSKY           OH    8/30/20171FADP3K24EL397379
FVSͲ106730398 LAURANL        COURTWRIGHT                                 COLUMBIANA          OH    8/30/20171FADP3K24EL128654
FVSͲ106734407BRENTW          HEFFNER                                    EDWARDSBURG         MI    8/30/20171FADP3K24EL143364
FVSͲ106744046JOSEPHE         RADISH                                     AKRON              OH    8/30/20171FADP3K25DL298293
FVSͲ106749900 MARCIJ         DIEHL              MARCIHAYNGS            CINCINNATI         OH    8/30/20171FADP3K25DL306571
FVSͲ106767720VUX             NGUYEN                                     AVON               OH    8/30/20171FADP3K24EL119761
FVSͲ106796585 MELANIEA       BROWN                                      CORTLAND           OH    8/30/20171FADP3K25DL261390
FVSͲ106807765THOMASW         IZZI               SANTANDER               ASHTABULA          OH    8/30/20171FADP3K24EL287562
FVSͲ106809164DEANR           HERREN             ANNETTEHERREN          MASON              OH    8/30/20171FADP3K25EL174199
FVSͲ106816276 BRIANW         MCCAW              HOLLYMCCAW             COLUMBUS           OH    8/30/20171FADP3K25EL374807
FVSͲ106825550 LESA            BLANKENSHIP                                 MARIONVILLE         MO    8/30/20171FADP3K25EL355125
FVSͲ106828401 BONNIE          VANHOUT                                    GREENVILLE         OH    8/30/20171FADP3K25DL232813
FVSͲ106864076RODNEYA         HUHN                                       SAINTLOUISVILLE    OH    8/30/20171FADP3K25EL128372
FVSͲ106866753 RHONDA          NEILSEN                                    FRISCO             CO    8/30/20171FADP3K25EL138335
FVSͲ106867270DALTON           KONESKY                                    YELM               WA    8/30/20171FADP3K25EL140120
FVSͲ106983105 JANETL         DALBENZIO                                  STEUBENVILLE        OH    8/30/20171FADP3K26EL150932
FVSͲ106996061 BRODYT         ROONEY                                     NRIDGEVILLE        OH    8/30/20171FADP3K26EL173997
FVSͲ107042878JOHN             SIMPSON                                    ASHER              KY    8/30/20171FADP3K25EL405280
FVSͲ107099845MARTHA           NEWMAN                                     CLEVELANDHEIGHTS   OH    8/30/20171FADP3F21DL371802
FVSͲ107149125 LEAHG          LANGER                                     MINNEAPOLIS         MN    8/30/20171FADP3K26EL431788
FVSͲ107197618WILLIAMD        BLAKE                                      TOLEDO             OH    8/30/20171FADP3K26GL208427
FVSͲ107218950 OPHELIAB       BECKEM                                     KALAMAZOO           MI    8/30/20171FADP3K26EL191139
FVSͲ107230682 BROOKEL        BENDEWISH          JASONBENDEWISH         FERNDALE           MI    8/30/20171FADP3K27EL293923
FVSͲ107246040SANDRA           BOUND                                      BRUNSWICK          OH    8/30/20171FADP3K27DL152428
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FVSͲ107295091 ERICKR         NIEMANN            KATHRYNCROSS        HAHIRA            GA   8/30/20171FADP3K27EL247122
FVSͲ107305259 LOWELLE        TROSTEL                                  TROY              OH    8/30/20171FADP3K27EL438992
FVSͲ107322064 IRENEA         CIOBAN                                   CLEVELAND         OH    8/30/20171FADP3K27GL220327
FVSͲ107334593 ROSCOEE        PHIPPS                                   FREMONT           MI    8/30/20171FADP3K27EL405782
FVSͲ107367319JOHNB           CONGER             LATOSHANCONGER      SPRINGBORO         OH    8/30/20171FADP3K28DL153829
FVSͲ107391570JOSEPHC         VALENTINE                                BLACKWOOD          NJ    8/30/20171FADP3K27DL249564
FVSͲ107398052 DIANNE          SMITH              DANNYESMITH          HERNANDO          MS    8/30/20171FADP3K27EL159591
FVSͲ107400626EDWARDJ         WEBSTER            JACKIEG.WEBSTER     MIDDLETOWN         OH     8/30/20171FADP3K27EL167416
FVSͲ107402750JERALDE         DAWSON                                   STRONGSVILLE       OH    8/30/20171FADP3K27EL173992
FVSͲ107405016CHRISTINAM      KEREKES                                  LEWISCENTER       OH    8/30/20171FADP3K28DL344425
FVSͲ107411261 DEANNAJ        SCHNEIDER                                LAMBERTVILLE       MI    8/30/20171FADP3K27EL361881
FVSͲ107442566JACOB            MCGREW                                   FRANKLIN          OH    8/30/20171FADP3K27EL334146
FVSͲ107496860FRANKA          MINTERJR                                 NROYALTON         OH    8/30/20171FADP3K28DL255759
FVSͲ107509539 DELIA           TORRES                                   LORAIN            OH    8/30/20171FADP3K28EL182135
FVSͲ107520451 MICHAELD       YODER                                    DUNDEE            OH     8/30/20171FADP3K27FL260499
FVSͲ107531160 ROBERT          MINER                                    SPENCER           OH     8/30/20171FADP3K28FL379176
FVSͲ107551837 ROBERTC        PETERS                                   YOUNGSTOWN         OH     8/30/20171FADP3K28FL383356
FVSͲ107581124 LINDAA         HOBART                                   NEWPHILADELPHIA   OH     8/30/20171FADP3K28EL326881
FVSͲ107604370TAMMY            HOSKINS                                  FRANKLIN          OH    8/30/20171FADP3K28EL116586
FVSͲ107606526 LEIGHS         RANDAK                                   CHULAVISTA        CA     8/30/20171FADP3K28EL124106
FVSͲ107646234 KRISTIEA       LAFRAMBOISE                               GAINES            MI     8/30/20171FADP3K28EL286401
FVSͲ107657562 BARRYD         LAWSONJR           TROYLAWSON           COLUMBIASTA       OH    8/30/20171FADP3K29EL166963
FVSͲ107665140 RICHARDD       KERN                                     STRUTHERS         OH    8/30/20171FADP3K29EL180913
FVSͲ107665522 FRANCESR       DONALDSON           KENNETHJDONALDSON   YOUNGSTOWN         OH    8/30/20171FADP3K29EL181740
FVSͲ107687852 LAURAC         JERNIGAN                                 STRONGSVILLE       OH     8/30/20171FADP3K28FL218827
FVSͲ107704536ROBERTA         ZAJKOWSKI                                EASTPOINTE         MI    8/30/20171FADP3K29EL129833
FVSͲ107707276SELAHM          DAVIS                                    AKRON             OH    8/30/20171FADP3K29EL140217
FVSͲ107721473 MILAGROS        SANTIAGO                                 LORAIN            OH    8/30/20171FADP3K29EL323469
FVSͲ107757117 SHELLY          COX                TERRYLEROYCOX       ALLENPARK        MI    8/30/20171FADP3K28GL220577
FVSͲ107757680 BRENTE         MAHER                                    MTORAB           OH    8/30/20171FADP3K28GL224757
FVSͲ107806037 ELIZABETHM     CARVER                                   ALLIANCE          OH    8/30/20171FADP3K29DL355286
FVSͲ107833603STACEYM         AQUISTA                                  LYNDHURST         OH    8/30/20171FADP3K29EL234775
FVSͲ107844320 RICHARDE       SCHULTZ                                  GREENVILLE        OH    8/30/20171FADP3K29EL443756
FVSͲ107878267 EMMAJ          PEACO              WILLIAMWARD          WESTCARROLLTON    OH    8/30/20171FADP3K2XEL116587
FVSͲ107889030SAMANTHA         BANCROFT           TIFFANYBANCROFT      WARREN            OH    8/30/20171FADP3K29GL208034
FVSͲ107900890WILLIAMS        BEAR                                     MANSFIELD         OH    8/30/20171FADP3K2XDL182605
FVSͲ107955946PAULM           BROWN                                    MONTCLAIR         NJ     8/30/20171FADP3K29FL321190
FVSͲ107991802 CINDYL         HENSELER                                 MARSHFIELD         WI    8/30/20171FADP3K2XGL220015
FVSͲ108015777 LARRYD         BROCKWAY                                 CHARDON           OH    8/30/20171FADP3K2XEL213224
FVSͲ108043576CHARLAK         RICHMOND           RICKYCRICHMOND      KALAMAZOO          MI    8/30/20171FADP3K2XDL276807
FVSͲ108087549 KYLED          PRYOR                                    PERRYSBURG         OH    8/30/20171FADP3K2XEL160430
FVSͲ108135810JUDYL           CONLEY                                   PIKETON           OH    8/30/20171FADP3K2XEL326963
FVSͲ108531627 JOEF           ADAMS                                    ELYRIA            OH    8/30/20171FADP3N20DL143436
FVSͲ108543927 KARYNJ         BOEY                                     LORAIN            OH    8/30/20171FADP3N20EL128758
FVSͲ108584682 MARYJ          HOWARD                                   NEWCARLISLE       OH    8/30/20171FADP3N21DL380405
FVSͲ108641899 RYANT          MCCLIMANS           JOYDEGROUT           HUDSONVILLE        MI    8/30/20171FADP3N22EL383671
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                                                     
FVSͲ108729974 LISAM            SCOTT                                      DELTA            OH   8/30/20171FADP3N25DL380763
FVSͲ108782166 DARYLK           BENNETT                                    TAYLOR           MI    8/30/20171FADP3N23EL107726
FVSͲ108786030 FRANKD           GILBERT                JONIGILBERT        LOVELAND         OH    8/30/20171FADP3N23EL182541
FVSͲ108795080JOHNI             ALLEN                                      CHILLICOTHE       OH    8/30/20171FADP3N24FL239766
FVSͲ108797899 ROBERTM          CAMERON                                    PARMA            OH    8/30/20171FADP3N24FL346512
FVSͲ108807355 DARRELLA         LOMBARDI               KARENSUENEMEC     WAKEMAN          OH    8/30/20171FADP3N21FL218177
FVSͲ108845990 STEPHENJ         SZYPULA                                    GRASSLAKE       MI    8/30/20171FADP3N27EL419404
FVSͲ108932206SHEREEN           HARRIS                                     COLUMBUS         OH    8/30/20171FADP3N2XEL155238
FVSͲ108950778 DENNISW          SHANKS                                     WELLSVILLE       OH    8/30/20171FADP3N28EL346978
FVSͲ108950808SANDRA             MOWERY                 WILSONEMOWERY     CANTON           OH    8/30/20171FADP3N28EL347628
FVSͲ108963667RAYMONDM          SHAW                   MARYJSHAW         GALLOWAY         OH    8/30/20171FADP3N25EL316501
FVSͲ109076230 IRVENV           DENUNE                                     GALLOWAY         OH    8/30/20171FADP3N29EL253077
FVSͲ109123646 LINDAJ           WILSON                                     AKRON            OH    8/30/20171FAHP3E23CL323560
FVSͲ109367596SARAHE            KELLY                                      GALLOWAY         OH    8/30/20171FAHP3E26CL447855
FVSͲ109416210 MARILYNE         HULL                                       MARTINSFERRY     OH    8/30/20171FAHP3E29CL173499
FVSͲ109435699JOHND             KIELICH                                    MILWAUKEE         WI     8/30/20171FAHP3F21CL188397
FVSͲ109680480GRETA              BARLOW                 DEBORAHGREEN       ASHVILLE         OH    8/30/20171FAHP3F22CL121355
FVSͲ109701895 DAVIDV           DECKER                                     STRASBURG        OH    8/30/20171FAHP3F21CL332885
FVSͲ109761715 SHARRAL          WIMBERLY                                   GARFIELDHTS      OH    8/30/20171FAHP3F22CL219107
FVSͲ109785584GIOVANNI           SORINO                 SHARONSORINO       BRUNSWICK        OH    8/30/20171FAHP3F23CL118545
FVSͲ109802489 CYNTHIAR         CONNER                                     BEDFORD          OH    8/30/20171FAHP3F23CL248650
FVSͲ109890167 PAULINE           PARSONS                                    FREDERICKTOWN     OH     8/30/20171FAHP3F22CL448726
FVSͲ110024290 KRISTAA          RUSCHMANN                                   WESTFIELD        NJ    8/30/20171FAHP3F24CL345906
FVSͲ110139933 JESSIKAA         FUENTESͲGONZALEZ                            BRUNSWICKHILLS   OH    8/30/20171FAHP3F25CL353769
FVSͲ110306350RYANA             WISNIEWSKI                                  VERMILION        OH    8/30/20171FAHP3F26CL315922
FVSͲ110344685 BRUCE             BAKER                  MELISSABAKER       HAMILTON         OH    8/30/20171FAHP3F26CL304077
FVSͲ110688392 JENNIFERJ        DEMPSTER                                   HUNTSVILLE       OH    8/30/20171FAHP3F29CL153011
FVSͲ110732979 DALEA            BACKLUND                                   NASHPORT         OH     8/30/20171FAHP3F29CL446617
FVSͲ110852770 LINDSAYR         PASTOR                                     UNIONTOWN         OH    8/30/20171FAHP3F2XCL288840
FVSͲ110915852 MARITZAM         HERNANDEZ               NELSONHERNANDEZ    AMHERST          OH    8/30/20171FAHP3F2XCL248564
FVSͲ111060125 JAYH             ROTH                                       ZANESVILLE       OH    8/30/20171FAHP3H21CL317333
FVSͲ111175216 MICHELEL         GRABILL                                    OWOSSO           MI    8/30/20171FAHP3H24CL448594
FVSͲ111335540 KARISSAM         MILLER                                     WESTUNION        OH    8/30/20171FAHP3H27CL397270
FVSͲ111428696 DAVIDL           BRYANT                                     WATERFORD         MI    8/30/20171FAHP3H25CL448572
FVSͲ111454964JOSEPHK           MATTINGLY                                  CUYAHOGAFLS      OH    8/30/20171FAHP3H29CL399845
FVSͲ111505810JAMESM            GEACH                                      SUSSEX           WI    8/30/20171FAHP3H2XCL206835
FVSͲ111545897 FRANKIEL         BAKER                                      BARBERTON         OH     8/30/20171FAHP3J21CL319478
FVSͲ111699142 MICHAELD         WASKOVICH                                   PAINESVILLE       OH    8/30/20171FAHP3H2XCL358138
FVSͲ111793335 NATHANIELT       BADMAN                                     UNIONTOWN         OH    8/30/20171FAHP3K21CL261175
FVSͲ111859131 CHRISTACARENW   VINSON                                     CHARLOTTE        NC    8/30/20171FAHP3K22CL292855
FVSͲ111948924 MICHELLEM        GRIMES                                     AKRON            OH    8/30/20171FAHP3K21CL394387
FVSͲ112063128 CRISTINAM        PEARSON                                    DAYTON           OH    8/30/20171FAHP3K24CL372836
FVSͲ112201857 WILLIAMP         MCLAUGHLIN              HANNAHMCLAUGHLIN   BLOOMINGDALE      OH    8/30/20171FAHP3K25CL319465
FVSͲ112222137 JAMES             WEATHERLY                                  MILFORD          OH    8/30/20171FAHP3K24CL226307
FVSͲ112361030 SHIRLEYL         SAVAGEAGUILERA                             GLOVERSVILLE      NY    8/30/20171FAHP3K25CL442568
FVSͲ112386636 RICHARDG         MYERS                                      TILLSON          NY    8/30/20171FAHP3K28CL230067
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                                                        
FVSͲ112393829SUSANN         SHIRLEY                                             FELICITY              OH    8/30/20171FAHP3K27CL366156
FVSͲ112399401THERESAA       CURRIERͲHILL                                         DELTA                 OH     8/30/20171FAHP3K28CL188936
FVSͲ112423230RICHARDJ       DENIGRIS                                            CLEVELAND             OH     8/30/20171FAHP3K28CL464094
FVSͲ112469949LEANNA          CLEMONS                                             CLEVELAND             OH     8/30/20171FAHP3K29CL266303
FVSͲ112641849BARBARAA       IVAUN                                               CHARLESTON             WV     8/30/20171FAHP3K2XCL447054
FVSͲ112722911EVYM           ORTIZ                                               YONKERS               NY    8/30/20171FAHP3M21CL441964
FVSͲ112837298MARCUS          JONES                        MARCUSWILLIEJONES    CLEVELAND             OH    8/30/2017 1FAHP3M21CL271752
FVSͲ112880835JOHNETTAK      NELSON                                              CANTON                OH    8/30/20171FAHP3M22CL253602
FVSͲ112900119RHONDAL        ROSS                                                CROOKSVILLE            OH    8/30/20171FAHP3M25CL360174
FVSͲ112984134BRUCED         LOFLAND                      DEANNLOFLAND          LENEXA                KS    8/30/20171FAHP3M26CL210834
FVSͲ113060173CARL            NYS                                                 LONGVIEW              WA    8/30/20171FAHP3M27CL102691
FVSͲ113121989SAMUELV        KNAPP                                               FRONTROYAL            VA    8/30/20171FAHP3M25CL393336
FVSͲ113122292TERESAL        WEIDNER                      JOSEPHWEIDNER         LANCASTER             OH    8/30/20171FAHP3M25CL395409
FVSͲ113202733RICHARDA       AMORE                                               NEWBALTIMORE          MI     8/30/20171FAHP3N22CL421687
FVSͲ113231768BETHA          SWANN                                               RIVERSIDE             NJ     8/30/20171FAHP3N24CL426194
FVSͲ113245572STACY           ADAMS                                               FREMONT               OH     8/30/20171FAHP3N21CL475627
FVSͲ113313462LUDMILA         DEGRAW                                              SALTLAKECTY          UT    8/30/20171FAHP3M2XCL303176
FVSͲ113376189MICHAEL         HUNT                                                LOUISVILLE            OH     8/30/20171FAHP3N23CL365310
FVSͲ113468300EDWARDE        WIRTH                                               WICHITA               KS     8/30/20171FAHP3N25CL330008
FVSͲ113478984JAMIL          ANDERSON                     DONALDANDERSON        AMHERST               OH     8/30/20171FAHP3N28CL256101
FVSͲ113544529SHARONE        KOEHLER                                             CLEVELAND             OH    8/30/20173FADP4AJ0GM140896
FVSͲ113846770KIMBERLYT      GOODMAN                                             SKOKIE                IL    8/30/20173FADP4AJ8FM198348
FVSͲ113851146DAVID           BRANDI                                              TILTONSVILLE           OH    8/30/20173FADP4AJ5DM153140
FVSͲ113856466MICHAELE       JACOBS                                              PETERSBURG             MI    8/30/20173FADP4AJ8EM240421
FVSͲ114082278LAURAB         YOUNG                                               CLEVELAND             OH    8/30/20173FADP4EJ8FM111347
FVSͲ114154228JIMMYL         MCCOYJR                                             CHILLICOTHE            OH    8/30/20173FADP4BE3EM202855
FVSͲ114253412VIVIAN          GALES                                               DAYTON                OH    8/30/20173FADP4BJ1CM137417
FVSͲ114330468THOMASA        MYERS                                               PERRYSBURG             OH    8/30/20173FADP4BJ1EM110642
FVSͲ114345082MARY            ISLER                        CHRISTOPHERWILLIAMS   WARRENSVILLEHEIGHTS   OH    8/30/20173FADP4BJ1DM191463
FVSͲ114349185JACQUELINEA    LEDFORD                                             MILFORD               MI    8/30/20173FADP4BJ0FM123321
FVSͲ114449457THERESA         HOLDGRAVE                                            CINCINNATI            OH    8/30/20173FADP4BJ2DM155751
FVSͲ114461570MICHAELJ       PASTERJR                                           SALEM                 OH    8/30/20173FADP4BJ2DM130798
FVSͲ114502030BRADLEYK       CAMERON                                             WARREN                OH    8/30/20173FADP4BJ2EM205632
FVSͲ114530300DOLORESJ       ROCCO                                               BROOKPARK              OH    8/30/20173FADP4BJ1EM131944
FVSͲ114715009ROGERD         PERRIGANII                   TERRYMSMITH          LORAIN                OH    8/30/20173FADP4BJ3DM184644
FVSͲ114801673ELAINEM        HALL                                                COLUMBUS              OH    8/30/20173FADP4BJ3EM226795
FVSͲ114805199ANTHONYR       WELBORN                      SABRINAWELBORN        LOGAN                 OH    8/30/20173FADP4BJ4DM158523
FVSͲ114807485JENNAH          LEAR                                                LAKEWOOD              OH    8/30/20173FADP4BJ4DM164919
FVSͲ114836850ANGELA          SHORT                                               CINCINNATI            OH    8/30/20173FADP4BJ3EM190025
FVSͲ114878056JOHNATHONA     PURTEE                                              LEWISTOWN              OH    8/30/20173FADP4BJ4EM165831
FVSͲ114896852MICHELEY       GENTRY                                              ALLIANCE              OH    8/30/20173FADP4BJ4CM170413
FVSͲ115005528TROYL          BRANCHEAU                     JENNIFERBRANCHEAU     GRANDBLANC            MI    8/30/20173FADP4BJ5CM111595
FVSͲ115015612ANTHONYR       WELBORN                      SABRINAWELBORN        LOGAN                 OH    8/30/20173FADP4BJ5EM171413
FVSͲ115018093                 3THEALTHSERVICESLLC                               LEWISCENTER           OH    8/30/20173FADP4BJ4DM201953
FVSͲ115049274NICOLAM        LOHRMANN                                            NROYALTON             OH    8/30/20173FADP4BJ5DM221211
FVSͲ115178074CHARLESR       PRICEJR                                             COLUMBUS              OH    8/30/20173FADP4BJ5EM217516
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FVSͲ115238840JOANN           MCLAURY                                  JACKSON           MI   8/30/20173FADP4BJ6DM103720
FVSͲ115348212 ROBERTV       FORDJR                                   CHAGRINFALLS      OH    8/30/20173FADP4BJ7CM137325
FVSͲ115400648KENNETHA       WATSON                                   DETROIT           MI    8/30/20173FADP4BJ7DM219573
FVSͲ115440844MARCIAS        BOSWELL                                  SOUTHFIELD         MI    8/30/20173FADP4BJ5EM190057
FVSͲ115471979JONATHANK      LASH                                     COLUMBUS          OH    8/30/20173FADP4BJ7DM176028
FVSͲ115543724 PATRICIA       NOVAK                 SANDRALITZ        CLEVELAND         OH    8/30/20173FADP4BJ8FM108601
FVSͲ115558683 ROBERTL       HRUSOVSKYJR                               YOUNGSTOWN         OH    8/30/20173FADP4BJ7EM205657
FVSͲ115568239JUSTINM        CREGAR                                   CARO              MI    8/30/20173FADP4BJ8EM221866
FVSͲ115644075 PAMELAL       WINDBIGLER                                MANSFIELD         OH    8/30/20173FADP4BJ9DM118390
FVSͲ115671510 LASHARAB      COLVIN                                   COLUMBUS          OH    8/30/20173FADP4BJ8EM132265
FVSͲ115679090GARYL          SPOONEMORE                                MIDDLETOWN         OH    8/30/20173FADP4BJ9EM179787
FVSͲ115710213JUDYA          DENNIS                DWIGHTDENNIS      GREENFIELD         OH    8/30/20173FADP4BJ8EM110587
FVSͲ115735615GAYLED         MUSE                                     WARRENSVILLEHTS   OH    8/30/20173FADP4BJ9CM145782
FVSͲ115851143 RACQUELV      RIVERAͲMONTIJO                            CLEVELAND         OH    8/30/20173FADP4BJ9DM171736
FVSͲ115863273STEVE           HINES                                    CINCINNATI        OH    8/30/20173FADP4BJ9FM100877
FVSͲ115883630 BRINDAL       WILLIAMS                                 LAURELVILLE        OH    8/30/20173FADP4BJXFM126436
FVSͲ115961259GRACEE         PROKOP                                   BOARDMAN          OH    8/30/20173FADP4BJXDM130788
FVSͲ116003774GERALDINE       MITCHELL                                 DETROIT           MI    8/30/20173FADP4BJXEM156843
FVSͲ116006528JEFFREYA       BAJENA                HEATHERBAJENA     MTPLEASANT        MI    8/30/20173FADP4BJXEM168832
FVSͲ116039108ATHAI          MYLES                                    DETROIT           MI    8/30/20173FADP4BJXEM136382
FVSͲ116107030SAMANTHAA      HEIMANN                                  MASON             OH    8/30/20173FADP4CJ8CM205680
FVSͲ116136081 MICHELLEL     QUISENBERRY                               MEDINA            OH    8/30/20173FADP4CJ3CM208132
FVSͲ116145382CELESTEM       KERMES                                   CLEVELAND         OH    8/30/2017 3FADP4CJ5EM211553
FVSͲ116319089GINAA          LATHAM                DARRYLLATHAM      CANTON            OH    8/30/20173FADP4EJ1DM136653
FVSͲ116321385 LAURIES       BROTHAG                                  WILLOUGHBY         OH    8/30/20173FADP4EJ0DM149538
FVSͲ116332468 MINDYL        SAFT                                     DEARBORNHTS       MI    8/30/20173FADP4EJ1DM109145
FVSͲ116347040RYANA          DOMINGUE                                 BURTON            OH    8/30/20173FADP4EEXEM174161
FVSͲ116460938 ERIKAA        ELGORT                                   MESQUITE          NV    8/30/20173FADP4EJ2DM217824
FVSͲ116547324SUSANL         CHURILL                                  MUNISING          MI    8/30/20173FADP4EJ2DM118341
FVSͲ116548444CATHYL         BENNINGTON             JAMESBENNINGTON   MARTINSFERRY      OH    8/30/20173FADP4EJ2DM130814
FVSͲ116554398 PATRICIAM     LARIMORE                                 LIMA              OH    8/30/20173FADP4EJ3CM182662
FVSͲ116645733 LAURENA       WINKLESLEOPOLD                           FARMINGTNHLS      MI    8/30/20173FADP4EJ3EM139331
FVSͲ116652039 LAURAL        RAMEY                                    LANCASTER         OH    8/30/20173FADP4EJ4CM102334
FVSͲ116734388MARY            HANES                                    WHITEHALL         OH    8/30/20173FADP4EJ4DM116980
FVSͲ116969792CARLE          BOYLESIII                                WALKER            WV    8/30/20173FADP4EJ5DM167128
FVSͲ116981172 MICHAEL        REEVES                                   NORMAN            OK    8/30/20173FADP4EJ5GM130536
FVSͲ117020737ANNM           NAGEOTTE                                 WESTERVILLE        OH    8/30/20173FADP4EJ7CM105292
FVSͲ117188662 RACHAEL        GARDNER                                  YALE              MI    8/30/20173FADP4EJ9EM108391
FVSͲ117191612THERESAA       YOUNG                 DANIELLYOUNG     BELLAIRE          OH    8/30/20173FADP4EJ8CM161225
FVSͲ117206482 BENJAMINA     WIDMER                                   BOWLINGGREEN      OH    8/30/20173FADP4EJ7FM179655
FVSͲ117272434 LYND          GROVES                                   COLUMBUS          OH    8/30/20173FADP4EJ9DM199855
FVSͲ117398128HEATHERM       NAIL                                     SHEFFIELDLK       OH    8/30/20173FADP4EJXEM156689
FVSͲ117556157 MINDYL        SKINNER                                  KENT              OH    8/30/20173FADP4EJXFM220103
FVSͲ117614408JULIEE         DUNNING                                  GRANDRAPIDS       MI    8/30/20173FADP4FJ6EM205806
FVSͲ117640310RONALDB        RULLIE                                   YOUNGSTOWN         OH    8/30/20173FADP4FJ0EM113980
FVSͲ117719382MATTHEWL       HUMBERT                                  ROCHESTERHLS      MI    8/30/20173FADP4FJ7EM165915
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FVSͲ118138065 HEAVENL       HOPKINS                                          ANTELOPE       CA   8/30/20171FADP3E25EL442809
FVSͲ118148516ANDREWM        NOWAK                                            SHERMANOAKS    CA    8/30/20171FADP3E23DL307584
FVSͲ118149636NORMA           RUBIO                   CHRISTINAPKESTERSON    WALNUT         CA    8/30/20173FADP4EJ6DM208155
FVSͲ118150766 KYMBERLYN     KING                                             OCEANSIDE      CA    8/30/20173FADP4EJ6EM110972
FVSͲ118161466SUSANA          MORALESHERNANDEZ        SAMUELHOYOS             LOSANGELES     CA    8/30/20173FADP4EJ6CM176659
FVSͲ118186175 GRETCHENE     LUNN                    NATHANLUNN              SPRINGVALLEY   CA    8/30/20171FADP3F20DL210941
FVSͲ118188615 DANIEL         TRUJILLO                GUILLERMOTRUJILLO       LONGBEACH      CA    8/30/20171FADP3F20DL251716
FVSͲ118189190MARK            PEDANTE                                          VANNUYS       CA    8/30/20171FADP3F20DL264031
FVSͲ118192248VALENCIA        STAGG                   ELIKASTAGG              DSRTHOTSPGS   CA    8/30/20171FADP3F20EL149964
FVSͲ118200437 GREGS         ROSE                    TONYALEEROSE           BELLAVISTA    AR    8/30/20171FADP3F20DL151972
FVSͲ118225596 MARVINP       STATON                                           DINUBA         CA    8/30/20171FADP3F21DL227229
FVSͲ118227467 RYAN           RALEIGH                                          OCEANSIDE      CA    8/30/20171FADP3F21DL264247
FVSͲ118228951 MICHAELC      RUH                     JESSICARUH              PALMSPRINGS    CA    8/30/20171FADP3F21DL290363
FVSͲ118229516 BLAKEA        ONEILL                                           OCEANSIDE      CA    8/30/20171FADP3F21DL301362
FVSͲ118239988DONNAN         RAMIREZ                 RUBENHRAMIREZ          SANANDREAS     CA    8/30/20171FADP3E29DL211314
FVSͲ118242423 FANNIEM.      BURLILE                                          CORNING        CA    8/30/20171FADP3F22EL199720
FVSͲ118257439 CARLOS         ZEA                     ELSAMORALES             ANAHEIM        CA    8/30/20171FADP3F22DL343989
FVSͲ118260987ARTHURC        APPELIII                                         SNBERNRDNO     CA    8/30/20171FADP3F22EL144670
FVSͲ118261215 FERNANDO       RANGEL                  REBECCABARRIENTOS       FONTANA        CA    8/30/20171FADP3F22EL150484
FVSͲ118278886 RODNEYJ       JOHNSTON                TINAJOHNSTON            GUSTINE        CA    8/30/20171FADP3F23EL400766
FVSͲ118284860 LESLIEA       RIOS                                             SANTAPAULA     CA    8/30/20171FADP3F22DL279033
FVSͲ118285009 HORACIOJ      RODRIGUEZJR             MARIARODRIGUEZ          FULLERTON      CA    8/30/20171FADP3F22DL284491
FVSͲ118330276 JENNIFER       BELLUSCI                DYLANBELLUSCI           GRANADAHILLS   CA    8/30/20171FADP3F25DL235107
FVSͲ118340387ANDREWJ        MCCAFFREY                                        POMONA         CA    8/30/20171FADP3F24EL407564
FVSͲ118343149 STEVEP        CORDOVA                 ANGIEWAYMIRE            OLIVEHURST      CA    8/30/20171FADP3F24FL232606
FVSͲ118360540 IAN            PEDERSON                KELLIPEDERSON           SANTAANA      CA    8/30/20171FADP3F26DL138563
FVSͲ118362836MARKJAMES      BRIDGES                 CAROLYNRUTHBRIDGES     CAMARILLO      CA    8/30/20171FADP3F26DL196107
FVSͲ118387391 ROBINL        ANDERSON                                         SACRAMENTO      CA    8/30/20171FADP3F23DL227457
FVSͲ118405810 LINDA          MCGILL                                           SANJOSE       CA    8/30/20171FADP3F25EL454246
FVSͲ118411187SALVADOR        QUINTERO                YVONNEQUINTERO          MONTEREYPARK   CA    8/30/20171FADP3F27EL248071
FVSͲ118419935 LINNET         HAMMOND                 MARCHAMMOND             MATTHEWS       NC    8/30/2017 1FADP3F27DL177680
FVSͲ118441337VERONICAB      PEREZ                   JOSELPEREZ             POMONA         CA    8/30/20171FADP3F28EL131955
FVSͲ118457748 RICHARDR      SOISET                  CHRISTINEOHLERSOISET   APPLEVALLEY    CA    8/30/20171FADP3F24DL227130
FVSͲ118460510 RYDERL        LIBBY                                            FOLSOM         CA    8/30/20171FADP3F28DL273141
FVSͲ118468286KAYLAA         MASON                                            VALLEYCITY    OH    8/30/20171FADP3F25EL217062
FVSͲ118489836NORMAA         ROJAS                                            IMPERIAL       CA    8/30/20171FADP3F28DL251933
FVSͲ118492403 BERTHA         HIDDLESON               JEFFERYA.               NORWALK        CA    8/30/20171FADP3F29FL363952
FVSͲ118549944CHRISTOPHER     MAGANA                                           ELMONTE       CA    8/30/20171FADP3F27FL364078
FVSͲ118560255 KATHLEENL     LANCTOT                 PAULLANCTOT             SCOTTSVALLEY   CA    8/30/20171FADP3F29DL235630
FVSͲ118567136 DEVINS        JONES                   ANNELLIOTTSHERMAN      SANJOSE       CA    8/30/20171FADP3K20DL374602
FVSͲ118572954 MOISES         LOPEZ                   EMALOPEZ                CHINO          CA    8/30/20171FADP3F2XEL264412
FVSͲ118580418ANAR           PADILLA                                          BLOOMINGTON     CA    8/30/20171FADP3F27EL407879
FVSͲ118590235SUSANM         LUETKENHOELTER                                    SACRAMENTO      CA    8/30/20171FADP3K20DL245338
FVSͲ118610384 MICHAEL        THEADE                                           SANMATEO      CA    8/30/20171FADP3J28DL382495
FVSͲ118645625 STEFANIEA     LUX                     ADAMLUX                 RCHCUCAMONGA   CA    8/30/20171FADP3J26EL321499
FVSͲ118647520YOLANDA         ORTIZ                   DAVIDORTIZ              LOSANGELES     CA    8/30/20171FADP3J27EL198327
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FVSͲ118655680WILLARDM         RODGERS                                        HOLLISTER      CA   8/30/20171FADP3K21DL363558
FVSͲ118656635ANGELAM          MISTRETTA                                      SANFRANCISCO   CA     8/30/20171FADP3K21EL111729
FVSͲ118658930TERESA            RIOSFLORES                                     LYNWOOD        CA    8/30/20171FADP3K21EL176189
FVSͲ118680684AMBERM           BONILLA                ALEXS.BONILLA         PORTERVILLE     CA     8/30/20171FADP3J25DL264887
FVSͲ118688332 CHRISTOPHERT    SKIPWORTH              CARMENSKIPWORTH        ENCINITAS      CA    8/30/20171FADP3K21DL245865
FVSͲ118690132 OLIVERS         SIT                                            MORAGA         CA    8/30/20171FADP3K21DL290658
FVSͲ118691872SHAWNAM          NARDUCCI                                       FONTANA        CA    8/30/20171FADP3K24EL363491
FVSͲ118693085 RONALDJ         SIMMONS                                        HOLLISTER      CA     8/30/20171FADP3K24EL407943
FVSͲ118715461 GEORGINA         PEREZ                                          SYLMAR         CA     8/30/20171FADP3K24EL259731
FVSͲ118720180WALEEDN          JWEAINAT                                       WALNUTCREEK    CA    8/30/20171FADP3K21DL132188
FVSͲ118723413JOHNM            NEEDY                                          SANTEE         CA    8/30/20171FADP3K26DL335237
FVSͲ118723944SAMANTHAC        RUSK                                           MORGANHILL     CA    8/30/20171FADP3K26DL341071
FVSͲ118730819RAMON             HERNANDEZ               TERESAHERNANDEZ        COLTON         CA    8/30/20171FADP3K22EL461466
FVSͲ118735756JANNETTEA        TOLLESON               WENDELLTOLLESON        SANDIEGO      CA    8/30/20171FADP3K26DL235252
FVSͲ118761048TRAVISD          THOMPSON                                       DELMAR        CA    8/30/20171FADP3K22EL255113
FVSͲ118804588 ESPERANZA        MARTINͲJUAREZ                                   SANFERNANDO    CA    8/30/20171FADP3K29DL264048
FVSͲ118806432 MARISSA          GARCIA                                         SANDIEGO      CA    8/30/20171FADP3K25EL237625
FVSͲ118815385JOSUEAVASQUEZ   BENITES                                        WHITTIER       CA    8/30/20171FADP3K27DL178561
FVSͲ118821075 RYAN             JENNINGS                                       SANDIMAS      CA    8/30/20171FADP3K29DL335183
FVSͲ118831623 MARIANA          ROMEROHERNANDEZ                                LASVEGAS      NV     8/30/20171FADP3K28FL248829
FVSͲ118832352 LISA             MORALES                                        BEAUMONT       CA     8/30/20171FADP3K28FL288702
FVSͲ118869744JONATHAND        WRIGHT                                         VANNUYS       CA    8/30/20171FADP3K25DL307610
FVSͲ118870220GENARO            RUVALCABA              JOSERUVALCABA          PLACENTIA      CA    8/30/20171FADP3K25DL319529
FVSͲ118901796GREGORYA         JONES                                          HESPERIA       CA    8/30/20171FADP3K2XDL127653
FVSͲ118901893 MARKD           HANDER                                         SANDIEGO      CA    8/30/20171FADP3K2XDL132531
FVSͲ118915983OMARMONTES       DELAPAZ              ESTHERFLORESVAZQUEZ   LOSANGELES     CA     8/30/20171FADP3K26EL453273
FVSͲ118925440 RICHARD          RECANO                 REGINARECANO           FONTANA        CA    8/30/20171FADP3K28DL264283
FVSͲ118926039 JENNIFERL       HUNTRESS                                       OROVILLE       CA    8/30/20171FADP3K28DL271492
FVSͲ118928376TRACYL           MCCRACKEN                                       VISALIA        CA    8/30/20171FADP3K28DL340990
FVSͲ118930648 MARLIESEM       HAMMERS                                        ANDERSON       CA    8/30/20171FADP3N21DL227247
FVSͲ118940546 DAVIDJ          WOODS                                          MONTEREY       CA    8/30/20171FADP3N20DL138530
FVSͲ118953680 DANIELP         KENNEDY                                        CHICAGO         IL   8/30/20171FADP3N22DL284556
FVSͲ118976575JOSHUALAR       LEEPER                                         HESPERIA       CA     8/30/20171FADP3K29FL275456
FVSͲ118987437 JOSEJ           ONTIVEROS              ORNARLORNELI           SHAFTER        CA    8/30/20171FADP3L91DL307857
FVSͲ118993488 RUI              SIU                                            GARDENGROVE    CA    8/30/20171FADP3N29EL230091
FVSͲ118997106JAMESF           WALD                                           BURLINGAME      CA    8/30/20171FADP3N2XDL184706
FVSͲ118997874 ALICIAL         LAMMERS                                        ARCADIA        CA    8/30/20171FADP3L99DL222040
FVSͲ119051850 GILBERT          PETZEN                 LEAHPETZEN             SANDIEGO      CA    8/30/20171FADP3N27DL264156
FVSͲ119086360 KAMISHAR        WARREN                                         LOSANGELES     CA     8/30/20171FAHP3F22CL285009
FVSͲ119089688HOWARD            OKAMOTO                KUNIKO&KELVIN         SEALBEACH     CA    8/30/20171FADP3N26DL211156
FVSͲ119090104 DARLAL          MERCER                                         SANDIEGO      CA    8/30/20171FADP3N26DL264195
FVSͲ119090546SUSANNEM         RULE                                           LANCASTER      CA    8/30/20171FADP3N26DL335573
FVSͲ119091410 DEETTEC         TIKOTZINSKI                                    SANTACLARITA   CA    8/30/20171FADP3N26EL139151
FVSͲ119092352 LAURENJ         MCCABE                                         PLAYAVISTA     CA    8/30/20171FADP3N26EL321366
FVSͲ119096323 CARLOS           MEDRANO                                        LOSANGELES     CA     8/30/20171FAHP3F21CL415930
FVSͲ119127210 RENAL           MATHEWS                                        LITTLEROCK     CA    8/30/20171FADP3N25DL201122
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FVSͲ119133083 PATRICIAA        STOVER                                     HESPERIA       CA   8/30/20171FAHP3F25CL468324
FVSͲ119145103 HALEY             OBRIEN              SHAUNOBRIEN           BURBANK        CA    8/30/20171FAHP3F25CL273727
FVSͲ119160099JOHN               ZIMMERSCHIED         EVELYNZIMMERSCHIED    FRESNO         CA    8/30/20171FADP3N23DL374668
FVSͲ119179962                    ERICKSONTRST        C/OMICHAELERICKSON   LOSANGELES     CA    8/30/20171FAHP3F29CL379243
FVSͲ119181622ZORAIDAF          ROJO                                       SANLORENZO     CA    8/30/20171FAHP3F29CL423385
FVSͲ119181819SHARON             FORT                                       GARDENA        CA    8/30/20171FAHP3F29CL429378
FVSͲ119254573VALDEMAR           LAZARO                                     DOWNEY         CA    8/30/20171FAHP3E29CL236682
FVSͲ119278545 FELIX             VILLALOVOS                                 STOCKTON       CA    8/30/20171FAHP3H29CL337314
FVSͲ119281520ANGELAM           LOVEST                                     SACRAMENTO      CA    8/30/20171FAHP3H21CL454255
FVSͲ119283123JAYE              KEEN                                       HANFORD        CA    8/30/20171FAHP3H2XCL211124
FVSͲ119287480 PATRICIAD        BOUCHER                                    CANYONLAKE     CA    8/30/20171FAHP3F23CL108565
FVSͲ119296519 ERNESTOA         VALENZUELA                                  CARLSBAD       CA    8/30/20171FAHP3H28CL415842
FVSͲ119306611RAYMONDC          MCDEVITT                                   MORENOVALLEY   CA    8/30/20171FAHP3K22CL430720
FVSͲ119312980 MICHAELJ         ROBINSON                                   BERKELEY       CA    8/30/20171FAHP3K21CL468407
FVSͲ119324946SINAKILEA          UHAMAKA             ALENA                  MONROVIA       CA    8/30/20171FAHP3K23CL236911
FVSͲ119337258 LEONARD           MCGINNIS                                   APPLEVALLEY    CA    8/30/20171FAHP3K21CL386449
FVSͲ119346109 KATE              CELENTANO                                  SSANFRAN     CA    8/30/20171FAHP3K27CL164157
FVSͲ119347652ALEXS             OLMEDA              VALERIEKANEOLMEDA    APTOS          CA    8/30/20171FAHP3K27CL222610
FVSͲ119360349CHRISTOPHERJ      VANNI                                      PORTERVILLE     CA    8/30/20171FAHP3K20CL468382
FVSͲ119371367 EVELIN            RODRIGUEZ                                  RIALTO         CA    8/30/20171FAHP3F2XCL362578
FVSͲ119377438STEPHAND          GRAY                                       CANOGAPARK     CA    8/30/20171FAHP3K25CL477711
FVSͲ119386666 PATRICIAJ        MARKARIAN                                   NIAGARAFALLS   NY    8/30/20171FAHP3M20CL452471
FVSͲ119390299JAMES              ROBERTSON           PAULAC.               CAMARILLO      CA    8/30/20171FAHP3K20CL215773
FVSͲ119397927CAROL              THOMPSON                                   MANTECA        CA    8/30/20171FAHP3K2XCL458085
FVSͲ119400928 LYNDAB           WEBB                                       APPLEVALLEY    CA    8/30/20171FAHP3M20CL325302
FVSͲ119423090ALI                MOHAJERI                                   LAGUNANIGUEL   CA    8/30/20171FAHP3J28CL415799
FVSͲ119434016 DEVONJ           SCRIBNER                                   CLOVERDALE      CA    8/30/20171FAHP3K24CL416155
FVSͲ119455692 ELIZABETHDIANE   BECKMAN                                    FULLERTON      CA    8/30/20171FAHP3J23CL127012
FVSͲ119456419 PHILLIPR         HENDERSON                                   VACAVILLE      CA    8/30/20171FAHP3J23CL452646
FVSͲ119458616JERARDO            RODRIGUEZ           NORMAVRODRIGUEZ      SANJUANCAPO   CA    8/30/20171FAHP3J26CL105148
FVSͲ119467062 MIA               INGOLIA                                    BERKELEY       CA    8/30/20171FAHP3K24CL268072
FVSͲ119509016 RALPHA           GALLARDO            TYLERGALLARDO         LONGBEACH      CA    8/30/20171FAHP3N26CL400616
FVSͲ119509750JOHNA             SILVA                                      SALINAS        CA    8/30/20171FAHP3N26CL468592
FVSͲ119515458RAYMOND            SHAPIRO                                    LOSANGELES     CA    8/30/20171FAHP3K28CL422881
FVSͲ119531933 HEIDI             DELACRUZ                                   PERRIS         CA    8/30/20171FAHP3M24CL423068
FVSͲ119539411 NATHANJ          MCDOUGALL            CYNTHIAJIMENEZ        LOSANGELES     CA    8/30/20171FAHP3K27CL468086
FVSͲ119553341 LEROY             WEIBEL              SARACWEIBEL          CONCORD        CA    8/30/20171FAHP3M23CL416242
FVSͲ119572664TAMMA              CAMILLO                                    REDWOODCITY    CA    8/30/20173FADP4AJ9EM235793
FVSͲ119591634CURTIST           JOE                                        LIVERMORE      CA    8/30/20171FAHP3M22CL423344
FVSͲ119602857TIMOTHYJ          HOHM                MARCELLAJHOHM        SANLORENZO     CA    8/30/20171FAHP3N20CL167820
FVSͲ119606763 FRANKC           HUGHES                                     FALLBROOK      CA    8/30/20171FAHP3N21CL279414
FVSͲ119607670ALLANB            ROGERS                                     MURRIETA       CA    8/30/20173FADP4BJ1EM186717
FVSͲ119652200ANDREWJ           MCCAFFREY                                  POMONA         CA    8/30/20173FADP4AJ1DM177659
FVSͲ119668270JOSEL             MENCHACA                                   LOSANGELES     CA    8/30/20173FADP4BJ3DM208103
FVSͲ119670763 NICHOLAS          WEST                                       SNBERNRDNO     CA    8/30/20173FADP4BJ3EM139642
FVSͲ119671743 MARINA            ZELAYA                                     LOSANGELES     CA    8/30/20173FADP4BJ3EM177095
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                                                
FVSͲ119682559ROBIN           HVIDSTON                                UPLAND                  CA   8/30/20173FADP4BJ4BM228955
FVSͲ119683636SILVESTRE       PADILLA              TINAMENDOZA       ADELANTO                CA    8/30/20173FADP4BJ4CM118697
FVSͲ119723727TUAN            NGUYEN                                  WESTMINSTER              CA    8/30/20173FADP4BJ3BM114333
FVSͲ119784718LISA            ROBBIO                                  ESCONDIDO               CA    8/30/20173FADP4BJ0BM212610
FVSͲ119811030MEHRDAD         RAZMARA                                 LOSANGELES              CA    8/30/20173FADP4BJ5BM104371
FVSͲ119852160DANAR          JOHNSON                                 AGOURAHILLS             CA    8/30/20173FADP4CJ9BM177886
FVSͲ119887622LICETH          REYES                                   LITTLEROCK              CA    8/30/20173FADP4BJ6EM186681
FVSͲ119935260SARAHE         RAY                                     LANCASTER               CA    8/30/20173FADP4BJ8GM120264
FVSͲ119951436MATTHEW         KLINE                                   ORANGE                  CA    8/30/20173FADP4EJ5FM139509
FVSͲ119960281SONJAC         SMITH                                   PALMDALE                CA    8/30/20173FADP4EJ8BM223818
FVSͲ119962551GEORGE          HERNANDEZ                                RCHOSTAMARG            CA    8/30/20173FADP4EJ8CM170880
FVSͲ119964961FRANKG         EDMONDS                                 SANDIEGO               CA    8/30/20173FADP4BJ8DM226208
FVSͲ119983931JOSEPHL        ROMAN                                   SANJOSE                CA    8/30/20173FADP4EJ4CM173498
FVSͲ119990733CHRISTOPHERE   PECK                                    WILDOMAR                CA    8/30/20173FADP4EJ3EM108161
FVSͲ120045583BETHE          SCHATZMAN                                SANTACRUZ               CA    8/30/20173FADP4EJXEM111087
FVSͲ120049430VICKY           ZARRO                                   SHERMANOAKS             CA    8/30/20173FADP4FJ8CM153897
FVSͲ120058154LORRIEL        SOTELLO                                 BAKERSFIELD              CA    8/30/20173FADP4EJ0CM162773
FVSͲ120071720JOSEPHM        ELMS                                    LAKEELSINORE            CA    8/30/20173FADP4EJ2FM221567
FVSͲ120087294WILLIAMD       SOMMERHAUSER                             SIMIVALLEY             CA    8/30/20173FADP4FJ9BM167905
FVSͲ120111217RODOLFO         MEJIA                                   LOSANGELES              CA    8/30/20173FADP4EJ7DM185937
FVSͲ120122103JOSIE           TELLEZ                                  RANCHOSANTAMARGARITA   CA    8/30/20173FADP4EJXBM159927
FVSͲ120139332STEPHENR       SECULES                                 AGUANGA                 CA    8/30/20173FADP4EJ4DM200619
FVSͲ120158612ANAL           MENDOZA                                 LAMESA                 CA    8/30/20173FADP4FJ4BM233941
FVSͲ120159783RONALDL        MCEACHERN             MARIJMCEACHERN   SANDIEGO               CA    8/30/20173FADP4FJ4CM187559
FVSͲ120176211BRANDIL        STIFF                                   MENTONE                 CA    8/30/20173FADP4EJ9DM109362
FVSͲ120178559EMILIAL        MEZA                 MARIOGMEZA       POTRERO                 CA    8/30/20173FADP4EJ9DM200714
FVSͲ120180286PAMELAJ        LEVY                                    SANTAMARIA              CA    8/30/20173FADP4EJ9EM114238
FVSͲ120218755NATHANAEL       VAZQUEZ                                 HAYWARD                 CA    8/30/20173FADP4FJXCM194872
FVSͲ120231905DENISEE        ORD                                     CAMARILLO               CA    8/30/20173FADP4FJXBM127607
FVSͲ120241242BENJAMINA      GARCIA                                  WINNETKA                CA    8/30/20173FADP4TJ5EM121156
FVSͲ120482525SARAM          MOORE                                   WRIGHTSVILLE             PA    8/30/20171FADP3F27EL338630
FVSͲ120505070MARKR          SHOULDIS                                NORRISTOWN               PA    8/30/20171FADP3F23EL435274
FVSͲ120511428SCOTTJ         MACUK                                   MISSIONHILLS            CA    8/30/20171FAHP3N25CL189568
FVSͲ120537591BROOKEM        SHARPPORCELLI                           BETHLEHEM               PA    8/30/20171FADP3K23EL188831
FVSͲ120720540AIDAL          FERNANDEZ                               BETHLEHEM               PA    8/30/20171FAHP3F21CL253538
FVSͲ121138976JOSHUAD        JARVIS                                  PITTSBURGH               PA    8/30/20173FADP4BJ1DM207323
FVSͲ800000765JEFFREYC       PAXTON                                  PARMAHTS               OH    8/30/20171FADP3F22FL201046
FVSͲ800001133EDWARD          WIRTH                DARICEA.WIRTH    HERMOSABEACH            CA    8/30/20173FADP4EJOEM203843
FVSͲ800001214JAMESFRANCIS   WASHBURN                                NA                      NA    8/30/20171FADP3F26DL132004
FVSͲ800001370BETTY           HAYES                                   SACRAMENTO               CA    8/30/20173FADP4A57DM131219
FVSͲ800001486ROBERT          INGLESE                                 NORTHHILLS              CA    8/30/20171FAHP3K20CL215885
FVSͲ800001613AMY             ARNELLE                                 SOUTHPASADENA           CA    8/30/20173FADP4FJXBM176998
FVSͲ800001680JAMESH         STEVENSII           CATHYLSTEVENS    CARDIFFBYTHESEA       CA    8/30/20171FAHP3M27CL347801
FVSͲ800002288LESTER          WINTERS                                 MIAMISBURG               OH    8/30/20171FADP3N23EL438788
FVSͲ800002377PAUL            LOVELESS                                MACEDON                 NY    8/30/20172GKALSEK6D6340711
FVSͲ800002598KRISTOPHER      FILEY                                   HARTLAND                MI    8/30/20171FADP3K22DL188978
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FVSͲ800002865DEBRAJ             SCHAPPERT                                    DEFIANCE        OH   8/30/20173FADP4EJXEM111820
FVSͲ800002920CATHERINE           SANCHEZ                                      LOSANGELES      CA    8/30/20171FAHP3E20CL324326
FVSͲ800002962RICHARD             NAYLOK                                       BRISTOLVILLE     OH    8/30/20171FADP3F2XDL219310
FVSͲ800003241LISA                ROBBLO                                       ESCONDIDO       CA    8/30/20171FADP3F25EL391312
FVSͲ800003268LARRY               FERNS                  PATRICIALEETOMISH   TWINNING        MI    8/30/20173FADP4BJ6DM165084
FVSͲ800003276RENEE               NURSE                                        AKRON           OH    8/30/20173FADP4BJ4CM153255
FVSͲ800003390BONNIE              STOKES                                       AKRON           OH    8/30/20171FADP3K20EL107199
FVSͲ800003420GREGORY             STRICK                                       NROYALTON       OH    8/30/20171FADP3F28DL114037
FVSͲ800003454STACIE              TEETERS                                      WAVERLY         OH    8/30/20171FAHP3K25CL434468
FVSͲ800003470JOYCE               TELAKOWICZ                                    ASHLAND         OH    8/30/20171FADP3F20EL217132
FVSͲ800003543DAWN                SHERWOODͲOCHSNER                              MUSKEGON        MI    8/30/20173FADP4BJ8DM153339
FVSͲ800003560JOHNL              HORNER                                       ST.HELEN       MI    8/30/20173FADP4BJ6DM185181
FVSͲ800003586WILLIAM             SIZEMORE                                     BARBERTON        OH    8/30/20171FADP3F23FL260347
FVSͲ800003640WM                  FRIGIE                                       PARMERHIEGHTS   OH    8/30/20171FADP3F22EL201046
FVSͲ800003705MARK                COMBS                                        MIDDLETOWN       OH    8/30/20171FADP3F20DL137201
FVSͲ800003748SHARON              CROSBY                                       DETROIT         MI    8/30/20171FADP3F25DL176494
FVSͲ800003926LAVONNE             LINDEMAN               JAMESLINDEMAN        ETNA            OH    8/30/20173FADP4BJ5CM145651
FVSͲ800004000KAREN               MATUSICKY              DANMATUSICKY         AKON            OH    8/30/20171FAHP3K2XCL336164
FVSͲ800004124BRYAN               CODY                                         HANOVERTON       OH    8/30/20171FADP3F25FL346713
FVSͲ800004140SHERRY              MCCULLUN                                     NELSONVILLE      OH    8/30/20171FADP3F21EL117010
FVSͲ800004230RAY                 MCKERCHER               JEANNEMCKERCHER      STURGIS         MI    8/30/20171FADP3F28EL297330
FVSͲ800004337ANTONIO             SARTO                  ANNASARTO            CLEVELAND       OH    8/30/20171FAHP3K29CL474570
FVSͲ800004370STEVEN              WALTMIRE               JENNIFERWALTMIRE     FINDLAY         OH    8/30/20171FAHP3M25CL216897
FVSͲ800004442CAROLEE             RICHARDS                                     RACINE          OH    8/30/20171FADP3F24DL182402
FVSͲ800004450BRITTANY            GALEN                  DENISECLOS           MENTOR          OH    8/30/20171FADP3F27EL45252
FVSͲ800004469JENNIFER            UMBERG                                       CINCINNATI      OH    8/30/20171FADP3E27DL188387
FVSͲ800004477JOANNA              GARRISON                                     CINCINNATI      OH    8/30/20173FADPUBJXDM175990
FVSͲ800004485LAURIE              HOCKENBERRY                                   NAPOLEON        OH    8/30/20171FAHP3M28CL215047
FVSͲ800004493ANITA               JOHNSON                                      CLEVELAND       OH    8/30/20171FADP3F23DL185372
FVSͲ800004507TOM                 DEMARCO                MICHELEDEMARCO       POLAND          OH    8/30/20171FADP3K27EL128275
FVSͲ800004515ASHLEY              WILLIAMSON                                    MIDDLETOWN       OH    8/30/20171FADP3F27EL418834
FVSͲ800004663CONNIE              MOSES                                        CANTON          OH    8/30/20173FADP4BJ2CM114955
FVSͲ800004825KATIE               PIERSON                MICHAELPIERSON       MINGOJCT       OH    8/30/20171FADP3F29EL428099
FVSͲ800004850MICHELLEL          PEYTON                                       DAYTON          OH    8/30/20171FAHP3E29CL127493
FVSͲ800005449DEBRAA             ALLEBARY                                     GROVECITY      OH    8/30/20171FADP3F29EL361441
FVSͲ800005457PAMELA              BARBER                                       NEWCARLISLE     OH    8/30/20173FADP4EJ7DM202185
FVSͲ800005473KELLY               BUCKLEY                                      LOGAN           OH    8/30/20171FADP3K25EL263366
FVSͲ800005490BRENDA              CLARK                                        SOUTHLEBANON    OH    8/30/20171FADP3F29DL318443
FVSͲ800005503JOSEPH              CLARKE                                       AKRON           OH    8/30/20173FADPEJ1CM128499
FVSͲ800005511CAROL               COLES                                        CLEVELAND       OH    8/30/20171FADP3K28EL205817
FVSͲ800005520TIFFANY             CRUMB                                        CHEBOYGAN        MI    8/30/20171FADP3F23DL267022
FVSͲ800005546PAULINE             EDWARDS                                      CINCINNATI      OH    8/30/20171FADP3F2XEL228591
FVSͲ800005554DAVID               ADKINS                                       SAMHERST        OH    8/30/20171FAHP3N21CL319569
FVSͲ800005562MATTHEW             ANDEMESHEL              JASONPADGETT         REYNOLDSBURG     OH    8/30/20171FADP3F28EL354804
FVSͲ800005597LINDA               GALAGHER                                     CARSON          MI    8/30/20173FADP4BJ7DM129856
FVSͲ800009541ROBERT              KNICKJR                                     VERMILION       OH    8/30/20171FADP3F20EL380007
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                                                        
FVSͲ100101879 ROBERTC            SEYBOLD                                      TOLEDO          OH   8/31/20171FADP3F23DL261818
FVSͲ100210562 DEREKK             PLEVA                                        NEWLENOX       IL    8/31/20171FADP3F27DL350095
FVSͲ100264263 EDELS              BENEVIDES               BRANDYBENAVIDES     POST            TX    8/31/20171FADP3F21DL126711
FVSͲ100298362ASHELYA             JOHNSON                                      HOUSTON         TX    8/31/20171FADP3F21EL130372
FVSͲ100299482JOHNA               JOSEPH                                       RIVERROUGE      MI    8/31/20171FADP3F21EL132803
FVSͲ100428860 MICHELLEA          SMITH                                        ROCHESTER       MN    8/31/20171FADP3F26EL247526
FVSͲ100497764MARISHA              WHITE                                        LORAIN          OH    8/31/20171FADP3F28FL383447
FVSͲ100498396TAYLORB             CHAREST                 TERRYCHAREST        WESTWARICK      RI    8/31/20171FADP3F25DL239738
FVSͲ100590748 MICHAELD           MURRAY                                       TOLEDO          OH    8/31/20171FADP3E2XGL202495
FVSͲ100635997TERESAL             BETTIO                                       TALLMADGE        OH    8/31/20171FADP3F25FL260284
FVSͲ100662765OMA                  ELKINS                                       MANCHESTER       TN    8/31/20171FADP3F22EL387315
FVSͲ100794840JEFFREYA            ROUSE                                        GLENBURNIE      MD    8/31/20171FADP3F29EL363951
FVSͲ100856349EDWARDW             LAVALLEE                                     SHELBURNE       VT    8/31/20171FADP3F22EL125388
FVSͲ100949665 MONICA              CASTROͲMARTINEZ                               ELPASO         TX    8/31/20171FADP3F2XEL241356
FVSͲ101037694TERESAM             ROBINSON                                     HARBINGER       NC    8/31/20171FADP3F25FL264559
FVSͲ101116993 PHILL              MCINTOSH                                     GRANDRAPIDS     MI    8/31/20171FADP3F2XEL419122
FVSͲ101189338SHARONL             HENSLEY                                      RAVENNA         OH    8/31/20171FADP3F22DL168787
FVSͲ101203608JEFFERSONL          WILLIAMSIII                                  DURHAM          NC    8/31/20171FADP3F21EL179894
FVSͲ101236158CATHYT              CHRISTIAN                                    WILLOWWOOD      OH    8/31/20171FADP3F24EL253194
FVSͲ101256345 MIKE                RENEAU                                       GARRISON        TX    8/31/20171FADP3F2XDL195350
FVSͲ101482116CLARENCEA           STODDARD                                     KIRKLIN         IN    8/31/20171FADP3F29EL450894
FVSͲ101524102 NEALF              GOSS                                         WOODBURYHTS     NJ     8/31/20171FADP3J28EL172254
FVSͲ101539339 CHERYLY            MARR                                         WHEATON         MD    8/31/20171FADP3F27EL353743
FVSͲ101565739ALBERTO              SANCHEZ                                      LAREDO          TX    8/31/20171FADP3F25DL270827
FVSͲ101606362 HELENE             PARKER                                       MAYWOOD         IL    8/31/20171FADP3F22EL157628
FVSͲ101696140ANTONIA              PERRIS                                       LAKEWOOD        OH    8/31/20171FADP3F20FL239469
FVSͲ101712367 CATHY               CHILDS                  RAYMONDCHILDS       KELLER          TX    8/31/20171FADP3J28DL295714
FVSͲ101945124 NAOMI               RICHMOND                                     BURLINGTON       NC    8/31/20171FADP3F21FL273307
FVSͲ102014566LLOYDM              LISTERJR                                    CORPUSCHRISTI   TX    8/31/20171FADP3E21EL161364
FVSͲ102112215 MICHELLEELAINES   JACKSON                                      REIDSVILLE      NC    8/31/20171FADP3F22EL170654
FVSͲ102143064GARYD               HAIGLER                                      SALISBURY       NC    8/31/20171FADP3F29DL249771
FVSͲ102233640DEBORAHO            DESHOTEL                SAMANTHADESHOTEL    METAIRIE        LA    8/31/20171FADP3F28DL240947
FVSͲ102325502JOND                CARON                                        EVANS           GA    8/31/20171FADP3F23DL259440
FVSͲ102355380JUANS               LOPEZ                   LETICIARODRIGUEZ    SANANTONIO      TX    8/31/20171FADP3F21EL229290
FVSͲ102468311 CHRISTINAN         DELISLEͲNORTHCUTT                             BANGS           TX    8/31/20171FADP3E28EL183636
FVSͲ102475245 WILLIAMF           ATWOOD                                       ELIZABETHTON     TN    8/31/20171FADP3F20DL182381
FVSͲ102478694WILLIAMD            SIMON                                        NORWOOD         NC    8/31/20171FADP3F26DL282145
FVSͲ102499390WILLIAMK            MCGRATH                                      WATERFORD        MI    8/31/20171FADP3F29EL316581
FVSͲ102510571 DANIELD            JACKSON                 MICHELLERJACKSON   CHAMPLIN        MN    8/31/20171FADP3J23DL123977
FVSͲ102568766 CHRISTINEK         HEVENER                                      SOUTHAMHERST    OH    8/31/20171FADP3F27FL253689
FVSͲ102596697MATTHEW              SURRATT                                      OCEANSIDE       CA    8/31/20171FADP3F27FL255300
FVSͲ102631441 RONALD              SLAYTON                                      GOSHEN          IN    8/31/20171FADP3F22EL195201
FVSͲ102669414THEODORET           LACEY                   CIERRALACEY         CHARLOTTE       NC    8/31/20171FADP3F26EL159365
FVSͲ102691150TAMMYM              GISSINGER                                    APOLLOBEACH     FL    8/31/20171FADP3F25EL204022
FVSͲ102714134 KEVINR             ZELVIS                  AGGIEZELVIS         FRANKLINTON      NC    8/31/20171FADP3F24DL193237
FVSͲ102745900 MARIAE             RAMOS                                        GERMANTOWN       MD    8/31/20171FADP3E21GL215412
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FVSͲ102759375 PAUL             BLACKMAN                                 SIOUXFALLS    SD    8/31/20171FADP3F29DL195839
FVSͲ102807000CODYD            GUNTER                                   ROUGEMONT       NC     8/31/20171FADP3E28FL345072
FVSͲ102807760DAWNR            ODAY                                     BROOKVILLE      OH     8/31/20171FADP3E28FL355892
FVSͲ102895350MATTHEWC         FINAMORE                                 TOMBALL        TX     8/31/20171FADP3F26DL290519
FVSͲ102923450BRANDYA          MURRAY                                   DURHAM         NC     8/31/20171FADP3F21DL266385
FVSͲ102936188TINAM            MERCER                                   TULLAHOMA       TN      8/31/20171FADP3J27FL311498
FVSͲ102952094TRAMYRA           NATHAN                                   SAINTLOUIS     MO     8/31/20171FADP3F27EL254176
FVSͲ102977950 PAULR           LEPLAE                                   BRIGHTON       MI     8/31/20171FADP3F23EL316608
FVSͲ102991740CHARLOTTE         WALKER                                   FAYETTEVILLE    NC     8/31/20171FADP3F25DL308931
FVSͲ103129723 EILEEN           KUBIT                                    CLEVELAND      OH     8/31/20171FADP3F22EL223515
FVSͲ103168940STEVENM          ALBARRACIN           ZHANNAALBARRACIN    MANOR          TX     8/31/20171FADP3F22DL253080
FVSͲ103312234 FRANKJ          PRETZLOFF                                MEDINA         OH     8/31/20171FADP3F25EL409811
FVSͲ103432132JACOBA           SEIBEL                                   MORRISVILLE     NC     8/31/20171FADP3F20EL243648
FVSͲ103440127 CHRISTIANP      HERNANDEZ                                 CERES          CA     8/31/20171FADP3K20DL170737
FVSͲ103458301 DANUTA           WROBLEWSKA                                JAMESBURG       NJ     8/31/20171FADP3F29EL324423
FVSͲ103526447 DAVIDE          GREEN                                    CLEVELAND      OH     8/31/20171FADP3F26EL181625
FVSͲ103791175 CARLITAA        EARL                                     GREENBELT      MD     8/31/20171FADP3F25EL227896
FVSͲ103813616 DIANE            COLANGELO                                SHEFFIELDLK    OH     8/31/20171FADP3F20DL250534
FVSͲ103834176 PRISCILLAN      AVILES                                   TOLLESON       AZ      8/31/20171FADP3J20EL149924
FVSͲ103947370SANDRAS          MCFARLAND                                 GREENSBORO      NC     8/31/20171FADP3F21EL309396
FVSͲ103969993 NEALC           ESTES                                    PFLUGERVILLE    TX     8/31/20171FADP3F26EL342264
FVSͲ104002808PAMELAR          VERHOFF                                  VERMILION      OH     8/31/20171FADP3F29EL205545
FVSͲ104123125JUANP            CANTU                                    EDINBURG       TX     8/31/20171FADP3F29EL263820
FVSͲ104257199JAMESA           WOODDELL                                 TEMPLE         TX     8/31/20171FADP3F28EL259256
FVSͲ104308460PAULA             MCHAN                                    CUYAHOGAFLS    OH     8/31/20171FADP3F2XEL193440
FVSͲ104453664ADOLFINA          DAVALOS                                  SANANTONIO     TX     8/31/20171FADP3F20EL311043
FVSͲ104540877 BRENDAJ         RASNICK                                  MOSHEIM        TN     8/31/20171FADP3F25EL253205
FVSͲ104587482 EVELYN           ROBLESCEDENO                             SAINTCLOUD     FL     8/31/20171FADP3F2XGL261500
FVSͲ104605642ALESHAM          BARKSDALE                                NASHVILLE      TN     8/31/20171FADP3F2XGL273758
FVSͲ104615788 DIANEM          PORTER              MICHELEPORTER       FAYETTEVILLE    NC     8/31/20171FADP3F21EL345248
FVSͲ104634898ROBERTN          JONES                                    SANANTONIO     TX     8/31/20171FADP3F28FL340629
FVSͲ104775700AMANDAL          DESHA               AKAAMANDACIANI     FORTPLAIN     NY     8/31/20171FADP3F26EL215398
FVSͲ104788860SETHT            GREEN                                    NAPOLEON       OH     8/31/20171FADP3F2XEL116213
FVSͲ104839678TERRI             SASSE                                    BOTHELL        WA     8/31/20171FADP3F21EL363930
FVSͲ104866934 RHETTS          GULLEDGEJR                               YOUNGSVILLE     NC     8/31/20171FADP3F26DL207459
FVSͲ104867760CHRISTALA        BROWN                                    CLEVELAND      OH     8/31/20171FADP3F26DL208577
FVSͲ104923610 RENEER          GIDDEY                                   TROY           MI     8/31/20171FADP3F27DL333359
FVSͲ104944498RAYMONDE         WYATTJR                                  TRENTON        OH     8/31/20171FADP3F23DL232772
FVSͲ104970316 DIANER          KALMAN                                   HILLSDALE      NJ     8/31/20171FADP3F29EL215251
FVSͲ105107212 JENNAR          DABKOWSKI                                SANANTONIO     TX     8/31/20171FADP3E23DL372516
FVSͲ105130435JOHND            BRADY                                    WAKEFOREST     NC     8/31/20171FADP3F21DL369077
FVSͲ105138479MARTHA            LINHOSS                                  SEATTLE        WA     8/31/20171FADP3F24DL267949
FVSͲ105215970 TINAL           WARNDORF                                 FLORENCE       KY     8/31/20171FADP3F2XEL351114
FVSͲ105230650 JEFFREYB        STARZYNSKI                               MENTOR         OH     8/31/20171FADP3F26EL228426
FVSͲ105233358MARTHAJ          HARMON                                   HOLLIDAY       TX     8/31/20171FADP3F2XEL362548
FVSͲ105233463 MARKP           ENGELMEYER           MICHAELENGELMEYER   STANTHONY      MN     8/31/20171FADP3F2XEL362615
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FVSͲ105277274 ELOISEE       POLK                                   CLEVELAND        OH    8/31/20171FADP3F26EL379637
FVSͲ105344265 MARYE         MCCARTHY                               SCITUATE         MA     8/31/20171FADP3F21EL101955
FVSͲ105387479 KENNETH        MALLOY                                 YADKINVILLE       NC     8/31/20171FADP3F26DL368863
FVSͲ105426407LYNDAW         SPIVEY                                 HOUSTON          TX     8/31/20171FADP3F24DL276599
FVSͲ105427721 ALICED        WHITAKER                               ROCKYMOUNT       NC     8/31/20171FADP3F24DL278921
FVSͲ105429546JOYCEB         SHAFFER                                MILWAUKEE         WI     8/31/20171FADP3F24DL283147
FVSͲ105493872 RONALD         PICKEL                                 KEARNY           NJ     8/31/20171FADP3F28DL383350
FVSͲ105503479GREGORYN       LANGE                                  FUQUAYVARINA     NC     8/31/20171FADP3F26FL311064
FVSͲ105530476CHRISTOPHERR   COOK                                   IDA              MI     8/31/20171FADP3F29EL354571
FVSͲ105621510 DEBRA          MARTINO                                TINLEYPARK       IL     8/31/20171FADP3F27EL310858
FVSͲ105647349CLAYTONC       WALLEY             KANDISTIPPETT      ARLINGTON        TX     8/31/20171FADP3F29FL335133
FVSͲ105660612 DONNAK        ORSBORN                                RENTON           WA     8/31/20171FADP3F26EL230581
FVSͲ105754129 KYLIEE        BOWERS                                 NEVADA           IA     8/31/20171FADP3K20EL196983
FVSͲ105833428RONALDR        TOMASCH                                GENEVA           OH     8/31/20171FADP3K20EL166933
FVSͲ105841005 UBALDO         GOMEZJR                               LEAGUECITY       TX     8/31/20171FADP3K20EL340502
FVSͲ105919926 ELIZABETHN    MENDEZ                                 ANGIER           NC     8/31/20171FADP3K20GL355746
FVSͲ105933040 ISAIAHA       KYUGA                                  JBLM             WA     8/31/20171FADP3K21DL278428
FVSͲ105949612JAMESK         LUCAS                                  WORCESTER         MA     8/31/20171FADP3K20FL258626
FVSͲ105953261 DAVIDM        NOVICK                                 HOUSTON          TX     8/31/20171FADP3K21EL398389
FVSͲ105964417 SAMUELJ       BAXTER                                 ATLANTA          GA     8/31/20171FADP3K21DL259006
FVSͲ105966959 JESSYB        VAZQUEZ                                LAKEWOOD         WA     8/31/20171FADP3K21EL382838
FVSͲ106001663 ROBERTJ       NASTAN                                 MUNDSPARK        AZ     8/31/20171FADP3K21EL144682
FVSͲ106023969 DONNAL        WRAY                                   RALEIGH          NC     8/31/20171FADP3K21DL216642
FVSͲ106078534 WILLIAMJ      ARNOLD             MARTHAARNOLD       FORTWORTH        TX     8/31/20171FADP3K22DL254056
FVSͲ106187104MARKD          BRUMMER                                SMITHFIELD       NC     8/31/20171FADP3K21GL232618
FVSͲ106290231 PATTIY        COHEN                                  MARLBORO         NJ     8/31/20171FADP3K23DL254812
FVSͲ106387901THERESAL       LAVELY                                 REDFORD          MI     8/31/20171FADP3K22EL371654
FVSͲ106568140 LISAM         LEONE                                  HOUSTON          TX     8/31/20171FADP3K23EL348528
FVSͲ106618687 RUDYF         LADERACH                               ERIE             MI     8/31/20171FADP3K24EL405917
FVSͲ106636278JEFFREYW       GARRISON                               ELIZABETHTON      TN     8/31/20171FADP3K24EL450243
FVSͲ106800736HORACE          PEOPLESJR                             HOPEMILLS       NC     8/31/2017 1FADP3K25EL163221
FVSͲ106812483 HARRISONM     STAUFFER                               RICHARDSON        TX     8/31/20171FADP3K24FL230411
FVSͲ106924257MARGARET        TURNER                                 SEAFORD          NY     8/31/20171FADP3K25DL166733
FVSͲ106979043CAROLM         HANSEN                                 SAGINAW          MI     8/31/20171FADP3K25FL210264
FVSͲ107173670GLENNT         DARCY                                  LEVITTOWN        NY     8/31/20171FADP3K27DL193254
FVSͲ107256614RAYNOLDSC      ROJAS                                  PACIFICGROVE     CA     8/31/20171FADP3K27EL253874
FVSͲ107394588EDUARDOA       BARROW             ALVITAEBARROW     WINSTONSALEM     NC     8/31/20171FADP3K27DL260371
FVSͲ107426447 JOSIE          HOLLOWELL                              HOUSTON          TX     8/31/20171FADP3K28DL351746
FVSͲ107568772 ROSA           PLATT                                  ELGIN            TX     8/31/20171FADP3K29DL132701
FVSͲ107867532 ANNALISEK     WYNN                                   BALTIMORE        MD     8/31/20171FADP3K2XEL159990
FVSͲ107885492 MICHAELD      SLAUZIS            AMANDASLAUZIS      ROANOKERAPIDS    NC     8/31/20171FADP3K29EL425838
FVSͲ107903504JAMESR         BETTE                                  ATHENS           GA     8/31/20171FADP3K2XDL348959
FVSͲ107931834ZACHARYP       PEMBERTON                               LAVERNIA        TX     8/31/20171FADP3K2XDL144274
FVSͲ107981130 LISAM         NOBLE                                  CANALWNCHSTR     OH     8/31/20171FADP3K2XEL246272
FVSͲ107984253 KAREEMO       ABSTON                                 LORAIN           OH     8/31/20171FADP3K2XEL418624
FVSͲ108756815 JACKIEM       SUGG                                   SNOWHILL        NC     8/31/20171FADP3N25EL221789
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FVSͲ108885739JACQUELYND      CURTIS                                 DURHAM           NC    8/31/20171FADP3N25GL228583
FVSͲ108971236MARSHAL         MILLER                                 BELLBROOK        OH     8/31/20171FADP3N2XDL143685
FVSͲ108977412STACYL          ELLIS              KARENELLIS         GREENSBORO        NC     8/31/20171FADP3N27DL149069
FVSͲ109011481DALIAC          PEREIRA                                LUTZ             FL      8/31/20171FADP3N26FL345751
FVSͲ109246268CHRISTOPHERJ    SOLDO                                  BURBANK          CA      8/31/20171FAHP3E25CL244455
FVSͲ109317319BERNARDOR       MONJAREZ           SOLEDADMONJAREZ    HALTOMCITY       TX      8/31/20171FAHP3E24CL313197
FVSͲ109431596DOLORESB        RAMOS                                  ELPASO          TX      8/31/20171FAHP3F20CL132354
FVSͲ109525183ELIZABETHL      CORRELL                                BANDERA          TX      8/31/20171FAHP3F20CL370916
FVSͲ109966473WILLIAML        BELL               DORAJ.BELL        HOUSTON          TX      8/31/20171FAHP3F24CL370885
FVSͲ110283015KIMBERLYD       BROWNELL                               GARDENCITY       MI      8/31/20171FAHP3F25CL426106
FVSͲ110315456LARRYD          TESELLE                                MILFORD          NE      8/31/20171FAHP3F27CL132156
FVSͲ110356985RHONDAG         CZARSKI                                LUPTON           MI      8/31/20171FAHP3F26CL453346
FVSͲ110429109WILLIAMA        SNYDER                                 SUPPLY           NC      8/31/20171FAHP3F26CL420296
FVSͲ110468023EMMETTD         CRAIG                                  DETROIT          MI      8/31/20171FAHP3F27CL448222
FVSͲ110469852ALANS           COHEN                                  APPLEVALLEY      MN      8/31/20171FAHP3F27CL451301
FVSͲ110720393CARLAC          TANNER                                 WACO             TX      8/31/20171FAHP3F29CL458296
FVSͲ110873424SHUWEI           DAI                STEPHENRICHMOND    ROCKVILLE        MD      8/31/20171FAHP3F2XCL422598
FVSͲ111260698TREVORJ         GROVOGEL           PATRICIAMOORE      DEPERE          WI      8/31/20171FAHP3H26CL313794
FVSͲ111283248DAVID            PEREA                                  FORTWORTH        TX      8/31/20171FAHP3H24CL119393
FVSͲ111306655SHIRLEYB        HAYES                                  BREAUXBRIDGE     LA      8/31/20171FAHP3H27CL117816
FVSͲ111662931BRENDAE         DELLADONNA                              MACON            GA      8/31/20171FAHP3H2XCL397683
FVSͲ111964016JOSEPHINE        JOHNSON                                STPETERSBURG     FL      8/31/20171FAHP3K22CL462258
FVSͲ112084672ROBERTC         RICHARDSON                              ATLANTA          GA      8/31/20171FAHP3K25CL186027
FVSͲ112332447HARRIETTES      KELLY                                  SHADYSIDE        OH      8/31/20171FAHP3K26CL299632
FVSͲ112361110ELIZABETHS      PERRY                                  RALEIGH          NC      8/31/20171FAHP3K25CL443199
FVSͲ112476171THERESAN        HAMM                                   CARY             NC      8/31/20171FAHP3K27CL307706
FVSͲ112477046NANCYL          HIEBLER                                ALDEN            NY      8/31/20171FAHP3K27CL310203
FVSͲ112519709PHILIPS         ARMSTRONG           ALLISONARMSTRONG   OZARK            MO      8/31/20171FAHP3K2XCL109329
FVSͲ112557414JOHNW           MCCUTCHEN           SUSANCMCCUTCHEN   WARRIOR          AL      8/31/20171FAHP3K29CL443481
FVSͲ112592988FRED             CAMPBELL                               CHATTANOOGA       TN      8/31/20171FAHP3K2XCL300233
FVSͲ112671080JONF            SUSTARICH          SANDRASUSTARICH    FITCHBURG        WI     8/31/20171FAHP3M20CL463342
FVSͲ112753477REBECCAL        BEHRING            ELROYBEHRING       HUNT             TX      8/31/20171FAHP3K2XCL366393
FVSͲ112831273JOSEPH           NOTO                                   WEAVERVILLE       NC     8/31/20171FAHP3M20CL276439
FVSͲ112927785JAMESE          STEAGALL           AMELIASTEAGILL     SILVERSPRING     MD     8/31/20171FAHP3M26CL293262
FVSͲ113054475THERESAA        SUVAK                                  MADISON          OH     8/31/20171FAHP3M26CL134614
FVSͲ113141874JOSEA           GONZALEZ                               ELPASO          TX     8/31/20171FAHP3M2XCL479029
FVSͲ113167172JACQUELINED     READER                                 TEXARKANA        TX     8/31/20171FAHP3M26CL367151
FVSͲ113230206THOMASG         NYKOLAYKO                              THREELAKES       WI      8/31/20171FAHP3N24CL399739
FVSͲ113326033CHRISTINEE      JACOBS             CRAIGSCHOINTUCH    OWINGSMILLS      MD      8/31/20171FAHP3N29CL288264
FVSͲ113330200TERESAA         SUMMERS            JAMESHALL          DURHAM           NC      8/31/20171FAHP3N23CL426638
FVSͲ113331100JAIMEEL         TAYLOR             BRADPETERS         LAKELURE        NC      8/31/20171FAHP3N23CL443861
FVSͲ113352298CLARENEA        BANKS              TIMOTHYM.BANKS    SANANTONIO       TX      8/31/20171FAHP3N29CL235175
FVSͲ113561784JOANE           WISEMAN                                BELLEVILLE       IL     8/31/20173FADP4AJ2GM206820
FVSͲ113763840ALEXANDRAN      GRIFFIN            ALEXANDRACASEY     HAVELOCK         NC     8/31/20173FADP4AJ5EM189220
FVSͲ114305668SHARIA          BACKMAN                                COONRAPIDS       MN     8/31/20173FADP4BJ1DM220461
FVSͲ114632111STANLEY          HIGGS                                  ALLEN            TX     8/31/20173FADP4BJ2CM121162
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FVSͲ114874557 DAVIDA         SPORE                                       ARLINGTON       TX   8/31/20173FADP4BJ3EM163150
FVSͲ114879656TYSONN          HARTLESS                                    RUSTBURG        VA    8/31/20173FADP4BJ4EM174111
FVSͲ114912807SHIRLEYL        WYANS                                       FOSTORIA        OH    8/31/20173FADP4BJ4EM153839
FVSͲ114973253 NEIL            ATKINSON                                    SPRING          TX    8/31/20173FADP4BJ4CM134740
FVSͲ115103414 HARRYE         LORSJR                                      CONCORD         OH    8/31/20173FADP4BJ5FM126361
FVSͲ115452214SHARONE         DORTY                  JASMINEDORTY        SALISBURY       NC    8/31/20173FADP4BJ8CM145336
FVSͲ115456953 NICOLEM        BLACK                                       HOWELL          MI    8/31/20173FADP4BJ8CM158071
FVSͲ115524460JARMOA          MAUNU                                       CHATHAM         NY    8/31/20173FADP4BJ7FM101865
FVSͲ115587977JONATHAN         TAYLOR                                      CLINTONTWP      MI    8/31/20173FADP4BJ8DM140932
FVSͲ115734090CYNTHIA          PENNICK                                     AUSTIN          TX    8/31/20173FADP4BJ9CM137617
FVSͲ115737286 PATRICIAL      EPPERSON                                    CLERMONT        FL    8/31/20173FADP4BJ9GM103733
FVSͲ115802770 MICHAELA       MAZZONE                                     PORTSMOUTH       VA    8/31/20173FADP4BJ9BM225498
FVSͲ115853537SELINAR         LEDERMAN                                    SALISBURY       MD    8/31/20173FADP4BJ9DM175401
FVSͲ115863753 DEZIR          SAYERS                                      ELYRIA          OH    8/31/20173FADP4BJ9FM101916
FVSͲ115992898 DOLORES         CROMWELL                                    MAYWOOD         NJ    8/31/20173FADP4BJXCM198037
FVSͲ116143398BARBARA          VIAMONTE                                    WESTISLIP      NY    8/31/20173FADP4CJ5DM202883
FVSͲ116267135 RICK            CUNNYNGHAM                                   DAYTON          TN    8/31/20173FADP4CJ9DM157902
FVSͲ116316063SANDOS          FAWUNDU                C/OTAMARAFELDER    PEORIA          AZ    8/31/20173FADP4EJ1DM109761
FVSͲ116365463JACOBA          EAST                                        TOLEDO          OH    8/31/20173FADP4EJ1FM171860
FVSͲ116411236 LEE             SANDERS                CAROLSAUNDERS       MITCHELL        IN    8/31/20173FADP4EJ1BM240590
FVSͲ116711477 RENEEY         SCOTT                  FRANK SCOTT          UPPRMARLBORO    MD    8/31/20173FADP4EJ4DM183935
FVSͲ116769181 ROBERTE        ATKINS                                      PORTAGE         MI    8/31/20173FADP4EJ4CM221789
FVSͲ116907592ASHLEYM         COLLINS                                     SHEFFIELDVLG    OH    8/31/20173FADP4EJ5EM103124
FVSͲ116913290 KATHEA         WILLEMS                                     OCEAN           NJ    8/31/20173FADP4EJ6DM182706
FVSͲ116959924JENNAD          LITTLE                                      URBANA          IL    8/31/20173FADP4EJ6CM221518
FVSͲ117233889CYNTHIAB        ARZUAGAͲFLORES                               LASPIEDRAS      PR    8/31/20173FADP4EJ9EM104695
FVSͲ117252832CRISTOBAL        VALENCIA                                    ELPASO         TX    8/31/20173FADP4EJ8BM234110
FVSͲ117816230 REBECCAE       YOUNT                  JESSEABARBER       HUDSON          NC    8/31/20173FADP4FJXBM227657
FVSͲ117889636SHERYLD         STEWART                                     MARINADELREY   CA    8/31/20173FADP4FJ8DM153559
FVSͲ118002210JOANNAB         GOOD                                        ANNAPOLIS       MD    8/31/20173FADP4TJ1DM174175
FVSͲ118154087GARYL           DEVERS                 MICHELLEMORPHIS     OAKLAND         CA     8/31/20171FADP3E21FL287998
FVSͲ118176340ABRAHAM          AVILA                                       ANAHEIM         CA     8/31/20171FADP3E20EL287070
FVSͲ118181335CESARM          ZARAGOZA               EDGARZARAGOZA       ANAHEIM         CA     8/31/20171FADP3F20DL302289
FVSͲ118187597 ESMERELDA       BENITEZ                                     TEMECULA        CA     8/31/20171FADP3F20DL235113
FVSͲ118191934DONNAB          ABRAMSON                                    SANTAMONICA     CA     8/31/20171FADP3F20EL142139
FVSͲ118201301YOLANDA          MENDEZ                 ABRAHAMBAEZA        ONTARIO         CA     8/31/20171FADP3F20DL171512
FVSͲ118204890 BRIANNAL       HALE                                        ORANGE          CA     8/31/20171FADP3F21EL224624
FVSͲ118214420JUANJ           PADRONRUIZ             EVARUIZ             THOUSANDOAKS    CA     8/31/20171FADP3E29FL294178
FVSͲ118262980 NICOLE          HERRERA                                     LOSANGELES      CA     8/31/20171FADP3E27EL432105
FVSͲ118282069JOSEL           DIAZ                   RUBENLOPES          GLENDORA        CA     8/31/20171FADP3F23FL241278
FVSͲ118306596 LUISG          VELASQUEZ              MERCEDESVELASQUEZ   BAKERSFIELD      CA     8/31/20171FADP3F20FL232294
FVSͲ118322028 MIGUEL          VINCESBUSTAMANTE                             CAMPBELL        CA     8/31/20171FADP3F24GL234566
FVSͲ118333275 ELIZABETH       HANNA                                       FOLSOM          CA     8/31/20171FADP3F25DL290592
FVSͲ118364740JESSIKAR        BARKER                                      ROSEVILLE       CA     8/31/20171FADP3F24EL248755
FVSͲ118366017 PHILLIPE       LOQUETII              PHILLIPLOQUET       LAHABRA        CA     8/31/20171FADP3F24EL281755
FVSͲ118367242JENNIFERC       FABING                                      OAKDALE         CA     8/31/20171FADP3F24EL312227
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                                                   
FVSͲ118380630JASMINE         HARGROVE                                      SANLEANDRO    CA   8/31/20171FADP3F25GL225746
FVSͲ118380710TREASA          DAWES                                         LOSANGELES     CA    8/31/20171FADP3F25GL230445
FVSͲ118396064 MICHELLEA     GARCIA                                        FONTANA        CA    8/31/20171FADP3F24EL131967
FVSͲ118396951 ELIZABETHJ    DELLINGER                                     NHOLLYWOOD     CA    8/31/20171FADP3F24EL156402
FVSͲ118404970CARLOSE        MARTINEZ                                      LOSANGELES     CA    8/31/20171FADP3F27DL340831
FVSͲ118408518MATTHEWG       BALL                    TANYABALL            WESTHILLS     CA    8/31/20171FADP3F25FL281295
FVSͲ118411500JERONIMO        AMAVISCA                MARIA                 FRESNO         CA    8/31/20171FADP3F27EL260012
FVSͲ118421212 CRISTIANO     CERVANTES               ESMERALDACERVANTES   REDWOODCITY    CA    8/31/20171FADP3F27DL201704
FVSͲ118423207JUNEA          GREEN                                         PASADENA       CA    8/31/20171FADP3F27DL236369
FVSͲ118449427ADRIAN          VELAZCOMORENO                                 SANYSIDRO     CA    8/31/20171FADP3F27DL151970
FVSͲ118462946JOHN            MAGNESS                 LAURAMAGNESS         SIMIVALLEY    CA    8/31/20171FADP3F28DL335119
FVSͲ118465333 LEONID         KASMINSKIY                                    SUNNYVALE      CA    8/31/20171FADP3F28DL374552
FVSͲ118498924CHRISTOPHER     DUFF                    AMANDADWYER          CARLSBAD       CA    8/31/20171FADP3F25EL111176
FVSͲ118515900 JENNIFERE     PATTERSON                                     NHOLLYWOOD     CA    8/31/20171FADP3F27GL306229
FVSͲ118525832 DONALDT       BECCUE                  ALICIABECCUE         RIVERSIDE      CA    8/31/20171FADP3F29DL291065
FVSͲ118535129 MAYRAPEREZ    REYES                                         MORENOVALLEY   CA    8/31/20171FADP3FE9GL226196
FVSͲ118537679 CESARV        OSNAYA                                        COLTON         CA    8/31/20171FADP3F26EL198814
FVSͲ118545680 JULIE          WUBBENA                 DOUGWUBBENA          FULLERTON      CA    8/31/20171FADP3F2XEL374361
FVSͲ118546465 LORENZO        ALTAMIRANOTORRES                              PANORAMACITY   CA    8/31/20171FADP3F2XEL391208
FVSͲ118546902 CHELSEAR      PASCOE                  CONSTANCERVAWTER    YUBACITY      CA    8/31/20171FADP3F2XEL399700
FVSͲ118546970CAROL           STONE                                         FRESNO         CA    8/31/20171FADP3F2XEL400022
FVSͲ118561685 STEVES        KEATING                                       RIVERSIDE      CA    8/31/20171FADP3F29DL264075
FVSͲ118564412 JAIME          BARRAZA                                       AZUSA          CA    8/31/20171FADP3K20DL290330
FVSͲ118572270JORDAN          CLAYTON                                       CORONA         CA    8/31/20171FADP3F2XEL247870
FVSͲ118575368ANGELINA        PELUSO                                        STOCKTON       CA    8/31/20171FADP3K20EL363830
FVSͲ118587390 SERGIOJ       PIZARRO                 MARIAPIZARRO         COSTAMESA      CA    8/31/20171FADP3K20DL170625
FVSͲ118594109 MELISSA        OCHOA                                         SANDIEGO      CA    8/31/20171FADP3F29DL170603
FVSͲ118600133CARMENN        TYGARD                  BRADLEYETYGARD      RIALTO         CA    8/31/20171FADP3F2XDL335087
FVSͲ118638378 RICHARD        PEREZ                                         ESCONDIDO      CA    8/31/20171FADP3K23EL111019
FVSͲ118648411CARLOSM        MURCIA                  KYLACONRAD           OCEANSIDE      CA     8/31/20171FADP3J27EL382411
FVSͲ118667220JEAN            HIATT                                         WHITTIER       CA    8/31/20171FADP3F2XDL164213
FVSͲ118673378GEORGE          PAPAMICHAEL                                    LAKEELSINORE   CA    8/31/20171FADP3K23DL164270
FVSͲ118673785 STEVAN         SALINAS                                       CASTROVALLEY   CA    8/31/20171FADP3K23DL177987
FVSͲ118686674NANCYL         BRIGGS                                        SONOMA         CA    8/31/20171FADP3K21DL211215
FVSͲ118703706DAKOTAJ        DENTON                                        ALISOVIEJO    CA    8/31/20171FADP3K25DL158891
FVSͲ118710451 MALAGONJ      MEJIA                                         TRACY          CA     8/31/20171FADP3J22EL219634
FVSͲ118711466ASAD            SALAHUDDIN                                     ELKGROVE      CA     8/31/20171FADP3J22FL275624
FVSͲ118720732 DAVIDP        ZARUBIN                 SONDRAZARUBIN        PLEASANTON      CA    8/31/20171FADP3K21DL152201
FVSͲ118734598 EDISONT       BERRY                   CHRISTINABERRY       UPLAND         CA    8/31/20171FADP3K26DL204776
FVSͲ118753878JAMESR         CATALDO                                       SANTACLARITA   CA    8/31/20171FADP3K25GL227373
FVSͲ118789210COLET          RALEY                                         SANTEE         CA    8/31/20171FADP3K22DL319939
FVSͲ118810200STEVENR        STROMNES                                      SANTAMARIA     CA    8/31/20171FADP3K25EL375083
FVSͲ118830066FAWND          ALLEN                                         ESCONDIDO      CA    8/31/20171FADP3K23FL324554
FVSͲ118836781ANDREAL        ALONSOTOLEDO                                  GLENDALE       CA    8/31/20171FADP3K25EL110857
FVSͲ118855000YOLANDA         OGLE                                          MTHAMILTON     CA    8/31/20171FADP3K2XEL264612
FVSͲ118857541CHARLOTTEY     THRASH                                        PARAMOUNT       CA    8/31/20171FADP3K28EL327562
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                                               
FVSͲ118857940BENAYM          BOWLES                                ARCATA           CA    8/31/20171FADP3K28EL341865
FVSͲ118864556MACQUIRE         AYOTTE                                ENCINITAS        CA     8/31/20171FADP3K2XFL363948
FVSͲ118891405ANNIEH          CRATON                                SANTABARBARA     CA     8/31/20171FADP3K28EL236064
FVSͲ118891499MAXWELL          SALZBERG                              SANFRANCISCO     CA     8/31/20171FADP3K28EL237991
FVSͲ118891766TEAUNNAELEESE   DENSON                                MORENOVALLEY     CA     8/31/20171FADP3K28EL247792
FVSͲ118902873 LETISHAI       VITTORIA                              OXNARD           CA     8/31/20171FADP3K2XDL170826
FVSͲ118931016 LETITIAN       AUSTIN                                OXNARD           CA     8/31/20171FADP3N21DL296505
FVSͲ118936123 ROBERTD        BAGWELL                               MONTEBELLO        CA     8/31/20171FADP3N22DL221909
FVSͲ118939815JASMINE          LOPEZ                                 SANMIGUEL        CA     8/31/20171FADP3K29GL362971
FVSͲ118956493 DANIELS        GRAGO                                 SANRAMON         CA     8/31/20171FADP3N22FL221783
FVSͲ118964631ANTONIO          DELGADILLO                             OAKLAND          CA     8/31/20171FADP3K28DL222096
FVSͲ119003511JAYROD          VILLALOBOS                            ELMONTE         CA     8/31/20171FADP3L99GL268147
FVSͲ119059363ALICEJ          CHRISTIE           TONYCHRISTIE      ANAHEIM          CA     8/31/20171FAHP3E25CL468406
FVSͲ119096080TERESAY         HITO                                  SYLMAR           CA     8/31/20171FAHP3F21CL406984
FVSͲ119128322ALINA            CASSO                                 LONGBEACH        CA     8/31/20171FADP3N25DL374011
FVSͲ119148315 MANUEL          AGUIRRE            AURORACASTILLO    VANNUYS         CA     8/31/20171FAHP3F25CL392071
FVSͲ119151456 ERNEST          SEVILLA            TERINASEVILLA     MENIFEE          CA     8/31/20171FAHP3F20CL436011
FVSͲ119163772 MICHAELH       MAZZONE                               LADERARANCH      CA     8/31/20171FADP3N24DL151975
FVSͲ119192535JAMESM          HURLEY             NICOLEHURLEY      PINONHILLS       CA     8/31/20171FAHP3F29CL236907
FVSͲ119204053 MARGARITAA     OWENS              MARCUSJOWENS     BELLFLOWER        CA     8/31/20171FAHP3F2XCL216908
FVSͲ119204479 MICHAELE       BUGIEL                                LAMESA          CA     8/31/20171FAHP3F2XCL236768
FVSͲ119281880MARLAR          ABRAMSON                              SAUGUS           CA     8/31/20171FAHP3H21CL479172
FVSͲ119288966DANNM           DAGGETT                               OXNARD           CA     8/31/20171FAHP3F23CL154932
FVSͲ119310210JOSEE           FELIX                                 FOLSOM           CA     8/31/20171FAHP3H21CL175288
FVSͲ119310945ANTONIOD        GARCIA                                TUJUNGA          CA     8/31/20171FAHP3H21CL206782
FVSͲ119313022 MELISSAE       MAHAN                                 PITTSBURG        CA     8/31/20171FAHP3K21CL468598
FVSͲ119316404 KENNETHL       WRIGHT             ANDREWWRIGHT      INDIO            CA     8/31/20171FAHP3K22CL237192
FVSͲ119348063SUSANC          ADDONA                                OCEANSIDE        CA     8/31/20171FAHP3K27CL236751
FVSͲ119348993 FRANCISCA       AGUERO                                CUDAHY           CA     8/31/20171FAHP3H26CL393761
FVSͲ119352923 NANCYA         HOGAN              BRIANLHOGAN      AUBURN           CA     8/31/20171FAHP3K26CL244436
FVSͲ119354543WILLIAMJ        FREDERICKII        KATHERINEHOEY     NOVATO           CA     8/31/20171FAHP3K26CL285357
FVSͲ119368072 MICHELLEK      HOLBROOK                              FAIRFIELD        CA     8/31/20171FAHP3K27CL397598
FVSͲ119389347 MUTSUKO         SAKO                                  ELKGROVE        CA     8/31/20171FAHP3M21CL274196
FVSͲ119391511 NATHANIELS     PHARES                                SANCLEMENTE      CA     8/31/20171FAHP3K20CL252371
FVSͲ119400235THOMASM         MOSCATELLI          DORISMOSCATELLI   MADERA           CA     8/31/20171FAHP3M20CL279664
FVSͲ119445980JOSEPH           MELUCCI                               BARSTOW          CA     8/31/20171FAHP3K29CL452164
FVSͲ119459183 MICHAELJ       GARANT             LINDAGARANT       VACAVILLE        CA     8/31/20171FAHP3J26CL305057
FVSͲ119466279JENNIFERA       CORDARO            JULIECORDARO      ANDERSON         CA     8/31/20171FAHP3K24CL244175
FVSͲ119480271THEAN           TEAGUE                                AGOURAHILLS      CA     8/31/20171FAHP3K29CL273736
FVSͲ119481618 BORISLAV        TERZIYSKI                             ROSEVILLE        CA     8/31/20171FAHP3K29CL314561
FVSͲ119482398 MARIA           RICCI                                 CARDIFF          CA     8/31/20171FAHP3N27CL477687
FVSͲ119487683CHRISTOPHERA    FANDREY                               POWAY            CA     8/31/20171FAHP3N29CL429530
FVSͲ119501007 LUIS            SANDOVAL                              APPLEVALLEY      CA     8/31/20171FAHP3K23CL362525
FVSͲ119501929 HIRAM           ROSARIO            LESLIEROSARIO     BURBANK          CA     8/31/20171FAHP3K23CL392530
FVSͲ119545802VICTORIAR       BRAUM                                 LARKSPUR         CA     8/31/20173FADP4AJ3CM154172
FVSͲ119549166GLORIA           THURLOW                               ELCENTRO        CA     8/31/20173FADP4AJ3EM148763
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FVSͲ119555662ARISTEOJ        BARRALES           EUGENIOSANCHES     SOUTHGATE          GA   8/31/20171FAHP3M24CL206166
FVSͲ119566249 FORRESTD       JORDAN                                  SANDIEGO           CA    8/31/20171FAHP3N22CL415954
FVSͲ119606704SONJAM          STOCKER                                 MONTEREY            CA    8/31/20171FAHP3N21CL274133
FVSͲ119609770AGNES            CASTILLO                                LOSANGELES          CA    8/31/20173FADP4BJ1EM243756
FVSͲ119657910DONNAL          WILLIS                                  CARUTHERS           CA    8/31/20173FADP4BJ3FM196022
FVSͲ119659425 NANCYL         BRIGGS                                  SONOMA              CA    8/31/20173FADP4BJ3GM120334
FVSͲ119662752 MARINA          VENTURAZARATE                            SANTAROSA           CA    8/31/20173FADP4AJ7DM150188
FVSͲ119668467 MARTIN          NELIS                                   PLEASANTHILL        CA    8/31/20173FADP4BJ3DM208442
FVSͲ119692317 KELLYS         VINCENT            JENIVINCENT         AMERICANCYN         CA    8/31/20173FADP4BJ3CM154252
FVSͲ119711907 MILDRED         POTASH                                  MOORPARK            CA    8/31/20173FADP4BJ0EM190659
FVSͲ119720302 DAVIDM         BARRACK                                 SACRAMENTO           CA    8/31/20173FADP4BJ5EM244019
FVSͲ119728249JAVIER           AYALA              TERESAAYALA         PARAMOUNT            CA    8/31/20173FADP4BJ3CM135006
FVSͲ119763257STEPHENB        CABRERA                                 ONTARIO             CA    8/31/20173FADP4BJ2FM210931
FVSͲ119763478NOLAND          CAVE               REYNAWATERS         MISSIONVIEJO        CA    8/31/20173FADP4BJ2FM216700
FVSͲ119765284 EUNS           YANG               HANNAHH.YANG       TEMECULA            CA    8/31/20173FADP4BJ7EM203830
FVSͲ119789086 KRISTONR       MORRIS                                  SANTEE              CA    8/31/20173FADP4BJ7DM185926
FVSͲ119815710 PAM             CARLSON                                 NIPOMO              CA    8/31/20173FADP4BJ9GM143617
FVSͲ119830612VICTORIAM       ROSAS                                   POMONA              CA    8/31/20173FADP4BJXEM125480
FVSͲ119843544 RICARDOD       ARCEGA                                  LITTLEROCK          CA    8/31/20173FADP4BJ4DM225993
FVSͲ119859939 KATHY           JEFFERY                                 ELCAJON            CA    8/31/20173FADP4CJ6BM135532
FVSͲ119860210 ESTHER          HERNANDEZ                                SOUTHGATE           CA    8/31/20173FADP4CJ6BM186271
FVSͲ119905736 RICHARDL       CROSS              JEANNIECROSS        MANTECA             CA    8/31/20173FADP4EJ1EM169234
FVSͲ119914883SEANM           HUTCHINSON                               LOSANGELES          CA    8/31/20173FADP4EJ2BM180643
FVSͲ119935104 ROGER           ROJAS                                   ONTARIO             CA    8/31/20173FADP4BJ8GM108003
FVSͲ119977575CLIFFORDA       SMITH              PARKERCSMITH       APPLEVALLEY         CA    8/31/20173FADP4BJXGM150107
FVSͲ120020092 RELUCIO         ASENCION           ROXANNEAASENCION   STOCKTON            CA    8/31/20173FADP4EJ0DM109461
FVSͲ120033330JERRYM          POMERANTZ           NANCYGREYSTONE      SANTAMONICA         CA    8/31/20173FADP4EJ8BM145461
FVSͲ120054116JEFFK           HOBART                                  SNLUISOBISP        CA    8/31/20173FADP4EJ0BM145633
FVSͲ120089742WAYNE            DOBIAS                                  PALMBEACHGARDENS   FL    8/31/20173FADP4FJ6CM159486
FVSͲ120100150NANCY            GARCIA             SANDRAGARCIA        MURRIETA            CA    8/31/20173FADP4EJ2DM220982
FVSͲ120130874DYANNAD         STETINA                                 SANTAROSA           CA    8/31/20173FADP4FJ6BM186380
FVSͲ120151960KATHRYNA        PERRY                                   FRESNO              CA    8/31/20173FADP4EJ7CM137997
FVSͲ120159864MOSES            ARAMBULA                                STOCKTON            CA    8/31/20173FADP4FJ4CM196732
FVSͲ120184222WENDYJ          VILLALTA                                HAWTHORNE            CA     8/31/20173FADP4FJ3FM198427
FVSͲ120197375 MICHAELD       BELL                                    LAKESIDE            CA    8/31/2017 3FADP4EJ9BM233967
FVSͲ120213532 RICKY           LIRA                                    CHINO               CA    8/31/20173FADP4FJ1BM167705
FVSͲ120215713LAMBERTW        DYKEMA             CLARADYKEMA         LUCERNE             CA    8/31/20173FADP4FJ1CM183128
FVSͲ120293269ALEXANDRIAE     BLANK                                   PHILADELPHIA         PA     8/31/20171FADP3F23DL331950
FVSͲ120368013JUDITHA         CAIN                                    MONONGAHELA          PA     8/31/20171FADP3F24EL379751
FVSͲ120472929 MIKHAILA       KAGAN                                   HUNTINGDONVY        PA     8/31/20171FADP3K20EL226953
FVSͲ120615940SARAHE          COSNER             JOHNCOSNER          CAPECORAL           FL     8/31/20171FADP3K2XDL199629
FVSͲ120672170MAUREENS        SCHMITZ                                 PITTSBURGH           PA     8/31/20171FADP3F2XEL151060
FVSͲ120984725 LAWRENCE        BUTLER                                  CHESTER             PA    8/31/20173FADP4AJ5DM173808
FVSͲ121165884JANISA          PLISKO                                  SCRANTON            PA    8/31/20173FADP4EJ6EM107439
FVSͲ121190625 DEBRAA         SPYKER                                  HARRISBURG           PA    8/31/20173FADP4FJ9BM175115
FVSͲ121229106TAIJAMARIE      RAUCH                                   DENVER              PA    8/31/20173FADP4FJ3BM159508
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FVSͲ121240410MOHAMEDJ        BAH                                     CARNEGIE              PA   8/31/20173FADP4BJXCM176166
FVSͲ121310086EDWARDC         PUFFENJR                                MANCHESTER             NH    8/31/20171FADP3E25DL330008
FVSͲ800000870MARGARITA        PINEDO                                  CANOGAPARK            CA    8/31/20171FADP3K21EL399350
FVSͲ800000897DOROTHYK        ANGELES                                 UPLAND                CA    8/31/20173FADP4BJ2FM210931
FVSͲ800000900 MICHAELE       BUGIEL                                  LAMESA               CA    8/31/20173FADP4BJ3CM126385
FVSͲ800000960DEBORAH          MPORTER                                WAKEMAN               OH    8/31/20171FADP3K22DL114038
FVSͲ800000986HANNAH           WOOLEN               MOLLYWOOLEN       THEPLAINS            OH    8/31/20171FADP3F26EL339977
FVSͲ800001036JACLYN           LUDOWSKY                                PAINESVILLE            OH    8/31/20172FMDK4JC0EBB53538
FVSͲ800001346 KELSEA          HANN                                    HUNTINGTONBEACH       CA    8/31/20173FADP4FJSBM114439
FVSͲ800001460KAREN            HALEY                                   APPLEVALLEY           CA    8/31/20173FADP4EJ6EM206259
FVSͲ800001524JOSE             URENDA                                  BELLGARDENS           CA    8/31/20171FADP3K22GL372595
FVSͲ800001532 BLANCO          HERANDEZ                                BELLGARDENS           CA    8/31/20171FADP3K22GL372595
FVSͲ800001850CYNTHIA          DURAN                                   MCALLEN               TX    8/31/20171FADP3E21EL208702
FVSͲ800001931 FREDRICK        SCHWARTZ                                SMITHFIELD            RI    8/31/20173FADP4EJ6DM206468
FVSͲ800001958 MICHAEL         FLOERKE                                 NORTHRICHLANDHILLS   TX    8/31/20173FADP4EJ9BM23113
FVSͲ800002083ASHLEY           PAGE                 JACECLARK         OAKHLLS              CA    8/31/20171FADP3K21HL299799
FVSͲ800002318 LACEYE         BURDICK                                 ORANGEVALE             CA    8/31/20171FADP4TJ8DM226403
FVSͲ800002610WILLIAM          HILL                                    SUFFIELD              CT    8/31/20173FADP4BJ5DM182698
FVSͲ800002792 KELLY           ADAMS                                   CIRCLEVILLE           OH    8/31/20173FADP4BJ2CM102210
FVSͲ800002881ADRIANNAC       BISH                                    CORONA                CA    8/31/20173FADP4EJ1DM132442
FVSͲ800002954JACQUELYN        MAY                                     TOLEDO                OH    8/31/20173FADP4FJ9DM206544
FVSͲ800002970JARED            VOLZ                 DEVONVOLZ         PORTAGE               MI    8/31/20171FADP3K23DL189024
FVSͲ800003144 MICHAEL         FINNERIN                                HALETHORPE             MD    8/31/20171FADP3F24DL275467
FVSͲ800003993 ANI             NIKOLOVA                                CANYONCOUNTRY         CA    8/31/20173VWBK21C92M405665
FVSͲ800004019 KARINAI        PERCIVAL                                LAMESA               CA    8/31/20171FADP3K24DL290394
FVSͲ800005228MARK             GONZALES                                ANCHORAGE              AK    8/31/20173FADP4BJ6CM181400
FVSͲ800005740RAMON            ORTIZ                                   ELPASO               TX    8/31/20173FADP4EJ9MC153618
FVSͲ800005783 KYRSTAL         ARDRADE                                 ELPASO               TX    8/31/20173FADP4EJ9MC153618
FVSͲ800007212 NICOLEANN      VALCARCEL                               BOYNTONBEACH          FL    8/31/20171FADP3J24DL382638
FVSͲ100025838ANDREAL         HAMM                                    ERIE                  MI    9/1/20171FADP3F24GL275179
FVSͲ100048064TOMMY            MORRISON                                COMANCHE              OK    9/1/20171FADP3F20DL362203
FVSͲ100172288ANNETTEL        PAUL                                    MIDDLEBURG             FL    9/1/20171FADP3F29EL222300
FVSͲ100231578RAMSEYH         FRANKLIN             BARBARAFRANKLIN   VIRGINIABCH           VA    9/1/20171FADP3F22DL121761
FVSͲ100236316JOHNC           ALDAO                                   WELLINGTON             FL    9/1/20171FADP3F27EL203860
FVSͲ100267262TRACYR          CAUGHEY                                 BATTLEMENTMESA        CO    9/1/20171FADP3F21DL132850
FVSͲ100281133 PAMELA          HODGINS                                 DAKOTADUNES           SD    9/1/20171FADP3F25EL300037
FVSͲ100285600ZAIDAE          AGUILERAͲYANES                           MIAMIBEACH            FL    9/1/20171FADP3F28DL205146
FVSͲ100305989SHARONM         ROESSLER                                HOLLYHILL             FL    9/1/20171FADP3F20DL369782
FVSͲ100339212 BRUCEA         CARTER                                  BLACKWATER             MO    9/1/20171FADP3F24DL296058
FVSͲ100366511 FERNANDO        CASILLASJR                              HOMESTEAD              FL    9/1/20171FADP3E20DL361974
FVSͲ100381910JANETA          KENNEDY                                 JOHNSONCITY           TN    9/1/20171FADP3F24EL450219
FVSͲ100420680DEBORAHD        MOBLEY                                  CLEVELAND             OH    9/1/20171FADP3F22EL357294
FVSͲ100428355 SUSAN           JANICKI              MARKJANICKI       LOCKHART              TX    9/1/20171FADP3F26EL246621
FVSͲ100479839 PEGGYA         EARTLY                                  NEWNAN                GA    9/1/20171FADP3F2XDL369059
FVSͲ100482589SARAHM          FIELDS                                  WOODHAVEN              MI    9/1/20171FADP3F21DL139328
FVSͲ100483178 NICOLED        BOYDͲDOUGLASS                            NDINWIDDIE            VA    9/1/20171FADP3F21DL142200
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FVSͲ100483631ALVARO           HERNANDEZ                              STONEPARK       IL    9/1/20171FADP3F21DL142908
FVSͲ100494846JOANNAL         KNOBEL                                 FINDLAY          OH     9/1/20171FADP3F28FL374179
FVSͲ100527094 APRILE         LARDIE                                 ROCHESTERHLS     MI     9/1/20171FADP3F26EL108058
FVSͲ100600212 PATRICIAJ      REEVES                                 NORTHEAST        MD     9/1/20171FADP3F2XDL136587
FVSͲ100610382JOHN             LAUKAITISJR                            ORLANDO          FL     9/1/20171FADP3F28EL410371
FVSͲ100644910DOUG             KOWITZ                                 UNIONSTAR        MO     9/1/20171FADP3F2XEL130970
FVSͲ100690815 KAREN           ABSHIRE                                ORIENT           OH     9/1/20171FADP3F21DL157053
FVSͲ100710514TONI             BODOVINAC                               PENROSE          CO     9/1/20171FADP3F20EL110209
FVSͲ100828868 REBECCA         TAGUE                                  PORTAGE          IN     9/1/20171FADP3F20EL448936
FVSͲ100841600SHANNONM        NELSON                                 BLUESPRINGS      MO     9/1/20171FADP3F25DL254594
FVSͲ100867790 MAYINNELINC   CLARKE                                 PENSACOLA        FL     9/1/20171FADP3F27FL215265
FVSͲ100898963 BARBARAS       SWINT                                  BROOKHAVEN        GA     9/1/20171FADP3F28DL305442
FVSͲ100917054 NANCYJ         DUTCHER                                COLUMBUS         OH     9/1/20171FADP3F26EL428688
FVSͲ101086130STACY            MERRILL                                WILLARD          MO     9/1/20171FADP3F29DL170150
FVSͲ101323832ANGELICAM       MARTINEZ           RAFAELMARTINEZ     ROSWELL          GA     9/1/20171FADP3F2XEL378054
FVSͲ101480873HOWARDO         JOHNSON                                CHICAGOHTS       IL     9/1/20171FADP3F29EL448823
FVSͲ101517009 ELIZABETHA     STORMONT                               HARTLAND         WI      9/1/20171FADP3J28EL234333
FVSͲ101526458GEORGET         BARKER                                 CLEMENTON         NJ      9/1/20171FADP3J28EL226877
FVSͲ101552173 BRIANAA        EVANS              HLLOUWINSKI        DECATUR          GA     9/1/20171FADP3F20EL152590
FVSͲ101555938 DEMETRIUSR     BENTON                                 VEROBEACH        FL     9/1/20171FADP3F24EL255804
FVSͲ101565283THOMASP         CENDROSKIJR                            STRONGSVILLE      OH     9/1/20171FADP3F25DL270231
FVSͲ101635656 DOUGLASJ       FORTUNEIII                             CINCINNATI       OH     9/1/20171FADP3E21DL105763
FVSͲ101645546DONALDP         HUDENBURGJR                             TAMPA            FL     9/1/20171FADP3F26DL105403
FVSͲ101662980JOHNL           STITTSWORTH                             CLEARWATER        FL     9/1/20171FADP3F2XEL211161
FVSͲ101674490TRACYL          LEPARD             TRACYDAVIS         ROOPVILLE        GA     9/1/20171FADP3F21EL202719
FVSͲ101701381 HAJNALKA        GLOVER                                 WESTPALMBCH     FL     9/1/20171FADP3F23DL326182
FVSͲ101728220STACYL          TAYLOR                                 UPPRMARLBORO     MD     9/1/20171FADP3F2XDL331704
FVSͲ101728441MATTHEW          FIJALKOWSKI                             PLAINFIELD       IL     9/1/20171FADP3F2XDL331959
FVSͲ101738714 BEVERLYP       FELDMAN                                CLEARWATER        FL     9/1/20171FADP3F26EL279893
FVSͲ101753233 JEFFREY         CHENG              SADETHRCHENG      STOCKBRIDGE       GA     9/1/20171FADP3F20EL159474
FVSͲ101824726CHARLESL        ADAMS              DORISELLISON       NORFOLK          VA     9/1/20171FADP3E24FL346011
FVSͲ101864949MAMMIE           HERRIN             RICHARDHERRIN      JESUP            GA     9/1/20171FADP3F2XDL291947
FVSͲ101910720 ROBERTE        GLODDE                                 GIRARD           OH     9/1/20171FADP3F20FL247698
FVSͲ101910851 TRISHAL        MICELI                                 NORTHVILLE        MI     9/1/20171FADP3F20FL247992
FVSͲ101932502 BONNIES        SHUBERT                                FATE             TX     9/1/20171FADP3F22DL200606
FVSͲ101945906DONALDE         LINBORG                                LIVONIA          NY     9/1/20171FADP3J2XDL150187
FVSͲ101965630GABRIELLAM      WASHINGTON                              ROSENBERG        TX     9/1/20171FADP3F20EL170975
FVSͲ101986742 BRANDONJ       TEMESVARY                              LOMBARD          IL     9/1/20171FADP3F2XEL292548
FVSͲ102044759 CHARLES         KEETON                                 WESTLIBERTY      KY     9/1/20171FADP3F21DL219311
FVSͲ102067236JOHNT           GRIFFEY                                ELLENWOOD         GA     9/1/20171FADP3F2XDL250833
FVSͲ102105170 STEPHANIEJ     TICE                                   GLENBURNIE       MD     9/1/20171FADP3F27EL368808
FVSͲ102205647THOMAS           PERRY                                  BLOOMINGDALE      IL     9/1/20171FADP3F20DL162082
FVSͲ102224935NAUM             GRCESKI            EVAGRCESKI         DEARBORNHTS      MI     9/1/20171FADP3E28EL137367
FVSͲ102273740CHARLENEF       STOCKARD                               MONROE           MI     9/1/20171FADP3F28DL332298
FVSͲ102280878JOHANNAL        HAWKINS                                LAKEWALES        FL     9/1/20171FADP3F29EL244295
FVSͲ102334714TERESAM         PRITCHETT                              JACKSON          GA     9/1/20171FADP3J2XDL104116
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FVSͲ102336881 ROBERTS        STORMONT                                     HARTLAND       WI   9/1/20171FADP3J2XDL138413
FVSͲ102396329 KIMBERLYT      GAIERA                                       HARTLAND       MI    9/1/20171FADP3F27EL235756
FVSͲ102435650 KENNETHF       BROWN                                        BELTSVILLE     MD    9/1/20171FADP3F22DL224596
FVSͲ102516529 DAVIDA         WEST                                         KINGWOOD       TX    9/1/20171FADP3F29DL326185
FVSͲ102553750WANDAJ          STANLEY                                      SHINNSTON      WV    9/1/20171FADP3F23DL137077
FVSͲ102575177TARAS           PATTERSON                                    BROWNTOWN       MI    9/1/20171FADP3F25EL389303
FVSͲ102579547 KEITH           CASSEL                                       MERRILLVILLE    IN    9/1/20171FADP3F21EL235882
FVSͲ102619930 KIMBERLYA      MELTON                                       MABANK         TX    9/1/20171FADP3F20DL195471
FVSͲ102694087MARLYSM         DUGGAN                                       LAKEWOOD       CO    9/1/20171FADP3F23EL305687
FVSͲ102695334 DENISES        GARISON                                      POOLER         GA    9/1/20171FADP3F23EL309206
FVSͲ102740003 DONNAS         TOWNSEND           KATHLEEN                  OCEANVIEW      DE    9/1/20171FADP3F28EL344307
FVSͲ102747407 LINDA           BRANDENBURG                                   LAWRENCEBURG    IN    9/1/20171FADP3E21GL233442
FVSͲ102762813ANNMARIEE      BENSON                                       RICHMOND       VA    9/1/20171FADP3F25DL129904
FVSͲ102793255 DONNA           EWENS              ANDREAEWENS              FULTON         MO     9/1/20171FADP3J26EL224190
FVSͲ102840156 EROLJ          BITELA                                       SANANTONIO     TX    9/1/20171FADP3F23DL144370
FVSͲ102856036 LINDSEY         MCCORD                                       EVANSVILLE     IN    9/1/20171FADP3F28EL444200
FVSͲ102861536ANGEL            HERNANDEZ           PEDROPRIETO              EDINBURG       TX    9/1/20171FADP3F24EL109046
FVSͲ102866961 PATRICKL       WALLIN                                       BAINBRIDGE      OH    9/1/20171FADP3F26DL145643
FVSͲ102919054REBECCAHOLMES   LILESGRIST                                  MACON          GA     9/1/20171FADP3J27FL285842
FVSͲ102944903 ROBERTE        TRYTEK                                       NORWALK        IA    9/1/20171FADP3F25EL390502
FVSͲ102985146 STEPHENJ       ANDERSON                                     ERLANGER       KY    9/1/20171FADP3F2XEL428628
FVSͲ103023240 BJ              WORKSIII          CHARLOTTEKWORKS         GRAINVALLEY    MO    9/1/20171FADP3F20DL210244
FVSͲ103055525 KATHRINEJ      SATTERLEY                                    VENICE         FL    9/1/20171FADP3J22DL317707
FVSͲ103059032VERONICAL       DAVENPORT                                     PICKERINGTON    OH    9/1/20171FADP3F21EL263360
FVSͲ103104593 DAVIDR         COOK                                         TEMPLE         GA    9/1/20171FADP3F28EL154040
FVSͲ103140166JAMIEW          LOVING                                       CHESTERFIELD    VA    9/1/20171FADP3F29EL192036
FVSͲ103142347 ROBERTD        PARKER             JANETLEEPARKER          MACOMB         MI    9/1/20171FADP3F29EL194921
FVSͲ103174931 ROBERTJ        FINN                                         MYRTLEBEACH    SC    9/1/20171FADP3F27FL267611
FVSͲ103177094PAMELAA         GERKE                                        CLINTONTWP     MI    9/1/20171FADP3F24EL116935
FVSͲ103277404 MICHAEL         GOGGANS                                      AURORA         CO    9/1/20171FADP3F21EL276268
FVSͲ103312650MARYANN          ABRAHAMSEN                                    STAUGUSTINE    FL    9/1/20171FADP3F25EL410408
FVSͲ103325255ANDREWJ         WALKER                                       JUPITER        FL    9/1/20171FADP3F2XEL104210
FVSͲ103343954RHONDAKARLAA   WALLACE            BYRONBREWSTERͲMCCARTHY   CLINTON        MD    9/1/20171FADP3F25DL330377
FVSͲ103376518GEORGE           ZARCADOOLAS                                   LIGHTHOUSEPT   FL    9/1/20171FADP3F22EL224681
FVSͲ103441972 RUDELLA        LOUD               TONYABROWN               BALTIMORE      MD    9/1/20171FADP3F2XDL254770
FVSͲ103467408TIMOTHYW        FLINN              PRISCILLAM.FLINN        JETERSVILLE    VA    9/1/20171FADP3F25DL161980
FVSͲ103480480JAMESA          LAWRENCE           C/OMARILYNLAWRENCE      LITHIA         FL    9/1/20171FADP3E22DL275226
FVSͲ103587012 CHARLES         MOOREJR                                     DENVER         CO    9/1/20171FADP3F21DL296115
FVSͲ103615288SAMUELD         BAILEY             ANGELABAILEY             ALTHA          FL    9/1/20171FADP3F20DL241364
FVSͲ103723552 BAMBI           HOSSLE                                       SPRINGFIELD     MO    9/1/20171FADP3F24FL341065
FVSͲ103752919ANTONIOM        LOPEZ                                        MANSFIELD      MA    9/1/20171FADP3F2XEL152273
FVSͲ103777245 PLESHETTEM     RUCKER                                       LAKEMARY      FL    9/1/20171FADP3F24EL147523
FVSͲ103886494CHRISTOPHERA    BLAKE                                        JACKSONVILLE    FL    9/1/20171FADP3F22DL279503
FVSͲ103914102 DARRELLM       NEIL                                         OVERGAARD       AZ    9/1/20171FADP3F2XDL222532
FVSͲ103923497JOHNG           MAGERS             CARLAMAGERS              FAIRFIELD      OH    9/1/20171FADP3F23EL136660
FVSͲ103953469 JOSEPHR        PETERS                                       CLEVELAND      OH    9/1/20171FADP3F29EL411433
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FVSͲ103988548ANITAL         SECORD                                 BELLEVUE         NE     9/1/20171FADP3J20FL261317
FVSͲ104083239 MITCHELLP     BARLEY                                 MOUNTHOPE        WV     9/1/20171FADP3F28DL261846
FVSͲ104091886JOYCEA         DARNALL                                SANTARSABCH     FL     9/1/20171FADP3E26DL142579
FVSͲ104100788 BOBBYE        JONES                                  MACON            GA     9/1/20171FADP3J23DL286550
FVSͲ104105399MADONNAM       FORE                                   POMPANOBEACH     FL      9/1/20171FADP3J23EL127111
FVSͲ104137053DAPHNEW        BOOKER               QUEENBOOKER      GRANDPRAIRIE     TX     9/1/20171FADP3F26DL325981
FVSͲ104235624 LISA           EVERHART                               MAITLAND         MO     9/1/20171FADP3F28EL373418
FVSͲ104285958 EUGENEC       COOK                 THELMACOOK       STOCKTON         AL     9/1/20171FADP3J24DL167177
FVSͲ104290250SAMUELR        THOMAS                                 NORWOOD          OH     9/1/20171FADP3F21DL332790
FVSͲ104302739 LYNNC         SHELDON                                BALLGROUND       GA     9/1/20171FADP3F29DL348963
FVSͲ104316080 EPIFANIO       ANGULO                                 MONTEBELLO        CA     9/1/20171FADP3F21GL282249
FVSͲ104340746JOANNAM        GARCIA                                 TAMPA            FL     9/1/20171FADP3F2XDL171839
FVSͲ104345020WILLIAMW       CURREY                                 FREDERICK        MD     9/1/20171FADP3F2XDL181657
FVSͲ104369370JESSALYNL      MARRERO                                HIALEAH          FL     9/1/20171FADP3F22EL274805
FVSͲ104410710JAIMEEL        REID                                   DENVER           CO     9/1/20171FADP3F20DL277085
FVSͲ104419970MONAA          NORRELL                                TALLASSEE        AL     9/1/20171FADP3F25DL359362
FVSͲ104420480 NATHANIEL      JUDGEJR                                SEVERN           MD     9/1/20171FADP3F25DL360107
FVSͲ104436590MARYS          HAYES                                  GRAYSVILLE       AL     9/1/20171FADP3F28EL179326
FVSͲ104494840DALLASM        BRATCHER                               JACKSONVILLE      FL     9/1/20171FADP3F25DL194722
FVSͲ104579366FERNANDOC      DEBARROSLOPES                          NORTHFIELD        OH     9/1/20171FADP3F29GL233347
FVSͲ104627328 SHARIL        DICKSTEIN                              CHERRYHILL       NJ     9/1/20171FADP3F2XDL311470
FVSͲ104637226THERESAA       FARLEY                                 NOVI             MI     9/1/20171FADP3F28FL347127
FVSͲ104648031TRAMYRAT       NATHAN                                 SAINTLOUIS       MO     9/1/20171FADP3F29FL219981
FVSͲ104667451 LOVIEL        BUTLER                                 TAMARAC          FL     9/1/20171FADP3F21DL342221
FVSͲ104706554 KRISTINEK     STOESZ               CLARKESTOESZ     BERTHOUD         CO     9/1/20171FADP3K20DL151752
FVSͲ104764627JASONJ         MEYER                                  SEDALIA          MO     9/1/20171FADP3F28DL379170
FVSͲ104793139 LAURELT       MARTIN                                 ATLANTA          GA     9/1/20171FADP3F20DL305290
FVSͲ104837721ANNAL          MILLER                                 CATHARPIN        VA     9/1/20171FADP3F21EL360428
FVSͲ104841303 MARCELENEA    WRIGHT                                 TAMPA            FL     9/1/20171FADP3F21EL368271
FVSͲ104853824JEANT          BARBAROSSA            VICTORIACASALE   SUNCITYCTR      FL     9/1/20171FADP3F20EL339165
FVSͲ104861274 RICHARDL      BESSERMAN                               ALACHUA          FL      9/1/20171FADP3J21EL233766
FVSͲ104886005 MANUEL         MARQUEZ                                LOVESPARK       IL     9/1/20171FADP3F20GL358110
FVSͲ104913959 DAVIDK        SHETLER              ALICESHETLER     JANESVILLE       WI     9/1/20171FADP3E23DL260945
FVSͲ104943408 KEVING        SCHMID                                 HOLLYWOOD         FL     9/1/20171FADP3F23DL231167
FVSͲ104950137 DALEA         PALOVICH                               FORTMYERS        FL     9/1/20171FADP3F23EL417180
FVSͲ104982918CAROLYNT       BROMMER                                AKRON            OH     9/1/20171FADP3F29EL428295
FVSͲ104985054 LEATRICE       MINOR                                  TONGANOXIE        KS     9/1/20171FADP3F29EL431178
FVSͲ105003948EMMAD          BROUSSEAU                              WESTPALMBCH     FL     9/1/20171FADP3F2XEL233581
FVSͲ105050563 SHELIAM       HAWKINS                                ATLANTA          GA     9/1/20171FADP3F22FL381483
FVSͲ105063894MARYN          RACINE                                 PORTSTLUCIE     FL     9/1/20171FADP3F2XDL122091
FVSͲ105100803 RICARDOR      FARONESE                               BRUNSWICK        OH     9/1/20171FADP3F27DL218728
FVSͲ105141836JEFFREYM       FINNERIN                               STAFFORD         VA     9/1/20171FADP3F24DL275467
FVSͲ105225738 JERRYL        RITCHIE                                MILFORD          OH     9/1/20171FADP3F21GL378110
FVSͲ105248991 JUSTINR       SWEET                                  STERLING         CT     9/1/20171FADP3F25EL274149
FVSͲ105273406JONNALEE        BURGESS                                ENFIELD          NH     9/1/20171FADP3F20EL365989
FVSͲ105290319 SUSANL        SANNER                                 NEWMARKET        MD     9/1/20171FADP3F2XEL162785
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FVSͲ105319503 KEVIN           HARLEMAN                                MIAMISBURG       OH    9/1/20171FADP3J24EL405269
FVSͲ105341223 TYISHIAS       RICHARDSON                               JONESBORO        GA    9/1/20171FADP3F21DL378684
FVSͲ105404993 BRENDAJ        FISHER                                  MIDDLEBORO        MA    9/1/20171FADP3K20EL250802
FVSͲ105431940ANDREAM         TIDWELL                                 MCCALLA         AL    9/1/20171FADP3F24EL416300
FVSͲ105434981 BRIAN           ABEL                                    SEASIDE          CA    9/1/20171FADP3F24EL423358
FVSͲ105489557 REBECCAL       PLUCINIAK                               DOVER            NJ    9/1/20171FADP3F20EL380671
FVSͲ105580813SHARONA         KOTNIK                                  EUCLID           OH    9/1/20171FADP3F22DL360632
FVSͲ105586900CHRISTOPHERR    SWEETS                                  CUMMING          GA    9/1/20171FADP3F28EL285422
FVSͲ105826880ANTHONYP        CAMUS                                   CANTONMENT        FL    9/1/20171FADP3K20DL259868
FVSͲ105896063 MATTSYEK       MILLER                                  BELLEVUE         WA    9/1/20171FADP3K21DL290689
FVSͲ105946834JANEL           OSBORN                                  CHAGRINFALLS     OH    9/1/20171FADP3K21EL194501
FVSͲ105960446WILLIAM          DUREN              ETHELDUREN          NOBLE            OK    9/1/20171FADP3K21DL243808
FVSͲ105983900SEANE           STLEGER                                CLEARWATER        FL    9/1/20171FADP3K21EL345675
FVSͲ106056182 KEISYM         RONDON                                  KISSIMMEE        FL    9/1/20171FADP3K21DL181570
FVSͲ106128701 CHARLES         MAYER                                   FISHERS          IN    9/1/20171FADP3K22DL225883
FVSͲ106131125 LH             MUELLER            MATTHEWMUELLER      VILLARIDGE      MO    9/1/20171FADP3K22DL234499
FVSͲ106172204 MICHAELC       GOELLER            AUSTRIAGOELLER      LAUREL           MD    9/1/20171FADP3K22EL339335
FVSͲ106206397 ELIZABETHD     KAMINSKY                                BEDFORD          OH    9/1/20171FADP3K22EL106250
FVSͲ106213849ANDREAC         WOOLSEY                                 LINCOLN          DE    9/1/20171FADP3K22EL302995
FVSͲ106242970 DANIELS        HARPER                                  OCALA            FL    9/1/20171FADP3K22EL274907
FVSͲ106291254SARAHK          CLAYTON            BRANDONCLAYTON      HAZLEHURST        GA    9/1/20171FADP3K23DL259461
FVSͲ106353845JOSHUA           JOHNSTON                                COLUMBUS         OH    9/1/20171FADP3K22EL404491
FVSͲ106353993 MICHELLER      HENDERSON                                EUCLID           OH    9/1/20171FADP3K22EL404961
FVSͲ106355635 KATHLEENM      REIS                                    DUBLIN           OH    9/1/20171FADP3K22EL411862
FVSͲ106383760 LINDAS         RUTMANN            THOMASRUTMANN       WESTPALMBCH     FL    9/1/20171FADP3K23EL274866
FVSͲ106434764BOYDW           WILLISON           CONNIELWILLISON    AKRON            OH    9/1/20171FADP3K23DL119250
FVSͲ106435043RHONDAY         CEIDE              KIMBALLCEIDE        NEWARK           DE    9/1/20171FADP3K23DL120768
FVSͲ106451430CHARLENEA       RUDD                                    WAUPACA          WI    9/1/20171FADP3K23EL239549
FVSͲ106532332 ROBINR         WEDGEWORTH                               WARDA            TX    9/1/20171FADP3K23EL373073
FVSͲ106586173ALEJANDROC      FINLEY             CHRISTINAFINLEY     ATLANTICBEACH    FL    9/1/20171FADP3K24EL252147
FVSͲ106608169 JONIL          MOYER                                   DUNDAS           MN    9/1/20171FADP3K24EL431854
FVSͲ106660357JAMESL          BUDINSKI                                TUCSON           AZ    9/1/20171FADP3K24DL264619
FVSͲ106675249 NYSSAE         ARMENTA            MARTINARMENTA       ENGLEWOOD         CO    9/1/20171FADP3K24EL349459
FVSͲ106748947 MICHAELH       CHARTERIS                               LATHRUPVILLAGE   MI    9/1/20171FADP3K25DL303220
FVSͲ106750615 BARRYL         BENNICK            TENSIEANNBENNICK   JEFFERSON        TX    9/1/20171FADP3K24GL359962
FVSͲ106757547 GERTRUDEJ      GLASS                                   PTCHARLOTTE      FL    9/1/20171FADP3K25DL326206
FVSͲ106759736 RANDALLK       RINDERKNECHT                             WOODSTOCK         GA    9/1/20171FADP3K25DL269442
FVSͲ106826808 PAULR          WEIDLE                                  CINCINNATI       OH    9/1/20171FADP3K25DL225845
FVSͲ106894943BARBARAA        OCONNELL                                TROY             NY    9/1/20171FADP3K26DL111059
FVSͲ106929500DEBORAHK        KINGͲHAZEN                               WAYLAND          MI    9/1/20171FADP3K25GL359470
FVSͲ107055481 WILFORD         OVERTON                                 CULLMAN          AL    9/1/20171FADP3K26FL277228
FVSͲ107070863LADONNAM        BEAL                                    SAINTLOUIS       MO    9/1/20171FADP3K26DL373096
FVSͲ107084490 MELISSA         FINE                                    NEWPORT          TN    9/1/20171FADP3K25FL354087
FVSͲ107112787AMBERD          WALSTON                                 WATERTOWN         NY    9/1/20171FADP3K26EL267927
FVSͲ107125056MARYA           PARSON                                  THOMASVILLE       GA    9/1/20171FADP3K26DL121171
FVSͲ107126605 PETERJ         FINLEY                                  DESTIN           FL    9/1/20171FADP3K26DL125446
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FVSͲ107151863 MARIAC        CASTANEIRA                                      RUSKIN          FL    9/1/20171FADP3K26EL444234
FVSͲ107156210CYNTHIAA       SNIDER                                          WESTMINSTER      CO    9/1/20171FADP3K27DL221439
FVSͲ107194953 BETTINAY      FLOURNOY             LAWRENCEM.FLOURNOYSR.   NEWPORTNEWS     VA     9/1/20171FADP3K27EL104879
FVSͲ107235145 MARGARETJ     KINCAID                                         BATAVIA         OH     9/1/20171FADP3K26FL363073
FVSͲ107245078 ISABELM       PEREZ                                           MIAMI           FL    9/1/20171FADP3K27DL149402
FVSͲ107259761 WILLIAMJ      SHEA                                            MANCHESTER       CT     9/1/20171FADP3K26EL344084
FVSͲ107273209 PENNY          BLANKENSHIP           KEVINCHELF                WRIGHT          MO     9/1/20171FADP3K27FL223422
FVSͲ107311470 RICARDO        NIEVESVAZQUEZ                                   RIVERVIEW       FL    9/1/20171FADP3K27DL112446
FVSͲ107360187ANGELA          SPENCER              LOUISFDEGREGORIO         KOKOMO          IN     9/1/20171FADP3K27EL180618
FVSͲ107367300 BRITTANYS     SANDRIDGE            CAROLYNSANDRIDGE          SANDUSKY        OH    9/1/20171FADP3K28DL153815
FVSͲ107395169 RHONDAJ       QUINTEL                                         BRECKENRIDGE     MI    9/1/20171FADP3K27DL262315
FVSͲ107423472 ALICE          PEREZSANABRIA                                   KISSIMMEE       FL    9/1/20171FADP3K28DL121639
FVSͲ107460017 ERICL         SANPEDRO            MEGANSANPEDRO            BOYNTONBEACH    FL     9/1/20171FADP3K28EL227638
FVSͲ107494345ROBERTW        LOWRY                JAIMEELOWRY               CHESTERFIELD     VA     9/1/20171FADP3K28EL388037
FVSͲ107527081TAYLORM        FALCONE                                         CORALSPRINGS    FL    9/1/20171FADP3K27GL335414
FVSͲ107561662 SKYEM         DALBY                                           DENVER          CO    9/1/20171FADP3K28DL221403
FVSͲ107568454 DICK           MOORLAG                                         LOVELAND        CO    9/1/20171FADP3K29DL131774
FVSͲ107590662 BARBARAJ      GARDNER                                         CLIFTON         TX    9/1/20171FADP3K29DL144153
FVSͲ107616246ANITA           EADES                                           LASVEGAS       NV    9/1/20171FADP3K29DL271274
FVSͲ107635143APRILM         EVANS                                           TRENTON         GA    9/1/20171FADP3K29DL259061
FVSͲ107772710TAYLORA        LUEGERS                                         STONEVILLE      NC    9/1/20171FADP3K29DL369205
FVSͲ107777266 SHILOEL       ELLISON                                         SJACKSONVILLE   FL     9/1/20171FADP3K29EL104088
FVSͲ107834278OSCAR           BERGANO              ANDREABERGANO             KISSIMMEE       FL     9/1/20171FADP3K29EL239054
FVSͲ107899647ROBERTW        HOLM                 MONICADHOLM              SANANTONIO      TX    9/1/20171FADP3K2XDL176772
FVSͲ107903822 DUSTINK       RICE                                            FREDERICK       MD    9/1/20171FADP3K2XDL350680
FVSͲ107950006VALENTINA       CERVANTES                                       CAPECORAL       FL     9/1/20171FADP3K2XEL273021
FVSͲ107956330GARYR          BODE                                            MONTGOMERY       TX     9/1/20171FADP3K29FL323571
FVSͲ108050610ANTHONYF       HALLSR                                         YPSILANTI       MI     9/1/20171FADP3K2XEL182721
FVSͲ108061515 GAYN          BOWLING                                         LAKELAND        FL     9/1/20171FADP3K2XEL378710
FVSͲ108135128 CARLOSI       BRAVO                                           LEHIGHACRES     FL     9/1/20171FADP3K2XEL325733
FVSͲ108546756 DEVIN          CLARK                RAYCLARK                  NORMAN          OK    9/1/20171FADP3N20EL183713
FVSͲ108569780 HELEN          CARPENTER                                       HAMPTON         VA    9/1/20171FADP3N21EL192002
FVSͲ108638499 ALLISONR      FEINBERG                                        VIRGINIABCH     VA    9/1/20171FADP3N22EL320344
FVSͲ108664058JOSEPH          FELICIANO                                       RIVERVIEW       FL    9/1/20171FADP3N22EL191506
FVSͲ108681505WAYNED         DRUSHAL                                         HUDSON          OH    9/1/20171FADP3N20GL233352
FVSͲ108756297 TERRYJ        CLARK                                           SWARTZCREEK     MI    9/1/20171FADP3N25EL207598
FVSͲ108801608DAWNH          CHAPMAN                                         GREENVILLE      OH    9/1/20171FADP3N26EL405333
FVSͲ108817644CORYM          COURCHESNE                                       WATAUGA         TX    9/1/20171FADP3N26DL262575
FVSͲ108817830 MICHELEW      GILLMAN                                         CUMMING         GA    9/1/20171FADP3N26DL269476
FVSͲ108824551ANAG           ROOSEN                                          WINTERPARK      FL    9/1/20171FADP3N23DL269743
FVSͲ108830616 CRISTINAV     VILLACIS                                        RANDOLPH        MA    9/1/20171FADP3N27FL310491
FVSͲ108843068 KARENL        MUCCIOLI                                        BELAIR         MD    9/1/20171FADP3N27EL368941
FVSͲ108888894GERALD          MAUDSLEY             JEREMAUDSLEY              EUFAULA         AL    9/1/20171FADP3N28FL365435
FVSͲ108894240ROBERTW        PAUL                 DEBORAHPAUL               MOBILE          AL    9/1/20171FADP3N27DL288599
FVSͲ108905950LYNNM          SULLIVAN                                        LANCASTER       NY    9/1/20171FADP3N29DL348222
FVSͲ108922278 HUBERT         JEANͲLOUIS                                      GLENDALE        AZ    9/1/20171FADP3N25EL453728
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FVSͲ108939324 ROBERT           BENJAMIN                                       LOMBARD          IL   9/1/20171FADP3N27DL254341
FVSͲ108944611 ROBERT           REED                                           GREENWOOD         IN    9/1/20171FADP3N2XDL250638
FVSͲ109068840HEATHERN         PROCK                                          NRIDGEVILLE      OH    9/1/20171FAHP3E21CL152372
FVSͲ109070682 KEVINR          BRIGGS                NANCYBRIGGS             TITUSVILLE       FL    9/1/20171FAHP3E21CL188479
FVSͲ109076214THOMASP          KEPHART                                        MELBOURNE         FL    9/1/20171FADP3N29EL252155
FVSͲ109163907 HERBERTA        SMITHSON                                       SYRACUSE         NY    9/1/20171FADP3N2XEL353043
FVSͲ109236920 PAULS           APRIL                                          SAINTLOUIS       MO    9/1/20171FAHP3E2XCL391824
FVSͲ109243072 BARBARAE        STEPHENS                                       LAKELAND         FL    9/1/20171FAHP3E25CL188095
FVSͲ109355121 CANDACE          WELCH                                          FRANKLIN         IN     9/1/20171FAHP3F20CL152989
FVSͲ109407180 JENNIFER         DOVE                                           FAYETTE          AL     9/1/20171FAHP3F20CL461569
FVSͲ109413865 SAMUELE         FREEMAN                                        CANALWNCHSTR     OH    9/1/20171FAHP3E29CL128093
FVSͲ109544080 EDNAL           GODSEY                                         LEEDS            AL     9/1/20171FAHP3F21CL426765
FVSͲ109546288RONALDV          TIBURZI                                        LIVONIA          MI     9/1/20171FAHP3F21CL256262
FVSͲ109591291 ROBERTJ         LOUTHJR              LYNNLOUTH               AKRON            OH     9/1/20171FAHP3F22CL160799
FVSͲ109601254 DIANNEC         JOHNSON                                        CENTURY          FL     9/1/20171FAHP3F22CL186612
FVSͲ109628314 LEITHA          THOMPSON                                       NLAUDERDALE      FL     9/1/20171FAHP3F21CL360492
FVSͲ109643143JOHNW            LUMAN                 NICHOLERLUMAN          TIFFIN           OH     9/1/20171FAHP3F22CL128953
FVSͲ109668448JESSICAA         PETERS                                         PUNTAGORDA       FL     9/1/20171FAHP3F21CL352991
FVSͲ109676521 SANDRAL         MARSH                 DANIELSHIELDS           PUEBLO           CO     9/1/20171FAHP3F22CL430145
FVSͲ109698240 LUCILLEF        CHWALIK                                        BROOKSVILLE       FL     9/1/20171FAHP3F22CL444496
FVSͲ109833589 LAURIEA         THIBAULT                                       WESTFIELD        MA     9/1/20171FAHP3F23CL240502
FVSͲ109860586 BERTHAE         PORTER                                         CLERMONT         FL     9/1/20171FAHP3F22CL478468
FVSͲ109933630 MICHELES        KOPP                  MICHAELDWILLIAMSON     LARGO            FL     9/1/20171FAHP3F24CL282449
FVSͲ109952910 BIRDIEA         JAMES                                          PHOENIX          AZ     9/1/20171FAHP3F23CL330541
FVSͲ109979630 REBEKAH          WEBB                  AARONWEBB               METROPOLIS        IL     9/1/20171FAHP3F24CL407837
FVSͲ110001320TAMERAL          SAMSON                                         OREGON           OH     9/1/20171FAHP3F23CL465423
FVSͲ110011627ALONDRAG         ESTRADA                                        ORLANDO          FL     9/1/20171FAHP3F24CL213969
FVSͲ110030370 REGINAD         KENNEDY                                        CORINTH          MS     9/1/20171FAHP3F25CL150946
FVSͲ110067630 KENNETHD        GAINES                                         NEWNAN           GA     9/1/20171FAHP3F24CL467794
FVSͲ110087291 SUSANC          FOX                                            STPETERSBURG     FL     9/1/20171FAHP3F25CL224978
FVSͲ110122224 RYANA           YOUNG                                          BRADENTON         FL     9/1/20171FAHP3F25CL390496
FVSͲ110200764FREDW            COX                                            FERNANDINA        FL     9/1/20171FAHP3F25CL318679
FVSͲ110211324DONNAL           PORTER                                         DAHLONEGA         GA     9/1/20171FAHP3F25CL461633
FVSͲ110266072 GERALDT         MARCHBANKS             ROBERTALEEMARCHBANKS   ELKO             MN     9/1/20171FAHP3F26CL382486
FVSͲ110321065 DIANED          BRADLEY                                        VALDOSTA         GA     9/1/20171FAHP3F25CL420399
FVSͲ110338340 BRITTANYS       GAY                                            BOWIE            MD     9/1/20171FAHP3F27CL232211
FVSͲ110357450MENDEZC          MORALES               CESARMORALES            DENVER           CO     9/1/20171FAHP3F26CL454965
FVSͲ110445406 BENNIEL         GOODEJR                                        DETROIT          MI     9/1/20171FAHP3F27CL465151
FVSͲ110505018 RAUL             TRABANINO             PATRICIATRABANINO       HELENA           AL     9/1/20171FAHP3F28CL230631
FVSͲ110614607 ERICAR          THOMPSONWILSON                                 FRANKLIN         WI     9/1/20171FAHP3F28CL446043
FVSͲ110625072 DERRICK          FORDSR                                        TROY             MO     9/1/20171FAHP3F29CL207598
FVSͲ110628632 JASMINEJ        HUDSON                                         WESTPALMBEACH   FL     9/1/20171FAHP3F28CL274354
FVSͲ110822587TERRYE           SORENSEN                                       KEYSTONEHGTS     FL     9/1/20171FAHP3F29CL396818
FVSͲ110855981 KATHERINE        VETTER                                         LINCOLN          NE     9/1/20171FAHP3F29CL371109
FVSͲ110889290 SHELLY           SMITH                                          HARROD           OH    9/1/20171FAHP3F2XCL464950
FVSͲ110903390JAMESK           SOLARTE                                        MOSELEY          VA    9/1/20171FAHP3F2XCL420544
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FVSͲ110914848 JENNIFERD      BIBBS                                      SAINTLOUIS   MO   9/1/20171FAHP3H20CL315282
FVSͲ110954793 ROBERTA        RELLER                                     TUCSON        AZ    9/1/20171FAHP3F2XCL237144
FVSͲ110955129 JOSEPH          ARAUJO                                     PARKRIDGE    IL    9/1/20171FAHP3F2XCL239024
FVSͲ110962990 RICHARDS       ANKNEY                EVAANKNEY           MANCELONA      MI    9/1/20171FAHP3H21CL168650
FVSͲ110986555 STEPHENM       FOSTER                ANTOANETAFOSTER     BROOKSVILLE    FL    9/1/20171FAHP3F2XCL224670
FVSͲ111003180 BRIAND         PETERSEN                                   SNELLVILLE    GA    9/1/20171FAHP3H21CL402219
FVSͲ111130549 LARETAR        HARMS                                      LINCOLN       NE    9/1/20171FAHP3H22CL154725
FVSͲ111183596 CHRISTINEE     VIDLUND               FKACHRISTINEBOHN   FORTMYERS     FL    9/1/20171FAHP3H25CL421582
FVSͲ111190878 RICHARD         WEAVER                                     CLARKSVILLE    TN    9/1/20171FAHP3H21CL479656
FVSͲ111239117 HEATHERC       WHITEHEAD             HEATHERHAVERMANN    SAINTPETERS   MO    9/1/20171FAHP3H24CL402649
FVSͲ111291690KATHYM          MARTIN                                     LIMA          OH    9/1/20171FAHP3H25CL311793
FVSͲ111302056CARLC           TOMLINJR              KRISTINM.WINDSOR   POWHATAN      VA    9/1/20171FAHP3H26CL472296
FVSͲ111327466DONALDH         BOTKIN                                     DURANGO       CO    9/1/20171FAHP3H27CL378931
FVSͲ111350646CATHYA          PREBLE                                     FORTCOLLINS   CO    9/1/20171FAHP3H27CL367248
FVSͲ111355370 BRUCEP         WESLEY                ASHLIRWESLEY       WESTLAND      MI    9/1/20171FAHP3H25CL200175
FVSͲ111382815 PATRICIA        STEDAM                                     CINCINNATI    OH    9/1/20171FAHP3H28CL324750
FVSͲ111395054ADEMOLAA        ABOLARINWA                                  SNELLVILLE    GA    9/1/20171FAHP3H25CL473262
FVSͲ111433797 DAVID           HUMENIK                                    WARREN        OH    9/1/20171FAHP3H26CL357312
FVSͲ111438063 BRENTR         HOEFT                                      DORAL         FL    9/1/20171FAHP3H29CL408012
FVSͲ111488699 LYNNE          BATES                                      SHELBURNE     VT    9/1/20171FAHP3H2XCL253440
FVSͲ111514711 REXE           PETTEGREW                                  LEESVILLE     SC    9/1/20171FAHP3H27CL477846
FVSͲ111534445 LORETTAM       MANULA                                     BLOOMINGTON    MN    9/1/20171FAHP3H29CL321212
FVSͲ111572177 RONDAL         HODGES                                     HERNANDO      FL    9/1/20171FAHP3H29CL293234
FVSͲ111593220TYLERC          REINOSO                                    TAMPA         FL     9/1/20171FAHP3J24CL341748
FVSͲ111600189 DARRELL         WILLIAMS                                   LOVELAND      OH     9/1/20171FAHP3J24CL434348
FVSͲ111623723 ASHLYE         KAAPA                 ASHLYSALGADO        ELLABELL      GA    9/1/20171FAHP3H2XCL420573
FVSͲ111682436 KYLEC          ROUDEBUSH                                   FORTGORDON    GA     9/1/20171FAHP3J29CL154425
FVSͲ111858194 NESSAL         ASBURY                                     AMELIA        OH    9/1/20171FAHP3K22CL289177
FVSͲ111958075 ELLENC         MCINTYRE                                   SENECAFALLS   NY    9/1/20171FAHP3K22CL233613
FVSͲ111970270 DAVID           BLANKENSHIP                                 ISLANDLAKE    IL    9/1/20171FAHP3K23CL353632
FVSͲ112024785 JERRYA         BEARCE                BARBARABEARCE       ADRIAN        MO    9/1/20171FAHP3K21CL320855
FVSͲ112045596 ELIZABETHM     TILLMAN                                    LAWTEY        FL    9/1/20171FAHP3K24CL327878
FVSͲ112055303 SHIRLEYA       RAMOSͲRODRIGUEZ        JULIORODRIGUEZ      BUCKEYE       AZ    9/1/20171FAHP3K24CL343790
FVSͲ112057772 JESSIER        HEWITT                BRIANDICK           REDLANDS      CA    9/1/20171FAHP3K23CL477769
FVSͲ112103626DONNAM          RAPOSO                                     CAPECORAL     FL    9/1/20171FAHP3K24CL277046
FVSͲ112155677 VIVIANK        MOSLEY                                     BOLIVAR       OH    9/1/20171FAHP3K25CL127625
FVSͲ112191347 CHERYLR        BISHOP                                     HAMILTON      OH    9/1/20171FAHP3K25CL107665
FVSͲ112203256ALVINW          BOLAN                                      TEMPLE        GA    9/1/20171FAHP3K26CL213736
FVSͲ112229395GENAM           BROOKS                                     ORLANDO       FL    9/1/20171FAHP3K24CL453593
FVSͲ112293697EDWARDH         PHILLIPS              TAMMYPHILLIPS       EATON         CO    9/1/20171FAHP3K26CL321113
FVSͲ112297501JOANN            SINGLETON                                  MONTGOMERY     AL    9/1/20171FAHP3K26CL337795
FVSͲ112324355VELMAL          KIEFAT                                     SAINTPAUL    MN    9/1/20171FAHP3K25CL477093
FVSͲ112387780JANETL          GIBSON                                     CLEVELAND     OH    9/1/20171FAHP3K28CL233275
FVSͲ112501265 WILLIAME       BRYANT                                     CENTERPOINT   AL    9/1/20171FAHP3K29CL224813
FVSͲ112504388DOUGLASA        SMITH                                      BUFORD        GA    9/1/20171FAHP3K26CL443566
FVSͲ112533698 LEOF           KLEINJR                                    MONROE        NY    9/1/20171FAHP3K28CL351780
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FVSͲ112591981ROBERTA         WUNDERMAN                               NEWYORK        NY     9/1/20171FAHP3K2XCL297253
FVSͲ112608469STEVENL         MOFFETT           KRISTIEMOFFETT       COLUMBIA        TN      9/1/20171FAHP3K28CL288017
FVSͲ112718663CRAIGR          KARWACKI          DAWNKARWACKI         RIPLEY          WV      9/1/20171FAHP3K2XCL402163
FVSͲ112736041SUSAN            COZIER                                  TULSA           OK      9/1/20171FAHP3K29CL284462
FVSͲ112742599MEHMETB         OZTURAN                                 DAVIE           FL     9/1/20171FAHP3M21CL396301
FVSͲ112752225JEFFREYH        GRIFFETH          CHERYLKAYELINDSAY   PECATONICA       IL     9/1/20171FAHP3M22CL453962
FVSͲ112771467CHARLIE          ROBERTS                                 PANAMACITY      FL     9/1/20171FAHP3M21CL360639
FVSͲ112828876RONNIE          ROSE                                    PLAINSBORO       NJ     9/1/20171FAHP3M20CL253842
FVSͲ112834566STEPHANIEL      DOYLE                                   NEWORLEANS      LA     9/1/20171FAHP3M24CL379069
FVSͲ112888119JOSHUAL         LAWSON                                  DALLAS          GA     9/1/20171FAHP3M23CL265189
FVSͲ112906745ROBERTE         GLODDE                                  GIRARD          OH     9/1/20171FAHP3M21CL173434
FVSͲ112948502STEVENA         BOVE              ANNEBOVE             BEAUFORT        SC     9/1/20171FAHP3M26CL244997
FVSͲ113014902MICHAELL        VITCH                                   SCOTTSDALE       AZ     9/1/20171FAHP3M26CL144981
FVSͲ113032447JOSHUAB         CHILDS                                  ARLINGTON       OH     9/1/20171FAHP3M23CL454019
FVSͲ113033265WILLIAMH        FISHER                                  HENRICO         VA     9/1/20171FAHP3M23CL462900
FVSͲ113077114DOTTIEM         SMITH                                   ZEPHYRHILLS      FL     9/1/20171FAHP3M24CL410143
FVSͲ113084420VIVIENL         TOMSIK            THOMASTOMSIK         OLMSTEDFALLS    OH     9/1/20171FAHP3M29CL152394
FVSͲ113088590CAITLINE        DYER                                    MELROSE         MA     9/1/20171FAHP3M25CL460162
FVSͲ113123418TABITHAM        DRING                                   FTLAUDERDALE    FL     9/1/20171FAHP3M25CL405016
FVSͲ113157533CAROLJ          FOWLER                                  VEROBEACH       FL     9/1/20171FAHP3M29CL444823
FVSͲ113178247ENRIQUE          PEREZ             RICHARDPEREZ         PEMBROKEPNES    FL      9/1/20171FAHP3N22CL365718
FVSͲ113203055JESSEJ          HOLLANDER                               ISLANDLAKE      IL      9/1/20171FAHP3N22CL427635
FVSͲ113223277STEVENJ         DUDEK                                   COMMERCECITY    CO      9/1/20171FAHP3N25CL145196
FVSͲ113291868VICKIET         CARDELL           BRIANCARDELL         STOCKBRIDGE      GA      9/1/20171FAHP3N24CL219451
FVSͲ113294611ROCHELLE         BAILEY                                  IMPERIAL        MO      9/1/20171FAHP3N27CL320922
FVSͲ113338414TERRYL          COBB                                    STPETERSBURG    FL      9/1/20171FAHP3N29CL381348
FVSͲ113340168JAMESE          SECORD                                  GROSSEPTPK     MI      9/1/20171FAHP3N26CL311189
FVSͲ113341490JOSEPH           MEYER                                   PLAINFIELD      IN      9/1/20171FAHP3N26CL328901
FVSͲ113344040CHRISTOPHERC    WILLIAMS                                PLAINFIELD      IL      9/1/20171FAHP3N26CL370789
FVSͲ113395825JONATHONP       LEVELIUS                                WAUSAU          WI      9/1/20171FAHP3N29CL118356
FVSͲ113411120WIESLAW          KOSC                                    NROYALTON       OH      9/1/20171FAHP3N20CL414382
FVSͲ113415419FLORENCEI       KINTZING                                SAVANNAH        GA      9/1/20171FAHP3N23CL209588
FVSͲ113425929KEITHP          SULLIVAN                                EASTHAMPTON     CT      9/1/20171FAHP3N25CL460077
FVSͲ113547587MARILYN          WESTFALL                                HEATH           OH     9/1/20173FADP4AJ3BM219228
FVSͲ113730861GARYE           KRETSCHMER                               HAYWARD         WI     9/1/20173FADP4AJ2DM153712
FVSͲ113736843TREVORR         DYKES                                   BROOMFIELD       CO     9/1/20173FADP4AJ2DM214573
FVSͲ113765819SCOTTW          FRAZIER                                 NOTTINGHAM       MD     9/1/20173FADP4AJ5EM226203
FVSͲ113794797SANDRAM         ROJAS             ROSARIOROJAS         RESTON          VA     9/1/20173FADP4AJ4DM175131
FVSͲ113840420JUNE             STANLEY                                 MOUNTAINCITY    TN     9/1/20173FADP4AJ4DM142162
FVSͲ113915268RHONDAL         GARNER                                  RIVIERABEACH    FL     9/1/20173FADP4AJ7DM174913
FVSͲ113962010ANGILOS          PIZZA             BRYANTSMITHPIZZA    MILFORD         OH     9/1/20173FADP4AJXEM132169
FVSͲ113968183LASHAND         PAULK                                   POMPANOBEACH    FL     9/1/20173FADP4AJ8DM143864
FVSͲ114028532JOSE             RIVERO                                  TAMPA           FL     9/1/20173FADP4AJXDM136480
FVSͲ114205124JAMEYL          EROGAN                                  WAVERLY         NY     9/1/20173FADP4BJ0EM147682
FVSͲ114297134MARYD           GLENN                                   MELVINDALE       MI     9/1/20173FADP4BJ0DM193530
FVSͲ114342725KIMM            KAYE                                    SPRINGHILL     FL     9/1/20173FADP4BJ1DM183914
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FVSͲ114345864CAROLEA         JOHNSON                                         ANNAPOLIS      MD   9/1/20173FADP4BJ1DM192676
FVSͲ114384541CRYSTALM        FULKINSON                                       RIVERVIEW      FL    9/1/20173FADP4BJ0EM239830
FVSͲ114499209DONNAM          HRABIK                                          SPRINGFIELD     NE    9/1/20173FADP4BJ2EM195880
FVSͲ114530386TERESA           GODBY                                           GALION         OH    9/1/20173FADP4BJ1EM132074
FVSͲ114567964 KENNETHJ       GEORGE                                          RIDGEMANOR     FL    9/1/20173FADP4BJ2EM113890
FVSͲ114596425TIMC            HOMESLEY                                        BILLINGS       MO    9/1/20173FADP4BJ3CM158415
FVSͲ114607940 KATIEE         MCNAMARA                                        STPETERSBURG   FL    9/1/20173FADP4BJ2EM103747
FVSͲ114628637JILL             ELEY                  JIMELEY                  GAHANNA        OH    9/1/20173FADP4BJ2CM105270
FVSͲ114686939ASHTONL         ROOKS                 TONYROOKS                BRADENTON       FL    9/1/20173FADP4BJ3DM203547
FVSͲ114867666THERESAK        ANDERSON                                        MOUNTEPHRAIM   NJ    9/1/20173FADP4BJ4FM117425
FVSͲ114901287MAXWELLA        TRAVER                                          LAKELUZERNE    NY    9/1/20173FADP4BJ4CM195747
FVSͲ114925798 KATIEH         CHUNG                                           ROCKVILLE      MD    9/1/20173FADP4BJ3GM146724
FVSͲ114965420CHRISTINA        DENSON                                          LIMA           OH    9/1/20173FADP4BJ5DM118628
FVSͲ115115137JOHNJ           ZIMMERERJR                                      ESSEX          MD    9/1/20173FADP4BJ6CM152947
FVSͲ115175822 DEBRAL         SMITH                                           CHIEFLAND      FL    9/1/20173FADP4BJ6DM171385
FVSͲ115313257 EVARISTO        GARCIA                                          ELKCITY       OK    9/1/20173FADP4BJ6CM158358
FVSͲ115429980 KATHY           MCKENZIESPARKS                                  DUQUOIN       IL    9/1/20173FADP4BJ7DM194352
FVSͲ115430857TATIANA          AVILA                                           FTLAUDERDALE   FL    9/1/20173FADP4BJ7DM199213
FVSͲ115471219ANDREAR         FERREROPEREZ          MICAELAAPEREZFERRERO   ATHENS         GA    9/1/20173FADP4BJ7DM175140
FVSͲ115485791 HARRY           BORGERDING                                       DAYTON         OH    9/1/20173FADP4BJ7FM129150
FVSͲ115490345TYLER            LORD                  DENISELORD               THORNTON       CO    9/1/20173FADP4BJ8DM177253
FVSͲ115499687GARYW           MONSCHEIN                                        SARASOTA       FL    9/1/20173FADP4BJ8BM185804
FVSͲ115518940AWILDA           BALLESTER                                       KISSIMMEE      FL    9/1/20173FADP4BJ8DM174997
FVSͲ115599550 UMESHR         SORATHIA                                        WESTORANGE     NJ    9/1/20173FADP4BJ8EM199271
FVSͲ115606521 NANCYJ         DUTCHER                                         COLUMBUS       OH    9/1/20173FADP4BJ9BM202691
FVSͲ115631860DEBORAHA        CROUCH                DAVIDCROUCH              FAYETTEVILLE    OH    9/1/20173FADP4BJ9DM146741
FVSͲ115635653GARY             GARFOLE                                         PORTSTLUCIE   FL    9/1/20173FADP4BJ8EM162740
FVSͲ115794689EMMAL           MAY                                             BEDFORD        OH    9/1/20173FADP4BJXCM157603
FVSͲ115853987 PATRICIA        CARDINAL                                        COMMERCETWP    MI    9/1/20173FADP4BJ9DM176239
FVSͲ115965521JAMIER          SISSOM                BRADFORDEDWARDSJR       DAYTON         OH    9/1/20173FADP4CJ2EM148198
FVSͲ115969306SOPHIAL         HOLDER                                          TUCKER         GA    9/1/20173FADP4BJXEM189082
FVSͲ115995706CATHERINEZ      FAES                                            TROY           MI    9/1/20173FADP4BJXCM218545
FVSͲ116006242JENNIFERM       CUSANO                DESIREEBISHOP            WALLINGFORD     CT    9/1/20173FADP4BJXEM168233
FVSͲ116131152JACQUELINEA     LEGAULT                                         KISSIMMEE      FL    9/1/20173FADP4CJ8CM171725
FVSͲ116148764 EDDIEJ         BURNSJR               ANGIENETTEBURNS          ALPHARETTA      GA    9/1/20173FADP4CJXCM208208
FVSͲ116186259CRAIGA          SMITH                 ELIZABETHSWHITE         GRANDRAPIDS    MI    9/1/20173FADP4EJ0CM145813
FVSͲ116186712 LINDAR         WILLIAMS                                        JACKSONVILLE    FL    9/1/20173FADP4CJ7DM215747
FVSͲ116206594 BETTYJ         OMARY                                           FLATROCK      MI    9/1/20173FADP4EJ0CM157914
FVSͲ116212357GEORGEA         BATTEN                SANDRABATTEN             WOODSTOCK       GA    9/1/20173FADP4CJ5BM207854
FVSͲ116230932VANITAL         THOMPSON                                        DETROIT        MI    9/1/20173FADP4EJ0EM179821
FVSͲ116233648 BETTYJ         ANDERSON                                        SUNCITY       AZ    9/1/20173FADP4CJ9GM147228
FVSͲ116256788JAMIL           MANDICH               AKAJAMIBRYAN            STOCKTON       CA    9/1/20173FADP4CJ7BM224106
FVSͲ116259442CORALEAA        SAYLOR                                          DELTONA        FL    9/1/20173FADP4EJ0DM218812
FVSͲ116326654 MAURICIOD      CUERVOJR                                       ROYALPLMBCH   FL    9/1/20173FADP4EJ0DM183673
FVSͲ116344300 LINKT          THOMAS                                          MCDONOUGH       GA    9/1/20173FADP4EE8EM232672
FVSͲ116355310MARGARETA       WERTZ                                           ATHENS         OH    9/1/20173FADP4EJ1CM180960
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FVSͲ116359870RANDOLPHA       GOODMAN           MARLENEMARIEGOODMAN   MARICOPA          AZ   9/1/20173FADP4EJ0DM137017
FVSͲ116387670 DEBRAD         KENYON                                     NASHVILLE         MI    9/1/20173FADP4EJ0CM198866
FVSͲ116549866 ETHELS         HALL                                       SEYMOUR           WI    9/1/20173FADP4EJ3CM157566
FVSͲ116635886JOYJ            CASSAR                                     HOLLY             MI    9/1/20173FADP4EJ3BM228327
FVSͲ116655810JESSICA          BROCKWAY                                   INDIANAPOLIS       IN    9/1/20173FADP4EJ2EM196491
FVSͲ116748435WENDYJ          MORAVEC           JAMESMORAVEC            WELLTON           AZ    9/1/20173FADP4EJ3DM177978
FVSͲ116770031 ELAINEA        WILLIAMSͲBELL                               FORTPIERCE        FL    9/1/20173FADP4EJ4DM108894
FVSͲ116780266 ELVERA          ORESKOVICH                                  WICHITA           KS    9/1/20173FADP4EJ4FM172159
FVSͲ116792930JACKR           MALLOCH           AMANDAFICHTER           PARKER            CO    9/1/20173FADP4EJ5CM115304
FVSͲ116809051ANNAB           MATHAGER          LAKAVIECOLEMAN          SAVANNAH          GA    9/1/20173FADP4EJ5FM111354
FVSͲ117128066TERESAL         KAPLAN                                     NEWNAN            GA    9/1/20173FADP4EJ7DM183380
FVSͲ117154792JIMMYE          DABBS             CATHYDABBS              HENAGAR           AL    9/1/20173FADP4EJ7BM128957
FVSͲ117253456DAWNR           JOHNSON                                    BUFFALO           MN    9/1/20173FADP4EJ8BM239212
FVSͲ117291196 DAVID           GARCIA            LEAHGARCIA              LUBBOCK           TX    9/1/20173FADP4EJXDM116482
FVSͲ117292940ANDREWL         HINMAN                                     HOLLY             MI    9/1/20173FADP4EJXDM130933
FVSͲ117310360 MICHAELC       HETTINGER                                  CHICAGO           IL    9/1/20173FADP4EJXCM221523
FVSͲ117324302 MARION          LOWE                                       CRESTVIEW         FL    9/1/20173FADP4EJ8DM204978
FVSͲ117327387ALEXISW         THURSTON                                   FORTCOLLINS       CO    9/1/20173FADP4EJ8DM225765
FVSͲ117513016JAMESA          WALTERS                                    ROCKMART          GA    9/1/20173FADP4EJXDM203279
FVSͲ117619370ANAL            THRISTINO                                  SARASOTA          FL    9/1/20173FADP4FJ3EM106179
FVSͲ117624241SAMANTHAR       WARD                                       MEMPHIS           TN    9/1/20173FADP4FJ7BM101532
FVSͲ117636118JESSEJ          WHITE                                      OMAHA             NE    9/1/20173FADP4FJ6CM196330
FVSͲ117637769 BRENDAJ        FISHER                                     MIDDLEBORO         MA    9/1/20173FADP4FJ0DM116361
FVSͲ117701734ZORICAB         SAVESKI                                    SHELBYTWP         MI    9/1/20173FADP4FJ9CM180574
FVSͲ117760072THOMAS           MYERS                                      MARICOPA          AZ    9/1/20173FADP4FJ7DM136462
FVSͲ118137310 BRIANW         CORWIN                                     SNBERNRDNO        CA     9/1/20171FADP3E25EL294497
FVSͲ118182455 KENNETH         HENRY             GLORIAYVETTEHENRY      FONTANA           CA     9/1/20171FADP3F20DL335082
FVSͲ118182951ALCIDEB         MARSHALL                                   SANFRANCISCO      CA     9/1/20171FADP3F20DL337883
FVSͲ118186884WYMAN            GREEN                                      FONTANA           CA     9/1/20171FADP3F20DL221941
FVSͲ118201590 BRIAN           BAUTISTA                                   CITRUSHEIGHTS     CA     9/1/20171FADP3F20DL178024
FVSͲ118227440 CHRISTAL       VICKERY                                    ELCAJON          CA     9/1/20171FADP3F21DL264166
FVSͲ118234030 DAVIDG         FREGOSO                                    PERRIS            CA     9/1/20171FADP3F22EL432446
FVSͲ118238205 MARKA          AMADOR            KELLIAMADOR             WHITTIER          CA    9/1/20171FADP3E28GL275915
FVSͲ118250906 ROBERTP        ZOERB             DANAECONNOLLY           HUNTINGTONBEACH   CA     9/1/20171FADP3F21DL201052
FVSͲ118251902 BRADFORD        HOGGE                                      SIMIVALLEY       CA     9/1/20171FADP3F21DL221995
FVSͲ118259954STEVEN           HOLSTON                                    STOCKTON          CA     9/1/20171FADP3F22EL118909
FVSͲ118264338 MARIO           ORTIZ                                      PACOIMA           CA     9/1/20171FADP3E27FL375230
FVSͲ118266250VERRETTAL       JOHNSON                                    VICTORVILLE        CA     9/1/20171FADP3E28DL132040
FVSͲ118273213 CARLOS          ACAJABON                                   LOSANGELES        CA     9/1/20171FADP3F20FL316552
FVSͲ118277839 ROSALINDA       MARTINEZ          STEVEMARTINEZ           RIALTO            CA     9/1/20171FADP3F23EL374685
FVSͲ118283626 KIMBERLY        ALTAMIRANO                                  ORANGE            CA     9/1/20171FADP3F22DL264063
FVSͲ118284789 GRACIELAA      ORDONEZ                                    LASVEGAS         NV     9/1/20171FADP3F22DL277704
FVSͲ118285262 ERICAY         BELTRAN           JUANPBELTRAN           LOSANGELES        CA     9/1/20171FADP3F22DL290369
FVSͲ118302957JULIOE          RIVERA                                     BELLGARDENS       CA     9/1/20171FADP3F23EL323929
FVSͲ118308491 DAVID           AMEZQUITA                                  INDIO             CA     9/1/20171FADP3F20FL300609
FVSͲ118314084JANICEJ         THOMPSON                                   NORTHHIGHLANDS    CA     9/1/20171FADP3F22DL117340
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FVSͲ118327127 PATRICIAM      ROSALES              GEORGEROSALES    BAKERSFIELD         CA   9/1/20171FADP3F23EL156780
FVSͲ118333437 BRITTNEYJ      VANVLEET                                RIVERSIDE           CA    9/1/20171FADP3F25DL296330
FVSͲ118334980STEVEN           DAIRE                                   LOSANGELES          CA    9/1/20171FADP3F20EL277475
FVSͲ118344986JAVIER           RODRIGUEZ                               ONTARIO             CA    9/1/20171FADP3F21FL363962
FVSͲ118357530STEVENE         PRESBERG                                WOODLANDHLS         CA    9/1/20171FADP3F23DL319295
FVSͲ118364146 CHRISTINEJ     OHLER                                   APPLEVALLEY         CA    9/1/20171FADP3F26DL222477
FVSͲ118367528CORY             RODGERS                                 HESPERIA            CA    9/1/20171FADP3F24EL318268
FVSͲ118389440ALEXANDERA      CEA                                     MORENOVALLEY        CA    9/1/20171FADP3F27DL373876
FVSͲ118391976 JESUS           CABANYOG             MARISACABANYOG    PORTERVILLE          CA    9/1/20171FADP3F27EL139979
FVSͲ118393910 DAISY           DUONG                                   SANDIEGO           CA    9/1/20171FADP3F27EL199163
FVSͲ118395300 JORGEI         LIRA                                    VANNUYS            CA    9/1/20171FADP3F24EL118300
FVSͲ118402943 DONALDB        TATUM                JACKIEWINGERTER   SANTEE              CA    9/1/20171FADP3F27DL301415
FVSͲ118408305JEANETTE         PARKER                                  FAIRFIELD           CA    9/1/20171FADP3F25FL270099
FVSͲ118420399TIMOTHY          WYATT                                   ROCKLIN             CA    9/1/20171FADP3F27DL185410
FVSͲ118420828 LARRYA         WAEGE                                   BLOOMINGTON          MN    9/1/20171FADP3F27DL195841
FVSͲ118422367SUSANW          ZINSER                                  BRENTWOOD            CA    9/1/20171FADP3F27DL222228
FVSͲ118425749MARCOP          GONZALEZ,JR          SILVIAGONZALEZ    ONTARIO             CA    9/1/20171FADP3F24DL308418
FVSͲ118425889 JESSICA         RODRIGUEZGUTIERREZ   AKAJESSICAMORA   BELLGARDENS         CA    9/1/20171FADP3F24DL309780
FVSͲ118428454GENEVAO         YORKE                                   CANOGAPARK          CA    9/1/20171FADP3F24DL373964
FVSͲ118435680ROBERTA         GONGͲGUY                                SANJOSE            CA    9/1/20171FADP3F25EL321681
FVSͲ118451685TRACYL          RAINS                CHRISTIERAINS     SANDIEGO           CA    9/1/20171FADP3F28EL431401
FVSͲ118453165 CLAUDIAM       RODRIGUEZ                               SNBERNRDNO          CA    9/1/20171FADP3F28FL203142
FVSͲ118453947 MEGANE         DOLAN                                   HIDDENVALLEYLAKE   CA    9/1/20171FADP3F28FL227618
FVSͲ118481940THOMASD         JARA                 LAURAJARA         ELCAJON            CA    9/1/20171FADP3F29EL277121
FVSͲ118484320JAIME            SERRANOJUAREZ         AVILENEQUEVEDO    COLTON              CA    9/1/20171FADP3F29EL349953
FVSͲ118491334 LUIS            MEZA                                    ROWLANDHGHTS        CA    9/1/20171FADP3F29FL324472
FVSͲ118502077 MILEAH          SANDERS              CHRISSANDERS      SANDIEGO           CA    9/1/20171FADP3F29EL156511
FVSͲ118512188 BRENDALYNNJ   WRIGHT                                  MOORPARK            CA    9/1/20171FADP3F2XFL363863
FVSͲ118525506CLAUDIA          MAZZATTA                                MURRIETA            CA    9/1/20171FADP3F29DL284701
FVSͲ118527509 KEVIN           HAM                                     FULLERTON           CA    9/1/20171FADP3F29DL335291
FVSͲ118528572 MARIAG         FRIAS                ADRIANGUTIERREZ   CANYONCNTRY         CA    9/1/20171FADP3F29DL352804
FVSͲ118538624 CHRISTINEA     DEBENEDETT                               SANTAROSA           CA    9/1/20171FADP3F26EL219595
FVSͲ118540440 NELSON          MIRANDA              MOISESMIRANDA     NORTHHILLS          CA    9/1/20171FADP3F26EL259708
FVSͲ118548506MANSOOR          JAN                                     FREMONT             CA    9/1/20171FADP3F27FL294582
FVSͲ118559559 MCCALL          MILLER                                  BREA                CA    9/1/20171FADP3F29DL222229
FVSͲ118561863 KELLY           ODELL                DONALDODELL       SIMIVALLEY         CA    9/1/20171FADP3F29DL264559
FVSͲ118567462 LASALLE         THORNTONA                                ELKGROVE           CA    9/1/20171FADP3K20EL110863
FVSͲ118568914ROBERTGORDON    NELSONJR            ROBERTNELSONSR   MORGANHILL          CA    9/1/20171FADP3F2XEL163659
FVSͲ118579223 CYRUS           MUGHANNEM                                FONTANA             CA    9/1/20171FADP3F27EL374687
FVSͲ118581589JAMESA          STUBBS                                  COTATI              CA    9/1/20171FADP3F27EL442969
FVSͲ118587692 ROSALIO         SANDOVAL                                FONTANA             CA    9/1/20171FADP3K20DL177784
FVSͲ118589776CHRISTOPHERD    RAMIREZ                                 RCHCUCAMONGA        CA    9/1/20171FADP3K20DL235358
FVSͲ118596217 CHRISTINAL     GONZALES             ALEXIS             GLENDORA            CA    9/1/20171FADP3K21FL361635
FVSͲ118603825 PAMELAJ        HUCKABY                                 ORANGE              CA    9/1/20171FADP3F2XEL123601
FVSͲ118608657JEANNETTEE      KERR                                    SIMIVALLEY         CA    9/1/20171FADP3K21FL300334
FVSͲ118613332ANGELAV         CATTOCHE                                BURBANK             CA    9/1/20171FADP3J29DL382103
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FVSͲ118616064DOROTHYS        LANCASTER         BRANDLANCASTER     SANDIEGO       CA      9/1/20171FADP3J2XEL162227
FVSͲ118617630 DIEGO           RIVERA                                 ANAHEIM         CA      9/1/20171FADP3K22DL117084
FVSͲ118630350ANNEM           WEAVER                                 HAYWARD         CA       9/1/20171FADP3K21EL327970
FVSͲ118634585RAYMUNDO         RIVERA                                 BUENAPARK       CA      9/1/20171FADP3F2XDL271309
FVSͲ118637886JEREMYW         COOMES                                 FAIROAKS       CA      9/1/20171FADP3K23DL374593
FVSͲ118641387SHAWNAA         CUNNINGHAM         BRANDONRATHBURN     BOULEVARD        CA       9/1/20171FADP3K23EL185394
FVSͲ118646958 ROBERT          BEATTIE                                SIMIVALLEY     CA       9/1/20171FADP3J27DL254622
FVSͲ118663135 KRISTENL       CORRADETTI                              OCEANSIDE       CA       9/1/20171FADP3K23EL327968
FVSͲ118667564 HALIMEHG       BETKHOUDA                               COULTERVILLE     CA      9/1/20171FADP3F2XDL171002
FVSͲ118678060CHERYLA         VALCARCEL                              MORGANHILL      CA       9/1/20171FADP3J24DL382638
FVSͲ118688936 CRISTIANO      ROCHA                                  COLUSA          CA      9/1/20171FADP3K21DL264772
FVSͲ118689045SEANM           HARSHAW                                YUCCAVALLEY     CA      9/1/20171FADP3K21DL266277
FVSͲ118704184ANN              LEHMAN                                 PORTLAND        OR      9/1/20171FADP3K25DL177912
FVSͲ118704605VANESSA          MORALES                                ELMONTE        CA      9/1/20171FADP3K25DL190255
FVSͲ118706667AARONF          SMITH             CHARLOTTESMITH      IRVINE          CA       9/1/20171FADP3J21DL131673
FVSͲ118709011YOLANDAS        ORTIZ             DAVIDORTIZ          LOSANGELES      CA       9/1/20171FADP3J21FL380204
FVSͲ118715089WALTER           HALEYIII         PAMELAMEGANHALEY   SANMARCOS       CA       9/1/20171FADP3K24EL247790
FVSͲ118715844ANTHONYB        CIARLO                                 OAKPARK        CA      9/1/20171FADP3K24EL276500
FVSͲ118723812DAWN             SIGGARD                                THOUSANDOAKS    CA      9/1/20171FADP3K26DL340910
FVSͲ118725238MONICAM         SOLTIS                                 CYPRESS         CA      9/1/20171FADP3K26EL110964
FVSͲ118731130JASPERD         SPENCE                                 FOLSOM          CA       9/1/20171FADP3K22FL211274
FVSͲ118748580JUNEM           FRANKLIN                               SACRAMENTO       CA       9/1/20171FADP3K20FL243947
FVSͲ118762532VANESSAB        MENDIETA          CARLOSPARDO         SANPABLO       CA      9/1/20171FADP3K27EL350380
FVSͲ118763717 JENNA           CROMWELL                               TEMECULA        CA      9/1/20171FADP3K27EL407726
FVSͲ118764578ANDY             LUCATERO                               GARDENA         CA      9/1/20171FADP3K27EL442203
FVSͲ118771329 STEVENG        HOWELL                                 LANCASTER       CA      9/1/20171FADP3K24DL201200
FVSͲ118776371 DIANA           RASMUSSEN          NICOLERASMUSSEN     CLAREMONT        CA       9/1/20171FADP3K27EL281819
FVSͲ118779060 RAYA           CULBERTSON         JULIACULBERTSON     ANAHEIM         CA      9/1/2017 1FADP3K25EL442183
FVSͲ118795678 DESIRAEA       DOWNING                                VENTURA         CA       9/1/20171FADP3K27EL145335
FVSͲ118795929 LUISC          BEJARANO          DIANA                MONTEBELLO       CA       9/1/20171FADP3K27EL156450
FVSͲ118796240THOMAS           REID                                   COARSEGOLD       CA      9/1/20171FADP3K27EL162457
FVSͲ118798901 TIFFINIEL      BRENNER                                WALNUTCREEK     CA      9/1/20171FADP3K23GL238727
FVSͲ118802437 MARTIN          TOPETE            JOSEPICENO          BUENAPARK       CA      9/1/20171FADP3K29DL204738
FVSͲ118805541CODYA           FORREST                                CORONADELMAR   CA      9/1/20171FADP3K29DL279813
FVSͲ118816276 STEVEF         MCCORMACK                               SACRAMENTO       CA      9/1/20171FADP3K27DL205001
FVSͲ118826719 CAMILLE         BERGERSON         ERICBERGERSON       LOSANGELES      CA       9/1/20171FADP3K23EL441887
FVSͲ118864114 MAURICIOR      RODRIGUES                              PETALUMA        CA       9/1/20171FADP3K2XFL341903
FVSͲ118866249 KYLE            BURTON                                 LONGBEACH       CA      9/1/20171FADP3K25DL210925
FVSͲ118873164STEVENP         CURTIS                                 UPLAND          CA      9/1/20171FADP3K2XDL315685
FVSͲ118874756 CHRISTINEM     WININGER                               SUNOL           CA      9/1/20171FADP3K2XDL374588
FVSͲ118877445ALLEND          TYRPAK                                 ORANGE          CA       9/1/20171FADP3K26FL326296
FVSͲ118903527 HAROLDA        MARTIN            WENDYMARTIN         CORONADO        CA      9/1/20171FADP3K2XDL190204
FVSͲ118904620 DANIEL          CONNOLLY                               ELDORADO       CA      9/1/20171FADP3K2XDL222651
FVSͲ118927957CATHYA          PREBLE                                 FORTCOLLINS     CO      9/1/20171FADP3K28DL335112
FVSͲ118941690ASHLEYM         YANEZ                                  INDIO           CA      9/1/20171FADP3N20DL277525
FVSͲ118983792TREVORH         FEICHTMANN                              GILROY          CA      9/1/20171FADP3R40EL330561
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                                                             
FVSͲ118992457GARY              MARUSKA                                                  ESCONDIDO               CA   9/1/20171FADP3N29DL363030
FVSͲ119031264MANDAE           CORTES                                                   LEMONGROVE              CA     9/1/20171FAHP3E22CL330466
FVSͲ119052504GRACIEC          SCHER                           IRASCHER                MISSIONHILLS            CA    9/1/20171FADP3N27DL374012
FVSͲ119090341                   BUCK&MARYSHARPFMLYTR                                 LOMPOC                  CA    9/1/20171FADP3N26DL284754
FVSͲ119097141 RAMIRO           TABLAS                          ADRIANATABLAS           BAKERSFIELD              CA     9/1/20171FAHP3F21CL436034
FVSͲ119111152GEORGE            ALEXANDER                                                FRESNO                  CA     9/1/20171FAHP3F22CL468538
FVSͲ119128535GLADYSB          VENTURA                         EDELSOMBERY             ESCONDIDO               CA     9/1/20171FADP3N25EL111051
FVSͲ119132338 MARK             WILKINS                                                  SANTACLARITA            CA     9/1/20171FAHP3F25CL452107
FVSͲ119143968 KATHLEENC       MCCARTHY                                                 SPASADENA               CA     9/1/20171FAHP3F25CL239349
FVSͲ119164787 ILAJ            DOTY                            RICHARDDOTY             YUCAIPA                 CA    9/1/20171FADP3N24DL271369
FVSͲ119169665 ROBERTJ         OLSONJR                        KATELYNOLSON            ROCKLIN                 CA     9/1/20171FAHP3F25CL131135
FVSͲ119187981TRUDIEFANNIEL   STAPLETON                                                PACOIMA                 CA     9/1/20171FAHP3F20CL301952
FVSͲ119189593JANICEJ          THOMPSON                                                 NHIGHLANDS              CA     9/1/20171FAHP3F20CL356501
FVSͲ119219719JAPHETP          COE                                                      LOSANGELES              CA     9/1/20171FAHP3E29CL467789
FVSͲ119236893CHERYLL          WELLS                                                    EUGENE                  OR    9/1/20171FAHP3H23CL206301
FVSͲ119256061JANETR           BOX                             DAVIDBOX                LOSGATOS               CA    9/1/20171FAHP3H22CL200389
FVSͲ119262681 RICHARDD        HARVEY                                                   SACRAMENTO               CA     9/1/20171FAHP3F23CL356590
FVSͲ119265486VINCENTJ         BACHELIER                                                SACRAMENTO               CA    9/1/20171FAHP3H29CL373469
FVSͲ119287021SKYLER            OOSTRA                                                   SANDIEGO               CA    9/1/20171FAHP3H2XCL469272
FVSͲ119289563 IRENEG          BREWER                                                   APPLEVALLEY             CA     9/1/20171FAHP3F23CL175134
FVSͲ119289610JOHNR            GARAMENDI                                                 WALNUTGROVE             CA     9/1/20171FAHP3F23CL175229
FVSͲ119297639 DANIELM         BARULICH                                                 LOSANGELES              CA     9/1/20171FAHP3F27CL204893
FVSͲ119302020SEANM            HOPPER                                                   LACRESCENTA             CA     9/1/20171FAHP3F27CL337993
FVSͲ119303264STEVENM          JEFFRIES                                                 CLEARLAKEOKS            CA     9/1/20171FAHP3K22CL302512
FVSͲ119304562CURTISF          HAMILTON                                                 ARBUCKLE                CA     9/1/20171FAHP3K22CL356571
FVSͲ119308517 LEONARDD        RUIZ                                                     VICTORVILLE              CA    9/1/20171FAHP3H20CL430528
FVSͲ119308592YUNC             CHIU                            NEALRENZI               RANCHOSANTAMARGARITA   CA    9/1/20171FAHP3H20CL435759
FVSͲ119311941JOSEA            CARAPIA                         EVAMARTINEZ             NORWALK                 CA    9/1/20171FAHP3H21CL325304
FVSͲ119313855MATTHEWG         BALL                            TANYABALL               WESTHILLS              CA     9/1/20171FAHP3K22CL130711
FVSͲ119322463THOMASS          QUALLICK                                                 LINCOLN                 CA     9/1/20171FAHP3K23CL131236
FVSͲ119325870 ROBERTS         GIBSON                                                   RCHCUCAMONGA            CA     9/1/20171FAHP3K23CL262800
FVSͲ119335700                   NEWWORLDMACHININGINC          CEOMARYGUILBERT        SANJOSE                CA     9/1/20171FAHP3K21CL316045
FVSͲ119343177 DENNIS           PASKO                                                    YORBALINDA              CA     9/1/20171FAHP3K26CL429487
FVSͲ119348810CHRISTOPHERJ     VALENZUELA                                                INDIO                   CA    9/1/20171FAHP3H26CL387863
FVSͲ119357097GEORGEO          HERMOSILLO                                                LOSANGELES              CA     9/1/20171FAHP3K26CL392019
FVSͲ119364395DAWND            HENDRICKSON                      PAULBYRONHENDRICKSON   CHINOHILLS              CA     9/1/20171FAHP3K27CL267921
FVSͲ119374323 NICHOLASC       BIASOTTI                        TAMARABIASOTTI          SANDIEGO               CA     9/1/20171FAHP3F2XCL457528
FVSͲ119380692 LOUISEG         JENKS                                                    GRANDTERRACE            CA    9/1/20171FAHP3H25CL423252
FVSͲ119381524 MIGUEL           VINCESBUSTAMANTE                                         CAMPBELL                CA    9/1/20171FAHP3H25CL479045
FVSͲ119384868STEPHANIEM       MILLER                          DANIELJIMENEZ           SANDIEGO               CA    9/1/20171FAHP3M20CL337207
FVSͲ119384930ONEKA             GIDDENS                                                  RCHCUCAMONGA            CA    9/1/20171FAHP3M20CL344576
FVSͲ119396017 KELLI            FOURNIER                                                 YORBALINDA              CA     9/1/20171FAHP3K2XCL400574
FVSͲ119397480 RAZIEL           MUNIZ                                                    FONTANA                 CA     9/1/20171FAHP3K2XCL441285
FVSͲ119405687GWENDOLYNA       JACKIMEK                                                 VENTURA                 CA     9/1/20171FAHP3K25CL366785
FVSͲ119406659 ELIZABETHA      TUNNELL                                                  FRESNO                  CA     9/1/20171FAHP3K25CL400739
FVSͲ119408724 NEVAZ           MCCLELLAN                                                RAMONA                  CA    9/1/20171FAHP3M21CL415963
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FVSͲ119416573 LEAH            RUIZ              CHARLESRUIZ       WESTMINSTER      CA     9/1/20171FAHP3K2XCL177890
FVSͲ119422042 MADELINEY      QUESADA                               SANTACRUZ        CA      9/1/20171FAHP3J27CL436112
FVSͲ119433788JOSEPHJ         DONNELLY                              LOSANGELES       CA      9/1/20171FAHP3K24CL410338
FVSͲ119445859COLLEENP        FARLEY                                MOUNTAINVIEW     CA      9/1/20171FAHP3K29CL436093
FVSͲ119448157MATTHEWG        SHILLING                              SANTAROSA        CA      9/1/20171FAHP3M28CL468434
FVSͲ119450038 DAVIDC         ZEBLEY                                CHICO            CA      9/1/20171FAHP3M29CL236912
FVSͲ119453649 BRIAND         THAYER                                SANDIEGO        CA      9/1/20171FAHP3J20CL452118
FVSͲ119459140JAMIEG          RIGGIO                                SANTAMONICA      CA      9/1/20171FAHP3J26CL295078
FVSͲ119461749 RUTH            GARCIA            FERNANDOGARCIA     WHITTIER         CA      9/1/20171FAHP3M26CL349054
FVSͲ119491699 BRENDA          MARTINEZ                              ROSEVILLE        CA      9/1/20171FAHP3M25CL423404
FVSͲ119506688 MICHAEL         HACK              STEFFENHACK        SANJOSE         CA      9/1/20171FAHP3N26CL174996
FVSͲ119533669JENNIFERM       PLUCINAK                              VENTURA          CA      9/1/20171FAHP3M25CL175154
FVSͲ119537540SANDRAP         GONZALES                              NEWMAN           CA      9/1/20173FADP4AJ5FM136051
FVSͲ119540908JODY             OLSON                                 ELKGROVE        CA      9/1/20171FAHP3K28CL146718
FVSͲ119561433 LYNDAHM        PIZARRO                               RESEDA           CA      9/1/20173FADP4AJXDM226289
FVSͲ119563789 BRUCEW         LYTLE                                 CAMERONPARK      CA      9/1/20171FAHP3N21CL452767
FVSͲ119567814GREGORY          MASON                                 NORWALK          CA      9/1/20171FAHP3N23CL244096
FVSͲ119578484JAVIER           GONZALEZ                              SANDIEGO        CA      9/1/20173FADP4AJ2FM110796
FVSͲ119588412 EVANGELINA      ALVARADO                              ANAHEIM          CA      9/1/20173FADP4BJ0BM106612
FVSͲ119594463 HECTORL        ARELLANO                              PARAMOUNT         CA      9/1/20173FADP4AJ8EM186697
FVSͲ119602806 ROGELIO         SEGURA                                LOSANGELES       CA      9/1/2017 1FAHP3N20CL167672
FVSͲ119605872 MEGAN           QUINN                                 VENTURA          CA      9/1/20171FAHP3N21CL174906
FVSͲ119607930ADRIANA          MARTINEZ                              VENTURA          CA      9/1/20173FADP4BJ1EM190945
FVSͲ119621967ALBERTC         WILLIAMS                              COMMERCE         CA      9/1/20173FADP4BJ1DM205099
FVSͲ119623846 BRIANSCOTT     BUCKINGHAM         PAMELABUCKINGHAM   CROCKETT         CA      9/1/20173FADP4BJ1EM111144
FVSͲ119624630COREY            GLOCKNER                              RCHOSTAMARG     CA      9/1/20173FADP4BJ1EM133306
FVSͲ119631881 DALEA          RUIZ                                  CASTROVALLEY     CA      9/1/20173FADP4AJ8DM221334
FVSͲ119644568JERID           SELF                                  CORONA           CA      9/1/20173FADP4BJ1CM129365
FVSͲ119646064 LISAJEANM     GARCIA                                MORENOVALLEY     CA      9/1/20173FADP4BJ1CM171020
FVSͲ119646463STEVEN           BARRELL                               TARZANA          CA      9/1/20173FADP4BJ1CM182258
FVSͲ119662302 MAXINEM        SILVA                                 LAHABRA         CA      9/1/20173FADP4AJ7DM113903
FVSͲ119679205 BONNIEJ        GAMBRIL                               SNLUISOBISP     CA      9/1/20173FADP4BJ3GM198550
FVSͲ119685906ARELI            QUEZADA                               WESTMINSTER       CA      9/1/20173FADP4AJ0DM207637
FVSͲ119689901SHAWN            ARTHUR                                OAKDALE          CA      9/1/20173FADP4AJ0GM165345
FVSͲ119694212 DUSTINR        BUTCHER                               AUBURN           CA      9/1/20173FADP4BJ3CM221397
FVSͲ119697335TIMOTHYJ        KIMBLE            ALIVIAKIMBLE       SACRAMENTO        CA      9/1/20173FADP4BJ3DM178083
FVSͲ119728095JOSEL           GOMEZ                                 WESTCOVINA       CA      9/1/20173FADP4BJ3CM126399
FVSͲ119728699 NATHANC        HUISINGER         ROBERTMELERA       OROVILLE         CA      9/1/20173FADP4BJ6BM200865
FVSͲ119728753 KARIM           BEKKOUCHE                             REDONDOBEACH     CA      9/1/20173FADP4BJ6BM200901
FVSͲ119744236 KIMK           HEISS             EDWARDHEISS        MODESTO          CA      9/1/20173FADP4BJ5DM178134
FVSͲ119746581ALBERTC         WILLIAMS                              COMMERCE         CA      9/1/2017 3FADP4BJ5DM225906
FVSͲ119759640 RICARDOA       CHAO                                  COVINA           CA      9/1/20173FADP4BJ2EM221037
FVSͲ119767112 MICHELEM       WICKLEIN          ADDISONCOOK        ALISOVIEJO      CA      9/1/20173FADP4BJ7FM129553
FVSͲ119779153ARCHIBALDH      ROWAN             SAVANNAHROWAN      MILLVALLEY       CA      9/1/20173FADP4BJ8DM111317
FVSͲ119790335ANAL            FERNANDEZ         GENESISFERNANDEZ   NAPA             CA      9/1/20173FADP4BJ7DM201056
FVSͲ119791048ANTHONY          GARCIA            ALICEGARCIA        CHINOHILLS       CA      9/1/20173FADP4BJ7DM208251
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                                                 
FVSͲ119804123 DELIA           CRESPO                                    LAPUENTA               CA   9/1/20173FADP4BJXCM137853
FVSͲ119808811 KHEMYA          MITRAHINA                                 STOCKTON                CA    9/1/20173FADP4BJ4FM213765
FVSͲ119819660ANGELICAY       URBINA                                    SANTAANA               CA    9/1/20173FADP4BJ7CM140757
FVSͲ119826801GINAL           MONDELLO             BERNARDLMONDELLO   CORONA                  CA    9/1/20173FADP4BJXDM186150
FVSͲ119826828TIMOTHYL        MILLINGTON            LOUISAMILLINGTON    RIVERSIDE               CA    9/1/20173FADP4BJXDM186195
FVSͲ119828235 BARBARAS       DAVIES                                    ELCAJON                CA    9/1/20173FADP4BJXDM208194
FVSͲ119830000 BRIAND         PETERSON             AMYPETERSON         ONTARIO                 CA    9/1/20173FADP4BJXEM110977
FVSͲ119835134 ROBERTO         HINOSTROZA                                 LAKEELSINORE            CA    9/1/20173FADP4BJ2DM119445
FVSͲ119837854 MARIAE         SANCHEZ                                   PARAMOUNT                CA    9/1/20173FADP4BJ9EM102255
FVSͲ119840693MARTA            CONNOR                                    LANCASTER               CA    9/1/20173FADP4BJ9EM203487
FVSͲ119859459 PATRICIAA      BUMBERGER             MICHAELBUMBERGER    WILDOMAR                CA    9/1/20173FADP4BJ7BM225970
FVSͲ119862638JAMIL           BRYAN                                     STOCKTON                CA    9/1/20173FADP4CJ7BM224106
FVSͲ119871262THOMASO         PATE                 LORRAINEEPATE      FAIRFIELD               CA    9/1/20173FADP4CJXBM193580
FVSͲ119876060JOSEPHR         SUAZO                                     NORTHHILLS              CA    9/1/20173FADP4BJ4CM176650
FVSͲ119877287 PAIGES         PORTILLO                                  RIVERSIDE               CA    9/1/20173FADP4BJ4DM109614
FVSͲ119884780 REBECCA         FRANK                CHARLESHARE         TORRANCE                CA    9/1/20173FADP4CJ5BM224220
FVSͲ119898330 KARENR         TAHLER                                    ENCINO                  CA    9/1/20173FADP4BJ9BM156943
FVSͲ119913380JESSICA          GONZALES                                  LOSANGELES              CA    9/1/20173FADP4EJ2BM148839
FVSͲ119915340 LANCEA         SOLOWAY              CONNIESOLOWAY       THOUSANDOAKS            CA    9/1/20173FADP4EJ2BM207629
FVSͲ119917181 FROYLAN         JIMENEZ                                   LOSANGELES              CA    9/1/20173FADP4EJ2CM150964
FVSͲ119925265VINCENTJ        BACHELIER                                 SACRAMENTO               CA    9/1/20173FADP4BJ6EM133785
FVSͲ119927861 DENISEM        TORRENSEN                                 HEMET                   CA    9/1/20173FADP4EJ1CM183602
FVSͲ119929295 PATRICIA        MENA                                      COLTON                  CA    9/1/20173FADP4EJ1DM137222
FVSͲ119944898 PATRICIA        MARTINEZ                                  MORENOVALLEY            CA    9/1/20173FADP4CJ1CM219758
FVSͲ119946386 ELLEN           MYLES                LAVERNEMYLES        LOSANGELES              CA    9/1/20173FADP4CJ2BM225972
FVSͲ119953463BREANNAM        COLLINS                                   LOSANGELES              CA    9/1/20173FADP4EJ0GM167445
FVSͲ119967405SHERRYL         BLOAT                                     SSANFRAN              CA    9/1/20173FADP4BJ8EM169235
FVSͲ119969025MONIQUEM        DANIEL               ROBINNEUMANN        LOSANGELES              CA    9/1/20173FADP4BJ8EM227585
FVSͲ119996596SARAHN          MIRANDA                                   SANDIEGO               CA    9/1/20173FADP4EJ8DM119302
FVSͲ119999870MARKE           MAGAN                EVELIAMAGAN         SYLMAR                  CA    9/1/20173FADP4FJ0BM159983
FVSͲ120000210 LUISE          SANCHEZFLORES                             POMONA                  CA    9/1/20173FADP4FJ0BM177075
FVSͲ120008971 FERNANDO        CALDERON                                  IRVINE                  CA    9/1/20173FADP4BJXEM183489
FVSͲ120013681SERJIK           BEDROSIAN                                 ENCINO                  CA    9/1/20173FADP4EJ3DM159321
FVSͲ120034824DAYSHANAY        KENNEDY                                   REDDING                 CA    9/1/20173FADP4EJ8BM177360
FVSͲ120035413 NADEMAL        SHERONICK                                 MISSIONVIEJO            CA    9/1/20173FADP4EJ8BM209921
FVSͲ120050498 PETRAR         SANCHEZ                                   LOSANGELES              CA    9/1/20173FADP4FJ8DM177490
FVSͲ120060329SANDRAC         BURNS                                     CHULAVISTA              CA    9/1/20173FADP4EJ5BM122008
FVSͲ120067374 KEITHW         MARUSKA                                   SANDIEGO               CA    9/1/20173FADP4FJ8BM106643
FVSͲ120088320TONYR           BARON                                     RANCHOSANTAMARGARITA   CA    9/1/20173FADP4FJ9BM224250
FVSͲ120093910 LISA            MACHIN               PAULGRAHAM          LAKEELSINORE            CA    9/1/20173FADP4FJ7BM180667
FVSͲ120110440ADRIENNEC       MYERS                                     RIVERSIDE               CA    9/1/20173FADP4EJ7DM144367
FVSͲ120118025TYLER            DESOTO                                    WINTERS                 CA    9/1/20173FADP4EJ9FM221338
FVSͲ120120020JUDYA           JONES                                     MURRIETA                CA    9/1/20173FADP4EJXBM111957
FVSͲ120139880BRYAND          RASKIN                                    KNEELAND                CA    9/1/20173FADP4EJ4DM214987
FVSͲ120162270DOUGLASE        BOWELL                                    APPLEVALLEY             CA    9/1/20173FADP4FJ5BM125229
FVSͲ120194279 DAVIDA         CAMPBELL                                  RIDGECREST               CA    9/1/20173FADP4EJ9BM116874
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                                              
FVSͲ120196654CATHERINEL      VOWELS                                   UPLAND          CA   9/1/20173FADP4EJ9BM203092
FVSͲ120219301 DEANAM         MARRAZZO                                 ARCATA          CA    9/1/20173FADP4FJXDM225913
FVSͲ120230615 FRANKR         BIALOBRESKI        JANICERBIALOBRESKI   CAMARILLO       CA    9/1/20173FADP4FJ9EM196289
FVSͲ120235480 EMILYM         DOWNARD                                  LOSANGELES      CA    9/1/20173FADP4TJ8FM115014
FVSͲ120237504 MIGUEL          MEDINA                                   SNBERNRDNO      CA    9/1/20173FADP4TJ9FM138849
FVSͲ120248476 DALER          CHAPPELL                                 NEWCASTLE       PA    9/1/20171FADP3F21EL438237
FVSͲ120258218WILLIAMN        WATSON                                   CHADDSFORD      PA    9/1/20171FADP3E2XFL303986
FVSͲ120261081 PHILIP          FALKOWITZ                                LONGHORNE       PA    9/1/20171FADP3F20DL258763
FVSͲ120294010TERRYJ          VANKEUREN                                 DAUBERVILLE      PA    9/1/20171FADP3F23DL358937
FVSͲ120308932JENNIFERL       BLATT                                    HAMBURG         PA    9/1/20171FADP3F23EL285263
FVSͲ120321475JESSICAM        ZAPPIA                                   ERIE            PA    9/1/20171FADP3F20FL342181
FVSͲ120355868 ELIZABETHR     LINDSAY                                  WESTCHESTER     PA    9/1/20171FADP3F22EL291376
FVSͲ120360748 RICHARDD       CLARK                                    SPRINGGROVE     PA    9/1/20171FADP3F26EL404536
FVSͲ120366436AMYL            BICKEL            JAMESBICKEL           SUNBURY         PA    9/1/20171FADP3F24EL314348
FVSͲ120450232 KENNETHG       LUDWIG                                   EPHRATA         PA    9/1/20171FADP3F28DL103815
FVSͲ120507129STEVEN           DEMAK                                    SANTACLARITA    CA    9/1/20171FAHP3N23CL451815
FVSͲ120507277 RICHARDW       HOLMES                                   NORTHRIDGE       CA    9/1/20171FAHP3N23CL457520
FVSͲ120509881JOHNC           CORRELL                                  OCEANSIDE       CA    9/1/20171FAHP3N24CL356163
FVSͲ120513919 LORIA          OKULA                                    NEWBRITAIN      PA    9/1/20171FADP3J28EL279403
FVSͲ120521865 KIMBERLYA      SHELDRON          LEIGHSHELDRON         FSTRVLTRVOSE    PA    9/1/20171FADP3K23EL446586
FVSͲ120564238ALEJANDROG      BETAMEN           NATALIEMSHIPPEY      RIVERSIDE       CA    9/1/20171FAHP3N25CL343289
FVSͲ120566583 BRIANA         SMALL                                    SANDIEGO       CA    9/1/20173FADP4AJ5DM109333
FVSͲ120567920 BRIANE         MILLER                                   VERONA          PA    9/1/20171FADP3F27EL128447
FVSͲ120637570THOMASJ         TRAUTMAN                                 CORAOPOLIS       PA    9/1/20171FADP3F2XEL370990
FVSͲ120645157SAMUEL           GOMEZ                                    LANCASTER       PA    9/1/20171FADP3K21EL410377
FVSͲ120677610JULIER          POLLACK                                  SOUTHAMPTON      PA    9/1/20171FADP3N21DL174131
FVSͲ120831627 ROBERTA        DISCIULLO                                MOUNTCARMEL     PA    9/1/20171FAHP3F24CL307303
FVSͲ120893576 MARIAJ         AIKEN                                    ELLWOODCITY     PA    9/1/20171FAHP3E20CL283406
FVSͲ120949717 REGINAA        BUCCI                                    BUTLER          PA    9/1/20171FAHP3H23CL293682
FVSͲ121072398MATTHEWE        ENGLE                                    ELIZABETHVILLE   PA    9/1/20171FAHP3J22CL182423
FVSͲ121090612ANNETTEJ        LAMONT                                   PHILADELPHIA     PA    9/1/20171FAHP3N23CL253848
FVSͲ121384837 KATHLEENA      SAVARD                                   ENFIELD         NH    9/1/20171FADP3F27EL125371
FVSͲ121443817JENNIFERJ       SMITH                                    MANCHESTER       NH    9/1/20171FAHP3M28CL389443
FVSͲ800000862ZOE              HOWARD                                   GLENDALE        CA    9/1/20171FADP3J2XEL162227
FVSͲ800000927 MICHAEL         CHRISTIE                                 MOJAVE          CA    9/1/20173FADP4BJ2FM121425
FVSͲ800001168MARLONNE         DANTZLER                                 CHULAUSTA       CA    9/1/20171FADP3E24GL391905
FVSͲ800001508 LUIS            LOPEZ             HERMILAOCHOA          SANTAANA       CA    9/1/20173FADP4EJ2EM102979
FVSͲ800001540FABIANGONZALO   CORTEZ                                   CATHEDRALCITY   CA    9/1/20171FAHP3H28CL393826
FVSͲ800002164TAYLORY         ANDERS                                   WHITAKER        PA    9/1/20171FADP3F25EL339923
FVSͲ800002261 PHYLLISMARIE   WILLIAMS                                 RICHMOND        VA    9/1/20171FADP3K25EL337238
FVSͲ800002555SCOTT            LEIGHTON                                 MISHAWAKA         IN   9/1/20171FADP3K29DL265667
FVSͲ800002580 LANNE           CASTRO            SUSANACASTRO          CHULAVISTA      CA    9/1/20171FA0P3J24FA41510
FVSͲ800003284LASHAWNDA        JACKSON           CORNELIUSBROWN        BEDFORD         OH    9/1/20171FADP3F20FL254053
FVSͲ800003322 RAYA            OBERLE                                   BARNESVILLE      GA    9/1/20171FAHP3F28CL327652
FVSͲ800003489 EMILY           SHUMAKER                                 FORDCITY       PA    9/1/20171FADP3F26FL316863
FVSͲ800003500 MELISSA         JASINSKI                                 AMBER           PA    9/1/20173FA6POHR7DR173633
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FVSͲ800003683ARTHRONC        ANTOINE                                 FREMONT           CA   9/1/20171FADP3F2EL317298
FVSͲ800003764OLENA            MCLEAN                                  TIFTON            GA    9/1/20171FAHP3H20CL206904
FVSͲ800003772 CHRISTOPHER     HERNANDEZ                                DESPLAINES        IL    9/1/20171FAHP3H23CL445654
FVSͲ800003810WILLIAM          BOGGUS                                  RYDAL             GA    9/1/20171FADP3J2XDL121157
FVSͲ800004353ALEXANDRA        SZOKE                                   RICHMOND          VA    9/1/20171FAHP3H21CL471962
FVSͲ800004388 RICHARD         FICK                                    REDDING           CA    9/1/20173FADP4CJ2DM153979
FVSͲ800004787 CHRISTIAN       FRANCO                                  ORLANDO           FL    9/1/20171FADP3K22EL33423
FVSͲ800004922LAWRENCE         HOOTEN               WILLETTFHOOTEN   NEWCARLISLE       IN    9/1/20171FAHP3K22CL446125
FVSͲ800006291 RICHARD         WILEY                                   YORK              PA    9/1/20171FADP3F29EL366865
FVSͲ800007581JOHN             NICKERSON                               CORONADELMAR     CA    9/1/20171FAHP3K2XCL400574
FVSͲ800009762 FORRESTSCOTT   PALMQUIST                               WILTON            CA    9/1/20171FADP3F29EL302745
FVSͲ100081851 PETERJ         ERBRICK                                 CANTON            OH    9/2/20171FADP3F2XGL220221
FVSͲ100846106CHARLES          HAYDEN               MEIGHANHAYDEN     CLEVELAND         OH    9/2/20171FADP3J20EL205473
FVSͲ101288255 LARRYD         BARGMAN                                 CASAGRANDE        AZ    9/2/20171FADP3F23FL248876
FVSͲ101764685 IANT           MCKAY                                   SOUTHRIDING       VA    9/2/20171FADP3F28EL135813
FVSͲ101998481 ELIZABETHD     WEARY                                   MEMPHIS           TN    9/2/20171FADP3F20DL155164
FVSͲ102983925 LAUREENM       MACPHAIL                                STPETERSBURG      FL    9/2/20171FADP3F2XEL426670
FVSͲ103164944APRILJ          LUCERO                                  BELEN             NM    9/2/20171FADP3E25EL373698
FVSͲ103705210 MARYJ          CRAIG                                   THEVILLAGES       FL    9/2/20171FADP3F25DL331562
FVSͲ103990267JACKIL          MANN                                    GAMBIER           OH    9/2/20171FADP3J20FL328157
FVSͲ104108924MARSHAL         THOMPSON                                SAINTPETERS       MO    9/2/20171FADP3J29EL184154
FVSͲ104186224ALYSEM          DAWSON                                  MARIETTA          GA    9/2/20171FADP3F25EL243595
FVSͲ104200723TAYLORA         RECNY                                   TAMPA             FL    9/2/20171FADP3E22FL345634
FVSͲ104391405VICKYA          YOKUM                HARRYCYOKUM      MARTINSBURG        WV    9/2/20171FADP3F26EL204658
FVSͲ104923938 DIANA           WESTPHAL                                PLYMOUTH          IN    9/2/20171FADP3F27DL333670
FVSͲ105242683VALERIA          JAUREGUI             PETEJAUREGUI      ELPASO           TX    9/2/20171FADP3F29DL220660
FVSͲ105306797 GLADYS          STALBAUM                                CINCINNATI        OH    9/2/20171FADP3F21EL397639
FVSͲ105364100 BELINDAA       PARKER                                  HOUSTON           TX    9/2/20171FADP3F28FL356636
FVSͲ106097504EDWARDR         BEHANNA                                 WEIRTON           WV    9/2/20171FADP3K21DL345237
FVSͲ106238388JOSEPH           YANUL                                   PAINESVILLE        OH    9/2/20171FADP3K22DL360829
FVSͲ106554107JOHND           RICHARDSON2ND                           RICHMOND          VA    9/2/20171FADP3K24DL312250
FVSͲ106804170 MICHELLEL      YANUL                                   PAINESVILLE        OH    9/2/20171FADP3K24EL275461
FVSͲ106861050 MARCIAJ        MURRAY                                  MILTON            FL    9/2/20171FADP3K25FL301423
FVSͲ107407990 KATHERINED     BERNIER                                 GREENVILLE        SC    9/2/20171FADP3K27EL344997
FVSͲ107548739JENNIFERA       KOVACH                                  NRIDGEVILLE       OH    9/2/20171FADP3K28EL337816
FVSͲ107823420TERRY            BAIN                 HEATHERBAIN       OTTAWA            IL    9/2/20171FADP3F22EL304904
FVSͲ108783995 KURTN          KOCHES                                  WASHINGTON         DC    9/2/20171FADP3N23EL142279
FVSͲ108846440JAMESE          JOHNSTON                                POWELL            OH    9/2/20171FADP3N27EL422979
FVSͲ109708636 ELIZABETHJ     SEIMEARS                                WELLSVILLE        KS    9/2/20171FAHP3F22CL385689
FVSͲ109817796JEFFREYW        WISE                                    HOOPESTON          IL    9/2/20171FAHP3F23CL421471
FVSͲ109914368 MICHAELC       BALDWIN                                 MESA              AZ    9/2/20171FAHP3F23CL337134
FVSͲ109921941 MICHAELJ       CORSINI                                 WATERTOWN          MA    9/2/20171FAHP3F24CL253775
FVSͲ110327551 LESLIEH        ALSING                                  MIDLOTHIAN         VA    9/2/20171FAHP3F26CL472740
FVSͲ110706773ALVINF          BUSCHJR                                 JOHNSTOWN          NY    9/2/20171FAHP3F29CL292216
FVSͲ111166470 LESLIEJ        JENSEN                                  PINCKNEY          MI    9/2/20171FAHP3H25CL391354
FVSͲ111831695 DOMINICK        VILLANI                                 LIBERTYTOWNSHIP   OH    9/2/20171FAHP3K21CL464454
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FVSͲ111884268 PRISCILLAA     MCCASTLE                                 CHICAGO           IL   9/2/20171FAHP3K20CL109498
FVSͲ112142460 PATRICIAM      WILLIAMS                                 BATONROUGE        LA    9/2/20171FAHP3K24CL252339
FVSͲ112689205 KELLYJ         JOST                                     PLYMOUTH          MI    9/2/20171FAHP3M20CL395477
FVSͲ112726674MARKT           GILMORE             GYLAINEGILMORE      OXFORD            OH    9/2/20171FAHP3M20CL363385
FVSͲ113338724 RYANS          OSHEA                                    MTPLEASANT        SC    9/2/20171FAHP3N29CL390101
FVSͲ115020110 DONNAJ         COLBETH                                  CHEBEAGUEISLAND   ME    9/2/20173FADP4BJ4GM102876
FVSͲ115822984 DEREKJ         MARTIN                                   LIVONIA           MI    9/2/20173FADP4BJXDM218255
FVSͲ116902892 KATHRYNP       BARGERON            JAYBARGERON         MONTGOMERY         TX    9/2/20173FADP4EJ6DM220757
FVSͲ118217020CONNIEL         NORRIS                                   ELMONTE          CA    9/2/20171FADP3E2XDL170501
FVSͲ118225880ANTHONYL        CATENACCI           KATHLEENCATENACCI   SPASADENA         CA    9/2/20171FADP3F21DL235511
FVSͲ118225898 PAUL            COPPOLA             SHAWNCOPPOLA        VALENCIA          CA    9/2/20171FADP3F21DL235573
FVSͲ118302329 MARLISA         HERRERA             PHILIPHERRERA       SANTAMARIA        CA    9/2/20171FADP3F23EL306435
FVSͲ118365800 NIKKI           SWEET                                    SPASADENA         CA    9/2/20171FADP3F24EL276488
FVSͲ118370995 LARISA          VASQUEZ                                  RIVERSIDE         CA    9/2/20171FADP3F26DL353019
FVSͲ118438387ALEJANDROM      CASSADAS                                 BANNING           CA    9/2/20171FADP3F25EL399491
FVSͲ118539175 DUANEA         WESLEY              LINDAWESLEY         ALISOVIEJO       CA    9/2/20171FADP3F26EL230239
FVSͲ118594630 RICHARDL       SHERWOOD                                 TRABUCOCYN        CA    9/2/20171FADP3F29DL177762
FVSͲ118687786SKYLERJ         SMITH                                    ROHNERTPARK       CA    9/2/20171FADP3K21DL235725
FVSͲ118711458 DONALDL        THOMAS                                   SACRAMENTO         CA    9/2/20171FADP3J22FL262100
FVSͲ118752014CHRISTINEM      JANKLOW                                  SHERMANOAKS       CA    9/2/20171FADP3K20GL230360
FVSͲ118762184 ELIZAG         POLITE                                   OAKLEY            CA    9/2/20171FADP3K22EL294784
FVSͲ118771795CHRISTINEJ      CROWN                                    SACRAMENTO         CA    9/2/20171FADP3K24DL211287
FVSͲ118929844 FRANKG         JEROME                                   MODESTO           CA    9/2/20171FADP3N21DL132235
FVSͲ118942379 KELLEYA        LEWIS                                    OAKVIEW          CA    9/2/20171FADP3N20EL111636
FVSͲ118945297 DAVIDC         NORTHRUP                                 LOSANGELES        CA    9/2/20171FADP3N20FL341436
FVSͲ119248468 DAVIDA         RUIZ                APRILLUJAN          FRESNO            CA    9/2/20171FAHP3H24CL477870
FVSͲ119325055CHARITYK        EVANS                                    PEARBLOSSOM        CA    9/2/20171FAHP3K23CL237248
FVSͲ119325063 NICHOLASB      ROACH               ERIKAROACH          LLANO             CA    9/2/20171FAHP3K23CL237248
FVSͲ119328364CASSANDRA        CRUZ                                     RCHCUCAMONGA      CA    9/2/20171FAHP3F26CL404602
FVSͲ119364581SCOTTT          BOOSTROM            COURTNEYMOWENS     MONROVIA          CA    9/2/20171FAHP3K27CL273699
FVSͲ119531062STEVE            WEHRLIE                                  MARTINEZ          CA    9/2/20171FAHP3M24CL367004
FVSͲ119566460JANINE           PERA                                     NOVATO            CA    9/2/20171FAHP3N22CL436142
FVSͲ119835649CHIEHͲHSIN       CHEN                                     TORRANCE          CA    9/2/20173FADP4BJ2DM144331
FVSͲ119887606CHARMAINEA      SANTOSCASTRO                             PALMSPRINGS       CA    9/2/20173FADP4BJ6EM183490
FVSͲ119900335 DIANEM         PAWLING                                  CARLSBAD          CA    9/2/20173FADP4BJ9BM214405
FVSͲ119955040 MELODIEA       RINCON                                   CONCORD           CA    9/2/20173FADP4EJ1BM135659
FVSͲ119959593 ELIZABETHM     MILLER                                   LOSANGELES        CA    9/2/20173FADP4EJ8GM154619
FVSͲ119993597GARYA           MOORS               JONEVAMOORS         TEHACHAPI         CA    9/2/20173FADP4EJ3EM204324
FVSͲ119994739 BEVERLYA       SWINFORD                                 LAMESA           CA    9/2/20173FADP4EJ3FM111210
FVSͲ119997835CHUNK           CHENG                                    FREMONT           CA    9/2/20173FADP4EJ8DM172890
FVSͲ120059908STEVENL         BRANTLEY                                 PALMSPRINGS       CA    9/2/20173FADP4EJ5BM111963
FVSͲ120112620DEBORAHR        BRASWELL            DAVIDEBRASWELL     VISALIA           CA    9/2/20173FADP4EJ7DM226793
FVSͲ120147190JASOND          BLUE                                     GARDENGROVE       CA    9/2/20173FADP4EJ6GM198487
FVSͲ120215381 KENNETHR       HAMMAN                                   CATHEDRALCTY      CA    9/2/20173FADP4FJ1CM159041
FVSͲ121304116 BRENDA          FLORES                                   ANAHEIM           CA    9/2/2017 1FADP3K29DL297938
FVSͲ800001583 KELLY           CAVINS                                   MTORAB           OH    9/2/20171FADP3F29EL370639
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FVSͲ800001672LOIS             WILLIAMS                                   JACKSONVILLE   FL   9/2/20171FADP3K20DL191670
FVSͲ800003233SHAWNMARIE      SARTIN                                     TOLEDO         OH    9/2/20173FADP4BJ9DM116526
FVSͲ800003527FELIXMARTINEZ   ESTRADA                                    VISTA          CA    9/2/20171FAHP3FN9BW118055
FVSͲ800006143KYLE             COLEMAN                                    RIVERDALE      GA    9/2/20171FADP3F2OEL414544
FVSͲ103719830BARBARA          HUTZLER                                    SANANTONIO     TX    9/3/20171FADP3E25GL281526
FVSͲ105248851MAYAM           MCCRAY                                     PENSACOLA      FL    9/3/20171FADP3F25EL272952
FVSͲ105976814RICHARDA        PIERCE                EVAPIERCE           NAVARRE        FL    9/3/20171FADP3K21EL333445
FVSͲ106207628KEVING          COOLEY                LYNDIANNCOOLEY     LONGMONT       CO    9/3/20171FADP3K22FL281115
FVSͲ109096479LJUBOMIRK       SPASOVSKI                                  GLENELLYN     IL    9/3/20171FAHP3E23CL427577
FVSͲ113127952RICHARDJ        WOELFL                BARBARAWOELFL       VALPARAISO      FL    9/3/20171FAHP3M26CL378053
FVSͲ118241443LINDA            FRAZHO                                     EASTPOINTE      MI    9/3/20171FADP3E29EL287309
FVSͲ118810871FRANKLIN         BARBERA                                    TURLOCK        CA    9/3/20171FADP3K25EL407918
FVSͲ119182203DAMIAN           SIFUENTES             JEREMIAHSIFUENTES   OCEANSIDE      CA    9/3/20171FAHP3F29CL435830
FVSͲ119431726MEGANR          SMITHNELSON           RAYMONDENELSON     LONGBEACH      CA    9/3/20171FAHP3M28CL422862
FVSͲ120359510KARENM          OKEEFE                                     PITTSBURGH      PA    9/3/20171FADP3F22EL428008
FVSͲ800001710JOSHUA           HAMSON                                     SIMIVALLEY    CA    9/3/20171FADP3K21GL212921
FVSͲ102883750KIMBERLYI       FIELDING              MICHELLEFIELDING    WEBBCITY      MO    9/4/20171FADP3F28EL452409
FVSͲ103491848CECILB          HARRIS                                     TOLEDO         OH    9/4/20171FADP3F27EL258907
FVSͲ104911859RICHARDL        HICKS                                      SYLVANIA       OH    9/4/20171FADP3E23DL209364
FVSͲ108769224MELVINA         DEAN                                       BETHEL         OH    9/4/20171FADP3N21GL251519
FVSͲ110002644MEGANC          FORD                                       MINNEAPOLIS     MN    9/4/20171FAHP3F23CL467446
FVSͲ110112830DIANEF          KRYGOWSKI                                  CHICAGO        IL    9/4/20171FAHP3F25CL360821
FVSͲ115834036VICTORL         GIBSON                                     GLOUSTER       OH    9/4/20173FADP4BJXDM193499
FVSͲ116673362MICHAELW        SMITHJR                                    FRANKLIN       OH    9/4/20173FADP4EJ3BM179453
FVSͲ119029880CHRISTOPHERF    SMITH                                      SANTAROSA      CA    9/4/20171FAHP3E22CL120398
FVSͲ119129442ESTHER           JIMENEZINZUNZA                             SALINAS        CA    9/4/20171FADP3N25EL238124
FVSͲ119488396DON              DORFF                 CYNTHIADORFF        YORBALINDA     CA    9/4/20171FAHP3M25CL215684
FVSͲ800004060ANTOINETTE       JOHNSON                                    SAVANNAH       GA    9/4/20173FADP4EJ1BM125567
FVSͲ100022723BILLY            PAUL                  PEGGYPAUL           WHITELAKE     MI    9/5/20171FADP3F26EL398091
FVSͲ100080863ANDREA           SWIFT                                      CLEVELAND      OH    9/5/20171FADP3F2XEL205487
FVSͲ100089453PAULAL          HAYS                                       WESTCHESTER    OH    9/5/20171FADP3F21EL418523
FVSͲ100120393PATRICKM        TRYON                                      STRONGSVILLE    OH    9/5/20171FADP3F23EL205802
FVSͲ100148662KIMBERLYJ       OSTERS                                     CLEVELAND      OH    9/5/20171FADP3J23FL346555
FVSͲ100171877JAMESP          NEALJR                                    ELBERTON       GA    9/5/20171FADP3F29EL221843
FVSͲ100173420SONYAD          JONES                                      NORFOLK        VA    9/5/20171FADP3F29EL153480
FVSͲ100179487DAVID            GARCIA                                     SANANTONIO     TX    9/5/20171FADP3E20DL209628
FVSͲ100221505BRYAN            RENYA                                      CELINA         TX    9/5/20171FADP3F27DL106897
FVSͲ100248667TAYLORN         FRANKHAUSER                                 SYLVANIA       OH    9/5/20171FADP3F24EL217926
FVSͲ100258468HARVEYR         LABERGEJR             BARBARARUDEA        LAKELAND       FL    9/5/20171FADP3E27DL181522
FVSͲ100296459JACKIE           LEWIS                                      LITTLEROCK     AR    9/5/20171FADP3F27EL463062
FVSͲ100301495WILLIAMC        BEHRENS                                    FAIRPORTHBR    OH    9/5/20171FADP3F21EL136625
FVSͲ100303005BRITTANY         RENZ                                       JEFFERSON      WI    9/5/20171FADP3F21EL138603
FVSͲ100338500JANICEN         KREIDER               JOSEPHKREIDER       ELLENTON       FL    9/5/20171FADP3J25EL237013
FVSͲ100339298NATHANK         MILLER                                     MINNEAPOLIS     MN    9/5/20171FADP3F24DL296190
FVSͲ100375472JOHNA           MOSIER                                     WAPAKONETA      OH    9/5/20171FADP3F26DL233382
FVSͲ100394019DONNAJ          KINGSOLVER                                  DAYTON         OH    9/5/20171FADP3E2XFL254921
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FVSͲ100400990 DANIEL          DEZAUCHE                                   GRANDBAY         AL   9/5/20171FADP3F23EL216198
FVSͲ100402011TWAINM          FRAZIER           SARARUNALS              BUCYRUS           OH    9/5/20171FADP3F23EL217223
FVSͲ100402801 REBECCAA       WOOD                                       BELDING           MI    9/5/20171FADP3F23EL217934
FVSͲ100446302 CHELSEYD       THOMAS                                     SPRINGBRANCH      TX    9/5/20171FADP3F28EL109518
FVSͲ100447350 FREDERICKG     HENNING                                    GREER             SC    9/5/20171FADP3F28EL111558
FVSͲ100496253ANGELAR         ANTE              SHONDACRASE             MIDDLETOWN         OH    9/5/20171FADP3F28FL379351
FVSͲ100528422 DAVIDW         DUNMAN                                     RICE              VA    9/5/20171FADP3F29EL292413
FVSͲ100559204MEROLYN          BORDEN                                     RUSSELLVILLE       AL    9/5/20171FADP3F2XDL275148
FVSͲ100578047 DALTONC        HERREN                                     COLUMBUS          OH    9/5/20171FADP3F24EL227730
FVSͲ100632467 DAVIDS         JACK                                       ONSTED            MI    9/5/20171FADP3F24DL312985
FVSͲ100633587 KEVINL         MANKIN                                     YOUNGSTOWN         OH    9/5/20171FADP3F24DL314994
FVSͲ100652050 DENISE          HARBERT                                    CLEVELAND         OH    9/5/20171FADP3J20DL150229
FVSͲ100723748GARYE           MATHIAS                                    GROVE             OK    9/5/20171FADP3F24EL455789
FVSͲ100736220JOHNJ           GOULD                                      NEWPORT           NC    9/5/20171FADP3F28EL216679
FVSͲ100789048CHENELLE         HAMMONDS                                    HOUSTON           TX    9/5/20171FADP3F26DL247220
FVSͲ100801706 CARRIE          KOLONICH                                   CORTLAND          OH    9/5/20171FADP3F28FL249778
FVSͲ100812708 NIKOLA          TODOROVIC                                  MINNEAPOLIS        MN    9/5/20171FADP3F25GL391684
FVSͲ100824528JOANNEE         DIEHL                                      CINCINNATI        OH    9/5/20171FADP3F25EL144808
FVSͲ100847900TORRENW         TRAHAN                                     OXFORD            NC     9/5/20171FADP3J20EL234231
FVSͲ100869793 MICHAELW       NOVICKY                                    BRUNSWICK         OH    9/5/20171FADP3F24DL113838
FVSͲ100876447 JENNIFER        RUMMELL                                    PORTAGE           IN    9/5/20171FADP3E24DL241739
FVSͲ100879713 GLEN            MEARS             LEGACYHEALTHCARELLC   CLEVELAND         TN    9/5/20171FADP3F24DL121194
FVSͲ100894895 MARIZAL        BARONE                                     TAMPA             FL    9/5/20171FADP3F24EL239120
FVSͲ100941125 FAYM           BRETZ                                      CHESTERFIELD       MI    9/5/20171FADP3F22EL397925
FVSͲ100941958JOAN             MILLER                                     KNOXVILLE         TN    9/5/20171FADP3F22EL399559
FVSͲ100968600VALERIAD        MCLAUGHLIN                                  TIPPCITY         OH    9/5/20171FADP3F28DL219337
FVSͲ100984185 STEPHENH       COOPER            TXARMSOFLOVESB       MIDLAND           TX     9/5/20171FADP3J22EL223747
FVSͲ101028563 JACQUELINE      SCHMIDT           MATTHEWHUGES            MIAMISBURG         OH    9/5/20171FADP3E27FL260451
FVSͲ101060483WANDAL          PENN                                       REYNOLDSBURG       OH    9/5/20171FADP3F25FL274282
FVSͲ101066260KATHLEENM       PORTER                                     SMITHVILLE        OH    9/5/20171FADP3F29DL168608
FVSͲ101066554KARENA          CLARK                                      CLEVELAND         OH    9/5/20171FADP3F29DL168947
FVSͲ101077130 DIANA           VILLANUEL         NORMAAGUIRRE            COMMERCE          CA    9/5/20171FADP3E20FL348791
FVSͲ101080247 ROBINA         MORRIS                                     FLINT             MI    9/5/20171FADP3E20GL202604
FVSͲ101088248 MARIBEL         RODRIGUEZ                                  GARFIELDHEIGHTS   OH    9/5/20171FADP3F29DL175722
FVSͲ101097450VICTORIAA       PULLUM                                     MONTGOMERY         AL    9/5/20171FADP3F22EL135015
FVSͲ101179006CARLOSJ         HENSON                                     ADELPHI           MD    9/5/20171FADP3F22EL410575
FVSͲ101186487 GIOVANNI        MOLINA            NICHOLOUSMOLINA         STREETSBORO        OH    9/5/20171FADP3F20DL113691
FVSͲ101200757 DIANNEC        WUNSCH                                     SUSSEX            WI    9/5/20171FADP3F21EL173786
FVSͲ101206038GARYL           SIEGWALD                                   COLUMBUS          OH    9/5/20171FADP3F2XEL449964
FVSͲ101247796 MICHEL          GHANDOUR                                   CANTON            MI    9/5/20171FADP3E24EL129489
FVSͲ101257678THOMASD         DRISCOLL                                   LOGANVILLE         GA    9/5/20171FADP3F2XDL198636
FVSͲ101262370 EUGENEJ        LANG                                       HENDERSON          NV    9/5/20171FADP3F20FL211090
FVSͲ101270089JAYT            MYERS             LESLIEMYERS             SHAKERHTS        OH    9/5/20171FADP3E20GL301021
FVSͲ101272669MARYA           NEACE                                      CHESTER           VA    9/5/20171FADP3F23EL244650
FVSͲ101303181 PATRICK         BERRY             TYLERBERRY              SUGARLAND          TX    9/5/20171FADP3F26EL270403
FVSͲ101331096 MELANIEC       CURREY                                     COTTAGEGROVE      MN    9/5/20171FADP3F28EL420575
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                                               
FVSͲ101334729 RAYE            DURBEN                                COSHOCTON         OH    9/5/20171FADP3F28EL428773
FVSͲ101354762THERESAM         SINIARSKI                             PLYMOUTH          MI     9/5/20171FADP3F26EL129914
FVSͲ101374569 RONALDD         BURNS             DONNAKBURNS       WARRIOR           AL     9/5/20171FADP3F24FL227454
FVSͲ101388950 BIJAL            PATEL             MIHIRPATEL         CARROLLTON         TX     9/5/20171FADP3F20DL115618
FVSͲ101398581 ROBERTP         RAMSEY                                NCHESTERFLD       VA     9/5/20171FADP3F27DL260607
FVSͲ101414218THOMASH          ANDRIX            JUDITHANDRIX       WELLSVILLE        OH     9/5/20171FADP3F25EL340294
FVSͲ101428391THOMASJ          MAISONETTE                             KISSIMMEE         FL     9/5/20171FADP3F25FL292281
FVSͲ101440685 KYLAS           HISON                                 HARPERWOODS       MI     9/5/20171FADP3E24EL270255
FVSͲ101471165 DIANEJ          LABORDE                               MADISONVILLE       LA     9/5/20171FADP3F27FL227707
FVSͲ101523378JASONL           BAGNELL                               REDFORD           MI      9/5/20171FADP3J28EL154871
FVSͲ101536488 FRANKD          KERIK                                 SEVENHILLS        OH     9/5/20171FADP3F27EL347179
FVSͲ101570937 PAULW           POTTS                                 HURON             OH     9/5/20171FADP3F23FL260476
FVSͲ101630727 CYNTHIAL        WARNER                                PLEASANTHILL      OH     9/5/20171FADP3E24FL229836
FVSͲ101651228 BRITTNEYM       LEAVITT                               HUGO              MN     9/5/20171FADP3F26DL115994
FVSͲ101707851 CRYSTALJ        ETTERMAN                              LORAIN            OH     9/5/20171FADP3F21FL247726
FVSͲ101764626 JULIANE         KEPLER            JAYNELKEPLER      DELAND            FL     9/5/20171FADP3F28EL135679
FVSͲ101799985ADAMC            KELLER            SEANRATKEWICZ      WYANDOTTE          MI     9/5/20171FADP3F25EL347892
FVSͲ101807040CRAIGS           TOMASTIK                              NEWALBANY         OH      9/5/20171FADP3J21EL206499
FVSͲ101870469 CRAIGR          SCOTT             NANCEEESCOTT      CHESTERFIELD       VA     9/5/20171FADP3F22EL166278
FVSͲ101904584ELWOODH          WESTMORE                              MADISON           AL     9/5/20171FADP3F24DL349177
FVSͲ101927754 KRISTINA         STEWART                               EVANSVILLE        IN     9/5/20171FADP3F25DL279057
FVSͲ101928084TAMMYW           SHAFFER                               HAMPTON           SC     9/5/20171FADP3F25DL279401
FVSͲ101951884 VICKIR          YOUNG                                 ASHLAND           OH     9/5/20171FADP3J2XDL289137
FVSͲ101985088GARYC            BARTEL                                MONTGOMERY         MI     9/5/20171FADP3F2XEL286491
FVSͲ102064318WILLIAM           STEPHENSON                             HAMILTON          OH     9/5/20171FADP3F24FL260454
FVSͲ102109931 JENNIFERL       PRICE                                 SHEFFIELDLK       OH     9/5/20171FADP3F2XEL136459
FVSͲ102139121 ROBINE          COOPER                                REDLANDS          CA     9/5/20171FADP3F28EL235362
FVSͲ102173532 MELANIEA        DULEY                                 BARABOO           WI     9/5/20171FADP3F20EL181300
FVSͲ102203067 ARCHIED         INGRAM            PATRICIAKNOX       CLEVELAND         OH     9/5/20171FADP3F27DL153721
FVSͲ102204870MARTHAL          LASKY                                 OXFORD            MI     9/5/20171FADP3F27DL157218
FVSͲ102209324DONALD            NORRIS                                INDIANAPOLIS       IN     9/5/20171FADP3F20DL168965
FVSͲ102210314 CALLIEJ         LANGENHORST        TODDLANGENHORST    SAINTPAUL        MN     9/5/20171FADP3F20DL170392
FVSͲ102358974SHEMEIAHA        WILLIAMS                              COVINGTON          GA     9/5/20171FADP3F28FL276432
FVSͲ102379408CHANDRAL         FRANDY                                ALBANY            WI     9/5/20171FADP3E21EL369907
FVSͲ102387150 DAVIDE          ROSE                                  CLEVELAND         OH     9/5/20171FADP3F27EL122129
FVSͲ102389233 REGINALDA       LEWIS                                 HOPEWELL          VA     9/5/20171FADP3F24DL174297
FVSͲ102408173 WHITNEYN        BLACK             KEITHBLACK         DAHLONEGA          GA     9/5/20171FADP3F23EL297882
FVSͲ102433968GLENN             HATTER                                OKLAHOMACITY      OK     9/5/20171FADP3F22DL220886
FVSͲ102627835SHARROND         CROCKETT                              SAINTPAUL        MN     9/5/20171FADP3F25FL348557
FVSͲ102661774 KELSIER         KIRK                                  CHAPMANVILLE       WV     9/5/20171FADP3F21FL323137
FVSͲ102671770 ALICES          LEBAIR                                STCLOUD          FL     9/5/20171FADP3F22DL230141
FVSͲ102699372 SARAL           SKAR                                  GRANDRAPIDS       MI     9/5/20171FADP3F21DL250736
FVSͲ102729816 PRISCILLAK      JAUREGUI          RENEDAVILA         NEWBRAUNFELS      TX     9/5/20171FADP3J24DL280739
FVSͲ102743576 MELISSAJ        MOONEY                                HUNTINGTON         WV     9/5/20171FADP3E21FL367530
FVSͲ102743800 NICHOLEV        LANGE                                 PHOENIX           NY     9/5/20171FADP3E21FL372047
FVSͲ102769273ADRIANAA         WILLIAMS                              TAMPA             FL     9/5/20171FADP3F25DL133256
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FVSͲ102808260 ROSEMARIE        HEUSINGER       JAMESHEUSINGER    POUGHKEEPSIE      NY    9/5/20171FADP3F20EL215364
FVSͲ102808627ALBERTT          SMITHIV        TAMMYSMITH         WALESKA           GA     9/5/20171FADP3F20EL215834
FVSͲ102812195 MICHELEL        MONTOYA                             LITCHFIELDPK      AZ     9/5/20171FADP3F20EL219396
FVSͲ102823553 STEVEN           SPRINGER                            CORYDON           IN     9/5/20171FADP3F28GL257641
FVSͲ102828890ANTHONYM         THOMAS                              DETROIT           MI     9/5/20171FADP3F21EL246042
FVSͲ102865434LEEANNM          STOIBER                             WAUKESHA          WI     9/5/20171FADP3F26DL143178
FVSͲ102870276 KIMBERLYD       THOMPSON                            MASURY            OH     9/5/20171FADP3F24EL310378
FVSͲ102870420 VICKIEJ         SMITH                               CHILLICOTHE        OH     9/5/20171FADP3F24EL310607
FVSͲ102873925 EUGENE           MEEKER                              PLAINFIELD        IL     9/5/20171FADP3F22EL205239
FVSͲ102874905THOMASP          HUBBARD                             MACOMB            MI     9/5/20171FADP3F22EL206780
FVSͲ102875871ANTHONYA         GALLEGOS                            HUTTO             TX     9/5/20171FADP3F22EL208190
FVSͲ102897832 DANIELW         COVEY                               POWHATAN          VA     9/5/20171FADP3F26DL295476
FVSͲ102904170 DANNYJ          ROBERTS                             THECOLONY         TX     9/5/20171FADP3F2XGL372032
FVSͲ102914923 LESLIE           KNECHT                              CINCINNATI        OH     9/5/20171FADP3F22DL246470
FVSͲ102953821 RONALD           RICE            CAMMIERRICE       COLUMBIACITY      IN     9/5/20171FADP3F29EL400917
FVSͲ102957363 RICKL           HOOVER          GARNETHOOVER       CLIFTON           CO     9/5/20171FADP3K20DL189871
FVSͲ102978859 KESHIA           COMBS                               NATCHEZ           MS     9/5/20171FADP3F23EL318469
FVSͲ102980209 KARENR          MOORE                               NEWCANEY         TX     9/5/20171FADP3F23EL320948
FVSͲ103005765 LYNNEM          CROWTON                             LOUISVILLE        KY     9/5/20171FADP3F25FL355783
FVSͲ103010505 DANNY            DEZAUCHE                            GRANDBAY         AL     9/5/20171FADP3F25FL372714
FVSͲ103038701 SEANA           RUIZ                                TIPTON            MI     9/5/20171FADP3F29DL262035
FVSͲ103052216 RYAN             WILHOITE                            LEBANON           IN      9/5/20171FADP3J29FL323071
FVSͲ103054340THERESAL         WOODBY                              ARCHBOLD          OH     9/5/20171FADP3J22DL283705
FVSͲ103059423JACK              DALLAS          DALLASJACK         SPIRO             OK     9/5/20171FADP3F21EL263973
FVSͲ103062408 RALPH            SMITH                               LOVELAND          OH     9/5/20171FADP3F23FL346788
FVSͲ103067329 MELISAM         GARCIAVALLEJO                       MORRISTOWN         NJ     9/5/20171FADP3F23FL364997
FVSͲ103071008VANCEJ           ULASKY                              ARLINGTON         TX     9/5/20171FADP3F24FL305991
FVSͲ103073345 SHERRI           LEE                                 MEMPHIS           TN     9/5/20171FADP3F2XDL157570
FVSͲ103158197 IDA              WILLIAMS                            CANTON            OH     9/5/20171FADP3F28FL307596
FVSͲ103173366SHARON            RUCKER                              FAIRFIELD         OH     9/5/20171FADP3F2XFL201411
FVSͲ103204008 RICHARDD        MYERS                               AHOSKIE           NC     9/5/20171FADP3F20FL355058
FVSͲ103259392 DENNIS           SHRIVER                             TALLMADGE          OH     9/5/20171FADP3F26DL162376
FVSͲ103312366ARTUROG          MORALES                             METTER            GA     9/5/20171FADP3F25EL409985
FVSͲ103375341 QUENTINARENAE   HOLLAND         JODYNHOLLAND      AMARILLO          TX     9/5/20171FADP3F27EL140274
FVSͲ103392726 PAMJ            EVANS                               SAINTLOUIS        MO     9/5/20171FADP3E29DL107115
FVSͲ103399976 CHRISTINAM      GILLHAM                             ARVADA            CO     9/5/20171FADP3F2XEL349475
FVSͲ103448829JOSEM            GONZALEZ        ADAMGONZALEZ      CLEVELAND         OH     9/5/20171FADP3F27DL306341
FVSͲ103463780TRACYA           CRANKER                             FULTONVILLE        NY     9/5/20171FADP3F25DL154978
FVSͲ103474684 JENNIFER         LASTELLA                            HILLSBOROUGH       NJ     9/5/20171FADP3F28DL258431
FVSͲ103493646BEVERLYM         HELM                                SCHAUMBURG         IL     9/5/20171FADP3F27EL263069
FVSͲ103496513JANETK           MCGOWAN                             LEBANON           OH     9/5/20171FADP3F27EL269910
FVSͲ103509089STEVENW          DODSONJR                           CHESTER           VA     9/5/20171FADP3F21EL291658
FVSͲ103516581 SAM              KRIKORIAN                           DAPHNE            AL     9/5/20171FADP3F29GL304787
FVSͲ103535187ANNAS            ORTIZ                               SANANTONIO        TX     9/5/20171FADP3E25GL202761
FVSͲ103557415 PATRICIAI       RAVERT                              MIDDLETOWN         NY     9/5/20171FADP3J26DL129000
FVSͲ103571620BARBARA           POPRAWSKI                           CICERO            IL     9/5/20171FADP3J26DL231753
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                                                
FVSͲ103643737JOSEPHA         STRYKER                                 LITTLEEGGHARBORTWP   NJ   9/5/20171FADP3F23DL187641
FVSͲ103662120 ISRAEL          SANCHEZ                                 ALAMO                   TX    9/5/20171FADP3F23EL123066
FVSͲ103675965 FREDERICC      RITER                                   WILLOUGHBY               OH    9/5/20171FADP3F26DL168727
FVSͲ103676007 NELSONM        STOUDER                                 PLEASANTPLN             OH    9/5/20171FADP3F26DL168856
FVSͲ103676678WARREN           COWLEY              GREGCOWLEY         AUSTIN                  TX    9/5/20171FADP3F26DL169795
FVSͲ103678549 JACKL          HEIDMANJR           HEATHERHEIDMAN     TROPHYCLUB              TX    9/5/20171FADP3F26DL174818
FVSͲ103685375 PAMELAS        ROSA                                    CLIVE                   IA     9/5/20171FADP3J24FL299911
FVSͲ103703152 DEIDRED        PROCTER                                 DETROIT                 MI    9/5/20171FADP3F25EL429170
FVSͲ103731610 MELISSAA       SCHULTZ             JOHNGSCHULTZ      SANDUSKY                OH    9/5/20171FADP3F21EL305008
FVSͲ103746323 DARIOF         GARCIAIBANEZ                            MIRAMAR                 FL    9/5/20171FADP3FEXFL235276
FVSͲ103804773 TIHOMIRK       POPOSKI             ROZITAPOPOSKI      PALMCOAST               FL    9/5/20171FADP3F27EL417179
FVSͲ103821864 PANTELISM      SAROUKOS                                TARPONSPGS              FL    9/5/20171FADP3F23EL360057
FVSͲ103845208HARRYN          KARALIS                                 CANTON                  OH    9/5/20171FADP3F20EL269621
FVSͲ103865047 LYTANYA         WYLIE                                   YOUNGSTOWN               OH    9/5/20171FADP3F2XDL117943
FVSͲ103915990MADISONN        COTTON                                  FRANKLIN                OH    9/5/20171FADP3F27DL309675
FVSͲ103921770TRINAL          ULIBARRI                                GRANDJCT               CO    9/5/20171FADP3F23EL132754
FVSͲ103932542MARSHAA         MITTENDORFF                              PLYMOUTH                MN    9/5/20171FADP3F2XGL315281
FVSͲ103955372JOHNA           HOSACK                                  CARROLLTON               OH    9/5/20171FADP3F26EL337291
FVSͲ103958118JASMINL         LEVY                                    CLEVELAND               OH    9/5/20171FADP3F26EL189370
FVSͲ103980733MONICAM         HANKINS             AKAMONICATEW      ELPASO                 TX    9/5/20171FADP3FE8FL230769
FVSͲ103986243 SHELBYA        MARTINSON                                ALBANY                  WI     9/5/20171FADP3J20EL437667
FVSͲ103989072THURMAN          CLIFTONJR                              PRATTVILLE              AL     9/5/20171FADP3J20FL292017
FVSͲ104056770JUANR           PEREZJR                                BRADFORD                MA    9/5/20171FADP3F20GL250246
FVSͲ104061260CHARLESE        CAMPBELL            PATRICIACAMPBELL   GRASSYCREEK             NC    9/5/2017 1FADP3F25DL339838
FVSͲ104078049 CEILIAN        BLAKE                                   BIRMINGHAM               AL    9/5/20171FADP3F25EL435485
FVSͲ104079274 SHELIAC        CURTIS                                  MIDLOTHIAN               VA    9/5/20171FADP3F25EL437205
FVSͲ104090448JERRY            THOMPSON                                NICHOLSHILLS            OK    9/5/20171FADP3E26DL106813
FVSͲ104096004 EMERYJ         OWENS                                   DELRAYBEACH             FL    9/5/20171FADP3F24EL150633
FVSͲ104106948DOLORES          GIEDEMAN                                LAFAYETTE               IN     9/5/20171FADP3J23EL167348
FVSͲ104111003JAMESR          STEWART                                 BUTLER                  OH    9/5/20171FADP3F23EL370104
FVSͲ104115637 MARYE          TAYLOR              WILLIAMNTAYLOR    PRINCETON               WV    9/5/20171FADP3F23EL380325
FVSͲ104131101 EMILYA         POTTS                                   MELVINDALE               MI    9/5/20171FADP3F22DL295460
FVSͲ104140070ALLYSONM        SKWIR                                   MILFORD                 OH    9/5/20171FADP3F26DL332591
FVSͲ104148136 JESSICAS       BLECK                                   HARTLAND                WI    9/5/20171FADP3F24EL360763
FVSͲ104165669 BLANCHE         JOHNSON                                 CANTON                  IL    9/5/20171FADP3F29GL403237
FVSͲ104187158 DIANE           RYAN                                    MILWAUKEE                WI    9/5/20171FADP3F25EL244729
FVSͲ104207400ROSANNEM        ZELL                                    DEARBORN                MI    9/5/20171FADP3F28DL360716
FVSͲ104240881 MARLENE         STOOKEY                                 WARSAW                  IN    9/5/20171FADP3F21DL325984
FVSͲ104248459 STEPHANIEL     KOHNͲGOODYEAR        JESSEMONTGOMERY    TAMPA                   FL    9/5/20171FADP3F25GL236813
FVSͲ104270985TERENCES        MILLER                                  KENNESAW                GA    9/5/20171FADP3J24DL103902
FVSͲ104287020AARONJ          TIMMERMAN                                MINNEAPOLIS              MN    9/5/20171FADP3J24DL190099
FVSͲ104301317 KATHERINES     ARMITAGE                                KNOVILLE                TN    9/5/20171FADP3F29DL343472
FVSͲ104326131 CHRISTIAND     BACON                                   MESQUITE                TX    9/5/20171FADP3F22FL327097
FVSͲ104415789 DENNIS          STEPHENS                                MOBILE                  AL    9/5/20171FADP3F25DL349754
FVSͲ104428945 EUGENES        ROSSIJR                                 BRICK                   NJ     9/5/20171FADP3J25FL272930
FVSͲ104555122 DAINA          BURGESS                                 ATLANTA                 GA    9/5/20171FADP3E22GL304261
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FVSͲ104555661 KRISTA           DAVIS                                       LEBANON        TN   9/5/20171FADP3E22GL309007
FVSͲ104576367 FLOYD            BAILEYJR                                    HOUSTON        TX    9/5/20171FADP3F29FL313410
FVSͲ104596597 CRYSTALR        HERRON                                      CHARLOTTE      NC    9/5/20171FADP3F26FL270340
FVSͲ104599294TESSA             TUREK                                       GRANT          AL    9/5/20171FADP3F26FL279698
FVSͲ104622024 LACID           WILSON                                      ABRAMS         WI    9/5/20171FADP3F2XDL348406
FVSͲ104634588CHERL            WEAVER              JUDITHKFRITTS         EATON          OH    9/5/20171FADP3F28FL340064
FVSͲ104702451 HARRYJ          SOVEL                                       CLEVELAND      OH    9/5/20171FADP3F24EL173829
FVSͲ104732156STACY             SHIELDS                                     COLUMBUS       OH    9/5/20171FADP3K20EL106537
FVSͲ104742607 MICHAEL          RUGGLES                                     LUCASVILLE     OH    9/5/20171FADP3F28DL188445
FVSͲ104754818 LESLIEA         BUTLER                                      ANNARBOR      MI    9/5/20171FADP3F25DL372080
FVSͲ104763205ABRIANNAM        NICHOLS                                     GLENDALE       AZ    9/5/20171FADP3F28DL374485
FVSͲ104786167BAOHUA            XIA                                         FAIRFIELD      OH     9/5/20171FADP3J27EL129718
FVSͲ104806893 RUSSELLE        SCHAVEY             SUSANASCHAVEY          BIRMINGHAM      AL    9/5/20171FADP3F24DL259852
FVSͲ104820438DAVIDW           THOMPSON                                    NEWRICHMOND    OH    9/5/20171FADP3F26EL370646
FVSͲ104848847 REBECCAL        NYLANDER                                    DIAMONDSPGS    CA    9/5/20171FADP3F27FL324910
FVSͲ104906243ADAM              HECK                KATIELYNNHELENHECK   GLENVIEW       IL     9/5/20171FADP3J21EL353907
FVSͲ104928433TROYG            HOWSER                                      WATERFORD       MI    9/5/20171FADP3F28EL275778
FVSͲ104943467ARCELIA           CUEVAS                                      PLANTCITY     FL    9/5/20171FADP3F23DL231279
FVSͲ104948205 JEFFREYJ        OLLE                                        AUSTIN         TX    9/5/20171FADP3F23EL412867
FVSͲ104999969 KIMBERLYL       WRIGHT                                      NAPLES         FL    9/5/20171FADP3F29EL147582
FVSͲ105091391 GERALDINEJ      LEHNER                                      DUNKIRK        NY     9/5/20171FADP3J27EL148026
FVSͲ105092002 MELODY           MILLER                                      HUNTSVILLE     AL     9/5/20171FADP3J27EL165537
FVSͲ105118818 VICTORIAJ       FRENCH                                      MAIZE          KS    9/5/20171FADP3F20GL389695
FVSͲ105150215 CAROLEA         MATHIS                                      OAKLAWN       IL    9/5/20171FADP3F28EL192285
FVSͲ105154890 HARRIETEJ       HARRIMAN                                    BIGLAKE       MN    9/5/20171FADP3J29DL244609
FVSͲ105161802 CARL             OWENBY                                      MARYVILLE      TN    9/5/20171FADP3F29DL149234
FVSͲ105170259 JENNIER         HILL                                        TRENTON        NJ    9/5/20171FADP3F25DL216282
FVSͲ105170968 JULIEA          CHIARAMONTE          ELEANORARROYA          PLANTCITY     FL    9/5/20171FADP3F25DL217402
FVSͲ105208612 JESSICAM        MASON                                       NMIAMIBEACH   FL    9/5/20171FADP3F29DL367979
FVSͲ105222801 LUCINDA          DOWNS                                       WELLS          ME    9/5/20171FADP3F21GL367415
FVSͲ105276588MARYL            OLIVERͲRIECKE                                EAUCLAIRE     MI    9/5/20171FADP3F20EL371565
FVSͲ105324507 WILLIAMD        OLARY                                       MARYSVILLE      MI     9/5/20171FADP3J29EL129817
FVSͲ105346985 MARYL           WRIGHT                                      KINGGEORGE     VA    9/5/20171FADP3F21EL106119
FVSͲ105504009 EDDIE            WILLIAMS                                    CANTON         OH    9/5/20171FADP3F25DL218937
FVSͲ105555940MARGARETJ        RIVERS                                      CINCINNATI     OH    9/5/20171FADP3F23EL193828
FVSͲ105573655 EUGENEE         TEBOJR                                     FERNDALE       MI    9/5/20171FADP3F29DL295469
FVSͲ105587257 LAURIEA         GILBERT             DONNASWANSONRAMBO     LISBON         OH    9/5/20171FADP3F28EL286117
FVSͲ105588300JAYT             MYERS               LESLIEMYERS            SHAKERHTS     OH    9/5/20171FADP3E26GL314453
FVSͲ105634344WALTER            LEWISJR             BARBARAROSENBERGER     FALLON         NV    9/5/20171FADP3F25EL294692
FVSͲ105648280HARRY             SWAFFORD                                    ATHENS         TN    9/5/20171FADP3F24EL203315
FVSͲ105687120 WILLIAME        STEWART                                     SULLIVAN       OH    9/5/20171FADP3F29GL251167
FVSͲ105733474 RICHARD          MICHAEL                                     JACKSON        TN    9/5/20171FADP3K20EL457903
FVSͲ105777668BRANDONK         NORTHRUP                                    VEROBEACH      FL     9/5/20171FADP3J2XFL279937
FVSͲ105799734CATHYL           DUMMITT                                     WMANSFIELD     OH    9/5/20171FADP3K20EL361060
FVSͲ105819859THOMASK          ROUSH                                       RACINE         OH    9/5/20171FADP3K20FL366261
FVSͲ105831000JEFFREYD         STOUT                                       MILWAUKEE       WI    9/5/20171FADP3K20EL159562
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FVSͲ105833932 MARY           SNOOK                                  MILLIAN          TX    9/5/20171FADP3K20EL168729
FVSͲ105843571TAMMYM         BARTA                                  DEERFIELD        MI     9/5/20171FADP3K20EL357378
FVSͲ105874000NORMAJ         THOMAS              ROBINNWHITE      MARYVILLE        TN     9/5/20171FADP3K20EL325739
FVSͲ105905941 KAREN          STEINER                                OLMSTEDTWP       OH     9/5/20171FADP3K20EL310447
FVSͲ105925047 MICHELLE       OHARE                                  GALLOWAY         NJ     9/5/20171FADP3K20GL385104
FVSͲ105965944STEPHANIEM     GAHERTY                                PENSACOLA        FL     9/5/20171FADP3K21EL378661
FVSͲ105974196ROBERTM        SHIRLEY                                FELICITY         OH     9/5/20171FADP3K21EL405048
FVSͲ106026046 DIANEL        SMALLWOOD                               MADISON          OH     9/5/20171FADP3K22DL113665
FVSͲ106051210CARLEEB        TEFFT                                  DENVER           CO     9/5/20171FADP3K22DL123824
FVSͲ106131982 DARRELLA      WEENINK                                SANTANVLY       AZ     9/5/20171FADP3K22EL181871
FVSͲ106219596STEPHEN         TINDALL             JANNIFERTINDALL   BRIGHTON         TN     9/5/20171FADP3K21FL381870
FVSͲ106220810JASONR         SCHIEFELBEIN                            COLUMBUS         OH     9/5/20171FADP3K21FL386793
FVSͲ106235303JAMESE         SEARCYJR                               HAMTRAMCK         MI     9/5/20171FADP3K22DL344209
FVSͲ106237390 DANIELH       BURTON                                 BUCKEYE          AZ     9/5/20171FADP3K22DL353153
FVSͲ106284061 ROBERTD       SHAW                                   WHITELAKE       MI     9/5/20171FADP3K23DL233510
FVSͲ106290134 DEBRAK        SWORDS              LOWELLDSWORDS    WPORTSMOUTH      OH     9/5/20171FADP3K23DL254387
FVSͲ106321587 NANCYK        FRANCISCO                              WICHITA          KS     9/5/20171FADP3K22GL221028
FVSͲ106342916 JAVIER         PEREZ               FRANCISCOPEREZ    HOUSTON          TX     9/5/20171FADP3K22EL195978
FVSͲ106367595 JUANJ         SOTELO              BERTHASAENZ       PORTALES         NM     9/5/20171FADP3K23DL153124
FVSͲ106454862 MICHAEL        DUROVSKY                               BAYCITY         MI     9/5/20171FADP3K23EL419372
FVSͲ106456342 ERIK           VARNUM                                 ASHFORD          AL     9/5/20171FADP3K23EL425768
FVSͲ106469266CAROLYN         PLATTS              RAYMONDPLATTS     LEEDS            AL     9/5/20171FADP3K23DL111732
FVSͲ106493752 DEBORAHL      ROWLEE                                 MILTON           FL     9/5/20171FADP3K23EL402796
FVSͲ106502085 LOLITAM       STRONG                                 BEACHWOOD         OH     9/5/20171FADP3K23FL383474
FVSͲ106532898 BEDELIA        HILL                                   AUBURN           WA     9/5/20171FADP3K23EL375826
FVSͲ106567187 KRISTINEM     SWARDBRESCIO                           CLINTON          CT     9/5/20171FADP3K23EL344107
FVSͲ106629824CALEBR         VOLKERT                                MINNEAPOLIS       MN     9/5/20171FADP3K24EL182701
FVSͲ106691457MARCOA         COLLAZO                                LETOHATCHEE       AL     9/5/20171FADP3K24DL240742
FVSͲ106719114CHRISTOPHERW   BRUFF                                  PLEASANTPR       WI     9/5/20171FADP3K25DL105110
FVSͲ106743830SAMUELF        JENKINS                                LASVEGAS        NV     9/5/20171FADP3K25DL298049
FVSͲ106762095 BARBARAA      SKORUPSKAS                              HAMTRAMCK         MI     9/5/20171FADP3K24DL380693
FVSͲ106808397CAROLR         BICKERS             HAILEYRAMSEY      NCHESTERFLD      VA     9/5/20171FADP3K24EL292325
FVSͲ106811266STACYM         BASS                                   OLDSMAR          FL     9/5/20171FADP3K25EL180391
FVSͲ106814095 BRITTANYR     ROESNER                                ORANGEPARK       FL     9/5/20171FADP3K24FL240548
FVSͲ106820761 MARAL         MORITA                                 WAUWATOSA         WI     9/5/20171FADP3K24GL309384
FVSͲ106830104 DAVIDK        ROSS                                   BIRMINGHAM        AL     9/5/20171FADP3K25DL240751
FVSͲ106841980 DONITAG       TOTH                                   CIRCLEVILLE      OH     9/5/20171FADP3K25EL402721
FVSͲ106869671 ROBERTA       LIBNER                                 DALLAS           TX     9/5/20171FADP3K25FL317900
FVSͲ106879243AUTUMNN        BROWN               TIMOTHYBROWN      SHEPPARDAFB      TX     9/5/20171FADP3K24GL233925
FVSͲ106908413 JOSE           ROZO                                   STAMFORD         CT     9/5/20171FADP3K25EL306846
FVSͲ106925156 ROBYNR        BURNETTE                               WILLIAMSBURG      VA     9/5/20171FADP3K25DL168255
FVSͲ106965506SKYLARD        HALE                CHARLESSCOTT      ARLINGTON        TX     9/5/20171FADP3K25DL344642
FVSͲ106966200MARK            SANTELIA                               TOMBALL          TX     9/5/20171FADP3K25DL345709
FVSͲ107003600JOHNF          WINTERBURN                              ROYALOAK        MI     9/5/20171FADP3K25EL246017
FVSͲ107008831CAROLYN         LEE                                    DETROIT          MI     9/5/20171FADP3K26EL144970
FVSͲ107018209 SCOTTD        MATEJKA                                RIVERVIEW        FL     9/5/20171FADP3K25GL236798
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FVSͲ107033305 CARIDAD         GARCIAͲRILEY                             SUNRISE        FL    9/5/20171FADP3K26EL104002
FVSͲ107047179 SCOTTF         MANN                                     WOODSTOCK       GA     9/5/20171FADP3K25EL425383
FVSͲ107102285 WILLIAMJ       MADERO                                   BELFORD        NJ     9/5/20171FADP3F21DL376109
FVSͲ107163942JAYN            WEAR                                     HARTFORD       KY     9/5/20171FADP3K27DL242808
FVSͲ107186233ANGELAL         MORRIS                                   STAUGUSTINE    FL     9/5/20171FADP3K26EL403442
FVSͲ107188260 CROSIEP        VINCENZO                                 NORTHFIELD      OH     9/5/20171FADP3K26EL411458
FVSͲ107190915 DAVID           ZIEBELL                                  PLAINFIELD     IL     9/5/20171FADP3K26EL422900
FVSͲ107219948CONNOR           SMALL                                    MASON          OH     9/5/20171FADP3K26EL193943
FVSͲ107231743TIMOTHY          WATSON                                   MILLVILLE      NJ     9/5/20171FADP3K27EL297650
FVSͲ107262843 CHRISTINAE     HINTON                                   ORLANDO        FL     9/5/20171FADP3K26EL360088
FVSͲ107324792 DAVID           LENDBORG                                 MARICOP        AZ     9/5/20171FADP3K27EL198925
FVSͲ107325276 SABRINAS       FAIRCHILD                                LARGO          FL     9/5/20171FADP3K27EL200432
FVSͲ107344491 PHILLIPJ       CRUMRINE                                 NEWLONDON      NH     9/5/20171FADP3K26GL374396
FVSͲ107350874 KIRBYL         NELSON                                   CHANDLER       AZ     9/5/20171FADP3K27DL264453
FVSͲ107379660DEANNAM         HARGRAVE                                 RICELAKE      WI     9/5/20171FADP3K27FL348579
FVSͲ107383748 ERICL          SHAW                                     MASSILLON      OH     9/5/20171FADP3K27FL373563
FVSͲ107384000JEFFREYD        MOBLEY                                   SPRINGFIELD     MO     9/5/20171FADP3K27FL374860
FVSͲ107390256JAMESE          NOBLES                                   THOMASVILLE     AL     9/5/20171FADP3K28DL139560
FVSͲ107404915 NICHOLAS        MACMASTER                                 GARDENA        CA     9/5/20171FADP3K28DL344232
FVSͲ107406748AARON            BOWMAN                                   MAGNOLIA       OH     9/5/20171FADP3K27EL337371
FVSͲ107434946 ROBERTJ        ROYER                                    SALINE         MI     9/5/20171FADP3K27EL155153
FVSͲ107437481 GARYF          TRELFA                                   WARREN         MI     9/5/20171FADP3K28DL312879
FVSͲ107448386 ELIZABETHJ     JOHNSON                                  ANCHORAGE       AK     9/5/20171FADP3K27FL306963
FVSͲ107473992WANDAJ          BRYANT              JAMESRSMITH        HAMILTON       OH     9/5/20171FADP3K27EL310610
FVSͲ107523159 FAITH           ASHLEY                                   SPRINGDALE      AR     9/5/20171FADP3K28EL372811
FVSͲ107533855ALEXANDERT      NOONE                                    PHOENIX        AZ     9/5/20171FADP3K28DL247578
FVSͲ107549948 ERNESTJ        MIRANDY             PATRICIALMIRANDY   HUNTSVILLE     AL     9/5/20171FADP3K28EL345303
FVSͲ107561000 STELLAS        LOPEZ                                    PORTCLINTON    OH     9/5/20171FADP3K28DL218873
FVSͲ107561115 EDIE            ABBOTT                                   TROTWOOD       OH     9/5/20171FADP3K28DL219327
FVSͲ107565013 BILLYA         KIGHT               KARENMCGINLEY       JACKSONVILLE    FL     9/5/20171FADP3K28DL231185
FVSͲ107573636AMYE            HARBER              JERRYHARBER         TRENTON        MI     9/5/20171FADP3K28EL148714
FVSͲ107577755 PATRICKL       FITZPATRICK                               GRESHAM        OR     9/5/20171FADP3K29DL117308
FVSͲ107591308 LINDAJ         PROUT                                    ROSEVILLE      MI     9/5/20171FADP3K28GL378692
FVSͲ107631040JONATHANR       KROPF                                    MINNEAPOLIS     MN     9/5/20171FADP3K29DL307514
FVSͲ107648539 CLAIREE        PETERS              WILLIAMPETERS       DUNDEE         MI     9/5/20171FADP3K28EL296555
FVSͲ107709686BRADD           LANGLEY                                  AMELIA         OH     9/5/20171FADP3K29EL150357
FVSͲ107719908JONATHANA       MAHOWALD             JENNIFERMAHOWALD    LEESBURG       FL     9/5/20171FADP3K28EL461200
FVSͲ107720868 KARENE         ODER                                     MANSFIELD      OH     9/5/20171FADP3K28FL202143
FVSͲ107726300WALTERS         SIVILS                                   PHILCAMPBELL   AL     9/5/20171FADP3K28GL256804
FVSͲ107734575 MICHELLEL      COLLINS                                  ENGLEWOOD       CO     9/5/20171FADP3K29DL205405
FVSͲ107744562 DAVIDG         HAVRAN                                   NORTHOLMSTED   OH     9/5/20171FADP3K29EL128424
FVSͲ107753189ARTUROR         VISSO                                    MIAMI          FL     9/5/20171FADP3K29FL252839
FVSͲ107769786 BARBARAJ       KOSZEGI                                  UTICA          MI     9/5/20171FADP3K29GL378586
FVSͲ107791242 EDNAL          TAYLOR                                   HOUSTON        TX     9/5/20171FADP3K29GL394982
FVSͲ107799979 JENNAL         KOTH                                     SPARTA         MI     9/5/20171FADP3K29DL163043
FVSͲ107802813JOHN             HALL                                     INDEPENDENCE    MO     9/5/20171FADP3K29DL341100
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FVSͲ107807149 CHRISTINE       SCHRAFFENBERGER                             BURLESON        TX   9/5/20171FADP3K2XDL248313
FVSͲ107816865JAMESF          SHAVER                                      LYNNWOOD        WA    9/5/20171FADP3K2XDL235917
FVSͲ107833654DONALDL         TILLMANJR                                  REYNOLDSBURG     OH     9/5/20171FADP3K29EL235327
FVSͲ107903008RYANM           IMHOFF                                      MADISON         WI    9/5/20171FADP3K2XDL345236
FVSͲ107912120 REGINAL        HUTCHERSON                                   YORKTOWN        VA    9/5/20171FADP3K2XEL277621
FVSͲ107913011 SIMONA         LOPEZ                                       LOSANGELES      CA    9/5/20171FADP3K2XEL281197
FVSͲ107913828 RONDAJ         LYNCH                                       SAINTLOUIS      MI    9/5/20171FADP3K29EL372090
FVSͲ107926784 LEEA           WENTWORTHJR                                 CLINTON         MI     9/5/20171FADP3K29FL382961
FVSͲ107926857 MARLENE         TINLIN                                      CANTON          OH     9/5/20171FADP3K29FL383222
FVSͲ107931001 CARYNL         PERRY                                       ATLANTA         GA    9/5/20171FADP3K2XDL141956
FVSͲ107944987GENEVAM         SMITH                                       CHARLESTON       WV     9/5/20171FADP3K2XEL253156
FVSͲ107954478 SHIRLEY         HARDESTY                                    GARRETTSVILLE    OH    9/5/20171FADP3K2XEL455110
FVSͲ107962152 SANDRAF        TILLER                                      COLBERT         GA     9/5/20171FADP3K2XFL208946
FVSͲ107963159 BENJAMINF      UPTONJR                                     REEDSVILLE      OH    9/5/20171FADP3K2XDL122260
FVSͲ107963353 SIMONS         VANDERPOOL                                   MONROE          MI    9/5/20171FADP3K2XDL122856
FVSͲ107991390 RACHAELL       SCHOFIELD              RACHAELWOODBURN     NEWSMYRNABCH   FL    9/5/20171FADP3K2XGL313844
FVSͲ107992663 JAREDJ         JOHANSON                                    ARLINGTON       WA    9/5/20171FADP3K2XGL225893
FVSͲ108016617SANDRAE         ONEIL                                       SAUKCITY       WI     9/5/20171FADP3K2XEL220285
FVSͲ108023753TRUDYM          HINKEL                 JEFFREYLHINKEL     ROBERTS         WI    9/5/20171FADP3K2XEL407266
FVSͲ108064352 BEATRZA        FLORES                 DANIELLAFLORES      LAREDO          TX    9/5/20171FAHP3H25CL109780
FVSͲ108100014 DEBRAL         MCCREERY                                   PALMCOAST       FL    9/5/20171FADP3K2XEL353659
FVSͲ108101754STACEYQ         SMITH                  MICHELLELAMBERT     TALLADEGA       AL    9/5/20171FAHP3H25CL395792
FVSͲ108262227 NICOLEM        JOHNSTON                                    MASURY          OH    9/5/20171FADP3K2XDL208734
FVSͲ108600793 KIMBERLYS      ALBRENT                                     WESTBEND       WI    9/5/20171FADP3N21EL423044
FVSͲ108609480JACQUELINER     WAYMACK                                     PRINCEGEORGE    VA    9/5/20171FADP3N21DL162044
FVSͲ108639274 MICHAELS       HEADY                                       ROSENDALE       NY    9/5/20171FADP3N22EL344000
FVSͲ108690210 EMILY           BROADWAY                                    VANCOUVER        WA    9/5/20171FADP3N22DL235809
FVSͲ108693821 BONNIER        TALLEY                                      HUEYTOWN        AL    9/5/20171FADP3N22DL330645
FVSͲ108707776 ROBERTK        LATHER                                      CHESTERFIELD     VA    9/5/20171FADP3L9XDL323877
FVSͲ108715825 ERINNEM        STARK                                       WESTLAND        MI    9/5/20171FADP3N23EL463240
FVSͲ108722279 PATRICKJ       FARLEY                                      WALDORF         MD    9/5/20171FADP3N20FL268004
FVSͲ108745490MARKE           NORTON                                      BURNSVILLE      MN    9/5/20171FADP3N23EL209737
FVSͲ108759440MARKB           JONES                                       DUBLIN          OH    9/5/20171FADP3N20EL263352
FVSͲ108759601JOHNA           KRISTICH                                    RENO            NV    9/5/20171FADP3N20EL264453
FVSͲ108773647JOSHUAB         TUDOR                                       CHESTERFIELD     VA    9/5/20171FADP3N26EL201101
FVSͲ108775410JUANA           MARTINEZ                                    IMLAYCITY      MI    9/5/20171FADP3N26EL253523
FVSͲ108802477TANYA            FOSTER                 WILLIAMFOSTERJR    WYOMING         OH    9/5/20171FADP3N26EL422195
FVSͲ108811565 JEFFREYA       MORTON                                      MARYSVILLE       WA    9/5/20171FADP3N21FL361825
FVSͲ108815498VICTORIA         CHUFFO                                      YORKVILLE       IL    9/5/20171FADP3N26DL208404
FVSͲ108824195 SUSAN           TOOHEY                                      OROVALLEY       AZ    9/5/20171FADP3N23DL258788
FVSͲ108845524KARENM          MCGINLEY               BILLKIGHT           JACKSONVILLE     FL    9/5/20171FADP3N27EL410296
FVSͲ108868419 BERND           GAERTNER               CATHERINEGAERTNER   FRANKFORT       KY    9/5/20171FADP3N27EL235550
FVSͲ108869300 LYNNEA         DOHERTY                                     GOSHEN          NY    9/5/20171FADP3N27EL262067
FVSͲ108878724MALLORYE        DRAKE                                       KANSASCITY      MO    9/5/20171FADP3N29DL107065
FVSͲ108894576CORYL           HARTMANN                                    PALATINE        IL    9/5/20171FADP3N27DL294922
FVSͲ108903877VANESSAI        ORTIZ                                       MINEOLA         NY    9/5/20171FADP3N29DL269973
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                                               
FVSͲ108913880 KELLIE         HOLDEN                                CINCINNATI         OH    9/5/20171FADP3N28EL422196
FVSͲ108917371 JERRY           BERGSTROM                              ATWATER            OH     9/5/20171FADP3N28FL253766
FVSͲ108957527ROWANL          CATTELL            KARENCATTELL      SCOTTSDALE           AZ    9/5/20171FADP3N2XEL258773
FVSͲ108963829 DONALDE        LEMASTER           LYNNLEMASTER      FRANKLIN           OH     9/5/20171FADP3N25EL320645
FVSͲ108970787 BRUCEK         RANKILA                               MINNEAPOLIS         MN     9/5/20171FADP3N2XDL136882
FVSͲ109039971 CATHYS         HARMAN                                CANA               VA     9/5/20171FADP3N29FL227404
FVSͲ109072200ALYSSAL         JOHNSON                               LANCASTER          OH     9/5/20171FAHP3E21CL226180
FVSͲ109073975 BRYAN           SCHWARER                              MOBILE              AL    9/5/20171FAHP3E21CL247692
FVSͲ109128826 ROBERTG        RIDGE                                 PHENIXCITY          AL    9/5/20171FADP3N2XFL365792
FVSͲ109169859 CHRISTOPHERC   CALHOUN                               JACKSONVILLE         FL    9/5/20171FADP3N2XFL215326
FVSͲ109258797 SUEE           FLEMING            JAMESFLEMING      GENESEEDEPOT       WI     9/5/20171FAHP3E27CL400091
FVSͲ109286766CRYSTAL          STEED                                 MIAMISBURG          OH      9/5/20171FAHP3F20CL195891
FVSͲ109302290 MICAELA         SHOEMAKER           RYANSHOEMAKER     GREENFIELD          OH      9/5/20171FAHP3F20CL192165
FVSͲ109371704 RUDY            DURAN                                 WESTMINSTER         CO      9/5/20171FAHP3F20CL283856
FVSͲ109418964 DENNISL        DUNNAVANT                              POWHATAN           VA     9/5/20171FAHP3E29CL232437
FVSͲ109469780 ZHIZHI          XU                                    WLAFAYETTE          IN     9/5/20171FAHP3F21CL160891
FVSͲ109487966 LOUIS           BENABEJR                             SURPRISE            AZ     9/5/20171FAHP3F20CL386422
FVSͲ109554434 PATRICIA        HAYES                                 MOUNTLAKETER       WA      9/5/20171FAHP3F21CL452976
FVSͲ109675282 LESLIEC        STOCK              THOMASSTOCK       FRANKLIN           WI      9/5/20171FAHP3F22CL427505
FVSͲ109687574 KIMBERLYD      HINKLE                                CHESTER            VA      9/5/20171FAHP3F22CL414589
FVSͲ109717554 BILLIES        MULLINS                               RUSSELLVILLE        OH      9/5/20171FAHP3F23CL152758
FVSͲ109721438DORQUIDA         BAKERͲFURMAN                           WESTERVILLE         OH      9/5/20171FAHP3F23CL163470
FVSͲ109763980 APRILS         BYERWALTERS         LAWRENCEWHITING   CLIFTONPARK        NY      9/5/20171FAHP3F22CL223836
FVSͲ109799020 NAZMVIL         ROHOMAN                               OZONEPARK          NY      9/5/20171FAHP3F22CL206650
FVSͲ109808304 MICHAELS       NAUS                                  WAUKESHA           WI      9/5/20171FAHP3F22CL331793
FVSͲ109841875 BRADLYH        BUNCE                                 LEESBURG           GA      9/5/20171FAHP3F23CL443471
FVSͲ109878825TODDA           PROUDLOCK                              TRENTON            MI      9/5/20171FAHP3F23CL354631
FVSͲ109926544TYRONEW         RAYMOND            CARLIERAYMOND     MARANA              AZ     9/5/20171FAHP3F24CL263528
FVSͲ109945972 NATASHAS       SHUFORD                               MONTGOMERY           AL     9/5/20171FAHP3F24CL241139
FVSͲ110031563 DENNIS          BUCKLEY                               BEECHGROVE          IN     9/5/20171FAHP3F25CL152678
FVSͲ110056140MATHEWG         RAPOZA             DARCYRAPOZA       SALEM              OR      9/5/20171FAHP3F24CL321797
FVSͲ110106814 ERICF          PERRY              EUNICEPERRY       AUBURN              AL     9/5/20171FAHP3F24CL461686
FVSͲ110123360 DANIELR        GIBB               LORIGIBB          GILBERT             AZ     9/5/20171FAHP3F25CL392281
FVSͲ110141296SHARONK         WALLACE                               OWENSCROSSROADS    AL     9/5/20171FAHP3F24CL443821
FVSͲ110249747VERN             ENDERS                                BUCHANAN           MI      9/5/20171FAHP3F25CL448588
FVSͲ110251121 MANDYC         SOVA               JAMESSOVA         LEBANON              IL    9/5/20171FAHP3F25CL450969
FVSͲ110348745 ROBERTR        MARVINJR           RANDELLEHICKS     REDMOND            OR      9/5/20171FAHP3F27CL212069
FVSͲ110408322ALMEIDAJ        ANDERSON                              FAIRFIELD           AL     9/5/20171FAHP3F27CL360125
FVSͲ110461495 DEBORAHL       NEUBECKER                             WESTBRANCH         MI      9/5/20171FAHP3F26CL397019
FVSͲ110482131 IVEYL          MCLAIN                                SUWANEE            GA      9/5/20171FAHP3F28CL219998
FVSͲ110524691 KARENM         WHALEY                                ELYRIA             OH      9/5/20171FAHP3F27CL277620
FVSͲ110586603 ROBERTJ        ONYAK                                 AMHERST            OH      9/5/20171FAHP3F28CL449024
FVSͲ110607449VANESSAA        NELSON                                RINGGOLD           GA      9/5/20171FAHP3F27CL387423
FVSͲ110608860ERMA             JONES                                 EUCLID             OH      9/5/20171FAHP3F27CL390886
FVSͲ110751892 GARYH          JOHNSON                               JAXBCH             FL     9/5/20171FAHP3F28CL377872
FVSͲ110826485 SUSAN           DEZAUCHE                              GRANDBAY           AL    9/5/20171FAHP3F2XCL298705
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                                                         
FVSͲ110861086CHARLOTTEE          DUNCAN                                           ANNISTON       AL   9/5/20171FAHP3F2XCL443466
FVSͲ110902556 MICHELLEE          RUTMAN                                           STJOHNSBURY    VT    9/5/20171FAHP3F2XCL419121
FVSͲ110951263 ROBERTA            WISNIEWSKI                                        VERMILION      OH    9/5/20171FAHP3H20CL209947
FVSͲ110991346 LAUREN              WALLACE                  AKALAURENNICHOLSON    CHARLOTTE      NC    9/5/20171FAHP3H20CL472620
FVSͲ111019737 BRIDGETM           NEWMAN                                           SAINTPAUL     MN    9/5/20171FAHP3H20CL454411
FVSͲ111020220 LUCIANA            DURGIN                                           WESTFIELD      VT    9/5/20171FAHP3H20CL460189
FVSͲ111031885 JILL                HUMPHREY                                         FLEMINGISLE    FL    9/5/20171FAHP3H21CL339042
FVSͲ111100984 FELISHAK           ROZEBOOM                                         HOLLAND        MI    9/5/20171FAHP3H22CL178846
FVSͲ111165199GUSTAVOA            LALINDE                  MARIACECILIALALINDE   PEMBROKEPNES   FL    9/5/20171FAHP3H25CL382525
FVSͲ111210658 ROY                 EDWARDS                                          HUNTSVILLE     AL    9/5/20171FAHP3H23CL276509
FVSͲ111213312 AMPSELECTRIC       &GENERALCONTRA          BRUCEHECK              GLENVIEW       IL    9/5/20171FAHP3H23CL303918
FVSͲ111219507 NATHANIELG         SHAW                                             SAINTLOUIS     MO    9/5/20171FAHP3H25CL358158
FVSͲ111269520 ELIZABETHA         ROE                      KAITLINSAYLOR          WATERFORD       OH    9/5/20171FAHP3H27CL163114
FVSͲ111302765 TERESAJ            OKRUTNY                                          TIPPCITY      OH    9/5/20171FAHP3H26CL475313
FVSͲ111393515 MICHAELE           CREMEANS                                         POMEROY        OH    9/5/20171FAHP3H25CL464416
FVSͲ111410649 MADISONN           BUZZEO                                           CONCORD        NC    9/5/20171FAHP3H27CL309270
FVSͲ111443822 PEGGYB             CHAMBERS                 VANWCHAMBERS          FLORALA        AL    9/5/20171FAHP3H27CL260605
FVSͲ111498430 HOLLIEN            CRAFT                                            CHARLESTON      WV    9/5/20171FAHP3H29CL337541
FVSͲ111541310BARBARAA            THOMPSON                                         BIRMINGHAM      AL    9/5/20171FAHP3H2XCL190128
FVSͲ111659876 ERNESTJ            MIRANDY                  PATRICIALMIRANDY      HUNTSVILLE     AL    9/5/20171FAHP3H2XCL384609
FVSͲ111678242 MICHAELS           HEADY                                            ROSENDALE      NY     9/5/20171FAHP3J28CL389625
FVSͲ111752272 KIMBERLYDENISEM   BOUCHER                                          STERLING       VA    9/5/20171FAHP3K21CL293298
FVSͲ111758360ALANS               PHILLIPS                 SCOTTPHILLIPS          MACON          GA     9/5/20171FAHP3J27CL443268
FVSͲ111789044STEPHENR            DUNN                                             CINCINNATI     OH     9/5/20171FAHP3J22CL119161
FVSͲ111814731 FRANCISE           LAVALLIE                 ELIZABETHLAVALLIE      BAXTER         MN    9/5/20171FAHP3K20CL382179
FVSͲ111820910JAMESL              PAMPLIN(DECEASED)        EXIEJPAMPLIN          HUNTSVILLE     AL    9/5/20171FAHP3K21CL224501
FVSͲ111849802 PETERB             HEPP                                             MEDINA         OH    9/5/20171FAHP3K22CL319407
FVSͲ111873347 KAZIAS             MCMAHON                                          SAVANNAH       GA    9/5/2017 1FAHP3K21CL444494
FVSͲ111940605JASONM              RANDAZZO                                         CLINTONTWP     MI    9/5/20171FAHP3K21CL161030
FVSͲ111961122 TERESAK            BARRETT                                          ORCHARDPARK    NY    9/5/20171FAHP3K23CL328598
FVSͲ111963990TABITHA              LOWERY                                           WESTHELENA     AR    9/5/20171FAHP3K22CL462180
FVSͲ112025617 ELIZABETHK         MURRAY                   STEVEMURRAY            TEMPE          AZ    9/5/20171FAHP3K21CL324369
FVSͲ112050611 PAULD              HILLMAN                                          PARKER         CO    9/5/20171FAHP3K23CL250663
FVSͲ112149022TRACYS              MAYNARD                                          LOUISVILLE     KY    9/5/20171FAHP3K25CL366267
FVSͲ112162673 DEBORAHF           TIGER                                            AKRON          OH    9/5/20171FAHP3K25CL333446
FVSͲ112211330 BRYAN               SCHWARER                                         MOBILE         AL    9/5/20171FAHP3K23CL372374
FVSͲ112212840 MICHAELR           PERKINS                                          PLAINVILLE     MA    9/5/20171FAHP3K23CL384265
FVSͲ112225560ANGELA               LEE                                              CALERA         AL    9/5/20171FAHP3K26CL413130
FVSͲ112247202 JEFFREY             MACKEY                                           OVERLANDPARK   KS    9/5/20171FAHP3K26CL134793
FVSͲ112269311 RENEEN             COTTLE                                           HOSCHTON       GA    9/5/20171FAHP3K24CL434011
FVSͲ112292470VICTORO             MARTINEZ                 BRENDAMARTINEZ         APOPKA         FL    9/5/20171FAHP3K26CL315893
FVSͲ112297072THADDEUSE           RAPSIN                   KARENRAPSIN            WARRENVILLE     IL    9/5/20171FAHP3K26CL335996
FVSͲ112339352TIMOTHY              FORRESTER                                        PALMSPRINGS    CA    9/5/20171FAHP3K27CL423259
FVSͲ112410685ANDREWD             BRACKEMYER                                        HUDSON         WI    9/5/20171FAHP3K25CL429335
FVSͲ112425534 DAVIDT             HARRIS                                           PANAMACITY     FL    9/5/20171FAHP3K27CL113595
FVSͲ112440304KARENA              GREEN                                            MILWAUKEE       WI    9/5/20171FAHP3K28CL446002
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                                               
FVSͲ112450105TAYLORE        VANSCOY                                 SALEM             OR    9/5/20171FAHP3K28CL394936
FVSͲ112541003JAMESD         TROXELL                                 BRIDGEPORT         AL     9/5/20171FAHP3K29CL193627
FVSͲ112570577MARILOUP       SMITHFIELD          JOHNJMILLER       HUNTINGTONBEACH   CA     9/5/20171FAHP3K28CL314258
FVSͲ112577660SANDRAK        TUCKER                                  TIFTON            GA     9/5/20171FAHP3K2XCL270506
FVSͲ112664393MELISSAC       BARRETT                                 COLUMBUS          OH     9/5/20171FAHP3K29CL342456
FVSͲ112718779ADRIAE         MEDINA              JAIMEMEDINA        BRANDON           FL     9/5/20171FAHP3K2XCL402468
FVSͲ112779425OLETHIA         DAVIS                                   LAPLACE          LA     9/5/20171FAHP3K2XCL125675
FVSͲ112780733MICHAELS       ELOVITZ                                 CINCINNATI        OH     9/5/20171FAHP3K2XCL128883
FVSͲ112787932DAWNM          DUBRY                                   PHOENIX           AZ     9/5/20171FAHP3K2XCL343339
FVSͲ112815081MICHELLE        HENDERSON                                WADSWORTH          OH    9/5/20171FAHP3M23CL446907
FVSͲ112832792REBECCAJ       RUSH                                    EFFINGHAM         IL    9/5/20171FAHP3M24CL367343
FVSͲ112891195HUGHM          VANDERVORD                               STCLRSHORES      MI    9/5/20171FAHP3M23CL294126
FVSͲ112921230MELODYA        RYANͲBROWN                               MONTCLAIR         NJ    9/5/20171FAHP3M23CL204537
FVSͲ112928439MICHAELI       KELSCH              CHRISTINEKELSCH    FREDERICKSBURG     VA    9/5/20171FAHP3M26CL298901
FVSͲ112949738SHANNONL       HUGHES                                  ATLANTA           GA    9/5/20171FAHP3M22CL134271
FVSͲ113155085RONALDW        OLIPHANT                                BALLWIN           MO    9/5/20171FAHP3M29CL422563
FVSͲ113171412HOWARDE        GREENO                                  WARREN            OH    9/5/20171FAHP3M2XCL474431
FVSͲ113191324JUANJ          CAVERO                                  MIAMI             FL    9/5/20171FAHP3M29CL386941
FVSͲ113352492PATRICIAA      FULTZ               TABITHAMODGES      MIDDLETOWN         OH    9/5/20171FAHP3M2XCL214384
FVSͲ113364547HORACEG        BARNETT                                 ATLANTA           GA     9/5/20171FAHP3N20CL472606
FVSͲ113378246CHRISTOPHERG   HOWARD              LISAHOWARD         MENASHA           WI     9/5/20171FAHP3N23CL408656
FVSͲ113397402CYNTHIAK       LOTAN                                   TRAVERSECITY      MI     9/5/20171FAHP3N29CL153558
FVSͲ113426461JOELE          POPHAM                                  MOUNTVERNON       OH     9/5/20171FAHP3N25CL464324
FVSͲ113484186DAVIDA         DAHLGREN                                BURNSVILLE        MN    9/5/20173FADP4AJ2BM176825
FVSͲ113607687BRENT           WILKERSON                               NEWALBANY         IN    9/5/2017 3FADP4AJ2GM135618
FVSͲ113619170KATE            LARGE                                   INDIANAPOLIS       IN     9/5/20171FAHP3N2XCL221012
FVSͲ113733968GLORIAE        MCCLAIN             C/OGWENMCKENSIE   LAKELAND          FL    9/5/20173FADP4AJ2DM183812
FVSͲ113860196LINDAJ         FAMIGLIETTI                              HEDGESVILLE        WV    9/5/20173FADP4AJ6DM175325
FVSͲ113889550GINAM          COCHRAN                                 CANTON            OH    9/5/20173FADP4AJ5CM153198
FVSͲ114139890PAULY          BECHTEL                                 CHANDLER          AZ    9/5/20173FADP4AJ9BM129923
FVSͲ114160724FRED            LARRIETT                                BIRMINGHAM         AL    9/5/20173FADP4BJ0EM176566
FVSͲ114165548KATHY           HEWITT                                  RAINIER           WA    9/5/20173FADP4BJ0EM196462
FVSͲ114181390MICHAELA       LOWE                                    PHOENIX           AZ    9/5/20173FADP4BJ0EM206231
FVSͲ114182752JAMESW         KIME                                    ATHENS            GA    9/5/20173FADP4BJ0EM215883
FVSͲ114231699KATIEL         MILLER                                  MONTGOMERY         AL    9/5/20173FADP4BJ0GM203025
FVSͲ114263795GREGORYJ       COYLE                                   FARMINGDALE        NY    9/5/20173FADP4BJ0DM217812
FVSͲ114293082JERRYA         JANESCH                                 HINCKLEY          OH    9/5/20173FADP4BJ1BM240853
FVSͲ114318018ALICIAV        BROWN                                   SEATTLE           WA    9/5/20173FADP4BJ1DM201098
FVSͲ114330557VICTORIAJ      FRENCH                                  MAIZE             KS    9/5/20173FADP4BJ1EM110804
FVSͲ114348707FALLONE        MOORE               BRADLEYMOORE       SAINTPAUL        MN    9/5/20173FADP4BJ0FM121195
FVSͲ114349045TERRY           GOETZSR                                THURMONT          MD    9/5/20173FADP4BJ0FM123058
FVSͲ114413797CIERRAD        WILLIS                                  STONEMTN         GA    9/5/20173FADP4BJ2BM170733
FVSͲ114443815JOSE            LOPEZͲSERRANO                            GLENDALEHTS       IL    9/5/20173FADP4BJ1DM118271
FVSͲ114479348FREDA          USELTON                                 LAVONIA           GA    9/5/20173FADP4BJ2DM183355
FVSͲ114485666DEBRAL         DABOLT                                  PERRYSBURG         NY    9/5/20173FADP4BJ1DM107481
FVSͲ114515700CECILD         GARRETTJR                              MCDONOUGH          GA    9/5/20173FADP4BJ2EM189173
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FVSͲ114531072SCOTTP          MARZORATI                                 HGHLNDSRANCH   CO   9/5/20173FADP4BJ1EM133452
FVSͲ114534160 KELLYJ         FOPPIANO          KELLYFOPPIANONELSON   TOONE           TN    9/5/20173FADP4BJ1EM150753
FVSͲ114569517JENNIFERR       FRODERMAN                                  JEFFERSONCTY    MO    9/5/20173FADP4BJ2EM121083
FVSͲ114584702 PASHIENCE       MERCHANT                                  BELLINGHAM       WA    9/5/20173FADP4BJ2GM105694
FVSͲ114640785TERRYK          BUTCHER                                   AHOSKIE         NC    9/5/20173FADP4BJ2DM203233
FVSͲ114647240LEEW            CROSS                                     LAFAYETTE       OR    9/5/20173FADP4BJ3DM226875
FVSͲ114659680COURTNEYP       BOOSTROM                                  TRINITY         FL    9/5/20173FADP4BJ3DM218730
FVSͲ114668078 KAYL           VANANTWERP                                ALGONAC         MI    9/5/20173FADP4BJ3CM102362
FVSͲ114671508 LAISENE         AUELUA                                    SOUTHGATE        MI    9/5/20173FADP4BJ3EM132397
FVSͲ114674590TINAM           CARLSON                                   MACOMB          MI    9/5/20173FADP4BJ3EM148275
FVSͲ114683336JAMES            KOCH                                      DUNCANVILLE      TX    9/5/20173FADP4BJ3DM193814
FVSͲ114707790SONYA            ROSS                                      BLOOMINGTON      IN    9/5/20173FADP4BJ3FM166924
FVSͲ114763356 PEGGYJ         SPEARS                                    BATAVIA         OH    9/5/20173FADP4BJ3FM110482
FVSͲ114795215JOLINE           VALDEZ                                    HGHLNDSRANCH    CO    9/5/20173FADP4BJ4DM177234
FVSͲ114826790 MELISSAA       HEIN              EVONNEHEIN             PHOENIX         AZ    9/5/20173FADP4BJ3DM131183
FVSͲ114837872ANDREWR         CLOUTIER                                  LEXINGTON       SC    9/5/20173FADP4BJ3EM194866
FVSͲ114857946SERENAL         DINGLE                                    CHARLOTTE       NC    9/5/20173FADP4BJ4EM212677
FVSͲ114871965GEORGER         BANKS                                     CALEDONIA       OH    9/5/20173FADP4BJ3EM153752
FVSͲ114890641 PATRICIAL      ROONEY                                    CHATHAM         IL    9/5/20173FADP4BJ5BM109571
FVSͲ115085858ALLISON          HOPF                                      JASPER          IN    9/5/20173FADP4BJ6CM105272
FVSͲ115134760CURTISG         HOWERY                                    CLEVELAND       TN    9/5/20173FADP4BJ6DM191653
FVSͲ115142800 BRIANK         WHITE                                     PALMBAY        FL    9/5/20173FADP4BJ5FM110287
FVSͲ115166904DEBORA           SCHWEIZER                                 HARRISON        OH    9/5/20173FADP4BJ5DM153184
FVSͲ115168613CAMERONS        BELL                                      DALLAS          TX    9/5/20173FADP4BJ5DM157946
FVSͲ115188398TORIJ           VIGNON                                    DAYTON          OH    9/5/20173FADP4BJ6BM141994
FVSͲ115216790 DENNIS          WARD                                      CINCINNATI      OH    9/5/20173FADP4BJ6EM211630
FVSͲ115238417 LAURIEA        PARKER                                    COTTONWOOD       AZ    9/5/20173FADP4BJ6CM221331
FVSͲ115241469 NICHOLASS      CARBETTA                                  MANSFIELD       OH    9/5/20173FADP4BJ6DM118380
FVSͲ115279938MARGARET         YBARRA                                    LUBBOCK         TX    9/5/20173FADP4BJ6CM215819
FVSͲ115314687 DIONISIA        VASQUEZ                                   TOLEDO          OH    9/5/20173FADP4BJ6CM161471
FVSͲ115317074JESSICAL        BRADLEY                                   LASVEGAS       NV    9/5/20173FADP4BJ6CM173426
FVSͲ115325425 HERBIE          LOVE              CAROLINERLOVE         PFLUGERVILLE     TX    9/5/20173FADP4BJ6EM114590
FVSͲ115335323JENNYL          NEWLAND                                   VANWERT        OH    9/5/20173FADP4BJ7EM171428
FVSͲ115351892TERRIK          HINKS                                     PORTORANGE      FL    9/5/20173FADP4BJ7CM152830
FVSͲ115360816CAROLA          HAUSER                                    BRUNSWICK       OH    9/5/20173FADP4BJ6DM219595
FVSͲ115360999WILLIAM          BROGDON           RACHELBROGDON          KINGWOOD        TX    9/5/20173FADP4BJ6DM219886
FVSͲ115365303JUYONG           SHIN                                      SAINTPAUL      MN    9/5/20173FADP4BJ6EM102343
FVSͲ115375341DAWN             TIPTON                                    BEDFORD         IN    9/5/20173FADP4BJ6FM220264
FVSͲ115416420CHARLENEM       MINATEE                                   GREENBELT       MD    9/5/20173FADP4BJ7BM227508
FVSͲ115453164SARAHL          HERSH                                     ATLANTA         GA    9/5/20173FADP4BJ8CM149631
FVSͲ115503889 MARIO           SOTELO                                    CHAPELHILL      NC    9/5/20173FADP4BJ8DM218108
FVSͲ115504877 RICHARDE       SCHAAF                                    BUFFALO         NY    9/5/20173FADP4BJ8DM219307
FVSͲ115509275JAMIE            RICHEY                                    CARTHAGE        MO    9/5/20173FADP4BJ7DM162453
FVSͲ115565884 KENNETHP       BELANGER                                  SAINTCLAIR     MI    9/5/20173FADP4BJ8EM211760
FVSͲ115581448AMANDAM         EVANS                                     MOUNTVERNON     IL    9/5/20173FADP4BJ9BM171216
FVSͲ115590846MARKG           WEBER                                     NEWPRAGUE       MN    9/5/20173FADP4BJ9BM129810
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FVSͲ115614532JAREDA            LANG                                 CENTRALIA       IL    9/5/20173FADP4BJ8GM197250
FVSͲ115736611 KERRIA           SKLENAR                              REYNOLDSBURG     OH     9/5/20173FADP4BJ9CM150335
FVSͲ115815325 MARYA            ONEY                                 REYNOLDSBURG     OH     9/5/20173FADP4BJ9DM193364
FVSͲ115894896CINDYL            TEMPLE                               LASVEGAS       NV     9/5/20173FADP4BJXFM196146
FVSͲ115947795CONNIER           RIKARD                               DETROIT         MI     9/5/20173FADP4BJXBM119027
FVSͲ115957847JEFFREYE          PIESCHKE                             MARSHALL        MN     9/5/20173FADP4BJXDM113876
FVSͲ115963006 LISAJ            HILL                                 GRAYVILLE       IL     9/5/20173FADP4CJ2CM218490
FVSͲ115967338 DAVIDA           BOYER              SANDRABOYER      SANDUSKY        OH     9/5/20173FADP4BJXEM179703
FVSͲ116035528 ROBERTL          KELLY                                DENHAMSPGS      LA     9/5/20173FADP4BJXEM120666
FVSͲ116058668MARCY              STRAND                               PHOENIX         AZ     9/5/20173FADP4CJ1CM208131
FVSͲ116085720CAROLC            SZILAGY                              UNIONVILLE      MI     9/5/20173FADP4CJ6BM210097
FVSͲ116101210JOSEPH             HEASLEY                              BATTLEGROUND    WA     9/5/20173FADP4CJ3DM147298
FVSͲ116102772VANESSAL          MERROW                               BEAUMONT        TX     9/5/20173FADP4CJ3EM156925
FVSͲ116129247ALYSSAR           TAYLOR                               PORTSTLUCIE    FL     9/5/20173FADP4CJ8CM106034
FVSͲ116151935JOHNA             COOPER             DIANACOOPER      GOODYEAR        AZ     9/5/20173FADP4CJXEM177075
FVSͲ116184710SOPHIAA           FIBKINS                              EDWARDS         CO     9/5/20173FADP4EJ0CM136920
FVSͲ116196840 MELISSAK         LEIN                                 BURLINGTON       WI     9/5/20173FADP4EJ0CM102685
FVSͲ116208929JACQUELINEE       HELLAND                              NAPERVILLE      IL     9/5/20173FADP4EJ0CM171392
FVSͲ116319453 MERRY             WATSON                               MATTESON        IL     9/5/20173FADP4EJ1DM140816
FVSͲ116447966DANNY              DEZAUCHE                             GRANDBAY       AL     9/5/20173FADP4EJ1BM206410
FVSͲ116494310 KRISTINL         ARNOLDFOX                            AUBURN          AL     9/5/20173FADP4EJ1EM116839
FVSͲ116576359 REBECCAS         PARKER                               PORTLAND        OR     9/5/20173FADP4EJ2CM176660
FVSͲ116602112 MELINDAJ         PORTER                               YPSILANTI       MI     9/5/20173FADP4EJ3CM115009
FVSͲ116684941TERRAINEY         COKER                                CLEVELAND       OH     9/5/20173FADP4EJ4DM201964
FVSͲ116695129 LORI              MOORE                                MAYSVILLE       KY     9/5/20173FADP4EJ4BM137759
FVSͲ116768878CRAIGE            HOEPNER                              VINTON          IA     9/5/20173FADP4EJ4CM221145
FVSͲ116777010DAUNA             TOROK                                HENDERSON        NV     9/5/20173FADP4EJ4FM141011
FVSͲ116783877SANDRAT           GOOD                                 FREMONT         OH     9/5/20173FADP4EJ5DM110041
FVSͲ116935804 DAVIDMATHANIEL   HYATT                                PHOENIX         AZ     9/5/20173FADP4EJ6DM132453
FVSͲ117008079 KARENR           VAUGHNͲKERNS                          TRINITY         FL     9/5/20173FADP4EJ7CM187878
FVSͲ117046922STACIAA           BEARDON                              VANCOUVER        WA     9/5/20173FADP4EJ7BM189788
FVSͲ117096636GUYJ              WALKER                               ORLANDO         FL     9/5/20173FADP4EJ8BM161840
FVSͲ117096636GUYJ              WALKER                               ORLANDO         FL     9/5/20173FADP4EJ9FM117626
FVSͲ117159883 DAVIDR           BRESLAU                              MORRIS          NY     9/5/20173FADP4EJ8DM129554
FVSͲ117196282 DARRELE          DEMARCO                              TALLMADGE        OH     9/5/20173FADP4EJ7DM116682
FVSͲ117255866TODDA             IRVIN                                ANNANDALE        VA     9/5/20173FADP4EJ8CM111053
FVSͲ117284262JOANNEL           MAHURIN                              HOLDEN          MO     9/5/20173FADP4EJ8BM196538
FVSͲ117301752CONSUELA           STARK                                AKRON           OH     9/5/20173FADP4EJXCM198695
FVSͲ117303852 LORIA            CONNERY            MICHAELCONNERY   MINNEAPOLIS      MN     9/5/20173FADP4EJ9DM131085
FVSͲ117323187GABRIELA          JACKSON                              CLEVELAND       OH     9/5/20173FADP4EJ8DM201207
FVSͲ117358835ALFREDB           CAFOLLAIII                           PENNSGROVE      NJ     9/5/20173FADP4EJXCM155748
FVSͲ117481742 DIANEB           CASTELLOW                            RALEIGH         NC     9/5/20173FADP4EJXGM204727
FVSͲ117492590WILLIAMR          ZUBACK             SUSANZUBACK      WESTALLIS      WI     9/5/20173FADP4FJ1BM212576
FVSͲ117512664TRACIA            TAKACS                               BUFFALO         NY     9/5/20173FADP4EJXDM202150
FVSͲ117533270VICKYM            DAVIS                                EDWARDSVILLE     IL     9/5/20173FADP4FJ1BM180406
FVSͲ117644021 LASHAUNN         URSERY             MATTHEWURSERY    SANANTONIO      TX     9/5/20173FADP4FJ6DM173390
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FVSͲ117680605JEANT            MADDEN            CHRISTOPHERDROBERTS   SAINTPAUL     MN   9/5/20173FADP4FJ8BM216740
FVSͲ117925683WANDAJ           WESTTURNER                                 ELLENWOOD       GA    9/5/20173FADP4FJ8BM239449
FVSͲ118001337 LOUISC          KOVACH                                     CLEVELAND      OH    9/5/20173FADP4TJ1DM130905
FVSͲ118008404 PATRICIAK       STAHL             CAMPCRITTERCREEKINC   CHARLESTON      WV    9/5/20173FADP4TJ5FM114435
FVSͲ118083368GWENDAS          PERRY             STEPHENPERRY            PERRY          GA    9/5/20173FADP4TJ4DM108767
FVSͲ118127870 LISEB           CRANDELL                                   TULARE         CA    9/5/20171FADP3E24GL337357
FVSͲ118133098 BRIANJ          WRIGHT            CAMMYWRIGHT             MADERA         CA     9/5/20171FADP3E23FL375631
FVSͲ118148931 ERICF           AMIS              VERONICAAMIS            LOSANGELES     CA    9/5/20173FADP4EJ6DM185931
FVSͲ118160931 CYNTHIA          STEWART                                    VALLEJO        CA    9/5/20173FADP4EJ6CM162017
FVSͲ118162241ABBEYG           RONQUILLO                                  GRANADAHILLS   CA    9/5/20173FADP4EJ6CM219042
FVSͲ118164040VALENCIA          STAGG             STACIASTAGG             DSRTHOTSPGS   CA    9/5/20173FADP4EJ6EM128131
FVSͲ118171925SHAWNTEEN        WARE                                       SANDIEGO      CA    9/5/20173FADP4EJ8FM105094
FVSͲ118177010 DELIA            SUAREZ                                     CALEXICO       CA     9/5/20171FADP3E20EL461770
FVSͲ118189921 MILLYJ          BASS                                       FAIRFIELD      CA     9/5/20171FADP3F20DL271254
FVSͲ118190598 BOBBIE           SEPULVEDA                                  MURRIETA       CA     9/5/20171FADP3F20EL111294
FVSͲ118195751COREYW           BARNARD           GINABARNARD             MORENOVALLEY   CA     9/5/20171FADP3F20EL241754
FVSͲ118196383 SYDNEYT         OTERI                                      BERMUDADUNES   CA     9/5/20171FADP3F20EL249093
FVSͲ118200941 NELSONV         CAMARGO                                    STOCKTON       CA     9/5/20171FADP3F20DL164477
FVSͲ118204173ANNAM            ARANDA            CLEMENTEARANDA          PALMDALE       CA     9/5/20171FADP3F21EL210805
FVSͲ118204939 MARCEL           BORDEAUX                                   PLEASANTHILL   CA     9/5/20171FADP3F21EL224817
FVSͲ118211773 JEANL           WOODALL                                    GILROY         CA     9/5/20171FADP3F21EL118786
FVSͲ118220187 LUISD           FIGUEROA          KARINAFIGUEROA          PORTERVILLE     CA     9/5/20171FADP3F21EL318258
FVSͲ118229818 KYLEA           WHEELER                                    NAPA           CA     9/5/20171FADP3F21DL308554
FVSͲ118230670 BRIANF          KOEHLER                                    LINCOLN        CA     9/5/20171FADP3F22EL327504
FVSͲ118232045 DINAL           PEREZ             MARIOPEREZ              FULLERTON      CA     9/5/20171FADP3F22EL374354
FVSͲ118234110 CHRISTINA        ROME                                       SANPABLO      CA     9/5/20171FADP3F22EL432897
FVSͲ118245929 TEINAJ          TAHAURI                                    HESPERIA       CA     9/5/20171FADP3F22EL291037
FVSͲ118248995 ERNESTP         ESQUIBEL                                   RCHOSANTAFE   CA     9/5/20171FADP3F21DL138616
FVSͲ118252925 RICHARDJ        TORTORETE                                  LAKEELSINORE   CA     9/5/20171FADP3F22FL235455
FVSͲ118260855 DESTINYGARCIA   MONTALVO          TRINIMORA               FRESNO         CA     9/5/20171FADP3F22EL144250
FVSͲ118261568 SILVIA           CATANO                                     FONTANA        CA     9/5/20171FADP3F22EL157709
FVSͲ118290266 LORINEL         GALES                                      ROSEVILLE      CA     9/5/20171FADP3F24DL118277
FVSͲ118296884JESSICAA         VAUGHAN                                    MANTECA        CA    9/5/20171FADP3E27DL171010
FVSͲ118298542GONZALO           CARDOSO                                    CHULAVISTA     CA     9/5/20171FADP3F23EL219229
FVSͲ118299883ABELARDO          SOLORIO                                    HEMET          CA     9/5/2017 1FADP3F23EL242266
FVSͲ118306286 MELISSAH        SKAINES                                    SANCARLOS      CA     9/5/20171FADP3F20FL221778
FVSͲ118324560 MIRANDAI        REYES                                      MODESTO        CA     9/5/20171FADP3F23DL374930
FVSͲ118324616MARCUSA          BROWN                                      POMONA         CA     9/5/20171FADP3F23DL376127
FVSͲ118330322 RITA             FOSTER                                     SANTEE         CA     9/5/20171FADP3F25DL235219
FVSͲ118330560JORDANT          EMFIELD                                    OCEANSIDE      CA     9/5/20171FADP3F25DL236385
FVSͲ118333445 BETTYD          SHOWALTER                                   COVINA         CA     9/5/20171FADP3F25DL296358
FVSͲ118337270SARAHA           BURKE                                      LOSANGELES     CA     9/5/20171FADP3F20EL349839
FVSͲ118341979 RAULF           SOUZA             VERONICASOUZA           ELSOBRANTE     CA     9/5/20171FADP3F24EL455985
FVSͲ118351109ALYNMARIE        OJANPERAGRAYSON                            SACRAMENTO      CA     9/5/20171FADP3F26DL264809
FVSͲ118362399TYESHA            VOLCY                                      PERRIS         CA     9/5/20171FADP3F26DL190288
FVSͲ118363913 RANDALJ         ETZEL                                      REDLANDS       CA     9/5/20171FADP3F26DL214430
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FVSͲ118366122 DENISE          FRIDAYHALL                               HAYWARD        CA   9/5/20171FADP3F24EL281979
FVSͲ118369458 MARSI           MAZARIEGOS                                 LOSANGELES     CA    9/5/20171FADP3F24EL374307
FVSͲ118369580 WILLIAMJ       KRAMER                                    HERMOSABEACH   CA    9/5/20171FADP3F26DL335149
FVSͲ118378589 SELENE          ANDERSON                                  PINONHILLS     CA    9/5/20171FADP3F21FL324787
FVSͲ118382713 STEVEN          COLLIER                                   FALLBROOK      CA    9/5/20171FADP3F25GL351363
FVSͲ118389467 ERIKA           MARTINEZ           ERNESTOGONZALEZ       LOSANGELES     CA    9/5/20171FADP3F27DL373926
FVSͲ118397001TURQUOISE        TATUM                                     NORTHHILLS     CA    9/5/20171FADP3F24EL156464
FVSͲ118400690 CHRISTIAN       BOLANOS            ANAROSALES            ANAHEIM        CA    9/5/20171FADP3F24EL242146
FVSͲ118413520RONALD           VELASQUEZ                                 REDWOODCITY    CA    9/5/20171FADP3F27EL312075
FVSͲ118414674ALBERTOE        VEGA                                      PARAMOUNT       CA    9/5/20171FADP3F27EL342337
FVSͲ118417703 MILTON          CASTILLO                                  CANOGAPARK     CA    9/5/20171FADP3F22GL406996
FVSͲ118419463AMANDAK         MARQUEZ                                   PATTERSON      CA    9/5/20171FADP3F27DL164525
FVSͲ118424602 DANIELJ        CONNELLI                                  RIVERSIDE      CA    9/5/20171FADP3F24DL284637
FVSͲ118428187CAROLYN          BATES                                     LOSANGELES     CA    9/5/20171FADP3F24DL362883
FVSͲ118442015TREVA            DILLARD            REVAELLISON           LOSANGELES     CA    9/5/20171FADP3F28EL149730
FVSͲ118448650ANDREWW         VALENCIA                                  ORANGECOVE     CA    9/5/20171FADP3F27DL118239
FVSͲ118454242CANDACEW        REYES                                     SQUAWVALLEY    CA    9/5/20171FADP3F28FL232642
FVSͲ118454250CARISSAN        WOLTER             AKACARISSANWINTER   RIVERSIDE      CA    9/5/20171FADP3F28FL233466
FVSͲ118456210 FREDE          LATIMORE           TINALATIMORE          GILROY         CA    9/5/20171FADP3F24DL201739
FVSͲ118456407JUANC           MARTINEZ                                  VICTORVILLE     CA    9/5/20171FADP3F24DL211090
FVSͲ118457390JOSER           GONZALEZ                                  SANTACLARITA   CA    9/5/20171FADP3F24DL222526
FVSͲ118457845 HONG            WU                                        LOSANGELES     CA    9/5/20171FADP3F24DL227807
FVSͲ118464019 REIDE          BRILEY                                    MENIFEE        CA    9/5/20171FADP3F28DL341972
FVSͲ118466607 DAMIAN          OKO                                       NHOLLYWOOD     CA    9/5/20171FADP3F25EL169708
FVSͲ118467948 PATRICIA        SAYULA                                    BELLFLOWER      CA    9/5/20171FADP3F25EL210161
FVSͲ118470876DYNAG           SIEBALD                                   SACRAMENTO      CA    9/5/20171FADP3F25EL276807
FVSͲ118473832 FRANCISCOL     DIAZ               JOSEDIAZ              LAKEELSINORE   CA    9/5/20171FADP3F29FL221651
FVSͲ118474316 HEAVENL        CURL                                      PASCO          WA    9/5/20171FADP3F29FL232598
FVSͲ118477749 FABIANA        PERALTA            ANTONIOPERALTA        SNBERNRDNO     CA    9/5/20171FADP3F26FL261900
FVSͲ118480464GREGORYS        DEALJR                                   PLUMASLAKE     CA    9/5/20171FADP3F26FL375590
FVSͲ118480626RACHAELA        SIMONDS                                   VICTORVILLE     CA    9/5/20171FADP3F26FL385908
FVSͲ118484613 PEDROV         NUNEZ              MARIAROBLES           OAKLAND        CA    9/5/20171FADP3F29EL355669
FVSͲ118488597ANNMARIEL       FUENTES                                   BUENAPARK      CA    9/5/20171FADP3F28DL235070
FVSͲ118488970DEBRAA          GRITTANI                                  DISCOVERYBAY   CA    9/5/20171FADP3F28DL236462
FVSͲ118490699VERONICA         CAMACHO                                   MORENOVALLEY   CA    9/5/20171FADP3F28DL265895
FVSͲ118511254 DANIEL          SALAZ              DANIELLESALAZ         SANJOSE       CA    9/5/20171FADP3F26FL202071
FVSͲ118511378 LOWELLS        BROWN                                     CAMERONPARK    CA    9/5/20171FADP3F26FL206055
FVSͲ118512153 WILLIAM         JENKINS                                   STEVENSONRNH   CA    9/5/20171FADP3F2XFL361613
FVSͲ118512366ANGELA           GOMEZ              ROBERTHILLARD         POMONA         CA    9/5/20171FADP3F2XFL369436
FVSͲ118519492YOLANDA          SANCHEZ                                   FONTANA        CA    9/5/20171FADP3F28DL164274
FVSͲ118521233 PAIGEN         GRANDSTAFF                                 OAKDALE        CA    9/5/20171FADP3F2XEL442951
FVSͲ118522604 LEONID          KASMINSKIY                                SUNNYVALE      CA    9/5/20171FADP3F2XFL221853
FVSͲ118526030TIANAM          BALDWIN                                   ANAHEIM        CA    9/5/20171FADP3F29DL296363
FVSͲ118529552 WILLIAMD       VANBOENING         GAILVANBOENING       ELDORADOHLS   CA    9/5/20171FADP3F29DL374608
FVSͲ118532847AXELF           ANDRADE                                   LAPUENTE      CA    9/5/20171FADP3FE4FL241347
FVSͲ118533193 ELIZABETH       SERAFIN            JOSEM.VILLALON       CARSON         CA    9/5/20171FADP3FE4GL329025
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FVSͲ118536397 JUDITH              CONNAUGHTON                    FRANCISBERNARDCONNAUGHTON OAKHURST        CA   9/5/20171FADP3J20DL301540
FVSͲ118537369 CYNTHIAM           MAGANA                                                      OXNARD          CA    9/5/20171FADP3F26EL185710
FVSͲ118558285MARLINAFORTIEUNDO   NUDO                           RALPHNUDOJR                CHINOHILLS      CA    9/5/20171FADP3F29DL201073
FVSͲ118564030 DAVIDA             GOUGH                                                       LOOMIS          CA    9/5/20171FADP3K20DL273284
FVSͲ118567632ANTONIO              GONZALES                                                    SNBERNRDNO      CA    9/5/20171FADP3K20EL111544
FVSͲ118567861JEANNEM             HOOGHKIRK                                                   SANTAMONICA     CA    9/5/20171FADP3K20EL118350
FVSͲ118574140                      AGRESSIVELEGALSERVICESINC                                 SACRAMENTO       CA    9/5/20171FADP3K20EL322792
FVSͲ118588060ROBERTA             WILLIAMS                                                    SACRAMENTO       CA    9/5/20171FADP3K20DL184783
FVSͲ118594168SONYAN              GREEN                          SHAWNTORRENCEGREEN         VICTORVILLE      CA    9/5/20171FADP3F29DL170813
FVSͲ118601369THERESAM            WELLE                                                       SACRAMENTO       CA    9/5/20171FADP3F2XDL343318
FVSͲ118601865 LORENA              VELARDE                                                     SACRAMENTO       CA    9/5/20171FADP3F2XDL354576
FVSͲ118610317TOMR                RHOADES                                                     MILLBRAE        CA    9/5/20171FADP3J28DL353305
FVSͲ118618474 RICKEY              QUETIVES                       DONNAGAVUZZI                OCEANSIDE       CA    9/5/20171FADP3K22DL152031
FVSͲ118618490 EDELMIRAS          CALDERON                       CARLOSCALDERONJR           VICTORVILLE      CA    9/5/20171FADP3K22DL152143
FVSͲ118618784 GABRIELAS          BARBER                                                      ROSEVILLE       CA    9/5/20171FADP3K22DL158962
FVSͲ118619225 JULIANNAR          PEARCE                                                      ONEALS         CA    9/5/20171FADP3K22DL170948
FVSͲ118627597 MICHAEL             HURST                                                       BURBANK         CA    9/5/20171FADP3K21EL239503
FVSͲ118635395 CAITLINJ           DOBSON                                                      HERMOSABEACH    CA    9/5/20171FADP3F2XDL290328
FVSͲ118637975 GRISELDA            GUTIERREZ                      JUSTINMULKEY                LAPUENTE       CA    9/5/20171FADP3K23DL376165
FVSͲ118639650 JESSICAT           ROCCHIO                                                     ENGLEWOOD        CO    9/5/20171FADP3K23EL138544
FVSͲ118644351 DEREK               HESS                                                        MORAGA          CA    9/5/20171FADP3J26DL177967
FVSͲ118648004 FAISEL              AHMED                                                       ELCAJON        CA     9/5/20171FADP3J27EL294510
FVSͲ118651331 DEAND              RICHARDSON                      GAILRICHARDSON              LACRESCENTA     CA    9/5/20171FADP3K23DL251876
FVSͲ118652230 DON                 CLARKE                                                      SANJOSE        CA    9/5/20171FADP3K23DL273182
FVSͲ118654535 NIGEL               ASPDEN                                                      COSTAMESA       CA    9/5/20171FADP3K21DL319916
FVSͲ118683446JANELS              CONROY                                                      APPLEVALLEY     CA    9/5/20171FADP3K24FL341606
FVSͲ118684973 DENISESHIA          BUFORD                                                      SACRAMENTO       CA    9/5/20171FADP3K24GL238767
FVSͲ118692194GARETH               KELLY                                                       GOLETA          CA    9/5/20171FADP3K24EL375026
FVSͲ118695150EDUARDO              CORONA                                                      MONTGOMERY       TX    9/5/20171FADP3K24FL211227
FVSͲ118696602 ERIC                YANEZ                          JONATHANJYANEZ             INDIO           CA    9/5/20171FADP3K22FL275525
FVSͲ118702351 JACQUELINE          WALL                                                        MORGANHILL      CA    9/5/20171FADP3K25DL108010
FVSͲ118706225 JOSEPH              PATTERSON                                                   BREA            CA     9/5/20171FADP3J20FL256134
FVSͲ118722573 LOUIE               HERNANDEZ                                                    FULLERTON       CA    9/5/20171FADP3K26DL301492
FVSͲ118724436 JULIEA             HESS                                                        OJAI            CA    9/5/20171FADP3K26DL363054
FVSͲ118733311                      AGGRESSIVELEGAL SERVICESINC                                SACRAMENTO       CA    9/5/20171FADP3K26DL164506
FVSͲ118733885 LESLIEA            AMICK                                                       CATHEDRALCTY    CA    9/5/20171FADP3K26DL184657
FVSͲ118738852 EDUARDO             GONZALEZ                                                    DIXON           CA    9/5/20171FADP3K24DL307940
FVSͲ118739425 SARAHJ             PHILLIPS                       ERICPHILLIPS                NHOLLYWOOD      CA    9/5/20171FADP3K24DL320011
FVSͲ118740580 KRISTINM           FERNANDEZ                      STEVEMFERNANDEZ            ELMONTE        CA    9/5/20171FADP3K24DL374165
FVSͲ118741403 MELINDAM           FRIEDMAN                       DAVIDAARONFRIEDMAN         STUDIOCITY      CA    9/5/20171FADP3K24EL111627
FVSͲ118748300 ERIC                SOTO                                                        VALENCIA        CA    9/5/20171FADP3K20FL231877
FVSͲ118764217VERONICAE           FITZANIDA                      GARYFILTZANIDIS             CANYONCOUNTRY   CA    9/5/20171FADP3K27EL432187
FVSͲ118764977 DEMITRIG           FELLINES                                                    ELKGROVE       CA    9/5/20171FADP3K27EL454142
FVSͲ118770721 MARIA               ESPARAZA                                                    COLTON          CA    9/5/20171FADP3K24DL185192
FVSͲ118772520CHRISTOPHERA        COMSTOCK                                                    CHINO           CA    9/5/20171FADP3K24DL227134
FVSͲ118782410                      AGGRESSIVELEGALSERVICESINC                                SACRAMENTO       CA    9/5/20171FADP3K25FL326726
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                                                                
FVSͲ118787152 LINGZI          YE                                                 SANJOSE       CA   9/5/20171FADP3K22DL264215
FVSͲ118801104MOLLY            HARTZELL                                           LAKEELSINORE   CA    9/5/20171FADP3K23GL387784
FVSͲ118802690 KELLYL         PRIVATTE                        DEREKPRIVATTE     GOODYEAR       AZ    9/5/20171FADP3K29DL212175
FVSͲ118804359 DIVINAE        RIVAS                                              OAKLAND        CA    9/5/20171FADP3K29DL249291
FVSͲ118805363MAXWELLD        WASSERMAN                        GARYWASSERMAN     SANDIEGO      CA    9/5/20171FADP3K29DL277351
FVSͲ118805738 IRENE           WILLSONCOWART                   BENJAMINWILLSON   ORANGEVALE      CA    9/5/20171FADP3K29DL284686
FVSͲ118808737 PAULAF         FERGUSON                                           PENNVALLEY     CA     9/5/20171FADP3K25EL306183
FVSͲ118818970RYANA           LUTZ                                               MEDINA         OH    9/5/20171FADP3K27DL271421
FVSͲ118822756JOHNB           CRAWFORD                                           LOSALTOS      CA    9/5/20171FADP3K29DL382469
FVSͲ118833626 APRIL           BRANDENSTEIN                                        SANDIEGO      CA     9/5/20171FADP3K28FL334576
FVSͲ118834193 DONNAE         VAN                             MANDACORTES       SANDIEGO      CA     9/5/20171FADP3K28FL361647
FVSͲ118841009 LENITAE        DORROH                                             ANDERSON       CA     9/5/20171FADP3K25EL230562
FVSͲ118841874 MICHAELD       TORRES                                             YUBACITY      CA    9/5/20171FADP3K2XEL326171
FVSͲ118849158 LESLIEB        LLANTERO                                           PACIFICGROVE   CA    9/5/20171FADP3K27DL138982
FVSͲ118851519MARKW           RICH                            BENJAMINRICH      TULARE         CA    9/5/20171FADP3K2XEL145958
FVSͲ118852442ALEXANDRAR      MENDEK                                             NOVATO         CA    9/5/20171FADP3K2XEL170116
FVSͲ118859471                  AGGRESSIVELEGALSERVICESINC                       SACRAMENTO      CA     9/5/20171FADP3K28EL408352
FVSͲ118860712 MARKT          AUGUSTINE                                          RESEDA         CA     9/5/20171FADP3K28EL453324
FVSͲ118871943 REBEKAHL       ROJAS                                              SHERMANOAKS    CA    9/5/20171FADP3K2XDL277729
FVSͲ118873806EDWARDL         ALDRICH                                            POLLOCKPINES   CA    9/5/20171FADP3K2XDL335709
FVSͲ118875272 DAVIDA         COKER                                              MURRIETA       CA    9/5/20171FADP3K2XEL111003
FVSͲ118892908JOOST            VANOSS                          CLAIRELYONS       LOSANGELES     CA     9/5/20171FADP3K28EL281702
FVSͲ118893106 ROBERTA        CHAVEZ                                             ADELANTO       CA     9/5/20171FADP3K28EL283952
FVSͲ118909525 JORGE           COVARRUBIAS                                         WHITTIER       CA    9/5/20171FADP3L95GL275919
FVSͲ118912011 JULIUS          ESTRADA                                            ALAMEDA        CA    9/5/20171FADP3L96DL363339
FVSͲ118940775ANTHONY          GALLEGOS                                           ANAHEIM        CA    9/5/20171FADP3N20DL177649
FVSͲ118945394 RICHARDA       NEGRI                                              SPASADENA      CA    9/5/20171FADP3N20FL357927
FVSͲ118954458 KELLYB         COMBS                                              LOMPOC         CA    9/5/20171FADP3N22EL123836
FVSͲ118963104 MICHAEL         AFRAM                           RANIA              FULLERTON      CA    9/5/20171FADP3K28DL175197
FVSͲ118979892 MARK            BARRETT                                            SANDIEGO      CA    9/5/20171FADP3N2XEL321449
FVSͲ118986015TALALK          HAMDAN                                             SANJUANCAPO   CA    9/5/20171FADP3L90GL391948
FVSͲ119009501 CHRISTIANB     ADAMS                                              NEWPORTBEACH   CA    9/5/20171FADP3R41GL209170
FVSͲ119011794 MARIA           IBARRA                                             ELCAJON       CA    9/5/20171FADP3K29EL198621
FVSͲ119011840 MARIA           SOLANO                                             VALLEJO        CA    9/5/20171FADP3K29EL199283
FVSͲ119012138AMBERJ          STODDART                                           LAKEWOOD       CA     9/5/20171FADP3K29EL210170
FVSͲ119013126 JUSTINR        HINDMAN                         PHILLIPENDEMANO   ALISOVIEJO    CA     9/5/20171FADP3K29EL254623
FVSͲ119013347 ABEL            VASQUEZͲVICENTE                                     VISTA          CA     9/5/20171FADP3K29EL260616
FVSͲ119019515SHAWNAJ         RIDER                                              MORENOVALLEY   CA    9/5/20171FADP3N28EL224797
FVSͲ119022575 MICHELLEJ      GANOTIS                                            RAMONA         CA    9/5/20171FADP3N29DL152037
FVSͲ119044412 PETERA         BALDWIN                                            RAMONA         CA    9/5/20171FAHP3E20CL130816
FVSͲ119048949 KAYLEEN        SORENSEN                                           SANJOSE       CA    9/5/20171FAHP3E21CL410518
FVSͲ119051699 SHERRYP        GAO                                                ANTIOCH        CA    9/5/20171FADP3N27DL245266
FVSͲ119051885 MICHAEL         DUNN                                               SANFRANCISCO   CA    9/5/20171FADP3N27DL264884
FVSͲ119060060EDWARD           ANAYA                                              SANFRANCISCO   CA    9/5/20171FAHP3E26CL215546
FVSͲ119060493 LEONV          PALASIK                                            MONTCLAIR      CA    9/5/20171FAHP3E26CL257683
FVSͲ119060850VICTORIAC       ALLAN                                              CARLSBAD       CA    9/5/20171FAHP3E26CL292501
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FVSͲ119064596JORDANA           GOSPODINOV                            SHERMANOAKS     CA     9/5/20171FADP3K2XGL379990
FVSͲ119071932 JUSTINNEL        ENRIQUEZ                              ALTALOMA        CA      9/5/20171FADP3R4XDL296465
FVSͲ119090490 JEFFREY           KAUFFMAN          ANNMKAUFFMAN      APPLEVALLEY      CA      9/5/20171FADP3N26DL319311
FVSͲ119092611 CHRISTINE         INGLE             JAMESINGLE         PASOROBLES       CA      9/5/20171FADP3N26EL375086
FVSͲ119118556 OBADI             HADI                                  SELMA            CA       9/5/20171FAHP3F21CL155562
FVSͲ119121433 RONALDM          GRABER                                HIGHLAND         CA       9/5/20171FAHP3F21CL251062
FVSͲ119121484 FRANKJ           HERNANDEZ                              ANTIOCH          CA       9/5/20171FAHP3F21CL251269
FVSͲ119123665 JOSE              DEVORA                                SANFRANCISCO     CA       9/5/20171FAHP3F21CL321630
FVSͲ119128365 JILLMARIET      REYNOLDS          AKAJILLHALFORD    OCEANSIDE        CA      9/5/20171FADP3N25DL374249
FVSͲ119133717 KELSEYL          VANECK           WILLEMVANECK      SUSANVILLE       CA       9/5/20171FAHP3F26CL114635
FVSͲ119133857 TIFFANYL         MARCAR                                SANJOSE         CA       9/5/20171FAHP3F26CL120306
FVSͲ119133865 SHIRLEYR         PERKINS           STEVENCPERKINS    NAPA             CA       9/5/20171FAHP3F26CL120385
FVSͲ119137739 LEONARD           HOOPER                                VIEWPARK        CA      9/5/20171FADP3R46DL210830
FVSͲ119147416AIMEEE            VONTUNGELN                             YREKA            CA       9/5/20171FAHP3F25CL351648
FVSͲ119162830 DANIELJ          HUENDORF                              OXNARD           CA      9/5/20171FADP3N23FL364774
FVSͲ119164477 KATHRYND         WHITE                                 IONE             CA      9/5/20171FADP3N24DL235651
FVSͲ119164736SHARLENEO         ALEXANDER                             SARATOGA         CA      9/5/20171FADP3N24DL264731
FVSͲ119165791 ROBERTA          PACHECO                               HACIENDAHTS      CA      9/5/20171FADP3N24EL131727
FVSͲ119178788 BERNICEA         QUAIL                                 PALMDESERT       CA       9/5/20171FAHP3F29CL332035
FVSͲ119180430 ROBERT            WILLIAMS                              SACRAMENTO        CA       9/5/20171FAHP3F29CL392493
FVSͲ119180553 MICHAELO         HOOKS                                 VICTORVILLE       CA       9/5/20171FAHP3F29CL396432
FVSͲ119181177 JESSER           BATTEN                                NHOLLYWOOD       CA       9/5/20171FAHP3F29CL415786
FVSͲ119190397 ANGELICA          AVILAPEREZ        ADRIANAPEREZ       SALINAS          CA       9/5/20171FAHP3F29CL175204
FVSͲ119195747 REGINAE          KOYAMA                                LAMESA          CA       9/5/20171FAHP3F24CL257843
FVSͲ119205351 FRANCIAY         RENTERIA                              COVINA           CA      9/5/20171FAHP3F2XCL262769
FVSͲ119235986 LILIAN            AGUILAR                               SOUTHGATE        CA      9/5/20171FAHP3H23CL154989
FVSͲ119256185 MICHAELL         CASSIDY                               MANTECA          CA      9/5/20171FAHP3H22CL206788
FVSͲ119264250ALFREDD           FRANCO                                CORONA           CA       9/5/20171FAHP3F23CL410373
FVSͲ119276178SYDNEYE           THOMAS                                CASTAIC          CA      9/5/20171FAHP3H29CL146394
FVSͲ119281384 VIRGINIA          RAMIREZ                               RCHCUCAMONGA     CA      9/5/20171FAHP3H21CL452022
FVSͲ119282330 FRANKO           BROWN                                 MARYSVILLE        CA      9/5/20171FAHP3H22CL131154
FVSͲ119285118 DERIKE           GALLIER                               WHEATLAND         CA      9/5/20171FAHP3H2XCL373447
FVSͲ119293625ANDREWD           GRUMM                                 MOORPARK         CA      9/5/20171FAHP3H28CL195358
FVSͲ119298228DONNAV            ZIMMERMAN          PAULBZIMMERMAN    ELCAJON         CA       9/5/20171FAHP3F27CL222407
FVSͲ119301164CHARLES            EGERIII                               SACRAMENTO        CA       9/5/20171FAHP3F27CL305044
FVSͲ119308380SEANR             MULCH             COURTNEYLMEYER    REDDING          CA      9/5/20171FAHP3H20CL417391
FVSͲ119312654STEVENC           DAY               CHARLIEMARTIN      SANDIEGO        CA      9/5/20171FAHP3K21CL452840
FVSͲ119312905 STEVEN            ANDERSON                              RIVERSIDE        CA      9/5/20171FAHP3K21CL468102
FVSͲ119315866 RACHEL            GEMMELL                               VISTA            CA      9/5/20171FAHP3K22CL222482
FVSͲ119326892 KATELYNH         TAYLOR            KATELYNTADAM      BELMONT          CA      9/5/20171FAHP3K23CL290824
FVSͲ119327821 JESSEL           MORRIS                                SIMIVALLEY      CA       9/5/20171FAHP3F26CL386389
FVSͲ119327945 FILIBERTO         OLAZABAL          IRENEOLAZABAL      ELMONTE         CA       9/5/20171FAHP3F26CL392189
FVSͲ119338165 ROBERTF          DALEY                                 SUNLAND          CA      9/5/20171FAHP3K21CL415755
FVSͲ119338947 DANIEL            GIMLETT           ANDREWGIMLETT      TRACY            CA      9/5/20171FAHP3H20CL120394
FVSͲ119342758MARKE             BONTEMPO                              FRESNO           CA      9/5/20171FAHP3H20CL388068
FVSͲ119344343 LINDAA           BROWN                                 VALLEJO          CA      9/5/20171FAHP3K26CL475966
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                                               
FVSͲ119344912STEPHENT        SEHR                                         GOLETA         CA   9/5/20171FAHP3K27CL118845
FVSͲ119351960 MICHELLEE      MARTIN             ANTONEMARTIN             OROVILLE       CA    9/5/20171FAHP3H27CL200260
FVSͲ119356244 DANIELE        SCHMITT                                      SANTACLARITA   CA    9/5/20171FAHP3K26CL356055
FVSͲ119367807CHERYLL         HUNTER                                       SANDIEGO      CA    9/5/20171FAHP3K27CL392207
FVSͲ119373807JUSTINA         BRIARS                                       CANOGAPARK     CA    9/5/20171FAHP3F2XCL451941
FVSͲ119375540ALBERT           CABRERALOYA                                  SANJOSE       CA    9/5/20171FAHP3K25CL410588
FVSͲ119376814GABRIELLE        SATTER                                       WILDOMAR       CA    9/5/20171FAHP3K25CL452176
FVSͲ119377217CONCHA           MAVROLAS           PETERMAVROLAS            PEARBLOSSOM     CA    9/5/20171FAHP3K25CL468362
FVSͲ119381249SAMANTHALEAH    PAYSENO            FKASAMANTHALEAHHALL    MADERA         CA    9/5/20171FAHP3H25CL452928
FVSͲ119384965WILLIAME        BLUM               SHARONLBLUM             SACRAMENTO      CA    9/5/20171FAHP3M20CL344724
FVSͲ119388642SHERRY           ROCHE                                        IRVINE         CA    9/5/20171FAHP3M21CL216721
FVSͲ119389665 LAWRENCED      WILLERT                                      PALMSPRINGS    CA    9/5/20171FAHP3M21CL302014
FVSͲ119396505CHARLES          JOHNSON            CORDULAJOHANNAJOHNSON   ANTELOPE       CA    9/5/20171FAHP3K2XCL410571
FVSͲ119398893GABRIELAS       BARBER                                       ROSEVILLE      CA    9/5/2017 1FAHP3M20CL162425
FVSͲ119401673JAMES            HURST              DENISEHURST              SANTAROSA      CA    9/5/20171FAHP3K25CL215980
FVSͲ119403668ADRIANH         ALBA                                         BALDWINPARK    CA    9/5/20171FAHP3K25CL285074
FVSͲ119405059SAVANNAHK       PLASCH                                       RIPON          CA    9/5/20171FAHP3K25CL339912
FVSͲ119405946 RICHARD         PEREZ              ROSAPEREZ                THERMAL        CA    9/5/20171FAHP3K25CL379150
FVSͲ119408937JORENEE         MIZE                                         NORTHFORK      CA    9/5/20171FAHP3M21CL423450
FVSͲ119409810JAMIEK          WHITECOTTON                                   TUSTIN         CA    9/5/20171FAHP3M21CL479601
FVSͲ119427079 MARIETRENEE   MEYER                                        ORANGEVALE      CA    9/5/20171FAHP3K20CL175209
FVSͲ119427974DEANNA           VERRECCHIA                                    CORONA         CA    9/5/20171FAHP3M28CL189629
FVSͲ119428229AIDAB           TAVITIAN                                     PASADENA       CA    9/5/20171FAHP3M28CL206168
FVSͲ119438283AMANDAL         PELLOTH                                      SANDIEGO      CA    9/5/20171FAHP3M27CL174989
FVSͲ119439921 PATRICIA        SULTANIS                                     PALMDESERT     CA    9/5/20171FAHP3M27CL305029
FVSͲ119441845 DEBRAA         KOERING            KAITLYNNEKOERING        SONORA         CA    9/5/20171FAHP3M27CL451981
FVSͲ119452502 MARCELO         DUFFAU                                       SIMIVALLEY    CA    9/5/20171FAHP3M29CL416097
FVSͲ119454556RANDYA          PHILLIPS                                     CHATSWORTH      CA    9/5/20171FAHP3J21CL429446
FVSͲ119459442 KEVINM         SALGADO            STEPHANIESALGADO         VISTA          CA    9/5/20171FAHP3M26CL175020
FVSͲ119460467 MARIAD         MANZANO                                      SANYSIDRO     CA    9/5/20171FAHP3M26CL244904
FVSͲ119463970 BRIANW         ADAMS                                        GOLDRIVER     CA    9/5/20171FAHP3M27CL105672
FVSͲ119465744SARAHJ          WILHITE                                      REDDING        CA    9/5/20171FAHP3K24CL228073
FVSͲ119469510YINENG           ZHOU                                         SANTACLARA     CA    9/5/20171FAHP3K24CL366308
FVSͲ119482126 MICHAELC       MELCHIORRE                                    VALENCIA       CA    9/5/20171FAHP3N27CL451929
FVSͲ119486636STEVENM         REHR                                         SANDIEGO      CA    9/5/20171FAHP3N29CL302289
FVSͲ119488949JORDANM         KLEIN                                        PALOALTO      CA    9/5/20171FAHP3M25CL245431
FVSͲ119491656 KEARY           CHENEY             JUSTINPATRICKCHENEY     SANMARCOS      CA    9/5/20171FAHP3M25CL423046
FVSͲ119501252THOMASD         BILLIARD                                     NEWPORTBEACH   CA    9/5/20171FAHP3K23CL371337
FVSͲ119502070CARRIEM         PORTER             TODDPORTER               PALMDALE       CA    9/5/20171FAHP3K23CL400724
FVSͲ119503085 BELVAM         FRESQUEZ           TINABETHMONTEZ          CORONA         CA    9/5/20171FAHP3K23CL429642
FVSͲ119503778JOSE             GUTIERREZ          MICHELLEGUTIERREZ        TULARE         CA    9/5/20171FAHP3K23CL455710
FVSͲ119504219SCOTT            OHANIAN            CHARLESOHANIAN           FRESNO         CA    9/5/20171FAHP3K23CL477898
FVSͲ119505347 MARIA           BRAVO                                        SANPEDRO      CA    9/5/20171FAHP3K24CL146733
FVSͲ119527936JORGE            GUTIERREZ                                    CHINO          CA    9/5/20173FADP4AJ4CM112061
FVSͲ119532433 RAMIRO          SERVANTES          MONICASANCHEZ            ANAHEIM        CA    9/5/20171FAHP3M24CL454126
FVSͲ119537010JOSEJ           ROQUE                                        LOSANGELES     CA    9/5/20173FADP4AJ5EM227674
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                                                                 
FVSͲ119549301 MARLENL         REYES                                                  LAHABRA      CA   9/5/20173FADP4AJ3EM163439
FVSͲ119560275JAMESO           WARE                            NATASHAWARE           ANTELOPE      CA    9/5/20173FADP4AJXDM156213
FVSͲ119564092JANELLEM         VERGARA                                                TRACY         CA    9/5/20171FAHP3N21CL480343
FVSͲ119564254 DESIREEM        RAVEN                                                  PACIFICA      CA    9/5/20171FAHP3N22CL145527
FVSͲ119570572TARAC            ODONNELL                        CAITLINODONNELL       ANTELOPE      CA    9/5/20173FADP4AJ9DM147230
FVSͲ119577569 MICHAEL          ORTIZ                                                  SNBERNRDNO    CA    9/5/20173FADP4AJ2EM183245
FVSͲ119588544MELODYD          LEONE                           ALFREDDLEONE         LONGBEACH     CA    9/5/20173FADP4BJ0BM116752
FVSͲ119590778 FLORENTINOA     SERNA                                                  HIGHLAND      CA    9/5/20171FAHP3M22CL368037
FVSͲ119593475 FRANK            DOMMASCHK                                               NEWARK        CA    9/5/20171FAHKP3M23CL190008
FVSͲ119596970 BRIANL          VINZANT                         JOSHUABOSBORNE       WSACRAMENTO   CA    9/5/20173FADP4AJ8GM136255
FVSͲ119612577 SIMEONB         AYALA                                                  ARCATA        CA    9/5/20173FADP4BJ1FM203971
FVSͲ119625091 DILLONM         HANSON                                                 CITRUSHTS    CA    9/5/20173FADP4BJ1EM139736
FVSͲ119628031 ESMERALDA        RODRIGUEZDIAZ                                          INDIO         CA    9/5/20173FADP4AJ8CM105792
FVSͲ119635704ANA               PADILLA                                                HACIENDAHTS   CA    9/5/20173FADP4BJ2BM142933
FVSͲ119639807 JENNIFER         KIRK                                                   ROCKLIN       CA    9/5/20171FAHP3M2XCL156180
FVSͲ119664801 RICHARDS        WOMACK                          KELSEYWOMACK          MOUNTSHASTA   CA    9/5/20173FADP4AJ7EM225277
FVSͲ119697459 MIGUELS         GARCIA                                                 OROSI         CA    9/5/20173FADP4BJ3DM178231
FVSͲ119708167 SAMUELC         MITCHELL                                               GALT          CA    9/5/20173FADP4BJ6BM116822
FVSͲ119718790 NESTOR           HERNANDEZ                                               SANTAANA     CA    9/5/20173FADP4BJ5EM201042
FVSͲ119720132 MONICA           SORIANO                                                VACAVILLE     CA    9/5/20173FADP4BJ5EM235837
FVSͲ119723336 CHRISTIAN        HERNANDEZ                                               PACOIMA       CA    9/5/20173FADP4BJ2GM204063
FVSͲ119726343 ERLINDA          KOCIOL                                                 SALINAS       CA    9/5/20173FADP4BJ3BM200810
FVSͲ119729385VALLACHIRA        NARAYANAN                        LATHANARAYANAN        MILPITAS      CA    9/5/20173FADP4BJ6BM223921
FVSͲ119739860 SERGIOI         MARTINEZ                                               FRESNO        CA    9/5/20173FADP4AJ6DM153986
FVSͲ119744457 DAVIDA          PIERGROSSI                                             SANYSIDRO    CA    9/5/20173FADP4BJ5DM186136
FVSͲ119744465 MARIAT          JIMENEZ                         JOELMENDEZ            RIALTO        CA    9/5/20173FADP4BJ5DM186170
FVSͲ119747707 EN               FUKASAWA                        TERRYKADAMS          POWAY         CA    9/5/20173FADP4BJ0DM123204
FVSͲ119752166 FERNANDO         DIAZ                                                   ANAHEIM       CA    9/5/20173FADP4BJ0DM220743
FVSͲ119780666 ROLLY            FABIE                                                  VACAVILLE     CA    9/5/20173FADP4BJ8DM159481
FVSͲ119783355DEANNAM          BENNO                                                  BEAUMONT      CA    9/5/20173FADP4BJ0BM166745
FVSͲ119788535FOTUNAOMANAIAV   LEAEA                                                  STOCKTON      CA    9/5/20173FADP4BJ9EM220886
FVSͲ119788837JOSEGHALE       PANTOJA                                                ELCENTRO     CA    9/5/20173FADP4BJ7DM177941
FVSͲ119793733 MAURICEX        TROTTER                         LATANYABROWNER        COMPTON       CA    9/5/20173FADP4BJ7EM133780
FVSͲ119799928 KATHRYN          VANDERWOUDE                      NEILVANDERWOUDE       GOLETA        CA    9/5/20173FADP4BJ2EM157369
FVSͲ119800896 DAVID            BAILEY                                                 LINDSAY       CA    9/5/20173FADP4BJ2EM191070
FVSͲ119802570 DEBORAHS        SULLIVAN                                               ALTADENA      CA    9/5/20173FADP4BJXBM212677
FVSͲ119804514 RIGOBERTO        GARCIA                                                 SANDIMAS     CA    9/5/20173FADP4BJXCM151008
FVSͲ119814110CARLOS            HERNANDEZ                                               WESTCOVINA    CA    9/5/20173FADP4BJ9FM203636
FVSͲ119821290 RIGOBERTO        GARCIA                                                 SANDIMAS     CA    9/5/20173FADP4BJ7CM187447
FVSͲ119821907 BRYANNE          BERRY                                                  ORANGEVALE     CA    9/5/20173FADP4BJ7CM219202
FVSͲ119823357AUBREY            SCHWEIGL                                               POWAY         CA    9/5/20173FADP4BJ7DM150058
FVSͲ119824965                   AGGRESSIVELEGALSERVICESINC                           SACRAMENTO     CA    9/5/20173FADP4BJXDM150166
FVSͲ119828839 MARIOH          CASTRO                                                 MECCA         CA    9/5/20173FADP4BJXDM220989
FVSͲ119834103 MONIQUEN        SCHWAB                          JORDANSCHWAB          CARLSBAD      CA    9/5/20173FADP4BJ2CM185394
FVSͲ119837706GREGORYL         GRAHAM                          DOROTHYMARIAGRAHAM   CLOVIS        CA    9/5/20173FADP4BJ9DM226704
FVSͲ119839113 BIANCA           SMITH                                                  FOUNTAINVLY   CA    9/5/20173FADP4BJ9EM148684
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FVSͲ119840120NOFALM         ALTIKRITI                      MOHAMMEDSALTIKRITI   COLTON         CA   9/5/20173FADP4BJ9EM183239
FVSͲ119847248ANDREW          MADDEN                                                 FRESNO         CA    9/5/20173FADP4BJ4EM206300
FVSͲ119871670TOBY            PESCE                                                  IRVINE         CA    9/5/20173FADP4CJXBM233995
FVSͲ119872056 ROBERTA        AYALA                                                  HUNTINGTNBCH   CA    9/5/20173FADP4CJXCM177087
FVSͲ119881608 LOVINDA        BADINGA                                                HAYWARD        CA    9/5/20173FADP4BJ4DM214962
FVSͲ119898632 MICHAELP      VIOLANTE                                               PARADISE       CA    9/5/20173FADP4BJ9BM162645
FVSͲ119902680 DWIGHT         JOHNSON                                                SANJOSE       CA    9/5/20173FADP4BJ9CM159567
FVSͲ119910942JOANL          WYATT                                                  FAIROAKS      CA    9/5/20173FADP4CJ3CM106619
FVSͲ119922800AIDE            ALBADAYFALLAH                                           LAGUNANIGUEL   CA    9/5/20173FADP4BJ6DM205485
FVSͲ119922916 RAULM         ALARCONMONTES                                          ANTIOCH        CA    9/5/20173FADP4BJ6DM205695
FVSͲ119942747JOHN            LUNDGREN                                               MARINA         CA    9/5/20173FADP4CJ0GM159770
FVSͲ119947455JONATHAN        WISNIEWSKI                                              SIMIVALLEY    CA    9/5/20173FADP4EJ5EM133255
FVSͲ119964074GINA            SCHEID                         JOHNSCHEID             SALIDA         CA    9/5/20173FADP4BJ8DM214706
FVSͲ119964546 DAYNAJ        JONES                                                  INDIO          CA    9/5/20173FADP4BJ8DM220988
FVSͲ119973286 BRIGIDS       MCNALLY                                                ANAHEIM        CA    9/5/20173FADP4EJ4CM146138
FVSͲ119976021 DOLORES        MENDOZA                        BENNYMENDOZA           FRESNO         CA    9/5/20173FADP4BJXFM210921
FVSͲ119979772ADAMF          GRYMONPREZ                                              SANDIMAS      CA    9/5/20173FADP4CJ0CM118520
FVSͲ119986590JUANM          ARROYO                         NORMACERVANTES         ARVIN          CA    9/5/20173FADP4EJ0EM200389
FVSͲ119997819MOHAMMED        FARAAZ                                                 DALYCITY      CA    9/5/20173FADP4EJ8DM172839
FVSͲ119999641 MIGUEL         PADILLA                                                DOWNEY         CA    9/5/20173FADP4FJ0BM148840
FVSͲ120002922SUZANNET       FORNARIO                                               SANDIEGO      CA    9/5/20173FADP4EJXFM164308
FVSͲ120033119CLAIRM         CODINA                                                 FAIRFIELD      CA    9/5/20173FADP4EJ8BM135738
FVSͲ120037300TING            CHEN                                                   ONTARIO        CA    9/5/20173FADP4EJ3BM132665
FVSͲ120049589ALEXANDRA       REID                           STEVENREID             SANCLEMENTE    CA    9/5/20173FADP4FJ8CM162129
FVSͲ120050730 ILEANAM       MIRANDAFLORES                                           SANMATEO      CA    9/5/20173FADP4FJ8EM102323
FVSͲ120050757MARTHAB        PHILLIPS                                               SIMIVALLEY    CA    9/5/20173FADP4FJ8EM114245
FVSͲ120053152 NANCYF        KNOP                                                   SANFRANCISCO   CA    9/5/20173FADP4EJ0BM116892
FVSͲ120066459 LAWRENCES     LEE                                                    WHOLLYWOOD     CA    9/5/20173FADP4FJ7EM139587
FVSͲ120073374 MICHAELD      ANDREWS                                                MURRIETA       CA    9/5/20173FADP4EJ7EM160392
FVSͲ120074249                 AGGRESIVELEGALSERVICESIN                             SACRAMENTO      CA    9/5/20173FADP4EJ7EM200700
FVSͲ120081172 MARIO          GUTTIEREZ                                              DANVILLE       CA    9/5/20173FADP4EJXBM216952
FVSͲ120099403 KENDALLW      FARNSWORTH                                              IRVINE         CA    9/5/20173FADP4EJ2DM194903
FVSͲ120117355                 AGGRESSIVELEGALSERVICES                               SACRAMENTO      CA    9/5/20173FADP4TJ0GM157257
FVSͲ120133407                 AGGRESSIVELEGALSERVICESINC                           SACRAMENTO      CA    9/5/20173FADP4TJ4GM150201
FVSͲ120141566ANTHONY         CAMARGO                        ISAMARCASTANO          ARTESIA        CA    9/5/20173FADP4EJ4EM128130
FVSͲ120142546ALLEN           TRIPLETT                                               CATHEDRALCTY   CA    9/5/20173FADP4EJ4EM157370
FVSͲ120160986RANDY           MARTIN                                                 HAYWARD        CA    9/5/20173FADP4FJ4EM196328
FVSͲ120163721 DANIELL       RATHJEN                                                REDWOODCITY    CA    9/5/20173FADP4FJ5BM181056
FVSͲ120173999                 AGGRESSIVELEGALSERVICES                               SACRAMENTO      CA    9/5/20173FADP4EJ6FM211656
FVSͲ120182980 MARIAJ        TORRES                                                 RIVERSIDE      CA    9/5/20173FADP4FJ3CM221605
FVSͲ120194031TODDM          ARNOLD                         KIMBERLYANNEARNOLD    SANTAROSA      CA    9/5/20173FADP4EJ9BM106751
FVSͲ120198533 MICHAEL        MODROW                                                 JAMUL          CA    9/5/20173FADP4EJ9CM140738
FVSͲ120200740SARAH           KLICKER                                                LOSANGELES     CA    9/5/20173FADP4FJ2BM177126
FVSͲ120216302VIKKIE         MESA                                                   ANTIOCH        CA    9/5/20173FADP4FJ1DM200978
FVSͲ120217678 ESTELA         ACEVES                                                 SANTAANA      CA    9/5/20173FADP4FJ2BM109084
FVSͲ120231093 LOUIS          PIERUCCI                                               SANTAROSA      CA    9/5/20173FADP4FJ9GM205592
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FVSͲ120232936JAYNEE         WILLIAMS                                   SANFRANCISCO   CA   9/5/20173FADP4FJXBM172952
FVSͲ120311054STARLAL        MCELHANEY                                   HERMITAGE       PA    9/5/20171FADP3F23DL105634
FVSͲ120324512TIFFANYA       CARNEY                                     LYNWOOD         PA    9/5/20171FADP3F20GL354560
FVSͲ120331608MELISSAS       GUTEKUNST                                  EASTON          PA    9/5/20171FADP3F22FL267368
FVSͲ120336200CONSTANCE       HEALY                                      FOLSOM          PA    9/5/20171FADP3F25DL308637
FVSͲ120356341SHEREE          JENNINGS                                   PITTSBURGH       PA    9/5/20171FADP3F22EL310427
FVSͲ120372401NATALIER       AMPARO                MILTADIAZ           PHILADELPHIA     PA    9/5/20171FADP3F26EL134563
FVSͲ120424614JOHNG          HENNIGAN                                   LEVITTOWN       PA    9/5/20171FADP3F22DL326304
FVSͲ120493039PERRYW         VALENTINE                                  LINCOLNUNIV     PA    9/5/20171FADP3F29EL319867
FVSͲ120493950ANTHONYJ       PACHUCKI                                   PHILADELPHIA     PA    9/5/20171FADP3F29EL359172
FVSͲ120507412MOISESMARVIN   ROMERO                MARYROMERO          SEASIDE         CA    9/5/20171FAHP3N23CL468582
FVSͲ120508478LYNELL          HOLTWILLENBORG                             PLEASANTON       CA    9/5/20171FAHP3N24CL237397
FVSͲ120528100LEONAK         KINTZEL                                    PINEGROVE      PA    9/5/20171FADP3F27EL296332
FVSͲ120528606MARGARETM      WRIGHT                                     MANCHESTER       PA    9/5/20171FADP3F27EL309094
FVSͲ120551373RONALDT        PAINTER                                    TOWANDA         PA    9/5/20171FADP3F25EL102123
FVSͲ120583003DAVIDP         HERCHUCK                                   BENTLEYVILLE     PA    9/5/20171FADP3K26DL232156
FVSͲ120622491ROBIN           RITCHIE                                    GREENCASTLE      PA    9/5/20171FADP3K2XEL310021
FVSͲ120622580KIMBERLYA      SCHMIDT                                    LOCKHAVEN       PA    9/5/20171FADP3K2XEL315851
FVSͲ120625253CARLOS          JAVIER                                     CHICAGO         IL    9/5/20171FADP3K29EL265220
FVSͲ120626241DEVON           HEISERMANGILL                              POTTSTOWN        PA    9/5/20171FADP3K29EL319485
FVSͲ120646757BETTYJ         DAUB                                       ADAMSTOWN        PA    9/5/20171FADP3K21FL297824
FVSͲ120684195KARENE         MADDOX                CHRISTOPHERMADDOX   LANCASTER       PA    9/5/20171FADP3K21EL251201
FVSͲ120691647VINCENTA       CASCARIO                                   NORTHAMPTON      PA    9/5/20171FADP3K25DL249580
FVSͲ120761076JESSICA         FRIEZE                                     PHOENIXVILLE     PA    9/5/20171FADP3K24DL224718
FVSͲ120771209JULIEM         DIEHL                                      DUNCANNON        PA    9/5/20171FADP3K28DL146489
FVSͲ120818957MICHELINEC     SIMMONS                                    PITTSBURGH       PA    9/5/20171FAHP3H2XCL205341
FVSͲ120838869RICHARDJ       GARZIOJR                                   MCADOO          PA    9/5/20171FAHP3F29CL281992
FVSͲ120870657LORETTAM       FLANAGAN                                   SCRANTON        PA    9/5/20171FAHP3F28CL343558
FVSͲ120904322LARRYJ         RUNYANII                                   HERMITAGE       PA    9/5/20171FAHP3M25CL371921
FVSͲ120940604TIMOTHYJ       MITCHELL              LISAMITCHELL        ROSETO          PA    9/5/20171FAHP3F27CL297639
FVSͲ120942526CHRISTOPHER     FEATHERSTONE                                WILKESBARRE     PA    9/5/20171FAHP3F27CL380794
FVSͲ121031420KIMBERLYT      SIMMONS                                    PHILADELPHIA     PA    9/5/20171FAHP3K20CL230029
FVSͲ121064247KIMBERLYM      HEFLIN                                     IRWIN           PA    9/5/20173FADP4BJ2EM182742
FVSͲ121124177EVAND          FRYE                                       NORTHWALES      PA    9/5/20173FADP4EJ0CM117333
FVSͲ121212106JONM           SMOKE                                      MONESSEN        PA    9/5/20173FADP4BJ5DM113770
FVSͲ121231763NORAL          HOFFMAN                                    SHARPTOWN        MD    9/5/20173FADP4FJ4CM101327
FVSͲ121366405HEIDIT         VOSS                                       LONDONBERRY      NH    9/5/20173FADP4EJ2DM143725
FVSͲ800000595LISA            MARTINEZ                                   VICTORVILLE      CA    9/5/20171FADP3F28FL375297
FVSͲ800000889TIMOTHYJ       SEHR                                       KOKOMO          IN    9/5/20171FAHP3K27CL118845
FVSͲ800000919MADALYN         VEST                                       HOWELL          MI    9/5/20171FADP3F21EL439646
FVSͲ800001664BERNARD         SORENSON                                   TUCSON          AZ    9/5/20171FAHP3K28CL469733
FVSͲ800001702JESSE           LOPEZ                                      UNIONCITY      NJ    9/5/20173FADP4BJ4DM173779
FVSͲ800001737JUSTINR        MULKEY                                     LAPUENTE       CA    9/5/20171FADP3K23DL376165
FVSͲ800002296CHRISTINE       MITCHELL                                   TEMPE           AZ    9/5/20171FADP3F29DL164316
FVSͲ800002679ISRAEL          SANCHEZ                                    EDINBURG        TX    9/5/20171FADP3F23ELI12306
FVSͲ800002768REBECCA         PECINA                                     SANANTONIO      TX    9/5/20173FADP4BJODM142027
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                                                    
FVSͲ800003187 HELEN          BROWN                                         CLEVELAND         OH   9/5/20171FADP3F27GL300978
FVSͲ800003578MERCEDES        CHURCHWELL                                     BAKERSFIELD        CA    9/5/20173FADP4EJ2EM133973
FVSͲ800003594 DENINE         MOBLEY                                        NORTHHILLS        CA    9/5/20173FADP4CJVBM173304
FVSͲ800003667ALONNA          COX                                           BENICIA           CA    9/5/20171FADP3J2XDL345395
FVSͲ800003691 VICKY          LEONG                                         PENSACOLA         FL    9/5/20171FAHP3F21CL431136
FVSͲ800003829ALAN            DAY                                           CALHOUN           GA    9/5/20171FADP3F29DL193735
FVSͲ800004051 CHRISTINE      PARKS                                         SACRAMENTO         CA    9/5/20171FAHP3FN3BW152203
FVSͲ800004078ASHLEY          SMITH                                         SEMINOLE          FL    9/5/20173FADP4EJ1DM224067
FVSͲ800004094JENNIFER        KING                                          BROWNFIELD         TX    9/5/20171FADP3F22DL204400
FVSͲ800004175AMBER           CHASTEEN                                      MURRIETA          CA    9/5/20173FADP4EJ9CM135071
FVSͲ800004280ALEXISA        WHITHAM                                       DENVER            CO    9/5/20173FADP4EJXEM174626
FVSͲ800004361 BRYANR        LUNSTRUM                                      AGOURAHILLS       CA    9/5/20173FADP4EJ1BM233901
FVSͲ800004396JUSTIN          LEWIS                                         MICHIGANCITY      IN    9/5/20171FAFP53U42G118277
FVSͲ800004400GARY            THOMPSON                                      HAMLAKE          MN    9/5/20171FAHP3J27CL353554
FVSͲ800004418 KRISTINE       MASLOWSKY                                      LEONARD           MI    9/5/20171FADP3F25DL324322
FVSͲ800004558DANETTE         FARRELL                  RICHARDFARRELL      DACONO            CO    9/5/20171FADP3F26EL348999
FVSͲ800004736EDWARD          FERREIRA                                      SANFRANCISCO      CA    9/5/20171FADP3F2XEL161074
FVSͲ800004868 JESSIE         BRIGHT                                        SANBERNARDINO     CA    9/5/20171FADP3F2XFL207077
FVSͲ800004930MELANY          CARTER                                        SHELBYVILLE        KY    9/5/20171FADP3F28EL223079
FVSͲ800004949YOANA           VIVANCO                                       LOSANGELES        CA    9/5/20171FADP3F23DL29000
FVSͲ800004957 PRIMITIVA      ESTRADA                                       PARAMOUNT          CA    9/5/20173FADP4BJ0CM153950
FVSͲ800004973 BONNIE         MOODY                                         SALEM             VA    9/5/20173FADB48J7DM199454
FVSͲ800005007JOSE            GUTIERREZ                MICHELLEGUTIERREZ   TULARE            CA    9/5/20173FADP4BJ3CM173545
FVSͲ800005139 CITLALLY       GARCIA                                        CHINO             CA    9/5/20171FADP3J20DL382281
FVSͲ800005180GE              ZHANG                                         SANFRANCISCO      CA    9/5/20171FADP3F29EL287311
FVSͲ800005201 LOVENA         HERNANDEZ                                      WESTCOVINA        CA    9/5/20171FADP3K21GL254179
FVSͲ800005236 JOSELUIS      HERNANDEZ                                      LOSANGELOS        CA    9/5/20171FADP3F21EL241729
FVSͲ800005260ANA             MENENDEZ                                      LOSANGELOS        CA    9/5/20171FADP3291GL225485
FVSͲ800005295ANGELICA        BUJANDA                                       ELPASO           TX    9/5/20173FADP3BJ6DM794052
FVSͲ800005392 KIRSTEN        LEEANNSOMMERVILLE                             COVINA            CA    9/5/20173FADP4FJ7BM224277
FVSͲ800005600 MELISSA        SKAINES                                       FOSTERCITY        CA    9/5/20173FADP4BJ1DM1444434
FVSͲ800005651 SERILYNN      DUNCARISON                                     RANCHOCUCAMONGA   CA    9/5/20173FADP4EJDEM117691
FVSͲ800005805TANIA           JEFFRIES                                      RANCHOCUCAMONGA   CA    9/5/20171FADP3F29DL22179
FVSͲ800006267 LILIANA        VILLAMIL                                      LASVEGAS         NV    9/5/20171FADP3F21GL225632
FVSͲ800006321TERRYK         ADAMS                                         POWAY             CA    9/5/20173FADP4BJ0DM123204
FVSͲ800006380 NICHOLAS       VOELTZ                                        SANDIEGO         CA    9/5/20171FADP3K25FL234277
FVSͲ800006674RUBON           LOYACABRERA                                    MORGANHILL        CA    9/5/20171FAHP3K25CL410588
FVSͲ800007336TANYA           GREENE                                        ASHBURN           VA    9/5/20171FAHP3K2XCL260011
FVSͲ800007360CRYSTAL         DOUGHERTY                                      PHILADELPHIA       PA    9/5/20171FADP3K24FL301011
FVSͲ800007395MARKCHANDLER   JOHNSONIII                                   DAVIS             CA    9/5/20171FADP3F21FL262873
FVSͲ800007557 DEANNA         HOLMES                                        GREENBAY         WI    9/5/20171FADP3F28EL369644
FVSͲ800007590JAMIE           LONG                                          WHITWELL          TN    9/5/20171FADP3E28DL259063
FVSͲ800007603ANTHONY         BONAWITZ                                      PHILADELPHIA       PA    9/5/20171FADP3K25DL278318
FVSͲ800007611 KERI           WALTERS                                       LINCOLN            IL   9/5/20171FADP3F29DL149928
FVSͲ800007620AMY             BETTIS                                        ARVADA            CO    9/5/20171FADP3K22DL320038
FVSͲ800007654 LUIS           MENDOZA                                       GRANDTERRACE      CA    9/5/20171FADP3F21DL105907
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FVSͲ800007670BREOHANNA       EMERY             ROBERTHORNER      AUBURN            CA    9/5/20171FADP3F27DL246562
FVSͲ800007689ANA             ZUNIGA                                TRACY             CA     9/5/20171FADP3K29EL176635
FVSͲ800007700 DANIEL         BURRELL                               SANMARCOS         CA     9/5/20171FADP3K24DL223987
FVSͲ800007743CHAD            DECKER                                CLIO              MI     9/5/20171FADP3F27DL209365
FVSͲ800007751 KATIE          ZIEMAN                                OSWEGO             IL    9/5/20171FADP3F29DL190236
FVSͲ800007824 FABIAN         MOLINA                                NORTHHOLLYWOOD    CA     9/5/20171FADP3K256L362093
FVSͲ800007832JO              JEFFRIES                              YPSILANTI         MI     9/5/20173FADP4EJ8EM179856
FVSͲ800007867 FREDERICK      OLANGO                                GELENDORA          CA     9/5/20173FADP4FJ7CM105811
FVSͲ800007875JAMES           NEELJR                               ELBERTON          GA     9/5/20171FADP3F29FL22184
FVSͲ800007930DONNA           KIRVAN                                PAWPAW           MI     9/5/20171FADP3K25EL310606
FVSͲ800008596PABLO           MOLINA                                DALLAS            TX     9/5/20171FADP3E29E3460035
FVSͲ800009878TANSIE          DEW                                   UNKNOWN           XX     9/5/20171FADP3F28EL361852
FVSͲ800009932 BRYAN          ANDREWS                               UNKNOWN           XX     9/5/20173FADP4EJ5GM162757
